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   11                       IN THE UNITED STATES DISTRICT COURT
   12                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   13
   14
   15
         VIRGINIA DUNCAN, RICHARD                        17-cv-1017-BEN-JLB
   16    LEWIS, PATRICK LOVETTE,
         DAVID MARGUGLIO,                                 EXHIBITS 24-28 TO THE
   17    CHRISTOPHER WADDELL, and                         DECLARATION OF JOHN D.
         CALIFORNIA RIFLE & PISTOL                        ECHEVERRIA IN SUPPORT OF
   18    ASSOCIATION, INC., a California                  DEFENDANT’S OPPOSITION TO
         corporation,                                     PLAINTIFFS’ MOTION FOR
   19                                                     SUMMARY JUDGMENT OR,
                                           Plaintiffs,    ALTERNATIVELY, PARTIAL
   20                                                     SUMMARY JUDGMENT
                       v.
   21                                                    Date:            April 30, 2018
                                                         Time:            10:30 a.m.
   22    XAVIER BECERRA, in his official                 Judge:           Hon. Roger T. Benitez
         capacity as Attorney General of the             Courtroom:       5A
   23    State of California; and DOES 1-10,             Action Filed:    May 17, 2017
   24                                     Defendant.
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              GUN LAW HISTORY IN THE UNITED
              STATES AND SECOND AMENDMENT
                          RIGHTS
                                                 ROBERT J. SPITZER*

                                                               I
                                                     INTRODUCTION
            In its important and controversial 2008 decision on the meaning of the Second
        Amendment, District of Columbia v. Heller,1 the Supreme Court ruled that
        average citizens have a constitutional right to possess handguns for personal self-
        protection in the home.2 Yet in establishing this right, the Court also made clear
        that the right was by no means unlimited, and that it was subject to an array of
        legal restrictions, including: “prohibitions on the possession of firearms by felons
        and the mentally ill, or laws forbidding the carrying of firearms in sensitive places
        such as schools and government buildings, or laws imposing conditions and
        qualifications on the commercial sale of arms.”3 The Court also said that certain
        types of especially powerful weapons might be subject to regulation,4 along with
        allowing laws regarding the safe storage of firearms.5 Further, the Court referred
        repeatedly to gun laws that had existed earlier in American history as a
        justification for allowing similar contemporary laws,6 even though the court, by
        its own admission, did not undertake its own “exhaustive historical analysis” of
        past laws.7
            In so ruling, the Court brought to the fore and attached legal import to the
        history of gun laws. This development, when added to the desire to know our own
        history better, underscores the value of the study of gun laws in America. In
        recent years, new and important research and writing has chipped away at old


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        This article is also available online at http://lcp.law.duke.edu/.
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               Robert J. Spitzer (Ph.D., Cornell University, 1980) is Distinguished Service Professor and Chair of
        the Political Science Department at SUNY Cortland. He is the author of fifteen books, including five on
        gun policy, most recently GUNS ACROSS AMERICA (Oxford University Press 2015).
               1. District of Columbia v. Heller, 554 U.S. 570 (2008).
               2. Id. at 628–30, 635–36.
               3. Id. at 626–27.
               4. See id. at 623, 627 (citing United States v. Miller, 307 U.S. 174, 178 (1939)) (distinguishing validity
        of ban on short-barreled shotguns and noting that weapons protected were those used at time of
        ratification).
               5. See id. at 632 (excluding gun-storage laws from scope of decision).
               6. See id. at 626–27, 629 (“From Blackstone through the 19th-century cases, commentators and
        courts routinely explained that the right was not a right to keep and carry any weapon whatsoever and
        for whatever purpose.”) (citation omitted).
               7. Id. at 626.
                                                                                                        Exhibit 25
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        Texas, for example, defined machine guns in 1933 as those from which more than
        five bullets were automatically discharged “from a magazine by a single
        functioning of the firing device.”80
            The lesson here is significant both for its historical context and for the
        contemporary debate over the regulation of new or exotic gun technologies. In
        these instances, new laws were enacted not when these weapons were invented,
        but when they began to circulate widely in society. So, for example, fully
        automatic weapons, most famously the Tommy gun, became available for civilian
        purchase after World War I.81 But it was only when ownership spread in the
        civilian population in the mid-to-late 1920s, and the gun became a preferred
        weapon for gangsters, that states moved to restrict them. The lesson of gun
        regulation history here is that new technologies bred new laws when
        circumstances warranted.

        E. Semi-Automatic Gun Restrictions
            Of particular relevance to the modern gun debate is the fact that at least
        seven, and as many as ten, state laws specifically restricted semi-automatic
        weapons—weapons that fire a round with each pull of the trigger without manual
        reloading82—anticipating by seven decades the semi-automatic assault weapons
        ban debates, and related efforts to restrict large capacity bullet magazines, from
        the 1990s to the present.
            States with laws in this category typically combined fully automatic and semi-
        automatic weapons under a single definitional category.83 A 1927 Rhode Island
        measure defined the prohibited “machine gun” to include “any weapon which
        shoots automatically and any weapon which shoots more than twelve shots semi-
        automatically without reloading.”84 To compare, a 1927 Massachusetts law said:
        “Any gun or small arm calibre designed for rapid fire and operated by a
        mechanism, or any gun which operates automatically after the first shot has been
        fired . . . shall be deemed a machine gun . . . .”85 Michigan’s 1927 law prohibited
        machine guns or any other firearm if they fired more than sixteen times without
        reloading.86 Minnesota’s 1933 law outlawed “[a]ny firearm capable of
        automatically reloading after each shot is fired, whether firing singly by separate
        trigger pressure or firing continuously by continuous trigger pressure.”87 It went
        on to penalize the modification of weapons that were altered to accommodate
        such extra firing capacity.88 Fully automatic .22 caliber “light sporting rifles” were

            80. 1933 Tex. Gen. & Spec. Laws 219, 219.
            81. NRA-ILA, Fully-Automatic Firearms, NRAILA.ORG, (July 29, 1999), https://www.nraila.org/
        articles/19990729/fully-automatic-firearms [https://perma.cc/NT68-ZEF6].
            82. See Table 2.
            83. See Table 2, laws of Mass., Mich., S.D., and Va.
            84. 1927 R.I. Pub. Laws 256, 256.
            85. 1927 Mass. Acts 413, 413–14.
            86. Act of June 2, 1927, no. 372, 1927 Mich. Pub. Acts 887, 888.
            87. Act of Apr. 10, 1933, ch. 190, 1933 Minn. Laws 231, 232.
            88. Id.
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        also considered machine guns under the law, but .22 caliber semi-automatic “light
        sporting rifles” were exempted.89 Ohio also barred both fully automatic and semi-
        automatic weapons in a 1933 law, incorporating under the banned category any
        gun that “shoots automatically, or any firearm which shoots more than eighteen
        shots semi-automatically without reloading.”90 The law defined semi-automatic
        weapons as those that fired one shot with each pull of the trigger.91 South Dakota
        barred machine guns by defining them as weapons “from which more than five
        shots or bullets may be rapidly, or automatically, or semi-automatically
        discharged from a magazine . . . .”92 Like several other states, Virginia outlawed
        weapons
             of any description . . . from which more than seven shots or bullets may be rapidly, or
             automatically, or semi-automatically discharged from a magazine, by a single function
             of the firing device, and also applies to and includes weapons, loaded or unloaded, from
             which more than sixteen shots or bullets may be rapidly, automatically, semi-
             automatically, or otherwise discharged without reloading.93
            Aside from these seven states, another three included language that was
        ambiguous as to whether they extended prohibitions to semi-automatic as well as
        fully automatic weapons. Illinois enacted a 1931 law that prohibited “machine
        guns and sub-machine guns of any calibre whatsoever, capable of automatically
        discharging more than eight cartridges successively without reloading, in which
        ammunition is fed to such gun from or by means of clips, disks, belts, or other
        separable mechanical devices.”94 Louisiana’s 1932 anti–machine gun law,95 and
        South Carolina’s 1934 law,96 both defined machine guns in the same way using
        identical language, including the eight cartridge standard. In the case of these
        three laws, the word “automatically” would seem to refer to fully automatic
        firing, but when that wording is married with “discharging more than eight
        cartridges successively without reloading,” it would seem to encompass semi-
        automatic firing as well.
            Table 2 summarizes the key portions of the laws from these ten states. The
        lesson of the previous part also applies here: new technologies bred new
        restrictions. And who would have guessed that the fierce controversy over
        regulating semi-automatic assault weapons in the 1990s and 2000s was presaged
        by the successful, and at the time obviously uncontroversial, regulation of semi-
        automatic weapons in the 1920s and 1930s.




           89.   Id.
           90.   Act of Apr. 8, 1933, no. 64, 1933 Ohio Laws 189, 189.
           91.   Id.
           92.   Uniform Machine Gun Act, ch. 206, 1933 S.D. Sess. Laws 245, 245.
           93.   Act of Mar. 7, 1934, ch. 96, 1934 Va. Acts 137, 137.
           94.   Act of July 2, 1931, 1931 Ill. Laws 452, 452.
           95.   Act of July 7, 1932, no. 80, 1932 La. Acts 336.
           96.   Act of Mar. 2, 1934, no. 731, 1934 S.C. Acts 1288.
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                                             Table 2
                                      STATE LAWS BARRING
                               SEMI-AUTOMATIC WEAPONS, 1927–193497

         STATE AND YEAR                                        PROVISION OF LAW
         Massachusetts 1927                                    “rapid fire and operated by a mechanism”
         Michigan 1927                                         “any machine gun or firearm which can
                                                               be fired more than sixteen times without
                                                               reloading”
         Minnesota 1933                                        “[a]ny firearm capable of automatically
                                                               reloading after each shot is fired, whether
                                                               firing singly by separate trigger pressure
                                                               or firing continuously by continuous
                                                               trigger pressure.”
         Ohio 1933                                             “any firearm which shoots automatically,
                                                               or any firearm which shoots more than
                                                               eighteen      shots    semi-automatically
                                                               without reloading.”
         Rhode Island 1927                                     “any weapon which shoots automatically
                                                               and any weapon which shoots more than
                                                               twelve shots semi-automatically without
                                                               reloading.”
         South Dakota 1933                                     “a weapon of any description . . . from
                                                               which more than five shots or bullets may
                                                               be rapidly or automatically, or semi-
                                                               automatically     discharged      from    a
                                                               magazine.”
         Virginia 1933                                         “a weapon of any description . . . from
                                                               which more than seven shots or bullets
                                                               may be rapidly, or automatically, or semi-
                                                               automatically     discharged      from    a
                                                               magazine, by a single function of the
                                                               firing device, and also applies to and
                                                               includes weapons, loaded or unloaded,
                                                               from which more than sixteen shots or
                                                               bullets may be rapidly, automatically,
                                                               semi-automatically,      or       otherwise
                                                               discharged without reloading.”


           97. Source: Act of Apr. 27, 1927, ch. 326, 1927 Mass. Acts 413, 413; Act of June 2, 1927, No. 372,
        1927 Mich. Pub. Acts 887, 888; Act of Apr. 10, 1933, ch. 190, 1933 Minn. Laws 231, 232; Act of Apr. 8,
        1933, no. 64, 1933 Ohio Laws 189, 189; Act of Apr. 22, 1927, ch. 1052, 1927 R.I. Pub. Laws 256, 256;
        Uniform Machine Gun Act, ch. 206, § 1, 1933 S.D. Sess. Laws 245, 245; Act of Mar. 7, 1934, ch. 96, § 1,
        1934 Va. Acts 137, 137; Act of July 2, 1931, § 1, 1931 Ill. Laws 452, 452; Act of July 7, 1932, no. 80, § 1,
        1932 La. Acts 336, 337; Act of Mar. 2, 1934, no. 731, § 1, 1934 S.C. Acts 1288, 1288.
                                                                                                    Exhibit 25
                                                                                                   Page 00903
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        No. 2 2017]         GUN HISTORY AND SECOND AMENDMENT RIGHTS                                  71


         AMBIGUOUS STATE LAWS
         Illinois 1931                                  “machine guns and sub-machine guns of
                                                        any caliber whatsoever, capable of
                                                        automatically discharging more than
                                                        eight cartridges successively without
                                                        reloading, in which ammunition is fed to
                                                        such gun from or by means of clips, disks,
                                                        belts, or other separable mechanical
                                                        devices.”
         Louisiana 1932                                 “machine rifles, machine guns and sub
                                                        machine guns of any caliber whatsoever,
                                                        capable of automatically discharging
                                                        more than eight cartridges successively
                                                        without reloading, in which ammunition
                                                        is fed to such gun from or by means of
                                                        clips, disks, belts, or other separable
                                                        mechanical device.”
         South Carolina 1934                            “machine rifles, machine guns and sub-
                                                        machine guns of any caliber whatsoever,
                                                        capable of automatically discharging
                                                        more than eight cartridges successively
                                                        without reloading, in which ammunition
                                                        is fed to such gun from or by means of
                                                        clips, disks, belts or other separable
                                                        mechanical device.”


        F. Dueling Prohibitions
            A well-known category of gun laws with ties to American history is the
        prohibition against dueling. Prominent public figures from early American
        history, including Alexander Hamilton and Andrew Jackson, found themselves
        in highly publicized duels.98 Hamilton’s longstanding political feud with fellow
        New York politician Aaron Burr ended when the two men dueled in New Jersey
        in 1804.99 Hamilton died from his wounds, and Burr’s political career never
        recovered.100 Jackson engaged in several duels, and was even injured during one




           98. DON C. SEITZ, FAMOUS AMERICAN DUELS (1929).
           99. Burr was vice president at the time; New York barred dueling, so they traveled to the
        neighboring state. LIN-MANUEL MIRANDA, “Blow Us All Away,” “Your Obedient Servant,” “The World
        Was Wide Enough,” on HAMILTON: AN AMERICAN MUSICAL, ACT II, (Atlantic Records 2015).
          100. RON CHERNOW, ALEXANDER HAMILTON 704–05, 717–22 (2004).
                                                                                        Exhibit 25
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                            Exhibit 26

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                        H.R. REP. 103-489, H.R. Rep. No. 489, 103RD Cong., 2ND Sess.
                          1994, 1994 WL 168883, 1994 U.S.C.C.A.N. 1820 (Leg.Hist.)
                  , VIOLENT CRIME CONTROL AND LAW ENFORCEMENT ACT OF 1994

               PUBLIC SAFETY AND RECREATIONAL FIREARMS USE PROTECTION ACT

                                DATES OF CONSIDERATION AND PASSAGE

               House: November 3, 1993; March 23, April 14, 19, 20, 21, May 5, August 19, 21, 1994
           Senate: November 3, 4, 5, 8, 9, 10, 11, 16, 17, 18, 19, 1993; May 19, August 22, 23, 24, 25, 1994
                                            Cong. Record Vol. 139 (1993)
                                            Cong. Record Vol. 140 (1994)
                               House Report (Judiciary Committee) No. 103–324,
                                     Nov. 3, 1993 (To accompany H.R. 3355)
                               House Report (Judiciary Committee) No. 103–489,
                                      May 2, 1994 (To accompany H.R. 4296)
                                      House Conference Report No. 103–694,
                                     Aug. 10, 1994 (To accompany H.R. 3355)
                                      House Conference Report No. 103–711,
                                     Aug. 21, 1994 (To accompany H.R. 3355)

                                               RELATED REPORTS

                                House Report (Judiciary Committee) No. 103–45,
                                    Mar. 29, 1993 (To accompany H.R. 829)
                               House Report (Judiciary Committee) No. 103–245,
                                   Sept. 21, 1993 (To accompany H.R. 1385)
                               House Report (Judiciary Committee) No. 103–320,
                                    Nov. 3, 1993 (To accompany H.R. 3350)
                               House Report (Judiciary Committee) No. 103–321,
                                    Nov. 3, 1993 (To accompany H.R. 3351)
                               House Report (Judiciary Committee) No. 103–322,
                                    Nov. 3, 1993 (To accompany H.R. 3353)
                               House Report (Judiciary Committee) No. 103–323,
                                    Nov. 3, 1993 (To accompany H.R. 3354)
                               House Report (Judiciary Committee) No. 103–389,
                                   Nov. 20, 1993 (To accompany H.R. 3098)
                               House Report (Judiciary Committee) No. 103–392,
                                    Nov. 20, 1993 (To accompany H.R. 324)
                               House Report (Judiciary Committee) No. 103–395,
                                   Nov. 20, 1993 (To accompany H.R. 1130)
                            House Report (Natural Resources Committee) No. 103-444,
                                   Mar. 21, 1994 (To accompany H.R. 4034)
                               House Report (Judiciary Committee) No. 103–459,
                                   Mar. 24, 1994 (To accompany H.R. 4033)
                               House Report (Judiciary Committee) No. 103–460,
                                   Mar. 24, 1994 (To accompany H.R. 3979)
                               House Report (Judiciary Committee) No. 103–461,


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                                      Mar. 25, 1994 (To accompany H.R. 1120)
                                   House Report (Judiciary Committee) No. 103–462,
                                      Mar. 25, 1994 (To accompany H.R. 3968)
                                   House Report (Judiciary Committee) No. 103–463,
                                      Mar. 25, 1994 (To accompany H.R. 3981)
                                   House Report (Judiciary Committee) No. 103–464,
                                      Mar. 25, 1994 (To accompany H.R. 4030)
                                   House Report (Judiciary Committee) No. 103–465,
                                      Mar. 25, 1994 (To accompany H.R. 4031)
                                   House Report (Judiciary Committee) No. 103–466,
                                      Mar. 25, 1994 (To accompany H.R. 4032)
                                   House Report (Judiciary Committee) No. 103–468,
                                       Mar. 25, 1994 (To accompany H.R. 665)
                                   House Report (Judiciary Committee) No. 103–469,
                                      Mar. 25, 1994 (To accompany H.R. 3993)
                                   House Report (Judiciary Committee) No. 103–489,
                                       May 2, 1994 (To accompany H.R. 4296)
                                   House Report (Judiciary Committee) No. 103–138,
                                         Sept. 10, 1994 (To accompany S. 11)

                                             HOUSE REPORT NO. 103–489

                                                       May 2, 1994
                                                [To accompany H.R. 4296]

    The Committee on the Judiciary, to whom was referred the bill (H.R. 4296) to make unlawful the transfer or
  possession of assault weapons, having considered the same, report favorably thereon with an amendment and
  recommend that the bill as amended do pass.

    The amendment is as follows:

    Strike out all after the enacting clause and insert in lieu thereof the following:


SECTION 1. SHORT TITLE.

    This Act may be cited as the “Public Safety and Recreational Firearms Use Protection Act”.


SEC. 2. RESTRICTION ON MANUFACTURE,                            TRANSFER,        AND      POSSESSION   OF    CERTAIN
SEMIAUTOMATIC ASSAULT WEAPONS.

    (a) Restriction.–Section 922 of title 18, United States Code, is amended by adding at the end the following:

    “(v)(1) It shall be unlawful for a person to manufacture, transfer, or possess a semiautomatic assault weapon.

    “(2) Paragraph (1) shall not apply to the possession or transfer of any semiautomatic assault weapon otherwise
  lawfully possessed on the date of the enactment of this subsection.

    “(3) Paragraph (1) shall not apply to–




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     “(A) any of the firearms, or replicas or duplicates of the firearms, specified in Appendix A to this section, as such
  firearms were manufactured on October 1, 1993;

    “(B) any firearm that–

    “(i) is manually operated by bolt, pump, lever, or slide action;

    “(ii) has been rendered permanently inoperable; or

    “(iii) is an antique firearm;

   “(C) any semiautomatic rifle that cannot accept a detachable magazine that holds more than 5 rounds of
  ammunition; or

   “(D) any semiautomatic shotgun that cannot hold more than 5 rounds of ammunition in a fixed or detachable
  magazine.

     The fact that a firearm is not listed in Appendix A shall not be construed to mean that paragraph (1) applies to such
  firearm. No firearm exempted by this subsection may be deleted from Appendix A so long as this Act is in effect.

    “(4) Paragraph (1) shall not apply to–

    “(A) the United States or a department or agency of the United States or a State or a department, agency, or political
  subdivision of a State;

     “(B) the transfer of a semiautomatic assault weapon by a licensed manufacturer, licensed importer, or licensed dealer
  to an entity referred to in subparagraph (A) or to a law enforcement officer authorized by such an entity to purchase
  firearms for official use;

    “(C) the possession, by an individual who is retired from service with a law enforcement agency and is not otherwise
  prohibited from receiving a firearm, of a semiautomatic assault weapon transferred to the individual by the agency
  upon such retirement; or

     “(D) the manufacture, transfer, or possession of a semiautomatic assault weapon by a licensed manufacturer or
  licensed importer for the purposes of testing or experimentation authorized by the Secretary.”.

    (b) Definition of Semiautomatic Assault Weapon.–Section 921(a) of such title is amended by adding at the end the
  following:

    “(30) The term ‘semiautomatic assault weapon’ means–

    “(A) any of the firearms, or copies or duplicates of the firearms, known as–

    “(i) Norinco, Mitchell, and Poly Technologies Avtomat Kalashnikovs (all models);

    “(ii) Action Arms Israeli Military Industries UZI and Galil;

    “(iii) Beretta Ar70 (SC–70);




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    “(iv) Colt AR–15;

    “(v) Fabrique National FN/FAL, FN/LAR, and FNC;

    “(vi) SWD M–10, M–11, M–11/9, and M–12;

    “(vii) Steyr AUG;

    “(viii) INTRATEC TEC–9, TEC–DC9 and TEC–22; and

    “(ix) revolving cylinder shotguns, such as (or similar to) the Street Sweeper and Striker 12;

    “(B) a semiautomatic rifle that has an ability to accept a detachable magazine and has at least 2 of–

    “(i) a folding or telescoping stock;

    “(ii) a pistol grip that protrudes conspicuously beneath the action of the weapon;

    “(iii) a bayonet mount;

    “(iv) a flash suppressor or threaded barrel designed to accommodate a flash suppressor; and

    “(v) a grenade launcher;

    “(C) a semiautomatic pistol that has an ability to accept a detachable magazine and has at least 2 of–

    “(i) an ammunition magazine that attaches to the pistol outside of the pistol grip;

    “(ii) a threaded barrel capable of accepting a barrel extender, flash suppressor, forward handgrip, or silencer;

    “(iii) a shroud that is attached to, or partially or completely encircles, the barrel and that permits the shooter to hold
  the firearm with the nontrigger hand without being burned;

    “(iv) a manufactured weight of 50 ounces or more when the pistol is unloaded; and

    “(v) a semiautomatic version of an automatic firearm; and

    “(D) a semiautomatic shotgun that has at least 2 of–

    “(i) a folding or telescoping stock;

    “(ii) a pistol grip that protrudes conspicuously beneath the action of the weapon;

    “(iii) a fixed magazine capacity in excess of 5 rounds; and

    “(iv) an ability to accept a detachable magazine.”.

    (c) Penalties.–




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    (1) Violation of section 922(v).–Section 924(a)(1)(B) of such title is amended by striking “or (q) of section 922” and
  inserting “(r), or (v) of section 922”.

    (2) Use or possession during crime of violence or drug trafficking crime.–Section 924(c)(1) of such title is amended
  in the first sentence by inserting “, or semiautomatic assault weapon,” after “short-barreled shotgun,”.

    (d) Identification Markings for Semiautomatic Assault Weapons.–Section 923(i) of such title is amended by adding
  at the end the following: “The serial number of any semiautomatic assault weapon manufactured after the date of the
  enactment of this sentence shall clearly show the date on which the weapon was manufactured.”.


SEC. 3. RECORDKEEPING REQUIREMENTS FOR TRANSFERS OF GRANDFATHERED FIREARMS.

    (a) Offense.–Section 922 of title 18, United States Code, as amended by section 2(a) of this Act, is amended by adding
  at the end the following:

    “(w)(1) It shall be unlawful for a person to sell, ship, or deliver a semiautomatic assault weapon to a person who has
  not completed a form 4473 in connection with the transfer of the semiautomatic assault weapon.

    “(2) It shall be unlawful for a person to receive a semiautomatic assault weapon unless the person has completed a
  form 4473 in connection with the transfer of the semiautomatic assault weapon.

    “(3) If a person receives a semiautomatic assault weapon from anyone other than a licensed dealer, both the person
  and the transferor shall retain a copy of the form 4473 completed in connection with the transfer.

    “(4) Within 90 days after the date of the enactment of this subsection, the Secretary shall prescribe regulations
  ensuring the availability of form 4473 to owners of semiautomatic assault weapons.

    “(5) As used in this subsection, the term ‘form 4473’ means–

    “(A) the form which, as of the date of the enactment of this subsection, is designated by the Secretary as form 4473; or

    “(B) any other form which–

    “(i) is required by the Secretary, in lieu of the form described in subparagraph (A), to be completed in connection
  with the transfer of a semiautomatic assault weapon; and

     “(ii) when completed, contains, at a minimum, the information that, as of the date of the enactment of this subsection,
  is required to be provided on the form described in subparagraph (A).”.

    (b) Penalty.–Section 924(a) of such title is amended by adding at the end the following:

    “(6) A person who knowingly violates section 922(w) shall be fined not more than $1,000, imprisoned not more than
  6 months, or both. Section 3571 shall not apply to any offense under this paragraph.”.


SEC. 4. BAN OF LARGE CAPACITY AMMUNITION FEEDING DEVICES.

    (a) Prohibition.–Section 922 of title 18, United States Code, as amended by sections 2 and 3 of this Act, is amended
  by adding at the end the following:



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   “(x)(1) Except as provided in paragraph (2), it shall be unlawful for a person to transfer or possess a large capacity
  ammunition feeding device.

    “(2) Paragraph (1) shall not apply to the possession or transfer of any large capacity ammunition feeding device
  otherwise lawfully possessed on the date of the enactment of this subsection.

    “(3) This subsection shall not apply to–

    “(A) the United States or a department or agency of the United States or a State or a department, agency, or political
  subdivision of a State;

     “(B) the transfer of a large capacity ammunition feeding device by a licensed manufacturer, licensed importer, or
  licensed dealer to an entity referred to in subparagraph (A) or to a law enforcement officer authorized by such an entity
  to purchase large capacity ammunition feeding devices for official use;

    “(C) the possession, by an individual who is retired from service with a law enforcement agency and is not otherwise
  prohibited from receiving ammunition, of a large capacity ammunition feeding device transferred to the individual by
  the agency upon such retirement; or

   “(D) the manufacture, transfer, or possession of any large capacity ammunition feeding device by a licensed
  manufacturer or licensed importer for the purposes of testing or experimentation authorized by the Secretary.”.

    (b) Definition of Large Capacity Ammunition Feeding Device.–Section 921(a) of such title, as amended by section
  2(b) of this Act, is amended by adding at the end the following:

    “(31) The term ‘large capacity ammunition feeding device’–

    “(A) means–

    “(i) a magazine, belt, drum, feed strip, or similar device that has a capacity of, or that can be readily restored or
  converted to accept, more than 10 rounds of ammunition; and

    “(ii) any combination of parts from which a device described in clause (i) can be assembled; but

    “(B) does not include an attached tubular device designed to accept, and capable of operating only with, .22 caliber
  rimfire ammunition.”.

    (c) Large Capacity Ammunition Feeding Devices Treated as Firearms.–Section 921(a)(3) of such title is amended
  in the first sentence by striking “or (D) any destructive device.” and inserting “(D) any destructive device; or (E) any
  large capacity ammunition feeding device.”.

    (d) Penalty.–Section 924(a)(1)(B) of such title, as amended by section 2(c) of this Act, is amended by striking “or
  (v)” and inserting “(v), or (x)”.

    (e) Identification Markings for Large Capacity Ammunition Feeding Devices.–Section 923(i) of such title, as
  amended by section 2(d) of this Act, is amended by adding at the end the following: “A large capacity ammunition
  feeding device manufactured after the date of the enactment of this sentence shall be identified by a serial number that




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  clearly shows that the device was manufactured or imported after the effective date of this subsection, and such other
  identification as the Secretary may by regulation prescribe.”.


SEC. 5. STUDY BY ATTORNEY GENERAL.

    (a) Study.–The Attorney General shall investigate and study the effect of this Act and the amendments made by this
  Act, and in particular shall determine their impact, if any, on violent and drug trafficking crime. The study shall be
  conducted over a period of 18 months, commencing 12 months after the date of enactment of this Act.

    (b) Report.–Not later than 30 months after the date of enactment of this Act, the Attorney General shall prepare
  and submit to the Congress a report setting forth in detail the findings and determinations made in the study under
  subsection (a).


SEC. 6. EFFECTIVE DATE.

    This Act and the amendments made by this Act–

    (1) shall take effect on the date of the enactment of this Act; and

    (2) are repealed effective as of the date that is 10 years after that date.


SEC. 7. APPENDIX A TO SECTION 922 OF TITLE 18.

    Section 922 of title 18, United States Code, is amended by adding at the end the following appendix:


                                                       “APPENDIX A


                                               Centerfire Rifles–Autoloaders


 Browning BAR Mark II Safari Semi-Auto Rifle

 Browning BAR Mark II Safari Magnum Rifle

 Browning High-Power Rifle

 Heckler & Koch Model 300 Rifle

 Iver Johnson M-1 Carbine

 Iver Johnson 50th Anniversary M-1 Carbine

 Marlin Model 9 Camp Carbine

 Marlin Model 45 Carbine

 Remington Nylon 66 Auto-Loading Rifle

 Remington Model 7400 Auto Rifle




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 Remington Model 7400 Rifle

 Remington Model 7400 Special Purpose Auto Rifle

 Ruger Mini-14 Autoloading Rifle (w/o folding stock)

 Ruger Mini Thirty Rifle


                                          Centerfire Rifles–Lever & Slide


 Browning Model 81 BLR Lever-Action Rifle

 Browning Model 81 Long Action BLR

 Browning Model 1886 Lever-Action Carbine

 Browning Model 1886 High Grade Carbine

 Cimarron 1860 Henry Replica

 Cimarron 1866 Winchester Replicas

 Cimarron 1873 Short Rifle

 Cimarron 1873 Sporting Rifle

 Cimarron 1873 30” Express Rifle

 Dixie Engraved 1873 Rifle

 E.M.F. 1866 Yellowboy Lever Actions

 E.M.F. 1860 Henry Rifle

 E.M.F. Model 73 Lever-Actions Rifle

 Marlin Model 336CS Lever-Action Carbine

 Marlin Model 30AS Lever-Action Carbine

 Marlin Model 444SS Lever-Action Sporter

 Marlin Model 1894S Lever-Action Carbine

 Marlin Model 1894CS Carbine

 Marlin Model 1894CL Classic

 Marlin Model 1895SS Lever-Action Rifle

 Mitchell 1858 Henry Replica

 Mitchell 1866 Winchester Replica

 Mitchell 1873 Winchester Replica



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 Navy Arms Military Henry Rifle

 Navy Arms Henry Trapper

 Navy Arms Iron Frame Henry

 Navy Arms Henry Carbine

 Navy Arms 1866 Yellowboy Rifle

 Navy Arms 1873 Winchester-Style Rifle

 Navy Arms 1873 Sporting Rifle

 Remington 7600 Slide Action

 Remington Model 7600 Special-Purpose Slide Action

 Rossi M92 SRC Saddle-Ring Carbine

 Rossi M92 SRS Short Carbine

 Savage 99C Leber-Action Rifle

 Uberti Henry Rifle

 Uberti 1866 Sporting Rifle

 Uberti 1873 Sporting Rifle

 Winchester Model 94 Side Eject Lever-Action Rifle

 Winchester Model 94 Trapper Side Eject

 Winchester Model 94 Big Bore Side Eject

 Winchester Model 94 Ranger Side Eject Lever-Action Rifle

 Winchester Model 94 Wrangler Side Eject


                                              Centerfire Rifles–Bolt Action


 Alpine Bolt-Action Rifle

 A-Square Caesar Bolt-Action Rifle

 A-Square Hannibal Bolt-Action Rifle

 Anschutz 1700D Classic Rifles

 Anschutz 1700D Custom Rifles

 Anschutz 1700D Bavarian Bolt-Action Rifle

 Anschutz 1733D Mannlicher Rifle



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 Barret Model 90 Bolt-Action Rifle

 Beeman/HW 60J Bolt-Action Rifle

 Blaser R84 Bolt-Action Rifle

 BRNO 537 Sporter Bolt-Action Rifle

 BRNO ZKB 527 Fox Bolt-Action Rifle

 BRNO ZKK 600, 601, 602 Bolt-Action Rifles

 Browning A-Bolt Rifle

 Browning A-Bolt Stainless Stalker

 Browning A-Bolt Left Hand

 Browning A-Bolt Short Action

 Browning Euro-Bolt Rifle

 Browning A-Bolt Gold Medallion

 Browning A-Bolt Micro Medallion

 Century Centurion 14 Sporter

 Century Enfield Sporter #4

 Century Swedish Sporter #38

 Century Mauser 98 Sporter

 Cooper Model 38 Centerfire Sporter

 Dakota 22 Sporter Bolt-Action Rifle

 Dakota 76 Classic Bolt-Action Rifle

 Dakota 76 Short Action Rifles

 Dakota 76 Safari Bolt-Action Rifle

 Dakota 416 Rigby African

 E.A.A./Sabatti Rover 870 Bolt-Action Rifle

 Auguste Francotte Bolt-Action Rifles

 Carl Gustaf 2000 Bolt-Action Rifle

 Heym Magnum Express Series Rifle

 Howa Lightning Bolt-Action Rifle

 Howa Realtree Camo Rifle



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 Interarms Mark X Viscount Bolt-Action Rifle

 Interarms Mini-Mark X Rifle

 Interarms Mark X Whitworth Bolt-Action Rifle

 Interarms Whitworth Express Rifle

 Iver Johnson Model 5100A1 Long-Range Rifle

 KDF K15 American Bolt-Action Rifle

 Krico Model 600 Bolt-Action Rifle

 Krico Model 700 Bolt-Action Rifle

 Mauser Model 66 Bolt-Action Rifle

 Mauser Model 99 Bolt-Action Rifle

 McMillan Signature Classic Sporter

 McMillan Signature Super Varminter

 McMillan Signature Alaskan

 McMillan Signature Titanium Mountain Rifle

 McMillan Classic Stainless Sporter

 McMillan Talon Safari Rifle

 McMillan Talon Sporter Rifle

 Midland 1500S Survivor Rifle

 Navy Arms TU-33/40 Carbine

 Parker-Hale Model 81 Classic Rifle

 Parker-Hale Model 81 Classic African Rifle

 Parker-Hale Model 1000 Rifle

 Parker-Hale Model 1000M African Rifle

 Parker-Hale Model 1100 Lightweight Rifle

 Parker-Hale Model 1200 Super Rifle

 Parker-Hale Model 1200 Super Clip Rifle

 Parker-Hale Model 1300C Scout Rifle

 Parker-Hale Model 2100 Midland Rifle

 Parker-Hale Model 2700 Lightweight Rifle



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 Parker-Hale Model 2800 Midland Rifle

 Remington Model Seven Bolt-Action Rifle

 Remington Model Seven Youth Rifle

 Remington Model Seven Custom KS

 Remington Model Seven Custom MS Rifle

 Remington 700 ADL Bolt-Action Rifle

 Remington 700 BDL Bolt-Action Rifle

 Remington 700 BDL Varmint Special

 Remington 700 BDL European Bolt-Action Rifle

 Remington 700 Varmint Synthetic Rifle

 Remington 700 BDL SS Rifle

 Remington 700 Stainless Synthetic Rifle

 Remington 700 MTRSS Rifle

 Remington 700 BDL Left Hand

 Remington 700 Camo Synthetic Rifle

 Remington 700 Safari

 Remington 700 Mountain Rifle

 Remington 700 Custom KS Mountain Rifle

 Remington 700 Classic Rifle

 Ruger M77 Mark II Rifle

 Ruger M77 Mark II Magnum Rifle

 Ruger M77RL Ultra Light

 Ruger M77 Mark II All-Weather Stainless Rifle

 Ruger M77 RSI International Carbine

 Ruger M77 Mark II Express Rifle

 Ruger M77VT Target Rifle

 Sako Hunter Rifle

 Sako Fiberclass Sporter

 Sako Hunter Left-Hand Rifle



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 Sako Classic Bolt Action

 Sako Hunter LS Rifle

 Sako Deluxe Lighweight

 Sako Super Deluxe Sporter

 Sako Mannlicher-Style Carbine

 Sako Varmint Heavy Barrel

 Sako TRG-S Bolt-Action Rifle

 Sauer 90 Bolt-Action Rifle

 Savage 110G Bolt-Action Rifle

 Savage 110CY Youth/Ladies Rifle

 Savage 110WLE One of One Thousand Limited Edition Rifle

 Savage 110GXP3 Bolt-Action Rifle

 Savage 110F Bolt-Action Rifle

 Savage 110FXP3 Bolt-Action Rifle

 Savage 110GV Varmint Rifle

 Savage 110FV Varmint Rifle

 Savage Model 110FVS Varmint Rifle

 Savage Model 112BV Heavy Barrel Varmint Rifle

 Savage 116FSS Bolt-Action Rifle

 Savage Model 116SK Kodiak Rifle

 Savage 110FP Polic Rifle

 Steyr-Mannlicher Sporter Models SL, L, M, S, S/T

 Steyr-Mannlicher Luxus Model L, M, S

 Steyr-Mannlicher Model M Professional Rifle

 Tikka Bolt-Action Rifle

 Tikka Premium Grade Rifle

 Tikka Varmint/Continental Rifle

 Tikka Whitetail/Battue Rifle

 Ultra Light Arms Model 20 Rifle



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 Ultra Light Arms Model 28, Model 40 Rifles

 Voere VEC 91 Lightning Bolt-Action Rifle

 Voere Model 2166 Bolt-Action Rifle

 Voere Model 2155, 2150 Bolt-Action Rifles

 Weatherby Mark V Deluxe Bolt-Action Rifle

 Weatherby Lasermark V Rifle

 Weatherby Mark V Crown Custom Rifles

 Weatherby Mark V Safari Grade Custom Rifle

 Weatherby Mark V Sporter Rifle

 Weatherby Mark V Safari Grade Custom Rifles

 Weatherby Weathermark Rifle

 Weatherby Weathermark Alaskan Rifle

 Weatherby Classicmark No. 1 Rifle

 Weatherby Weatherguard Alaskan Rifle

 Weatherby Vanguard VGX Deluxe Rifle

 Weatherby Vanguard Classic Rifle

 Weatherby Vanguard Classic No. 1 Rifle

 Weatherby Vanguard Weathermark Rifle

 Wichita Classis Rifle

 Wichita Varmint Rifle

 Winchester Model 70 Sporter

 Winchester Model 70 Sporter WinTuff

 Winchester Model 70 SM Sporter

 Winchester Model 70 Stainless Rifle

 Winchester Model 70 Varmint

 Winchester Model 70 Synthetic Heavy Varmint Rifle

 Winchester Model 70 DBM Rifle

 Winchester Model 70 DBM-S Rifle

 Winchester Model 70 Featherweight



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 Winchester Model 70 Featherweight WinTuff

 Winchester Model 70 Featherweight Classic

 Winchester Model 70 Lightweight Rifle

 Winchester Ranger Rifle

 Winchester Model 70 Super Express Magnum

 Winchester Model 70 Super Grade

 Winchester Model 70 Custom Sharpshooter

 Winchester Model 70 Custom Sporting Sharpshooter Rifle


                                              Centerfire Rifles–Single Shot


 Armsport 1866 Sharps Rifle, Carbine

 Brown Model One Single Shot Rifle

 Browning Model 1885 Single Shot Rifle

 Dakota Single Shot Rifle

 Desert Industries G-90 Single Shot Rifle

 Harrington & Richardson Ultra Varmint Rifle

 Model 1885 High Wall Rifle

 Navy Arms Rolling Block Buffalo Rifle

 Navy Arms #2 Creedmoor Rifle

 Navy Arms Sharps Cavalry Carbine

 Navy Arms Sharps Plains Rifle

 New Enlgand Firearms Handi-Rifle

 Red Willow Armory Ballard No. 5 Pacific

 Red Willow Armory Ballard No. 1.5 Hunting Rifle

 Red Willow Armory Ballard No. 8 Union Hill Rifle

 Red Willow Armory Ballard No. 4.5 Target Rifle

 Remington-Style Rolling Block Carbine

 Ruger No. 1B Single Shot

 Ruger No. 1A Light Sporter



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 Ruger No. 1H Tropical Rifle

 Ruger No. 1S Medium Sporter

 Ruger No. 1 RSI International

 Ruger No. 1V Special Varminter

 C. Sharps Arms New Model 1874 Old Reliable

 C. Sharps Arms New Model 1875 Rifle

 C. Sharps Arms 1875 Classic Sharps

 C. Sharps Arms New Model 1875 Target & Long Range

 Shiloh Sharps 1874 Long Range Express

 Shiloh Sharps 1874 Montana Roughrider

 Shiloh Sharps 1874 Military Carbine

 Shiloh Sharps 1874 Business Rifle

 Shiloh Sharps 1874 Military Rifle

 Sharps 1874 Old Reliable

 Thompson/Center Contender Carbine

 Thompson/Center Stainless Contender Carbine

 Thompson/Center Contender Carbine Survival System

 Thompson/Center Contender Carbine Youth Model

 Thompson/Center TCR '87 Single Shot Rifle

 Uberti Rolling Block Baby Carbine


                                       Drillings, Combination Guns, Double Rifles


 Baretta Express SSO O/U Double Rifles

 Baretta 455 SxS Express Rifle

 Chapuis RGExpress Double Rifle

 Auguste Francotte Sidelock Double Rifles

 Auguste Francotte Boxlock Double Rifle

 Heym Model 55B O/U Double Rifle

 Heym Model 55FW O/U Combo Gun



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 Heym Model 88b Side-by-Side Double Rifle

 Kodiak Mk. IV Double Rifle

 Kreighoff Teck O/U Combination Gun

 Kreighoff Trumpf Drilling

 Merkel Over/Under Combination Guns

 Merkel Drillings

 Merkel Model 160 Side-by-Side Double Rifles

 Merkel Over/Under Double Rifles

 Savage 24F O/U Combination Gun

 Savage 24F-12T Turkey Gun

 Springfield Inc. M6 Scout Rifle/Shotgun

 Tikka Model 412s Combination Gun

 Tikka Model 412S Double Fire

 A. Zoli Rifle-Shotgun O/U Combo


                                              Rimfire Rifles–Autoloaders


 AMT Lightning 25/22 Rifle

 AMT Lightning Small-Game Hunting Rifle II

 AMT Mannum Hunter Auto Rifle

 Anschutz 525 Deluxe Auto

 Armscor Model 20P Auto Rifle

 Browning Auto-22 Rifle

 Browning Auto-22 Grade VI

 Krico Model 260 Auto Rifle

 Lakefield Arms Model 64B Auto Rifle

 Marlin Model 60 Self-Loading Rifle

 Marlin Model 60ss Self-Loading Rifle

 Marlin Model 70 HC Auto

 Marlin Model 990l Self-Loading Rifle



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 Marlin Model 70P Papoose

 Marlin Model 922 Magnum Self-Loading Rifle

 Marlin Model 995 Self-Loading Rifle

 Norinco Model 22 ATD Rifle

 Remington Model 522 Viper Autoloading Rifle

 Remington 522BDL Speedmaster Rifle

 Ruger 10/22 Autoloading Carbine (w/o folding stock)

 Survival Arms AR-7 Explorer Rifle

 Texas Remington Revolving Carbine

 Voere Model 2115 Auto Rifle


                                          Rimfire Rifles–Lever & Slide Action


 Browning BL-22 Lever-Action Rifle

 Marlin 39TDS Carbine

 Marlin Model 39AS Golden Lever-Action Rifle

 Remington 572BDL Fieldmaster Pump Rifle

 Norinco EM-321 Pump Rifle

 Rossi Model 62 SA Pump Rifle

 Rossi Model 62 SAC Carbile

 Winchester Model 9422 Lever-Action Rifle

 Winchester Model 9422 Magnum Lever-Action Rifle


                                       Rimfire Rifles–Bolt Actions & Single Shots


 Anschutz Achiever Bolt-Action Rifle

 Anschutz 1416D/1516D Classic Rifles

 Anschutz 1418D/1518D Mannlicher Rifles

 Anschutz 1700D Classic Rifles

 Anschutz 1700D Custom Rifles

 Anschutz 1700 FWT Bolt-Action Rifle



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 Anschutz 1700D Graphite Custom Rifle

 Anschutz 1700D Bavarian Bolt-Action Rifle

 Armscor Model 14P Bolt-Action Rifle

 Armscor Model 1500 Rifle

 BRNO ZKM-452 Deluxe Bolt-Action Rifle

 BRNO ZKM 452 Deluxe

 Beeman/HW 60-J-ST Bolt-Action Rifle

 Browning A-Bolt 22 Bolt-Action Rifle

 Browning A-Bolt Gold Medallion

 Cabanas Phaser Rifle

 Cabanas Master Bolt-Action Rifle

 Cabanas Espronceda IV Bolt-Action Rifle

 Cabanas Leyre Bolt-Action Rifle

 Chipmunk Single Shot Rifle

 Cooper Arms Model 36S Sporter Rifle

 Dakota 22 Sporter Bolt-Action Rifle

 Krico Model 300 Bolt-Action Rifles

 Lakefield Arms Mark II Bolt-Action Rifle

 Lakefield Arms Mark I Bolt-Action Rifle

 Magtech Model MT-22C Bolt-Action Rifle

 Marlin Model 880 Bolt-Action Rifle

 Marlin Model 881 Bolt-Action Rifle

 Marlin Model 882 Bolt-Action Rifle

 Marlin Model 883 Bolt-Action Rifle

 Marlin Model 883SS Bolt-Action Rifle

 Marlin Model 25MN Bolt-Action Rifle

 Marlin Model 25N Bolt-Action Repeater

 Marlin Model 15YN “Little Buckaroo”

 Mauser Model 107 Bolt-Action Rifle



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 Mauser Model 201 Bolt-Action Rifle

 Navy Arms TU-KKW Training Rifle

 Navy Arms TU-30/40 Carbine

 Navy Arms TU-KKW Sniper Trainer

 Norinco JW-27 Bolt-Action Rifle

 Norinco JW-15 Bolt-Action Rifle

 Remington 541-T

 Remington 40-XR Rimfire Custom Sporter

 Remington 541-T HB Bolt-Action Rifle

 Remington 581-S Sportsman Rifle

 Ruger 77/22 Rimfire Bolt-Action Rifle

 Ruger K77/22 Varmint Rifle

 Ultra Light Arms Model 20 RF Bolt-Action Rifle

 Winchester Model 52B Sporting Rifle


                                       Competition Rifles–Centerfire & Rimfire


 Anschutz 64-MS Left Silhouette

 Anschutz 1808D RT Super Match 54 Target

 Anschutz 1827B Biathlon Rifle

 Anschutz 1903D Match Rifle

 Anschutz 1803D Intermediate Match

 Anschutz 1911 Match Rifle

 Anschutz 54.18MS REP Deluxe Silhouette Rifle

 Anschutz 1913 Super Match Rifle

 Anschutz 1907 Match Rifle

 Anschutz 1910 Super Match II

 Anschutz 54.18MS Silhouette Rifle

 Anschutz Super Match 54 Targe Model 2013

 Anschutz Super Match 54 Targe Model 2007



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 Beeman/Feinwerkbau 2600 Target Rifle

 Cooper Arms Model TRP-1 ISU Standard Rifle

 E.A.A./Weihrauch HW 60 Target Rifle

 E.A.A./HW 60 Match Rifle

 Finnish Lion Standard Target Rifle

 Krico Model 360 S2 Biathlon Rifle

 Krico Model 400 Match Rifle

 Krico Model 360S Biathlon Rifle

 Krico Model 500 Kricotronic Match Rifle

 Krico Model 600 Sniper Rifle

 Krico Model 600 Match Rifle

 Lakefield Arms Model 90B Target Rifle

 Lakefield Arms Model 91T Target Rifle

 Lakefield Arms Model 92S Silhouette Rifle

 Marlin Model 2000 Target Rifle

 Mauser Model 86-SR Specialty Rifle

 McMillan M-86 Sniper Rifle

 McMillan Combo M-87/M-88 50-Caliber Rifle

 McMillan 300 Phoenix Long-Range Rifle

 McMillan M-89 Sniper Rifle

 McMillan National Match Rifle

 McMillan Long-Range Rifle

 Parker-Hale M-87 Target Rifle

 Parker-Hale M-85 Sniper Rifle

 Remington 40-XB Rangemaster Target Centerfire

 Remington 40-XR KS Rimfire Position Rifle

 Remington 40-XBBR KS

 Remington 40-XC KS National Match Course Rifle

 Sako TRG-21 Bolt-Action Rifle



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 Steyr-Mannlicher Match SPG-UIT Rifle

 Steyr-Mannlicher SSG P-I Rifle

 Steyr-Mannlicher SSG P-III Rifle

 Steyr-Mannlicher SSG P-IV Rifle

 Tanner Standard UIT Rifle

 Tanner 50 Meter Free Rifle

 Tanner 300 Meter Free Rifle

 Wichita Silhouette Rifle


                                                Shotguns–Autoloaders


 American Arms/Franchi Black Magic 48/AL

 Benelli Super Black Eagle Shotgun

 Benelli Super Black Eagle Slug Gun

 Benelli M1 Super 90 Field Auto Shotgun

 Benelli Montefeltro Super 90 20-Gauge Shotgun

 Benelli Montefeltro Super 90 Shotgun

 Benelli M1 Sporting Special Auto Shotgun

 Benelli Black Eagle Competition Auto Shotgun

 Beretta A-303 Auto Shotgun

 Beretta 390 Field Auto Shotgun

 Beretta 390 Super Trap, Super Skeet Shotguns

 Beretta Vittoria Auto Shotgun

 Beretta Model 1201F Auto Shotgun

 Browning BSA 10 Auto Shotgun

 Browning Bsa 10 Stalker Auto Shotgun

 Browning A-500R Auto Shotgun

 Browning A-500G Auto Shotgun

 Browning A-500G Sporting Clays

 Browning Auto-5 Light 12 and 20



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 Browning Auto-5 Stalker

 Browning Auto-5 Magnum 20

 Browning Auto-5 Magnum 12

 Churchill Turkey Automatic Shotgun

 Cosmi Automatic Shotgun

 Maverick Model 60 Auto Shotgun

 Mossberg Model 5500 Shotgun

 Mossberg Model 9200 Regal Semi-Auto Shotgun

 Mossberg Model 9200 USST Auto Shotgun

 Mossberg Model 9200 Camo Shotgun

 Mossberg Model 6000 Auto Shotgun

 Remington Model 1100 Shotgun

 Remington 11-87 Premier shotgun

 Remington 11-87 Sporting Clays

 Remington 11-87 Premier Skeet

 Remington 11-87 Premier Trap

 Remington 11-87 Special Purpose Magnum

 Remington 11-87 SPS-T Camo Auto Shotgun

 Remington 11-87 Special Purpose Deer Gun

 Remington 11-87 SPS-BG-Camo Deer/Turkey Shotgun

 Remington 11-87 SPS-Deer Shotgun

 Remington 11-87 Special Purpose Synthetic Camo

 Remington SP-10 Magnum-Camo Auto Shotgun

 Remington SP-10 Magnum Auto Shotgun

 Remington SP-10 Magnum Turkey Combo

 Remington 1100 LT-20 Auto

 Remington 1100 Special Field

 Remington 1100 20-Gauge Deer Gun

 Remington 1100 LT-20 Tournament Skeet



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 Winchester Model 1400 Semi-Auto Shotgun


                                              Shotguns–Slide Actions


 Browning Model 42 Pump Shotgun

 Browning BPS Pump Shotgun

 Browning BPS Stalker Pump Shotgun

 Browning BPS Pigeon Grade Pump Shotgun

 Browning BPS Pump Shotgun (Ladies and Youth Model)

 Browning BPS Game Gun Turkey Special

 Browning BPS Game Gun Deer Special

 Ithaca Model 87 Supreme Pump Shotgun

 Ithaca Model 87 Deerslayer Shotgun

 Ithaca Deerslayer II Rifled Shotgun

 Ithaca Model 87 Turkey Gun

 Ithaca Model 87 Deluxe Pump Shotgun

 Magtech Model 586-VR Pump Shotgun

 Maverick Models 88, 91 Pump Shotguns

 Mossberg Model 500 Sporting Pump

 Mossberg Model 500 Camo Pump

 Mossberg Model 500 Muzzleloader Combo

 Mossberg Model 500 Trophy Slugger

 Mossberg Turkey Model 500 Pump

 Mossberg Model 500 Bantam Pump

 Mossberg Field Grade Model 835 Pump Shotgun

 Mossberg Model 835 Regal Ulti-Mag Pump

 Remington 870 Wingmaster

 Remington 870 Special Purpose Deer Gun

 Remington 870 SPS-BG-Camo Deer/Turkey Shotgun

 Remington 870 SPS-Deer Shotgun



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 Remington 870 Marine Magnum

 Remington 870 TC Trap

 Remington 870 Special Purpose Synthetic Camo

 Remington 870 Wingmaster Small Gauges

 Remington 870 Express Rifle Sighted Deer Gun

 Remington 879 SPS Special Purpose Magnum

 Remington 870 SPS-T Camo Pump Shotgun

 Remington 870 Special Field

 Remington 870 Express Turkey

 Remington 870 High Grades

 Remington 870 Express

 Remington Model 870 Express Youth Gun

 Winchester Model 12 Pump Shotgun

 Winchester Model 42 High Grade Shotgun

 Winchester Model 1300 Walnut Pump

 Winchester Model 1300 Slug Hunter Deer Gun

 Winchester Model 1300 Ranger Pump Gun Combo & Deer Gun

 Winchester Model 1300 Turkey Gun

 Winchester Model 1300 Ranger Pump Gun


                                              Shotguns–Over/Unders


 American Arms/Franchi Falconet 2000 O/U

 American Arms Silver I O/U

 American Arms Silver II Shotgun

 American Arms Silver Skeet O/U

 American Arms/Franchi Sporting 2000 O/U

 American Arms Silver Sporting O/U

 American Arms Silver Trap O/U

 American Arms WS/OU 12, TS/OU 12 Shotguns



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 American Arms WT/OU 10 Shotgun

 Armsport 2700 O/U Goose Gun

 Armsport 2700 Series O/U

 Armsport 2900 Tri-Barrel Shotgun

 Baby Bretton Over/Under Shotgun

 Beretta Model 686 Ultralight O/U

 Beretta ASE 90 Competition O/U Shotgun

 Beretta Over/Under Field Shotguns

 Beretta Onyx Hunder Sport O/U Shotgun

 Beretta Model SO5, SO6, SO9 Shotguns

 Beretta Sporting Clay Shotguns

 Beretta 687EL Sporting O/U

 Beretta 682 Super Sporting O/U

 Beretta Series 682 Competition Over/Unders

 Browning Citori O/U Shotgun

 Browning Superlight Citori Over/Under

 Browning Lightning Sporting Clays

 Browning Micro Citori Lightning

 Browning Citori Plus Trap Combo

 Browning Citori Plus Trap Gun

 Browning Citori O/U Skeet Models

 Browning Citori O/U Trap Models

 Browning Special Sporting Clays

 Browning Citori GTI Sporting Clays

 Browning 325 Sporting Clays

 Centurion Over/Under Shotgun

 Chapuis Over/Under Shotgun

 Connecticut Valley Classics Classic Sporter O/U

 Connecticut Valley Classics Classic Field Waterfowler



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 Charles Daly Field Grade O/U

 Charles Daly Lux O/U

 E.A.A./Sabatti Sporting Clays Pro-Gold O/U

 E.A.A./Sabatti Falcon-Mon Over/Under

 Kassnar Grade I O/U Shotgun

 Krieghoff K-80 Sporting Clays O/U

 Krieghoff K-80 Skeet Shotgun

 Krieghoff K-80 International Skeet

 Krieghoff K-80 Four-Barrel Skeet Set

 Krieghoff K-80/RT Shotguns

 Krieghoff K-80 O/U Trap Shotgun

 Laurona Silhouette 300 Sporting Clays

 Laurona Silhouette 300 Trap

 Laurona Super Model Over/Unders

 Ljutic LM-6 Deluxe O/U Shotgun

 Marocchi Conquista Over/Under Shotgun

 Marocchi Avanza O/U Shotgun

 Merkel Model 200E O/U Shotgun

 Merkel Model 200E Skeet, Trap Over/Unders

 Merkel Model 203E, 303E Over/Under Shotguns

 Perazzi Mirage Special Sporting O/U

 Perazzi Mirage Special Four-Gauge Skeet

 Perazzi Sporting Classic O/U

 Perazzi MX7 Over/Under Shotguns

 Perazzi Mirage Special Skeet Over/Under

 Perazzi MX8/MX8 Special Trap, Skeet

 Perazzi MX8/20 Over/Under Shotgun

 Perazzi MX9 Single Over/Under Shotguns

 Perazzi MX12 Hunting Over/Under



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 Perazzi MX28, MX410 Game O/U Shotfuns

 Perazzi MX20 Hunting Over/Under

 Piotti Boss Over/Under Shotgun

 Remington Peerless Over/Under Shotgun

 Ruger Red Label O/U Shotgun

 Ruger Sporting Clays O/U Shotgun

 San Marco 12-Ga. Wildflower Shotgun

 San Marco Field Special O/U Shotgun

 San Marco 10-Ga. O/U Shotgun

 SKB Model 505 Deluxe Over/Under Shotgun

 SKB Model 685 Over/Under Shotgun

 SKB Model 885 Over/Under Trap, Skeet, Sporting Clays

 Stoeger/IGA Condor I O/U Shotgun

 Stoeger/IGA ERA 2000 Over/Under Shotgun

 Techni-Mec Model 610 Over/Under

 Tikka Model 412S Field Grade Over/Under

 Weatherby Athena Grade IV O/U Shotguns

 Weatherby Athena Grade V Classic Field O/U

 Weatherby Orion O/U Shotguns

 Weatherby II, III Classic Field O/Us

 Weatherby Orion II Classic Sporting Clays O/U

 Weatherby Orion II Sporting Clays O/U

 Winchester Model 1001 O/U Shotgun

 Winchester Model 1001 Sporting Clays O/U

 Pietro Zanoletti Model 2000 Field O/U


                                              Shotguns–Side by Sides


 American Arms Brittany Shotgun

 American Arms Gentry Double Shotgun



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 American Arms Derby Side-by-Side

 American Arms Grulla #2 Double Shotgun

 American Arms WS/SS 10

 American Arms TS/SS 10 Double Shotgun

 American Arms TS/SS 12 Side-by-Side

 Arrieta Sidelock Double Shotguns

 Armsport 1050 Series Double Shotguns

 Arizaga Model 31 Double Shotgun

 AYA Boxlock Shotguns

 AYA Sidelock Double Shotguns

 Beretta Model 452 Sidelock Shotgun

 Beretta Side-by-Side Field Shotguns

 Crucelegui Hermanos Model 150 Double

 Chapuis Side-by-Side Shotgun

 E.A.A./Sabatti Sabe-Mon Double Shotgun

 Charles Daly Model Dss Double

 Ferlib Model F VII Double Shotgun

 Auguste Francotte Boxlock Shotgun

 Auguste Francotte Sidelock Shotgun

 Garbi Model 100 Double

 Garbi Model 100 Side-by-Side

 Garbi Model 103A, B Side-by-Side

 Garbi Model 200 Side-by-Side

 Bill Hanus Birdgun Doubles

 Hatfield Uplander Shotgun

 Merkell Model 8, 47E Side-by-Side Shotguns

 Merkel Model 47LSC Sporting Clays Double

 Merkel Model 47S, 147S Side-by-Sides

 Parker Reproductions Side-by-Side



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 Piotti King No. 1 Side-by-Side

 Piotti Lunik Side-by-Side

 Piotti King Extra Side-by-Side

 Piotti Piuma Side-by-Side

 Precision Sports Model 600 Series Doubles

 Rizzini Boxlock Side-by-Side

 Rizzini Sidelock Side-by-Side

 Stoeger/IGA Side-by-Side Shotgun

 Ugartechea 10-Ga. Magnum Shotgun


                                        Shotguns–Bolt Actions & Single Shots


 Armsport Single Barrel Shotgun

 Browning BT-99 Competition Trap Special

 Browning BT-99 Plus Trap Gun

 Browning BT-99 Plus Micro

 Browning Recoilless Trap Shotgun

 Browning Micro Recoilless Trap Shotgun

 Desert Industries Big Twenty Shotgun

 Harrington & Richardson Topper Model 098

 Harrington & Richardson Topper Classic Youth Shotgun

 Harrington & Richardson N.W.T.F. Turkey Mag

 Harrington & Richardson Topper Deluxe Model 098

 Krieghoff KS-5 Trap Gun

 Krieghoff KS-5 Special

 Krieghoff KS-80 Single Barrel Trap Gun

 Ljutic Mono Gun Single Barrel

 Ljutic LTX Super Deluxe Mono Gun

 Ljutic Recoilless Space Gun Shotgun

 Marlin Model 55 Goose Gun Bolt Action



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 New England Firearms Turkey and Goose Gun

 New England Firearms N.W.T.F. Shotgun

 New England Firearms Tracker Slug Gun

 New England Firearms Standard Pardner

 New England Firearms Survival Gun

 Perazzi TM1 Special Single Trap

 Remington 90-T Super Single Shotgun

 Snake Charmer II Shotgun

 Stoeger/IGA Reuna Single Barrel Shotgun

 Thompson/Center TCR '87 Hunter Shotgun.”.


                                             SUMMARY AND PURPOSE

  The purpose of this bill is to create criminal penalties for the manufacture, transfer, or possession of certain firearms
within the category of firearms known as “semiautomatic assault weapons.” It also creates such penalties for certain
ammunition feeding devices, as well as any combination of parts from which such a device can be assembled.

  In reporting legislation banning certain assault weapons last Congress, the Committee on the Judiciary said:

    The threat posed by criminals and mentally deranged individuals armed with semi-automatic assault weapons has
  been tragically widespread. 1

    Since then, the use of semiautomatic assault weapons by criminal gangs, drug-traffickers, and mentally deranged
  persons continues to grow. 2

  H.R. 4296 will restrict the availability of such weapons in the future. The bill protects the rights of persons who
lawfully own such weapons on its date of enactment by a universal “grandfathering” clause and specifically exempts
certain firearms traditionally used for hunting and other legitimate support. It contains no confiscation or registration
provisions; however, it does establish record-keeping requirements for transfers involving grandfathered semiautomatic
assault weapons. Such record-keeping is not required for transfers of grandfathered ammunition feeding devices (or their
component parts.) H.R. 4296 expires (“sunsets”) on its own terms after 10 years.


                                                   BACKGROUND

  A series of hearings over the last five years on the subject of semiautomatic assault weapons has demonstrated that
they are a growing menace to our society of proportion to their numbers: 3 As this Committee said in its report to the
last Congress:

    The carnage inflicted on the American people be criminals and mentally deranged people armed with Rambo-
  style, semi-automatic assault weapons has been overwhelming and continuing. Police and law enforcement groups all




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  over the nation have joined together to support legislation that would help keep these weapons out of the hands of
  criminals. 4

  Since then, evidence continues to mount that these semiautomatic assault weapons are the weapons of choice among
drug dealers, criminal gangs, hate groups, and mentally deranged persons bent on mass murder.

  Use in Crimes. On April 25, 1994, the Director of the Federal Bureau of Alcohol, Tobacco and Firearms testified that
the percentage of semiautomatic assault weapons among guns traced because of their use in crime is increasing:

    In 1990, 5.9 percent of firearms traced were assault weapons. In 1993, that percentage rose to 8.1 percent. Since
  Justice Department studies have shown that assault weapons make up only about 1 percent of the firearms in
  circulation, these percentages strongly suggest that they are proportionately more often used in crimes. 5

  Law enforcement officials confirm this statistical evidence in accounts of the rising level of lethality they face from
assault weapons on the street. For example, the representative of a national police officers' organization testified:

    In the past, we used to face criminals armed with a cheap Saturday Night Special that could fire off six rounds before
  loading. Now it is not at all unusual for a cop to look down the barrel of a TEC–9 with a 32 round clip. The ready
  availability of and easy access to assault weapons by criminals has increased so dramatically that police forces across
  the country are being required to upgrade their service weapons merely as a matter of self-defense and preservation.
  The six-shot .38 caliber service revolver, standard law enforcement issue for years, it just no match against a criminal
  armed with a semi-automatic assault weapon. 6

  A representative of federal law enforcement officers testified that semiautomatic assault weapons “dramatically
escalate the firepower or the user” and “have become the weapon of choice for drug runners, hate groups and the mentally
unstable.” 7

    The TEC–9 assault pistol is the undisputed favorite of drug traffickers, gang members and violent criminals. Cities
  across the country confiscate more TEC–9s than any other assault pistol. The prototype for the TEC–9 was originally
  designed as a submachine gun for the South African government. Now it comes standard with an ammunition
  magazine holding 36 rounds of 9 mm cartridges. It also has a threaded barrel to accept a silencer, and a barrel shroud
  to cool the barrel during rapid fire. To any real sportsman or collector, this firearm is a piece of junk, yet is very
  popular among criminals. 8

  The Secretary of Housing and Urban Development testified that criminal gangs in Chicago routinely use
semiautomatic assault weapons to intimidate not only residents but also security guards, forcing the latter to remove
metal detectors installed to detect weapons. 9

  Use in Mass Killings and Killings of Law Enforcement Officers. Public concern about semiautomatic assault weapons
has grown because of shootings in which large numbers of innocent people have been killed and wounded, and in which
law enforcement officers have been murdered.

  On April 25, 1994, the Subcommittee on Crime and Criminal Justice heard testimony about several incidents
representative of such killings.

  On February 22, 1994, Los Angeles (CA) Police Department rookie officer Christy Lynn Hamilton was ambushed and
killed by a drug-abusing teenager using a Colt AR–15. The round that killed Officer Hamilton penetrated a car door,
skirted the armhole of her protective vest, and lodged in her chest. The teenager also killed his father, who had given him


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the gun, and took his own life as well. Officer Hamilton had been voted the most inspirational officer in her graduating
class only weeks before her murder. Officer Hamilton's surviving brother testified about the impact of this murder. 10

  On December 7, 1993, a deranged gunman walked through a Long Island Railroad commuter train, shooting
commuters. Six died and 19 were wounded. The gunman used a Ruger semiautomatic postol. Although the pistol itself
would not be classified as an assault weapon under this bill, its 15 round ammunition magazine (“clip”) would be banned.
The gunman had several of these high capacity 15 round magazines and reloaded several times, firing between 30 to 50
rounds before he was overpowered while trying to reload yet again. The parents of one of the murdered victims, Amy
Locicero Federici, testified about the impact of this murder. 11

  On February 28, 1993, 4 special agents of the Bureau of Alcohol, Tobacco and Firearms were killed and 15 were
wounded while trying to serve federal search and arrest warrants at the Branch Davidian compound in Waco, Texas. The
Branch Davidian arsenal included hundreds of assault weapons, including AR–15s, AK–47s, Street Sweepers, MAC10s
and MAC–11s, along with extremely high capacity magazines (up to 260 rounds). 12

  Finally, on July 1, 1993, gunman Gian Luigi Ferri Killed 8 people and wounded 6 others in a San Francisco high rise
office building. Ferri–who took his own life–used two TEC DC9 assault pistols with 50 round magazines, purchased
from a gun dealer in Las Vegas, Nevada. Two witnesses, both of whom lost spouses in the slaughter, and one of whom
was herself seriously injured, testified about this incident. 13

  Numerous other notorious incidents involving semiautomatic assault weapons have occurred. They include the
January 25, 1993, slaying of 2 CIA employees and wounding of 3 others at McLean, VA, (AK–47), and the January
17, 1989 murder in a Stockton, CA, schoolyard of 5 small children, and wounding of 29 others (AK–47 and 75 round
magazine, firing 106 rounds in less than 2 minutes).

  Several witnesses who were victims themselves during such incidents testified in opposition to H.R. 4296/H.R. 3527,
and in opposition to the banning of any semiautomatic assault weapons or ammunition feeding devices.

  Dr. Suzanna Gratia witnessed the brutal murder, in Luby's cafeteria located in Killeen, Texas, of both of her parents
who had just celebrated their 47 weeding anniversary. Just a few days before, she had removed her gun from her purse
and left it in her car to comply with a Texas law which does not allow concealed carrying of a firearm. Dr. Gratia testified:

     I am mad at my legislators for legislating me out of a right to protect myself and my family. I would much rather be
  sitting in jail with a felony offense on my head and have my parents alive. As far as these so-called assault weapons,
  you say that they don't have any defense use. You tell that to the guy that I saw on a videotape of the Los Angeles
  riots standing on his rooftop protecting his property and his life from an entire mob with one of these so-called assault
  weapons. Tell me that he didn't have a legitimate self-defense use. 14

  Ms. Jacquie Miller was shot several times with a semiautomatic assault weapon and left for dead at her place of
employment with the Standard Gravure Printing Company in Louisville, Kentucky, when a fellow employee went on a
killing spree. Now permanently disabled, Ms. Miller testified:

    It completely enrages me that my tragedy is being used against me to deny me and all the law abiding citizens of this
  country to the right of the firearm of our choosing. I refuse in return to use my tragedy for retribution against innocent
  people just to make myself feel better for having this misfortune. Enforce the laws against criminals already on the
  books. After all, there are already over 20,000 of them. 15 More won't do a thing for crime control *** You cannot ban
  everything in the world that could be used as a weapon because you fear it, don't understand it, or don't agree with it.




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    This is America, not Lithuania or China. Our most cherished possession is our Constitution and Bill of Rights. Let's
  not sell those down the river or we could one day find ourselves in a boat without a paddle against the criminals who
  think we are easy pickings. 16

  Mr. Phillip Murphy used his lawfully-possessed Colt AR–15 H-BAR Sporter semiautomatic rifle–a gun which would
be specifically banned by H.R. 4296–to capture one of Tucson, Arizona's most wanted criminals who was attempting to
burglarize the home of Mr. Murphy's parents. The 19-year old criminal he captured was a three-time loser with 34 prior
convictions who was violating his third adult State parole for a knife assault. Mr. Murphy testified:

    I respectfully urge this Committee and the Congress of the United States to restrain themselves from forcing tens of
  millions of law-abiding Americans like me to choose between the law and their lives. 17

  The Characteristics of Military-Style Semiautomatic Assault Weapons. The question of what constitutes an assault
weapon has been studied by the Congress and the executive branch as the role of these guns in criminal violence has
grown.

  A Bureau of Alcohol, Tobacco and Firearms working group formed under the Bush administration to consider
banning foreign imports of such semiautomatic assault weapons conducted the most recent comprehensive study of
military assault weapons and the civilian firearms that are modelled after them. 18 The working group formulated a
definition of the civilian version, and a list of the assault weapon characteristics that distinguish them from sporting
guns. That technical work has to a large extent been incorporated into H.R. 4296. 19

  The working group settled on the term “semiautomatic assault” for the civilian firearms at issue. That term
distinguishes the civilian firearms from the fully automatic military weapons (machineguns) 20 after which they are
modelled and often simply adapted by eliminating the automatic fire feature. The group determined that “semiautomatic
assault rifles *** represent a distinctive type of rifle distinguished by certain general characteristics which are common
to the modern military assault rifle.” 21

  The group elaborated on the nature of those characteristics as follows:

   The modern military assault rifle, such as the U.S. M16, German G3, Belgian FN/FAL, and Soviet AK–47, is a
  weapon designed for killing or disabling the enemy and *** has characteristics designed to accomplish this purpose.

   We found that the modern military assault rifle contains a variety of physical features and characteristics designed for
  military applications which distinguishes it from traditional sporting rifles. These military features and characteristics
  (other than selective fire) are carried over to the semiautomatic versions of the original military rifle. 22

  The “selective fire” feature to which the working group referred is the ability of the military versions to switch from
fully automatic to semiautomatic fire at the option of the user. Since Congress has already banned certain civilian transfer
or possession of machineguns, 23 the civilian models of these guns are produced with semiautomatic fire capability only.
However, testimony was received by the Subcommittee on Crime and Criminal Justice that it is a relatively simple task
to convert 24 a semiautomatic weapon to automatic fire 25 and that semiautomatic weapons can be fired at rates of 300
to 500 rounds per minute, making them virtually indistinguishable in practical effect from machineguns. 26

  The 1989 Report's analysis of assault characteristics which distinguish such firearms from sporting guns was further
explained by an AFT representative at a 1991 hearing before the Subcommittee on Crime and Criminal Justice:




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    We found that the banned rifles represented a distinctive type of rifle characterized by certain military features which
  differentiated them from the traditional sporting rifles. These include the ability to accept large capacity detachable
  magazines, bayonets, folding or telescoping stocks, pistol grips, flash suppressors, bipods, grenade launchers and night
  sights, and the fact that they are semiautomatic versions of military machineguns. 27

 Proponents of these military style semiautomatic assault weapons often dismiss these combat-designed features as
merely “cosmetic.” The Subcommittee received testimony that, even if these characteristics were merely “cosmetic” in
effect, it is precisely those cosmetics that contribute to their usefulness as tools of intimidation by criminals. 28

  However, the expert evidence is that the features that characterize a semiautomatic weapon as an assault weapon are
not merely cosmetic, but do serve specific, combat-functional ends. By facilitating the deadly “spray fire” of the weapon
or enhancing its portability–a useful attribute in combat but one which serves to enhance the ability to conceal the gun
in civilian life. 29

  High-capability magazine, for example, make it possible to fire a large number of rounds without re-loading, then to
reload quickly when those rounds are spent. 30 Most of the weapons covered by the proposed legislation come equipped
with magazines that hold 30 rounds. Even these magazines, however, can be replaced with magazines that hold 50 or
even 100 rounds. Furthermore, expended magazines can be quickly replaced, so that a single person with a single assault
weapon can easily fire literally hundreds of rounds within minutes. As noted above, tests demonstrate that semiautomatic
guns can be fired at very high rates of fire. In contrast, hunting rifles and shotguns typically have much smaller magazine
capabilities–from 3 to 5.

  Because of the greater enhanced lethality–numbers of rounds that can be fired quickly without reloading–H.R. 4296
also contains a ban on ammunition magazines which hold more than 10 rounds, as well as any combination of parts
from which such a magazine can be assembled.


   Barrel shrouds also serve a combat-functional purpose. 31 Gun barrels become very hot when multiple rounds are
fired through them quickly. The barrel shroud cools the barrel so that it will not overheat, and provides the shooter with
a convenient grip especially suitable for spray-firing.

  Similar military combat purposes are served by flash suppressors (designed to help conceal the point of fire in night
combat), bayonet mounts, grenade launchers, and pistol grips engrafted on long guns. 32

  The net effect of these military combat features is a capability for lethality–more wounds, more serious, in more
victims–far beyond that of other firearms in general, including other semiautomatic guns. 33


                                         BRIEF EXPLANATION OF H.R. 4296

  H.R. 4296 combines two approaches which have been followed in the past in legislation proposed to control
semiautomatic assault weapons–the so-called “list” approach and the “characteristics” approach.

  The bill does not ban any semiautomatic assault weapons nor large capacity ammunition feeding device (or component
parts) otherwise lawfully possessed on the date of enactment. However, records must be kept by both the transferor and
the transferee involved in any transfer of these weapons, but not of the feeding devices (or combination of parts).




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  The bill explicitly exempts all guns with other than semiautomatic actions–i.e., bolt, slide, pump, and lever actions.
In addition, it specifically exempts by make and model 661 long guns most commonly used in hunting and recreational
sports, 34 making clear that these semiautomatic assault weapons are not and cannot be subject to any ban.

  Section 2(z) of the bill lists 19 specific semiautomatic assault weapons–such as the AK–47, M–10, TEC–9, Uzi, etc.–
that are banned. 35 It also defines other assault weapons by specifically enumerating combat style characteristics and
bans those semiautomatic assault weapons that have 2 or more of those characteristics. 36

  The bill makes clear that the list of exempted guns is not exclusive. The fact that a gun is not on the exempted list
may not be construed to mean that it is banned. Thus, a gun that is not on the list of guns specifically banned by name
would only be banned if it met the specific characteristics set out in the characteristics test. No gun may be removed
from the exempted list.

  H.R. 4296 also bans large capacity ammunition feeding devices–clips that accept more than 10 rounds of ammunition–
as well as any combination of parts from which such a device can be assembled.

  The bill exempts all semiautomatic assault weapons and large capacity ammunition feeding devices (as well as any
combination of parts) that are lawfully possessed on date of enactment. Owners of such semiautomatic assault weapons
need do nothing under the bill unless they wish to transfer the semiautomatic assault weapon.

  H.R. 4296 differs significantly from previously-proposed legislation–it is designed to be more tightly focused and more
carefully crafted to clearly exempt legitimate sporting guns. Most significantly, the ban in the 1991 proposed bill gave
the Bureau of Alcohol, Tobacco, and Firearms authority to ban any weapon which “embodies the same configuration”
as the named list of guns. The current bill, H.R. 4296 does not contain any such general authority. Instead, it contains
a set of specific characteristics that must be present in order to ban any additional semiautomatic assault weapons.


                                                     102d Congress

  The Subcommittee on Crime and Criminal Justice held hearings on semiautomatic assault weapons on June 12 and
July 25, 1991. A ban on certain semiautomatic assault weapons was included as Subtitle A of Title XX in H.R. 3371, the
Omnibus Crime Control Act of 1991. A ban on large capacity ammunition feeding devices was included in the same bill.
The bill was reported out of the Judiciary Committee on October 7, 1991. The provisions dealing with semiautomatic
assault weapons and large capacity ammunition feeding devices were struck by the House of Representatives by a vote
of 247–177 on October 17, 1991.


                                                     103d Congress

  The Subcommittee on Crime and Criminal Justice held hearings on H.R. 4296 and its predecessor, H.R. 3527, which
ban semiautomatic assault weapons, on April 25, 1994. The Subcommittee reported favorably on an amendment in the
nature of a substitute to H.R. 4296 on April 26, 1994, by a recorded vote of 8–5.


                                               COMMITTEE ACTION

  The Committee on the Judiciary met on April 28, 1994 to consider H.R. 4296, as amended. Two amendments were
adopted during the Committee's consideration.




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  An amendment was offered to provide that the absence of a firearm from the list of guns specifically exempted from
the ban may not be construed as evidence that the semiautomatic assault weapon is banned, and that no gun may be
removed from the exempt list so long as the Act is in effect. This amendment was adopted by voice vote.

  An amendment was offered to delete a provision that barred from owning any firearms those persons convicted of
violating the recordkeeping requirements relating to grandfathered weapons. This amendment was adopted by voice
vote.

  A reporting quorum being present, the Committee on the Judiciary, by a roll call vote of 20 to 15, ordered H.R. 4296,
as amended, favorably reported to the House.


                                         SECTION-BY-SECTION ANALYSIS

                                              SECTION 1–SHORT TITLE

  This section provides that the Act may be cited as the “Public Safety and Recreational Firearms Use Protection Act”.


                     SECTION 2–RESTRICTION ON MANUFACTURE, TRANSFER, AND
                     POSSESSION OF CERTAIN SEMIAUTOMATIC ASSAULT WEAPONS

   Subsection 2(a) makes it unlawful for a person to manufacture, transfer, or possess a semiautomatic assault weapon
(including any “copies or duplicates.”)

  The ban on transfer and possession does not apply to (1) weapons otherwise lawfully possessed on the date of
enactment; (2) any of the firearms (or their replicas or duplicates) listed in Appendix A; (3) any manually operated (bolt,
pump, slide, lever action), permanently inoperable, or antique firearms; (4) semiautomatic rifles that cannot accept a
detachable magazine that holds more than 5 rounds; or, a semiautomatic shotgun that cannot hold more than 5 rounds
in a fixed or detachable magazine.

 The fact that a gun is not listed in Appendix A may not be construed to mean that it is banned. No gun listed in
Appendix A may be removed from that exempted list so long as the Act is in effect.

  Federal departments and agencies and those of States and their subdivisions are exempted. Law enforcement officers
authorized to purchase firearms for official use are exempted, as are such officers presented with covered weapons
upon retirement who are not otherwise prohibited from receiving such a weapon. Finally, weapons made, transferred,
possessed, or imported for the purposes of testing or experiments authorized by the Secretary of the Treasury are
exempted.

  Subsection 2(b) defines semiautomatic assault weapons, both by name and by characteristics. It lists by name specific
firearms, including “copies or duplicates” of such firearms. 37 Characteristics of covered semiautomatic rifles, pistols,
and shotguns are defined by separate subsections applicable to each. In the case of rifles and pistols, in addition to being
semiautomatic, a gun must be able to accept a detachable magazine and have at least 2 listed characteristics.

  In the case of rifles, those characteristics are: (1) folding or telescoping stock; (2) a pistol grip that protrudes
conspicuously beneath the action of the weapon; (3) a bayonet mount; (4) a flash suppressor or threaded barrel designed
to accommodate a flash suppressor; and (5) a grenade launcher.




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  In the case of pistols, the characteristics are: (1) a magazine that attaches to the pistol outside of the pistol grip; (2)
a threaded barrel capable of accepting a barrel extender, flash suppressor, forward handgrip, or silencer; (3) a barrel
shroud that permits the shooter to hold the firearm without being burned; (4) an unloaded manufactured weight of 50
ounces or more; and (5) a semiautomatic version of an automatic firearm.

  In the case of shotguns, covered weapons must have at least 2 of the following four features: (1) a folding or telescoping
stock; (2) a pistol grip that protrudes conspicuously beneath the action of the weapon; (3) a fixed magazine capacity in
excess of 5 rounds; and (4) an ability to accept a detachable magazine.

  The section provides a fine of not more than $5,000, imprisonment for not more than 5 years, or both, for knowingly
violating the ban on manufacture, transfer and possession. It also adds use of a semiautomatic assault weapon to the
crimes covered by the mandatory minimum of 5 years under 18 USC Section 924(c)(1) for use in a federal crime of
violence or drug trafficking crime.

  Finally, the section requires that semiautomatic assault weapons manufactured after the date of enactment must clearly
show the date on which the weapon was manufactured.


                               SECTION 3–RECORDKEEPING REQUIREMENTS
                             FOR TRANSFERS OF GRANDFATHERED FIREARMS

  This section makes it unlawful to transfer a grandfathered semiautomatic assault weapon unless both the transferor
and the transferee complete and retain a copy of federal form 4473 (or its successor). Within 90 days of enactment, the
Secretary of the Treasury must issue regulations ensuring the availability of the form to owners of semiautomatic assault
weapons. The Committee expects the Secretary to make such forms easily and readily available to such gun owners. The
Committee further expects the Secretary to maintain the confidentiality of the requester and to ensure the destruction
of any and all information pertaining to any request for such forms immediately upon complying with the request. The
Committee does not expect the Secretary to release any such information to any other Department of the Federal, State
or local Governments or to use the information in any way other than to comply with the requests for the form. The
Committee would consider failure to comply with these expectations a very serious breach.

  A person who knowingly violates the recordkeeping requirement shall be fined not more than $1,000, imprisoned for
not more than 6 months or both.


                SECTION 4–BAN OF LARGE CAPACITY AMMUNITION FEEDING DEVICES

   Subsection 4(a) makes it unlawful for a person to transfer or possess a large capacity ammunition feeding device (which
is defined to include any combination of parts from which such a device can be assembled.)

  The ban on transfer and possession does not apply to (1) devices (or component parts) otherwise lawfully possessed
on the date of enactment; (2) Federal departments and agencies and those of States and their subdivisions; (3) law
enforcement officers authorized to purchase ammunition feeding devices for official use; devices transferred to such
officers upon retirement who are not otherwise prohibited from receiving them; and (3) devices (or combination of parts)
made, transferred, possessed, or imported for the purpose of testing or experiments authorized by the Secretary of the
Treasury are exempted.

  Subsection 4(b) defines large capacity ammunition feeding device to mean a magazine, belt, drum, feed strip, or similar
device that has a capacity of more than 10 rounds, or can be readily restored or converted to accept more than 10 rounds.




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It includes any combination of parts from which such a device can be assembled. It exempts an attached tubular device
designed to accept and capable of operating only with .22 caliber rimfire ammunition.

  Subsection 4(c) adds large capacity ammunition feeding devices to the definition of “firearm” under 18 US Code
section 921(a)(3).

  Subsection 4(d) provides a fine of not more than $5,000, imprisonment for not more than 5 years, or both, for
knowingly violating the ban.

  Subsection 4(e) requires that large capacity ammunition feeding devices manufactured after the date of enactment be
identified by a serial number that clearly shows the device was manufactured after the date or imported after the date of
enactment, and such other identification as the Secretary of the Treasury may by regulation prescribe.


                                 SECTION 5–STUDY BY ATTORNEY GENERAL

  This section requries the Attorney General to study and report to the Congress no later than 30 months after its
enactment the effects of the Act, particularly with regard to its impact–if any–on violent and drug-trafficking crime.

  The study shall be conducted over a period of 18 months, commencing 12 months after the date of enactment.


                                          SECTION 6–EFFECTIVE DATE

  The Act and the amendment made by the Act take effect on the date of enactment and are repealed effective as of
the date that is 10 years after that date.


                            SECTION 7–APPENDIX A TO SECTION 922 OF TITLE 18

  This section adds, as Appendix A, a list of firearms that are specifically exempted from the ban on semiautomatic
assault weapons.


                                      COMMITTEE OVERSIGHT FINDINGS

  In compliance with clause 2(l)(3)(A) of rule XI of the Rules of the House of Representatives, the Committee reports
that the findings and recommendations of the Committee, based on oversight activities under clause 2(b)(1) of rule X of
the Rules of the House of Representatives, are incorporated in the descriptive portions of this report.


                  COMMITTEE ON GOVERNMENT OPERATIONS OVERSIGHT FINDINGS

  No findings or recommendations of the Committee on Government Operations were received as referred to in clause
2(l)(3)(D) of rule XI of the Rules of the House of Representatives.


                           NEW BUDGET AUTHORITY AND TAX EXPENDITURES

  Clause 2(l)(3)(B) of House Rule XI is inapplicable because this legislation does not provide new budgetary authority
or increased tax expenditures.




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                                     INFLATIONARY IMPACT STATEMENT

  Pursuant to clause 2(l)(4) of rule XI of the Rules of the House of Representatives, the Committee estimates that H.R.
4296 will have no significant inflationary impact on prices and costs in the national economy.


                             CONGRESSIONAL BUDGET OFFICE COST ESTIMATE

  In compliance with clause 2(l)(3)(C) of rule XI of the Rules of the House of Representatives, the Committee sets forth,
with respect to the bill H.R. 4296, the following estimate and comparison prepared by the Director of the Congressional
Budget Office under section 403 of the Congressional Budget Act of 1974:

                                           U.S. Congress,
                                           Congressional Budget Office.
                                           Washington, DC, May 2, 1994.
Hon. Jack Brooks,
Chairman, Committee on the Judiciary,
House of Representatives, Washington, DC.
  Dear Mr. Chairman: The Congressional Budget Office has reviewed H.R. 4296, the Public Safety and Recreational
Firearms Use Protection Act, as ordered reported by the House Committee on the Judiciary on April 28, 1994. We
estimate that enactment of the bill would result in costs to the federal government over the 1995–1999 period of less than
$500,000 from appropriated amounts. In addition, we estimate that enactment of H.R. 4296 would lead to increases in
receipts of less than $10 million a year from new criminal fines. Such receipts would be deposited in the Crime Victims
Fund and spent in the following year. Because the bill could affect direct spending and receipts, pay-as-you-go procedures
would apply. The bill would not affect the budgets of state or local governments.

  H.R. 4296 would ban the manufacture, transfer, and possession of certain semiautomatic assault weapons not lawfully
possessed as of the date of the bill's enactment. The bill also would ban the transfer and possession of certain large-
capacity ammunition feeding devices not lawfully possessed as of the date of enactment. In addition, H.R. 4296 would
establish recordkeeping requirements for transfers of grandfathered weapons and would direct the Attorney General to
conduct a study of the bill's impact. Finally, the bill would create new federal crimes and associated penalties–prison
sentences and criminal fines–for violation of its provisions.

  The new recordkeeping requirements and the impact study would increase costs to the Department of the Treasury
and the Department of Justice, respectively, but we estimate that these costs would be less than $500,000 over the next
several years from appropriated amounts. The imposition of new criminal fines in H.R. 4296 could cause governmental
receipts to increase through greater penalty collections. We estimate that any such increase would be less than $10 million
annually. Criminal fines would be deposited in the Crime Victims Fund and would be spent in the following year. Thus,
direct spending from the fund would match the increase in revenues with a one-year lag.

  If you wish further details on this estimate, we will be pleased to provide them.

Sincerely,
                                           Robert D. Reischauer, Director.

                     CHANGES IN EXISTING LAW MADE BY THE BILL, AS REPORTED

    In compliance with clause 3 of rule XIII of the Rules of the House of Representatives, changes in existing law made
  by the bill, as reported, are shown as follows (existing law proposed to be omitted is enclosed in black brackets, new
  matter is printed in italic, existing law in which no change is proposed is shown in roman):


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                               CHAPTER 44 OF TITLE 18, UNITED STATES CODE

                                                        *******

                                               CHAPTER 44–FIREARMS

S 921. Definitions

    (a) As used in this chapter–

    (1)***

                                                        *******
     (3) The term “firearm” means (A) any weapon (including a starter gun) which will or is designed to or may readily
  be converted to expel a projectile by the action of an explosive; (B) the frame or receiver of any such weapon; (C) any
  firearm muffler or firearm silencer; [or (D) any destructive device.] (D) any destructive device; or (E) any large capacity
  ammunition feeding device. Such term does not include an antique firearm.

                                                  *******
    (30) The term “semiautomatic assault weapon” means–

    (A) any of the firearms, or copies or duplicates of the firearms, known as–

    (i) Norinco, Mitchell, and Poly Technologies Avtomat Kalashnikovs (all models);

    (ii) Action Arms Israeli Military Industries UZI and Galil;

    (iii) Beretta Ar70 (SC–70);

    (iv) Colt AR–15;

    (v) Fabrique National FN/FAL, FN/LAR, and FNC;

    (vi) SWD M–10, M–11, M–11/9, and M–12;

    (vii) Steyr AUG;

    (viii) INTRATEC TEC–9, TEC–DC9 and TEC–22; and

    (ix) revolving cylinder shotguns, such as (or similar to) the Street Sweeper and Striker 12;

    (B) a semiautomatic rifle that has an ability to accept a detachable magazine and has at least 2 of–

    (i) a folding or telescoping stock;

    (ii) a pistol grip that protrudes conspicuously beneath the action of the weapon;

    (iii) a bayonet mount;



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    (iv) a flash suppressor or threaded barrel designed to accommodate a flash suppressor; and

    (v) a grenade launcher;

    (C) a semiautomatic pistol that has an ability to accept a detachable magazine and has at least 2 of–

    (i) an ammunition magazine that attaches to the pistol outside of the pistol grip;

    (ii) a threaded barrel capable of accepting a barrel extender, flash suppressor, forward handgrip, or silencer;

    (iii) a shroud that is attached to, or partially or completely encircles, the barrel and that permits the shooter to hold
  the firearm with the nontrigger hand without being burned;

    (iv) a manufactured weight of 50 ounces or more when the pistol is unloaded; and

    (v) a semiautomatic version of an automatic firearm; and

    (D) a semiautomatic shotgun that has at least 2 of–

    (i) a folding or telescoping stock;

    (ii) a pistol grip that protrudes conspicuously beneath the action of the weapon;

    (iii) a fixed magazine capacity in excess of 5 rounds; and

    (iv) an ability to accept a detachable magazine.

    (31) The term “large capacity ammunition feeding device”–

    (A) means–

    (i) a magazine, belt, drum, feed strip, or similar device that has a capacity of, or that can be readily restored or
  converted to accept, more than 10 rounds of ammunition; and

    (ii) any combination of parts from which a device described in clause (i) can be assembled; but

    (B) does not include an attached tubular device designed to accept, and capable of operating only with, .22 caliber
  rimfire ammunition.


S 922. Unlawful acts

    (a) It shall be unlawful–

                                                      *******
    (v)(1) It shall be unlawful for a person to manufacture, transfer, or possess a semiautomatic assault weapon.

    (2) Paragraph (1) shall not apply to the possession or transfer of any semiautomatic assault weapon otherwise
  lawfully possessed on the date of the enactment of this subsection.




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    (3) Paragraph (1) shall not apply to–

     (A) any of the firearms, or replicas or duplicates of the firearms, specified in Appendix A to this section, as such
  firearms were manufactured on October 1, 1993;

    (B) any firearm that–

    (i) is manually operated by bolt, pump, lever, or slide action;

    (ii) has been rendered permanently inoperable; or

    (iii) is an antique firearm;

    (C) any semiautomatic rifle that cannot accept a detachable magazine that holds more than 5 rounds of ammunition;
  or

   (D) any semiautomatic shotgun that cannot hold more than 5 rounds of ammunition in a fixed or detachable
  magazine.

The fact that a firearm is not listed in Appendix A shall not be construed to mean that paragraph (1) applies to such
firearm. No firearm exempted by this subsection may be deleted from Appendix A so long as this Act is in effect.

    (4) Paragraph (1) shall not apply to–

    (A) the United States or a department or agency of the United States or a State or a department, agency, or political
  subdivision of a State;

     (B) the transfer of a semiautomatic assault weapon by a licensed manufacturer, licensed importer, or licensed dealer
  to an entity referred to in subparagraph (A) or to a law enforcement officer authorized by such an entity to purchase
  firearms for official use;

    (C) the possession, by an individual who is retired from service with a law enforcement agency and is not otherwise
  prohibited from receiving a firearm, of a semiautomatic assault weapon transferred to the individual by the agency
  upon such retirement; or

     (D) the manufacture, transfer, or possession of a semiautomatic assault weapon by a licensed manufacturer or
  licensed importer for the purposes of testing or experimentation authorized by the Secretary.

    (w)(1) It shall be unlawful for a person to sell, ship, or deliver a semiautomatic assault weapon to a person who has
  not completed a form 4473 in connection with the transfer of the semiautomatic assault weapon.

    (2) It shall be unlawful for a person to receive a semiautomatic assault weapon unless the person has completed a
  form 4473 in connection with the transfer of the semiautomatic assault weapon.

    (3) If a person receives a semiautomatic assault weapon from anyone other than a licensed dealer, both the person
  and the transferor shall retain a copy of the form 4473 completed in connection with the transfer.

    (4) Within 90 days after the date of the enactment of this subsection, the Secretary shall prescribe regulations ensuring
  the availability of form 4473 to owners of semiautomatic assault weapons.



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    (5) As used in this subsection, the term “form 4473” means–

    (A) the form which, as of the date of the enactment of this subsection, is designated by the Secretary as form 4473; or

    (B) any other form which–

    (i) is required by the Secretary, in lieu of the form described in subparagraph (A), to be completed in connection
  with the transfer of a semiautomatic assault weapon; and

     (ii) when completed, contains, at a minimum, the information that, as of the date of the enactment of this subsection,
  is required to be provided on the form described in subparagraph (A).

   (x)(1) Except as provided in paragraph (2), it shall be unlawful for a person to transfer or possess a large capacity
  ammunition feeding device.

    (2) Paragraph (1) shall not apply to the possession or transfer of any large capacity ammunition feeding device
  otherwise lawfully possessed on the date of the enactment of this subsection.

    (3) This subsection shall not apply to–

    (A) the United States or a department or agency of the United States or a State or a department, agency, or political
  subdivision of a State;

     (B) the transfer of a large capacity ammunition feeding device by a licensed manufacturer, licensed importer, or
  licensed dealer to an entity referred to in subparagraph (A) or to a law enforcement officer authorized by such an entity
  to purchase large capacity ammunition feeding devices for official use;

    (C) the possession, by an individual who is retired from service with a law enforcement agency and is not otherwise
  prohibited from receiving ammunition, of a large capacity ammunition feeding device transferred to the individual by
  the agency upon such retirement; or

   (D) the manufacture, transfer, or possession of any large capacity ammunition feeding device by a licensed
  manufacturer or licensed importer for the purposes of testing or experimentation authorized by the Secretary.


                                                     APPENDIX A


                                              Centerfire Rifles–Autoloaders


 Browning BAR Mark II Safari Semi-Auto Rifle

 Browning BAR Mark II Safari Magnum Rifle

 Browning High-Power Rifle

 Heckler & Koch Model 300 Rifle

 Iver Johnson M-1 Carbine




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 Iver Johnson 50th Anniversary M-1 Carbine

 Marlin Model 9 Camp Carbine

 Marlin Model 45 Carbine

 Remington Nylon 66 Auto-Loading Rifle

 Remington Model 7400 Auto Rifle

 Remington Model 7400 Rifle

 Remington Model 7400 Special Purpose Auto Rifle

 Ruger Mini-14 Autoloading Rifle (w/o folding stock)

 Ruger Mini Thirty Rifle


                                          Centerfire Rifles–Lever & Slide


 Browning Model 81 BLR Lever-Action Rifle

 Browning Model 81 Long Action BLR

 Browning Model 1886 Lever-Action Carbine

 Browning Model 1886 High Grade Carbine

 Cimarron 1860 Henry Replica

 Cimarron 1866 Winchester Replicas

 Cimarron 1873 Short Rifle

 Cimarron 1873 Sporting Rifle

 Cimarron 1873 30” Express Rifle

 Dixie Engraved 1873 Rifle

 E.M.F. 1866 Yellowboy Lever Actions

 E.M.F. 1860 Henry Rifle

 E.M.F. Model 73 Lever-Actions Rifle

 Marlin Model 336CS Lever-Action Carbine

 Marlin Model 30AS Lever-Action Carbine

 Marlin Model 444SS Lever-Action Sporter

 Marlin Model 1894S Lever-Action Carbine

 Marlin Model 1894CS Carbine



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 Marlin Model 1894CL Classic

 Marlin Model 1895SS Lever-Action Rifle

 Mitchell 1858 Henry Replica

 Mitchell 1866 Winchester Replica

 Mitchell 1873 Winchester Replica

 Navy Arms Military Henry Rifle

 Navy Arms Henry Trapper

 Navy Arms Iron Frame Henry

 Navy Arms Henry Carbine

 Navy Arms 1866 Yellowboy Rifle

 Navy Arms 1873 Winchester-Style Rifle

 Navy Arms 1873 Sporting Rifle

 Remington 7600 Slide Action

 Remington Model 7600 Special-Purpose Slide Action

 Rossi M92 SRC Saddle-Ring Carbine

 Rossi M92 SRS Short Carbine

 Savage 99C Leber-Action Rifle

 Uberti Henry Rifle

 Uberti 1866 Sporting Rifle

 Uberti 1873 Sporting Rifle

 Winchester Model 94 Side Eject Lever-Action Rifle

 Winchester Model 94 Trapper Side Eject

 Winchester Model 94 Big Bore Side Eject

 Winchester Model 94 Ranger Side Eject Lever-Action Rifle

 Winchester Model 94 Wrangler Side Eject


                                              Centerfire Rifles–Bolt Action


 Alpine Bolt-Action Rifle

 A-Square Caesar Bolt-Action Rifle



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 A-Square Hannibal Bolt-Action Rifle

 Anschutz 1700D Classic Rifles

 Anschutz 1700D Custom Rifles

 Anschutz 1700D Bavarian Bolt-Action Rifle

 Anschutz 1733D Mannlicher Rifle

 Barret Model 90 Bolt-Action Rifle

 Beeman/HW 60J Bolt-Action Rifle

 Blaser R84 Bolt-Action Rifle

 BRNO 537 Sporter Bolt-Action Rifle

 BRNO ZKB 527 Fox Bolt-Action Rifle

 BRNO ZKK 600, 601, 602 Bolt-Action Rifles

 Browning A-Bolt Rifle

 Browning A-Bolt Stainless Stalker

 Browning A-Bolt Left Hand

 Browning A-Bolt Short Action

 Browning Euro-Bolt Rifle

 Browning A-Bolt Gold Medallion

 Browning A-Bolt Micro Medallion

 Century Centurion 14 Sporter

 Century Enfield Sporter #4

 Century Swedish Sporter #38

 Century Mauser 98 Sporter

 Cooper Model 38 Centerfire Sporter

 Dakota 22 Sporter Bolt-Action Rifle

 Dakota 76 Classic Bolt-Action Rifle

 Dakota 76 Short Action Rifles

 Dakota 76 Safari Bolt-Action Rifle

 Dakota 416 Rigby African

 E.A.A./Sabatti Rover 870 Bolt-Action Rifle



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 Auguste Francotte Bolt-Action Rifles

 Carl Gustaf 2000 Bolt-Action Rifle

 Heym Magnum Express Series Rifle

 Howa Lightning Bolt-Action Rifle

 Howa Realtree Camo Rifle

 Interarms Mark X Viscount Bolt-Action Rifle

 Interarms Mini-Mark X Rifle

 Interarms Mark X Whitworth Bolt-Action Rifle

 Interarms Whitworth Express Rifle

 Iver Johnson Model 5100A1 Long-Range Rifle

 KDF K15 American Bolt-Action Rifle

 Krico Model 600 Bolt-Action Rifle

 Krico Model 700 Bolt-Action Rifle

 Mauser Model 66 Bolt-Action Rifle

 Mauser Model 99 Bolt-Action Rifle

 McMillan Signature Classic Sporter

 McMillan Signature Super Varminter

 McMillan Signature Alaskan

 McMillan Signature Titanium Mountain Rifle

 McMillan Classic Stainless Sporter

 McMillan Talon Safari Rifle

 McMillan Talon Sporter Rifle

 Midland 1500S Survivor Rifle

 Navy Arms TU-33/40 Carbine

 Parker-Hale Model 81 Classic Rifle

 Parker-Hale Model 81 Classic African Rifle

 Parker-Hale Model 1000 Rifle

 Parker-Hale Model 1000M African Rifle

 Parker-Hale Model 1100 Lightweight Rifle



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 Parker-Hale Model 1200 Super Rifle

 Parker-Hale Model 1200 Super Clip Rifle

 Parker-Hale Model 1300C Scout Rifle

 Parker-Hale Model 2100 Midland Rifle

 Parker-Hale Model 2700 Lightweight Rifle

 Parker-Hale Model 2800 Midland Rifle

 Remington Model Seven Bolt-Action Rifle

 Remington Model Seven Youth Rifle

 Remington Model Seven Custom KS

 Remington Model Seven Custom MS Rifle

 Remington 700 ADL Bolt-Action Rifle

 Remington 700 BDL Bolt-Action Rifle

 Remington 700 BDL Varmint Special

 Remington 700 BDL European Bolt-Action Rifle

 Remington 700 Varmint Synthetic Rifle

 Remington 700 BDL SS Rifle

 Remington 700 Stainless Synthetic Rifle

 Remington 700 MTRSS Rifle

 Remington 700 BDL Left Hand

 Remington 700 Camo Synthetic Rifle

 Remington 700 Safari

 Remington 700 Mountain Rifle

 Remington 700 Custom KS Mountain Rifle

 Remington 700 Classic Rifle

 Ruger M77 Mark II Rifle

 Ruger M77 Mark II Magnum Rifle

 Ruger M77RL Ultra Light

 Ruger M77 Mark II All-Weather Stainless Rifle

 Ruger M77 RSI International Carbine



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 Ruger M77 Mark II Express Rifle

 Ruger M77VT Target Rifle

 Sako Hunter Rifle

 Sako Fiberclass Sporter

 Sako Hunter Left-Hand Rifle

 Sako Classic Bolt Action

 Sako Hunter LS Rifle

 Sako Deluxe Lighweight

 Sako Super Deluxe Sporter

 Sako Mannlicher-Style Carbine

 Sako Varmint Heavy Barrel

 Sako TRG-S Bolt-Action Rifle

 Sauer 90 Bolt-Action Rifle

 Savage 110G Bolt-Action Rifle

 Savage 110CY Youth/Ladies Rifle

 Savage 110WLE One of One Thousand Limited Edition Rifle

 Savage 110GXP3 Bolt-Action Rifle

 Savage 110F Bolt-Action Rifle

 Savage 110FXP3 Bolt-Action Rifle

 Savage 110GV Varmint Rifle

 Savage 110FV Varmint Rifle

 Savage Model 110FVS Varmint Rifle

 Savage Model 112BV Heavy Barrel Varmint Rifle

 Savage 116FSS Bolt-Action Rifle

 Savage Model 116SK Kodiak Rifle

 Savage 110FP Polic Rifle

 Steyr-Mannlicher Sporter Models SL, L, M, S, S/T

 Steyr-Mannlicher Luxus Model L, M, S

 Steyr-Mannlicher Model M Professional Rifle



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 Tikka Bolt-Action Rifle

 Tikka Premium Grade Rifle

 Tikka Varmint/Continental Rifle

 Tikka Whitetail/Battue Rifle

 Ultra Light Arms Model 20 Rifle

 Ultra Light Arms Model 28, Model 40 Rifles

 Voere VEC 91 Lightning Bolt-Action Rifle

 Voere Model 2166 Bolt-Action Rifle

 Voere Model 2155, 2150 Bolt-Action Rifles

 Weatherby Mark V Deluxe Bolt-Action Rifle

 Weatherby Lasermark V Rifle

 Weatherby Mark V Crown Custom Rifles

 Weatherby Mark V Safari Grade Custom Rifle

 Weatherby Mark V Sporter Rifle

 Weatherby Mark V Safari Grade Custom Rifles

 Weatherby Weathermark Rifle

 Weatherby Weathermark Alaskan Rifle

 Weatherby Classicmark No. 1 Rifle

 Weatherby Weatherguard Alaskan Rifle

 Weatherby Vanguard VGX Deluxe Rifle

 Weatherby Vanguard Classic Rifle

 Weatherby Vanguard Classic No. 1 Rifle

 Weatherby Vanguard Weathermark Rifle

 Wichita Classis Rifle

 Wichita Varmint Rifle

 Winchester Model 70 Sporter

 Winchester Model 70 Sporter WinTuff

 Winchester Model 70 SM Sporter

 Winchester Model 70 Stainless Rifle



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 Winchester Model 70 Varmint

 Winchester Model 70 Synthetic Heavy Varmint Rifle

 Winchester Model 70 DBM Rifle

 Winchester Model 70 DBM-S Rifle

 Winchester Model 70 Featherweight

 Winchester Model 70 Featherweight WinTuff

 Winchester Model 70 Featherweight Classic

 Winchester Model 70 Lightweight Rifle

 Winchester Ranger Rifle

 Winchester Model 70 Super Express Magnum

 Winchester Model 70 Super Grade

 Winchester Model 70 Custom Sharpshooter

 Winchester Model 70 Custom Sporting Sharpshooter Rifle


                                              Centerfire Rifles–Single Shot


 Armsport 1866 Sharps Rifle, Carbine

 Brown Model One Single Shot Rifle

 Browning Model 1885 Single Shot Rifle

 Dakota Single Shot Rifle

 Desert Industries G-90 Single Shot Rifle

 Harrington & Richardson Ultra Varmint Rifle

 Model 1885 High Wall Rifle

 Navy Arms Rolling Block Buffalo Rifle

 Navy Arms #2 Creedmoor Rifle

 Navy Arms Sharps Cavalry Carbine

 Navy Arms Sharps Plains Rifle

 New Enlgand Firearms Handi-Rifle

 Red Willow Armory Ballard No. 5 Pacific

 Red Willow Armory Ballard No. 1.5 Hunting Rifle



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 Red Willow Armory Ballard No. 8 Union Hill Rifle

 Red Willow Armory Ballard No. 4.5 Target Rifle

 Remington-Style Rolling Block Carbine

 Ruger No. 1B Single Shot

 Ruger No. 1A Light Sporter

 Ruger No. 1H Tropical Rifle

 Ruger No. 1S Medium Sporter

 Ruger No. 1 RSI International

 Ruger No. 1V Special Varminter

 C. Sharps Arms New Model 1874 Old Reliable

 C. Sharps Arms New Model 1875 Rifle

 C. Sharps Arms 1875 Classic Sharps

 C. Sharps Arms New Model 1875 Target & Long Range

 Shiloh Sharps 1874 Long Range Express

 Shiloh Sharps 1874 Montana Roughrider

 Shiloh Sharps 1874 Military Carbine

 Shiloh Sharps 1874 Business Rifle

 Shiloh Sharps 1874 Military Rifle

 Sharps 1874 Old Reliable

 Thompson/Center Contender Carbine

 Thompson/Center Stainless Contender Carbine

 Thompson/Center Contender Carbine Survival System

 Thompson/Center Contender Carbine Youth Model

 Thompson/Center TCR '87 Single Shot Rifle

 Uberti Rolling Block Baby Carbine


                                       Drillings, Combination Guns, Double Rifles


 Baretta Express SSO O/U Double Rifles

 Baretta 455 SxS Express Rifle



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 Chapuis RGExpress Double Rifle

 Auguste Francotte Sidelock Double Rifles

 Auguste Francotte Boxlock Double Rifle

 Heym Model 55B O/U Double Rifle

 Heym Model 55FW O/U Combo Gun

 Heym Model 88b Side-by-Side Double Rifle

 Kodiak Mk. IV Double Rifle

 Kreighoff Teck O/U Combination Gun

 Kreighoff Trumpf Drilling

 Merkel Over/Under Combination Guns

 Merkel Drillings

 Merkel Model 160 Side-by-Side Double Rifles

 Merkel Over/Under Double Rifles

 Savage 24F O/U Combination Gun

 Savage 24F-12T Turkey Gun

 Springfield Inc. M6 Scout Rifle/Shotgun

 Tikka Model 412s Combination Gun

 Tikka Model 412S Double Fire

 A. Zoli Rifle-Shotgun O/U Combo


                                              Rimfire Rifles–Autoloaders


 AMT Lightning 25/22 Rifle

 AMT Lightning Small-Game Hunting Rifle II

 AMT Mannum Hunter Auto Rifle

 Anschutz 525 Deluxe Auto

 Armscor Model 20P Auto Rifle

 Browning Auto-22 Rifle

 Browning Auto-22 Grade VI

 Krico Model 260 Auto Rifle



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 Lakefield Arms Model 64B Auto Rifle

 Marlin Model 60 Self-Loading Rifle

 Marlin Model 60ss Self-Loading Rifle

 Marlin Model 70 HC Auto

 Marlin Model 990l Self-Loading Rifle

 Marlin Model 70P Papoose

 Marlin Model 922 Magnum Self-Loading Rifle

 Marlin Model 995 Self-Loading Rifle

 Norinco Model 22 ATD Rifle

 Remington Model 522 Viper Autoloading Rifle

 Remington 522BDL Speedmaster Rifle

 Ruger 10/22 Autoloading Carbine (w/o folding stock)

 Survival Arms AR-7 Explorer Rifle

 Texas Remington Revolving Carbine

 Voere Model 2115 Auto Rifle


                                          Rimfire Rifles–Lever & Slide Action


 Browning BL-22 Lever-Action Rifle

 Marlin 39TDS Carbine

 Marlin Model 39AS Golden Lever-Action Rifle

 Remington 572BDL Fieldmaster Pump Rifle

 Norinco EM-321 Pump Rifle

 Rossi Model 62 SA Pump Rifle

 Rossi Model 62 SAC Carbile

 Winchester Model 9422 Lever-Action Rifle

 Winchester Model 9422 Magnum Lever-Action Rifle


                                       Rimfire Rifles–Bolt Actions & Single Shots


 Anschutz Achiever Bolt-Action Rifle



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 Anschutz 1416D/1516D Classic Rifles

 Anschutz 1418D/1518D Mannlicher Rifles

 Anschutz 1700D Classic Rifles

 Anschutz 1700D Custom Rifles

 Anschutz 1700 FWT Bolt-Action Rifle

 Anschutz 1700D Graphite Custom Rifle

 Anschutz 1700D Bavarian Bolt-Action Rifle

 Armscor Model 14P Bolt-Action Rifle

 Armscor Model 1500 Rifle

 BRNO ZKM-452 Deluxe Bolt-Action Rifle

 BRNO ZKM 452 Deluxe

 Beeman/HW 60-J-ST Bolt-Action Rifle

 Browning A-Bolt 22 Bolt-Action Rifle

 Browning A-Bolt Gold Medallion

 Cabanas Phaser Rifle

 Cabanas Master Bolt-Action Rifle

 Cabanas Espronceda IV Bolt-Action Rifle

 Cabanas Leyre Bolt-Action Rifle

 Chipmunk Single Shot Rifle

 Cooper Arms Model 36S Sporter Rifle

 Dakota 22 Sporter Bolt-Action Rifle

 Krico Model 300 Bolt-Action Rifles

 Lakefield Arms Mark II Bolt-Action Rifle

 Lakefield Arms Mark I Bolt-Action Rifle

 Magtech Model MT-22C Bolt-Action Rifle

 Marlin Model 880 Bolt-Action Rifle

 Marlin Model 881 Bolt-Action Rifle

 Marlin Model 882 Bolt-Action Rifle

 Marlin Model 883 Bolt-Action Rifle



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 Marlin Model 883SS Bolt-Action Rifle

 Marlin Model 25MN Bolt-Action Rifle

 Marlin Model 25N Bolt-Action Repeater

 Marlin Model 15YN “Little Buckaroo”

 Mauser Model 107 Bolt-Action Rifle

 Mauser Model 201 Bolt-Action Rifle

 Navy Arms TU-KKW Training Rifle

 Navy Arms TU-30/40 Carbine

 Navy Arms TU-KKW Sniper Trainer

 Norinco JW-27 Bolt-Action Rifle

 Norinco JW-15 Bolt-Action Rifle

 Remington 541-T

 Remington 40-XR Rimfire Custom Sporter

 Remington 541-T HB Bolt-Action Rifle

 Remington 581-S Sportsman Rifle

 Ruger 77/22 Rimfire Bolt-Action Rifle

 Ruger K77/22 Varmint Rifle

 Ultra Light Arms Model 20 RF Bolt-Action Rifle

 Winchester Model 52B Sporting Rifle


                                       Competition Rifles–Centerfire & Rimfire


 Anschutz 64-MS Left Silhouette

 Anschutz 1808D RT Super Match 54 Target

 Anschutz 1827B Biathlon Rifle

 Anschutz 1903D Match Rifle

 Anschutz 1803D Intermediate Match

 Anschutz 1911 Match Rifle

 Anschutz 54.18MS REP Deluxe Silhouette Rifle

 Anschutz 1913 Super Match Rifle



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 Anschutz 1907 Match Rifle

 Anschutz 1910 Super Match II

 Anschutz 54.18MS Silhouette Rifle

 Anschutz Super Match 54 Targe Model 2013

 Anschutz Super Match 54 Targe Model 2007

 Beeman/Feinwerkbau 2600 Target Rifle

 Cooper Arms Model TRP-1 ISU Standard Rifle

 E.A.A./Weihrauch HW 60 Target Rifle

 E.A.A./HW 60 Match Rifle

 Finnish Lion Standard Target Rifle

 Krico Model 360 S2 Biathlon Rifle

 Krico Model 400 Match Rifle

 Krico Model 360S Biathlon Rifle

 Krico Model 500 Kricotronic Match Rifle

 Krico Model 600 Sniper Rifle

 Krico Model 600 Match Rifle

 Lakefield Arms Model 90B Target Rifle

 Lakefield Arms Model 91T Target Rifle

 Lakefield Arms Model 92S Silhouette Rifle

 Marlin Model 2000 Target Rifle

 Mauser Model 86-SR Specialty Rifle

 McMillan M-86 Sniper Rifle

 McMillan Combo M-87/M-88 50-Caliber Rifle

 McMillan 300 Phoenix Long-Range Rifle

 McMillan M-89 Sniper Rifle

 McMillan National Match Rifle

 McMillan Long-Range Rifle

 Parker-Hale M-87 Target Rifle

 Parker-Hale M-85 Sniper Rifle



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 Remington 40-XB Rangemaster Target Centerfire

 Remington 40-XR KS Rimfire Position Rifle

 Remington 40-XBBR KS

 Remington 40-XC KS National Match Course Rifle

 Sako TRG-21 Bolt-Action Rifle

 Steyr-Mannlicher Match SPG-UIT Rifle

 Steyr-Mannlicher SSG P-I Rifle

 Steyr-Mannlicher SSG P-III Rifle

 Steyr-Mannlicher SSG P-IV Rifle

 Tanner Standard UIT Rifle

 Tanner 50 Meter Free Rifle

 Tanner 300 Meter Free Rifle

 Wichita Silhouette Rifle


                                                Shotguns–Autoloaders


 American Arms/Franchi Black Magic 48/AL

 Benelli Super Black Eagle Shotgun

 Benelli Super Black Eagle Slug Gun

 Benelli M1 Super 90 Field Auto Shotgun

 Benelli Montefeltro Super 90 20-Gauge Shotgun

 Benelli Montefeltro Super 90 Shotgun

 Benelli M1 Sporting Special Auto Shotgun

 Benelli Black Eagle Competition Auto Shotgun

 Beretta A-303 Auto Shotgun

 Beretta 390 Field Auto Shotgun

 Beretta 390 Super Trap, Super Skeet Shotguns

 Beretta Vittoria Auto Shotgun

 Beretta Model 1201F Auto Shotgun

 Browning BSA 10 Auto Shotgun



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 Browning Bsa 10 Stalker Auto Shotgun

 Browning A-500R Auto Shotgun

 Browning A-500G Auto Shotgun

 Browning A-500G Sporting Clays

 Browning Auto-5 Light 12 and 20

 Browning Auto-5 Stalker

 Browning Auto-5 Magnum 20

 Browning Auto-5 Magnum 12

 Churchill Turkey Automatic Shotgun

 Cosmi Automatic Shotgun

 Maverick Model 60 Auto Shotgun

 Mossberg Model 5500 Shotgun

 Mossberg Model 9200 Regal Semi-Auto Shotgun

 Mossberg Model 9200 USST Auto Shotgun

 Mossberg Model 9200 Camo Shotgun

 Mossberg Model 6000 Auto Shotgun

 Remington Model 1100 Shotgun

 Remington 11-87 Premier shotgun

 Remington 11-87 Sporting Clays

 Remington 11-87 Premier Skeet

 Remington 11-87 Premier Trap

 Remington 11-87 Special Purpose Magnum

 Remington 11-87 SPS-T Camo Auto Shotgun

 Remington 11-87 Special Purpose Deer Gun

 Remington 11-87 SPS-BG-Camo Deer/Turkey Shotgun

 Remington 11-87 SPS-Deer Shotgun

 Remington 11-87 Special Purpose Synthetic Camo

 Remington SP-10 Magnum-Camo Auto Shotgun

 Remington SP-10 Magnum Auto Shotgun



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 Remington SP-10 Magnum Turkey Combo

 Remington 1100 LT-20 Auto

 Remington 1100 Special Field

 Remington 1100 20-Gauge Deer Gun

 Remington 1100 LT-20 Tournament Skeet

 Winchester Model 1400 Semi-Auto Shotgun


                                              Shotguns–Slide Actions


 Browning Model 42 Pump Shotgun

 Browning BPS Pump Shotgun

 Browning BPS Stalker Pump Shotgun

 Browning BPS Pigeon Grade Pump Shotgun

 Browning BPS Pump Shotgun (Ladies and Youth Model)

 Browning BPS Game Gun Turkey Special

 Browning BPS Game Gun Deer Special

 Ithaca Model 87 Supreme Pump Shotgun

 Ithaca Model 87 Deerslayer Shotgun

 Ithaca Deerslayer II Rifled Shotgun

 Ithaca Model 87 Turkey Gun

 Ithaca Model 87 Deluxe Pump Shotgun

 Magtech Model 586-VR Pump Shotgun

 Maverick Models 88, 91 Pump Shotguns

 Mossberg Model 500 Sporting Pump

 Mossberg Model 500 Camo Pump

 Mossberg Model 500 Muzzleloader Combo

 Mossberg Model 500 Trophy Slugger

 Mossberg Turkey Model 500 Pump

 Mossberg Model 500 Bantam Pump

 Mossberg Field Grade Model 835 Pump Shotgun



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 Mossberg Model 835 Regal Ulti-Mag Pump

 Remington 870 Wingmaster

 Remington 870 Special Purpose Deer Gun

 Remington 870 SPS-BG-Camo Deer/Turkey Shotgun

 Remington 870 SPS-Deer Shotgun

 Remington 870 Marine Magnum

 Remington 870 TC Trap

 Remington 870 Special Purpose Synthetic Camo

 Remington 870 Wingmaster Small Gauges

 Remington 870 Express Rifle Sighted Deer Gun

 Remington 879 SPS Special Purpose Magnum

 Remington 870 SPS-T Camo Pump Shotgun

 Remington 870 Special Field

 Remington 870 Express Turkey

 Remington 870 High Grades

 Remington 870 Express

 Remington Model 870 Express Youth Gun

 Winchester Model 12 Pump Shotgun

 Winchester Model 42 High Grade Shotgun

 Winchester Model 1300 Walnut Pump

 Winchester Model 1300 Slug Hunter Deer Gun

 Winchester Model 1300 Ranger Pump Gun Combo & Deer Gun

 Winchester Model 1300 Turkey Gun

 Winchester Model 1300 Ranger Pump Gun


                                              Shotguns–Over/Unders


 American Arms/Franchi Falconet 2000 O/U

 American Arms Silver I O/U

 American Arms Silver II Shotgun



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 American Arms Silver Skeet O/U

 American Arms/Franchi Sporting 2000 O/U

 American Arms Silver Sporting O/U

 American Arms Silver Trap O/U

 American Arms WS/OU 12, TS/OU 12 Shotguns

 American Arms WT/OU 10 Shotgun

 Armsport 2700 O/U Goose Gun

 Armsport 2700 Series O/U

 Armsport 2900 Tri-Barrel Shotgun

 Baby Bretton Over/Under Shotgun

 Beretta Model 686 Ultralight O/U

 Beretta ASE 90 Competition O/U Shotgun

 Beretta Over/Under Field Shotguns

 Beretta Onyx Hunder Sport O/U Shotgun

 Beretta Model SO5, SO6, SO9 Shotguns

 Beretta Sporting Clay Shotguns

 Beretta 687EL Sporting O/U

 Beretta 682 Super Sporting O/U

 Beretta Series 682 Competition Over/Unders

 Browning Citori O/U Shotgun

 Browning Superlight Citori Over/Under

 Browning Lightning Sporting Clays

 Browning Micro Citori Lightning

 Browning Citori Plus Trap Combo

 Browning Citori Plus Trap Gun

 Browning Citori O/U Skeet Models

 Browning Citori O/U Trap Models

 Browning Special Sporting Clays

 Browning Citori GTI Sporting Clays



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 Browning 325 Sporting Clays

 Centurion Over/Under Shotgun

 Chapuis Over/Under Shotgun

 Connecticut Valley Classics Classic Sporter O/U

 Connecticut Valley Classics Classic Field Waterfowler

 Charles Daly Field Grade O/U

 Charles Daly Lux O/U

 E.A.A./Sabatti Sporting Clays Pro-Gold O/U

 E.A.A./Sabatti Falcon-Mon Over/Under

 Kassnar Grade I O/U Shotgun

 Krieghoff K-80 Sporting Clays O/U

 Krieghoff K-80 Skeet Shotgun

 Krieghoff K-80 International Skeet

 Krieghoff K-80 Four-Barrel Skeet Set

 Krieghoff K-80/RT Shotguns

 Krieghoff K-80 O/U Trap Shotgun

 Laurona Silhouette 300 Sporting Clays

 Laurona Silhouette 300 Trap

 Laurona Super Model Over/Unders

 Ljutic LM-6 Deluxe O/U Shotgun

 Marocchi Conquista Over/Under Shotgun

 Marocchi Avanza O/U Shotgun

 Merkel Model 200E O/U Shotgun

 Merkel Model 200E Skeet, Trap Over/Unders

 Merkel Model 203E, 303E Over/Under Shotguns

 Perazzi Mirage Special Sporting O/U

 Perazzi Mirage Special Four-Gauge Skeet

 Perazzi Sporting Classic O/U

 Perazzi MX7 Over/Under Shotguns



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 Perazzi Mirage Special Skeet Over/Under

 Perazzi MX8/MX8 Special Trap, Skeet

 Perazzi MX8/20 Over/Under Shotgun

 Perazzi MX9 Single Over/Under Shotguns

 Perazzi MX12 Hunting Over/Under

 Perazzi MX28, MX410 Game O/U Shotfuns

 Perazzi MX20 Hunting Over/Under

 Piotti Boss Over/Under Shotgun

 Remington Peerless Over/Under Shotgun

 Ruger Red Label O/U Shotgun

 Ruger Sporting Clays O/U Shotgun

 San Marco 12-Ga. Wildflower Shotgun

 San Marco Field Special O/U Shotgun

 San Marco 10-Ga. O/U Shotgun

 SKB Model 505 Deluxe Over/Under Shotgun

 SKB Model 685 Over/Under Shotgun

 SKB Model 885 Over/Under Trap, Skeet, Sporting Clays

 Stoeger/IGA Condor I O/U Shotgun

 Stoeger/IGA ERA 2000 Over/Under Shotgun

 Techni-Mec Model 610 Over/Under

 Tikka Model 412S Field Grade Over/Under

 Weatherby Athena Grade IV O/U Shotguns

 Weatherby Athena Grade V Classic Field O/U

 Weatherby Orion O/U Shotguns

 Weatherby II, III Classic Field O/Us

 Weatherby Orion II Classic Sporting Clays O/U

 Weatherby Orion II Sporting Clays O/U

 Winchester Model 1001 O/U Shotgun

 Winchester Model 1001 Sporting Clays O/U



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 Pietro Zanoletti Model 2000 Field O/U


                                              Shotguns–Side by Sides


 American Arms Brittany Shotgun

 American Arms Gentry Double Shotgun

 American Arms Derby Side-by-Side

 American Arms Grulla #2 Double Shotgun

 American Arms WS/SS 10

 American Arms TS/SS 10 Double Shotgun

 American Arms TS/SS 12 Side-by-Side

 Arrieta Sidelock Double Shotguns

 Armsport 1050 Series Double Shotguns

 Arizaga Model 31 Double Shotgun

 AYA Boxlock Shotguns

 AYA Sidelock Double Shotguns

 Beretta Model 452 Sidelock Shotgun

 Beretta Side-by-Side Field Shotguns

 Crucelegui Hermanos Model 150 Double

 Chapuis Side-by-Side Shotgun

 E.A.A./Sabatti Sabe-Mon Double Shotgun

 Charles Daly Model Dss Double

 Ferlib Model F VII Double Shotgun

 Auguste Francotte Boxlock Shotgun

 Auguste Francotte Sidelock Shotgun

 Garbi Model 100 Double

 Garbi Model 100 Side-by-Side

 Garbi Model 103A, B Side-by-Side

 Garbi Model 200 Side-by-Side

 Bill Hanus Birdgun Doubles



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 Hatfield Uplander Shotgun

 Merkell Model 8, 47E Side-by-Side Shotguns

 Merkel Model 47LSC Sporting Clays Double

 Merkel Model 47S, 147S Side-by-Sides

 Parker Reproductions Side-by-Side

 Piotti King No. 1 Side-by-Side

 Piotti Lunik Side-by-Side

 Piotti King Extra Side-by-Side

 Piotti Piuma Side-by-Side

 Precision Sports Model 600 Series Doubles

 Rizzini Boxlock Side-by-Side

 Rizzini Sidelock Side-by-Side

 Stoeger/IGA Side-by-Side Shotgun

 Ugartechea 10-Ga. Magnum Shotgun


                                        Shotguns–Bolt Actions & Single Shots


 Armsport Single Barrel Shotgun

 Browning BT-99 Competition Trap Special

 Browning BT-99 Plus Trap Gun

 Browning BT-99 Plus Micro

 Browning Recoilless Trap Shotgun

 Browning Micro Recoilless Trap Shotgun

 Desert Industries Big Twenty Shotgun

 Harrington & Richardson Topper Model 098

 Harrington & Richardson Topper Classic Youth Shotgun

 Harrington & Richardson N.W.T.F. Turkey Mag

 Harrington & Richardson Topper Deluxe Model 098

 Krieghoff KS-5 Trap Gun

 Krieghoff KS-5 Special



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 Krieghoff KS-80 Single Barrel Trap Gun

 Ljutic Mono Gun Single Barrel

 Ljutic LTX Super Deluxe Mono Gun

 Ljutic Recoilless Space Gun Shotgun

 Marlin Model 55 Goose Gun Bolt Action

 New England Firearms Turkey and Goose Gun

 New England Firearms N.W.T.F. Shotgun

 New England Firearms Tracker Slug Gun

 New England Firearms Standard Pardner

 New England Firearms Survival Gun

 Perazzi TM1 Special Single Trap

 Remington 90-T Super Single Shotgun

 Snake Charmer II Shotgun

 Stoeger/IGA Reuna Single Barrel Shotgun

 Thompson/Center TCR '87 Hunter Shotgun.


S 923. Licensing

    (a)***

                                                          *******
  (i) Licensed importers and licensed manufacturers shall identify by means of a serial number engraved or cast on the
receiver or frame of the weapon, in such manner as the Secretary shall by regulations prescribe, each firearm imported or
manufactured by such importer or manufacturer. The serial number of any semiautomatic assault weapon manufactured
after the date of the enactment of this sentence shall clearly show the date on which the weapon was manufactured. A large
capacity ammunition feeding device manufactured after the date of the enactment of this sentence shall be identified by a
serial number that clearly shows that the device was manufactured or imported after the effective date of this subsection,
and such other identification as the Secretary may by regulation prescribe.


S 924. Penalties

 (a)(1) Except as otherwise provided in this subsection, subsection (b), (c), or (f) of this section, or in section 929,
whoever–

    (A) knowingly makes any false statement or representation with respect to the information required by this chapter
  to be kept in the records of a person licensed under this chapter or in applying for any license or exemption or relief
  from disability under the provisions of this chapter;

    (B) knowingly violates subsection (a)(4), (a)(6), (f), (k), [or (q) of section 922] (r), (v), or (x) of section 922;


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                                                      *******
    (6) A person who knowingly violates section 922(w) shall be fined not more than $1,000, imprisoned not more than
  6 months, or both. Section 3571 shall not apply to any offense under this paragraph.

                                                          *******
     (c)(1) Whoever, during and in relation to any crime of violence or drug trafficking crime (including a crime of violence
  or drug trafficking crime which provides for an enhanced punishment if committed by the use of a deadly or dangerous
  weapon or device) for which he may be prosecuted in a court of the United States, uses or carries a firearm, shall, in
  addition to the punishment provided for such crime of violence or drug trafficking crime, be sentenced to imprisonment
  for five years, and if the firearm is a short-barreled rifle, short-barreled shotgun, or semiautomatic assault weapon, to
  imprisonment for ten years, and if the firearm is a machinegun, or a destructive device, or is equipped with a firearm
  silencer or firearm muffler, to imprisonment for thirty years. In the case of his second or subsequent conviction under
  this subsection, such person shall be sentenced to imprisonment for twenty years, and if the firearm is a machinegun,
  or a destructive device, or is equipped with a firearm silencer or firearm muffler, to life imprisonment without release.
  Notwithstanding any other provision of law, the court shall not place on probation or suspend the sentence of any
  person convicted of a violation of this subsection, nor shall the term of imprisonment imposed under this subsection run
  concurrently with any other term of imprisonment including that imposed for the crime of violence or drug trafficking
  crime in which the firearm was used or carried. No person sentenced under this subsection shall be eligible for parole
  during the term of imprisonment imposed herein.

                                                         *******

                               SUPPLEMENTAL VIEWS OF HON. DAN GLICKMAN

  I supported this bill because it is a narrowly crafted bill focused on specific weapons that have no business being on
our streets. It is aimed at rapid fire weapons that have the sole purpose of killing people, and it is aimed at weapons that
are more suited for the battlefield than the target range.

  I believe that violence in our nation is getting out of hand. It is devastating to read that a student killed a student with
a semi-automatic weapon. But it is equally devastating to hear of students killing students with anyone. What we really
need to focus on is why students are engaging in violence in the first place. For this reason, I think this legislation must
be viewed as part of the effort to reduce crime–in conjunction with the comprehensive crime bill that increases penalties,
calls for tougher sentencing, provides for more jails and police officers, and provides for prevention programs.

  But we must not abrogate the Second Amendment rights that are provided for in the Constitution. We must be
extremely careful that in this legislation and in any legislation in the future, that we are not taking away guns that truly
are used for sports, hunting, or self-defense.

  I don't believe that this bill is the first step in a long road to banning guns. However, some of my constituents have
expressed their fear that the Congress is moving slowly toward banning all guns for all people. We must be absolutely
clear that this narrowly crafted legislation is not that first step and is not just a precursor to further, broader federal gun
control and federal gun bans. Sport shooters and hunters tell me that they don't want assault weapons on the streets and
in the hands of gang members any more than anyone else. But what they don't want is for Congress to take the short
step to saying that the hunting rifles are being used on the streets, and should be taken away. And then the handguns
are being used on the streets and should be taken away.

 I want to make sure that what we are doing has a purpose–that it gets at the weapons that are being used by gang
members and others in killing sprees or other random violence. I want to be able to assure the hunters, sport shooters




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and folks who want to be prepared for self-defense that we're not going to turn around and tell these gun owners that
their sporting guns are illegal. This is a good bill, but let's tread very carefully before going any further.

  Finally, because I want to make sure that there is no mistake about which guns are banned and which are exempt,
especially guns that will be developed in the future, I offered an amendment during Committee markup that was accepted
by the Committee. This amendment clarifies that simply because a gun is not on the list of specifically exempted guns,
does not mean that that firearm is banned. A firearm must meet the specific criteria set out in the bill, or be specifically
named as a banned gun before it can be banned. In other words, the exempted gun list is not exhaustive.

  Furthermore, my amendment makes clear that no gun may be taken off the list of specifically exempted guns as long
as the act is in effect. In this way, it is absolutely clear that the intent of Congress is that exempted guns remain exempted.


                   DISSENTING VIEWS OF HON. F. JAMES SENSENBRENNER, JR., HON.
                  GEORGE GEKAS, HON. LAMAR S. SMITH, HON. BILL McCOLLUM, HON.
                   HOWARD COBLE, HON. STEVE SCHIFF, AND HON. BOB GOODLATTE

   We strongly oppose H.R. 4296 which would ban a variety of guns. The primary problem with this bill is that it targets
law abiding citizens. If this bill passes, simply possessing a shotgun or rifle could land you in jail. You don't have to
shoot anybody. You don't have to threaten anyone, just leaving it in the hall closet is enough to land you in jail. Even
if you use the gun for self-defense, you can go to jail.

  It is already a federal crime for convicted criminals to possess these weapons, or any other gun for that matter. The
laws aimed at these criminals should be fully enforced before we start going into the homes of law-abiding citizens and
arresting them.

   Another problem with this legislation is that simple, cosmetic changes to certain guns would turn those guns from
being illegal to, all of a sudden being legal. For example, simply by removing a pistol grip, or a bayonet mount from a
rifle saves the owner from going to jail, but leaves the gun's performance unaffected.

   Finally, the problem of these guns has been greatly exaggerated. Although semiautomatic weapons are used in the
most high profile killings that make it on the nightly news, in fact, more than 99 percent of killers eschew assault rifles and
use more prosaic devices. According to statistics from the Justice Department and reports from local law enforcement,
five times as many people are kicked or beaten to death than are killed with assault rifles.

   Passing this legislation is an excuse to avoid the real issues of violent crime, and threatens the rights of law-abiding
citizens. Therefore, we oppose H.R. 4296.

                                             F. James Sensenbrenner, Jr.
                                             George W. Gekas.
                                             Lamar Smith.
                                             Bill McCollum.
                                             Howard Coble.
                                             Steve Schiff.
                                             Bob Goodlatte.

                                   DISSENTING VIEWS OF HON. JACK BROOKS

 I am strongly opposed to H.R. 4296, the Public Safety and Recreational Firearms Use Protection Act, because it
misidentifies the causes of violent crime in the United States; diverts national priorities away from meaningful solutions



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to the problem of violent crime; punishes honest American gun owners who buy and use firearms for legitimate, lawful
purposes such as, but not necessarily limited to, self-defense, target shooting, hunting, and firearms collection; fails to
focus the punitive powers of government upon criminals. Most fundamentally, a prohibition on firearms violates the
right of individual Americans to keep and bear arms, protected by the Second Amendment to the Constitution of the
United States–a stark fact of constitutional life that the proponents of H.R. 4296 conveniently overlook in their zeal to
abridge the rights of law-abiding citizens.

  Reasons claimed to justify a prohibition on the firearms that would be affected by H.R. 4296 include the assertion that
those particular firearms are used often in the commission of violent crimes. Data on the use of the firearms H.R. 4296
labels as “assault weapons” is not comprehensive, but such data as do exist consistently show that “assault weapons”
are involved in a small percentage of violent crimes.

   Most of the firearms labelled as “assault weapons” in H.R. 4296 are rifles–yet rifles are the general category of
firearms used least often in the commission of violent crimes. The FBI Uniform Crime Reports, 1992, the most recent
comprehensive data available, shows that rifles of any description are used in 3.1 percent of homicides, for example,
while knives are used in 14.5 percent, fists and feet are used in 5 percent, and blunt objects are used in another 5 percent.

   Professor Gary Kleck, of Florida State University, the 1993 recipient of the American Society of Criminology's
Hindelang Award, estimates that one-half of 1 percent of violent crimes are committed with “assault weapons.”
University of Texas criminologist Sheldon Ekland-Olson estimates that one-quarter of rifle-related homicides may
involve rifles chambered for military cartridges, which would include not only so-called “assault” type semi-automatic
rifles, but non-semiautomatic rifles as well.

  Since 1980, rifle-related homicides have declined by more than a third. According to the Metropolitan Police of
Washington, D.C., the city which has the highest per capita rate of homicides of any major city in the United States,
between 1980–1993 there occurred only 4 rifle-related homicides out of a total of more than 4,200 homicides in the
period. The last rifle homicide during the period was recorded in 1984. Other data from D.C. police show that rifles are
used in about one-tenth of 1 percent of robberies and assaults.

  The California Department of Justice surveyed law enforcement agencies in the state in 1990, as the state's legislature
addressed “assault weapon” ban legislation there. The California Department of Justice found that only 3.7 percent of
the firearms that are used in homicides and assaults were “assault weapons,” defined there to include even more firearms
than are defined as “assault weapons” in H.R. 4296.

  Connecticut State Police report that less than 2 percent of firearms seized by police in the state are “assault weapons”;
the Massachusetts State Police report that “assault” type rifles were used in one-half of 1 percent of homicides between
19851991.

   I believe the proponents of H.R. 4296 are in error in claiming that the Bureau of Alcohol, Tobacco and Firearms
(BATF) has traced a large number of “assault weapons” to crime. This claim has been effectively contradicted by both
the BATF itself and the Congressional Research Service's (CRS) report on the BATF firearms tracing system. The BATF
has stated that it “does not always know if a firearm being traced has been used in a crime.” For instance, sometimes a
firearm is traced simply to determine the rightful owner after it is found by a law enforcement officer.

  Each year, the BATF traces about 50,000 firearms, yet only about 1 percent of these traces relate to “assault weapons”
that have been seized by police in the course of investigations of violent crimes. Most “assault weapons” traced relate
not to violent crime but to property violations, such as stolen guns being traced so that they may be returned to their
lawful owners, violations of the Gun Control Act, and other non-violent circumstances.




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  As noted by BATF and by CRS in its report to Congress entitled “Assault Weapons: Military-Style Semiautomatic
Firearms Facts and Issues” (1992) that firearms traces are not intended to “trace guns to crime,” that few “assault
weapons” traced relative to violent crime investigations, and that available state and local law enforcement agency data
shows relatively little use of “assault weapons” are used frequently in violent crimes.

   “Assault weapons” function in the same manner as any other semi-automatic firearm. They fire once with each pull of
the trigger, like most firearms. They use the same ammunition as other firearms, both semi-automatic and not. Therefore,
“assault weapons” are useful for target shooting, self-defense, hunting, and other legitimate purposes, just as other
firearms are.

 H.R. 4296 would prohibit rifles that are commonly used for competitive shooting, such as the Springfield A and the
Colt “AR–15.”

   Accessories found on some models of “assault weapons,” such as folding stocks, flash suppressors, pistol grips, bayonet
lugs, and detachable magazines may look menacing to persons unfamiliar with firearms, but there is absolutely no
evidence that any of these accessories provide any advantage to a criminal. As has been demonstrated on many occasions,
firearms which H.R. 4296 specifically exempts from its prohibition, firearms not equipped with those accessories, can be
fired at the same rate, with the same accuracy, and with the same power as “assault weapons.”

  Time and again, supporters of H.R. 4296 have claimed that “assault weapons” can be “spray-fired from the hip”; but
this is simply not true. The firearms targeted in H.R. 4296 are not machineguns. Machineguns are restricted under the
National Firearms Act of 1934. H.R. 4296's guns are semi-automatic, and fire only one shot at a time.

  H.R. 4296's limitation on the capacity of ammunition feeding devices would do nothing to reduce the number of
rounds available to a criminal. It has been demonstrated frequently that such devices can be switched in less than a
second, so a criminal determined to have available a number of rounds greater than H.R. 4296 would permit in a single
magazine would need only to possess additional smaller magazines. However, police have reportedly consistently that
when criminals fire shots, they rarely discharge more than 2–5 rounds, well below the number of rounds H.R. 4296 would
permit in a single magazine.

  Most fundamentally, to impinge upon the constitutionally-protected rights of honest, law-abiding Americans on the
basis of myth, misinformation, and newspaper headlines is a crime in and of itself. To protect against such a mockery
of our Constitution and the infliction of such harm upon our citizens, I intend to oppose H.R. 4296 vigorously on the
House floor in the hope that careful reflection will permit cooler heads and the light of reason to prevail.


 1 “Omnibus Crime Control Act of 1991,” Report of the Committee on the Judiciary, House of Representatives, on
H.R. 3371, 102d Cong, 1st Sess., Rept. 102 –242, October 7, 1991, at 202.

  2 See, e.g., Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House
of Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 Firearms;
Chief Sylvester Daughtry, President, International Association of Chiefs of Police; Mr. John Pitta, National Executive
Director, Federal Law Enforcement Officers Association).

  3 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994; Hearing
on Semiautomatic Assault Weapons, House of Representatives, Committee on the Judiciary, Subcommittee on Crime
and Criminal Justice, June 12, 1991; Hearing on Semiautomatic Assault Weapons, Part II, House of Representatives,
Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, July 25, 1991; Hearing on H.R. 1190,




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Semiautomatic Assault Weapons Act of 1989, and related bills, House of Representatives, Committee on the Judiciary,
Subcommittee on Crime, April 5 and 6, 1989.

 4 “Omnibus Crime Control Act of 1991,” Report of the Committee on the Judiciary, House of Representatives, on
H.R. 3371, 102d Cong, 1st Sess., Rept. 102–242, October 7, 1991, at 203.

  5 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of Hon. John Magaw, Director, Bureau of Alcohol, Tobacco and Firearms).

  6 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House
of Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994
(Statement of Tony Loizzo, executive vice president, National Association of Police Organizations). See also, Hearing on
Semiautomatic Assault Weapons, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
Criminal Justice, June 12, 1991 (Statement of Dewey R. Stokes, National President, Fraternal Order of Police) (assault
weapons “pose a grave and immediate threat to the lives of those sworn to uphold our laws”); Hearing on H.R. 1190,
Semiautomatic Assault Weapons Act of 1989, and related bills, House of Representatives, Committee on the Judiciary,
Subcommittee on Crime, April 5, 1989 (Testimony of Daniel M. Hartnett, associate director, law enforcement, Bureau
of Alcohol, Tobacco and Firearms) (“Fifteen years ago, police rarely encountered armed drug dealers. Today, firearms,
especially certain types of semiautomatic weapons, are status symbols and tools of the trade for this country's most
vicious criminals.”)

  7 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of John Pitta, executive vice president, Federal Law Enforcement Officers Association).

  8 Hearing on H.R. 4296 and H.R. 3527, Public Safety and recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of John Pitta, executive vice president, Federal Law Enforcement Officers Association).

  9 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of Hon. Henry Cisneros, Secretary, Department of Housing and Urban Development).

  10 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of Ken Brondell, Jr.).

  11 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statements
of Jacob Locicero and Arlene Locicero).

  12 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of John Pitta, executive vice president, Federal Law Enforcement Officers Association).

  13 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statements
of Michelle Scully and Steve Sposato).




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  14 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on crime and Criminal Justice, April 25, 1994 (State of Dr.
Suzanna Gratia, Copperas Cove, Texas)

  15 The Committee notes that, under the Gun Control Act of 1968 as amended in 1986, it is a Federal felony for a
convicted felon to be in possession of any firearm, including an assault weapon, under 18 U.S.C. 922(g)(1). Violations
carry up to five years imprisonment and a $250,000 fine. If a criminal–whether previously convicted or not–is carrying
an assault weapon and is involved in a drug trafficking crime, that criminal is subject to a mandatory minimum of 5
years imprisonment and a $250,000 fine under 18 U.S.C. 924(c)(1). Any criminal who has three prior violent felony and/
or serious drug offenses convictions and is in possession of a firearm is subject to a mandatory minimum of 15 years
imprisonment and a $250,000 fine under 18 U.S.C. 924(e)(1).

  16 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of Ms. Jacquie Miller, Louisville, Kentucky).

  17 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
of Mr. Phillip Murphy, Tucson, Arizona).

  18 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, “Report and Recommendation of
the ATF Working Group on the Importability of Certain Semiautomatic Rifles,” July, 1989.

  19 The ultimate question of law upon which the working group was advising the Secretary of the Treasury was whether
these import firearms met a “sporting purpose” test under 18 U.S.C. Code section 925(d). He held that they did not.
Although that legal question is not directly posed by this bill, the working group's research and analysis on assault
weapons is relevant on the questions of the purposes underlying the design of assault weapons, the characteristics that
distinguish them from sporting guns, and the reasons underlying each of the distinguishing features.

  20 An automatic gun fires a continuous stream as long as the trigger is held down, until it has fired all of the cartridges
(“rounds” or “bullets”) in its magazine (or “clip”). Automatic firearms are also known as machineguns. A semi-automatic
gun fires one round, then loads a new round, each time the trigger is pulled until its magazine is exhausted. Manually
operated guns require the shooter to manually operate a bolt, slide, pump, or lever action to extract the fired round and
load a new round before pulling the trigger.

  21 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, “Report and Recommendation of
the ATF Working Group on the Importability of Certain Semiautomatic Rifles,” July, 1989, p. 6.

  22 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, “Report and Recommendation of
the ATF Working Group on the Importability of Certain Semiautomatic Rifles,” July, 1989, p. 6.

  23 18 U.S. Code, section 922(o).

  24 The Committee notes that such conversion is a Federal felony that carries penalties of up to 10 years imprisonment
and a $250,000 fine under 26 U.S.C. 5861.

  25 Hearing on Semiautomatic Assault Weapons, House of Representatives, Committee on the Judiciary,
Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement of Dewey R. Stokes, National President,
Fraternal order of Police).




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  26 Hearing on Semiautomatic Assault Weapons, House of Representatives, Committee on the Judiciary,
Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement of Dewey R. Stokes, National President,
Fraternal order of police).

  27 Hearing on Semiautomatic Assault Weapons, House of Representatives, Committee on the Judiciary,
Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement of Richard Cook, Chief, Firearms Divisions,
Bureau of Alcohol, Tobacco and Firearms) at 268.

  28 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms, Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statements
of Hon. Henry Cisneros, Secretary, Department of Housing and Urban Development and John Pitta, National Executive
Vice President, Federal Law Enforcement Officers Association); Hearing on Semiautomatic Assault Weapons, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement
of Paul J. McNulty, Principal Deputy Director, Office of Policy development, Department of Justice) at 288.

  29 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statements
and testimony of John McGaw, Director, Bureau of Alcohol, Tobacco and Firearms, and John Pitta, National Executive
Vice President, Federal Law Enforcement Officers Association); Hearing on Semiautomatic Assault Weapons, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement
of Richard Cook, Chief, Firearms Division, Bureau of Alcohol, Tobacco and Firearms); U.S. Department of the
Treasury, Bureau of Alcohol, Tobacco and Firearms, “Report and Recommendation of the ATF Working Group on
the Importability of Certain Semiautomatic Rifles,” July, 1989, p. 6.

  30 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, “Report and Recommendation of
the ATF Working Group on the Importability of Certain Semiautomatic Rifles,” July, 1989, p. 6.

  31 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statements
and testimony of John McGaw, Director, Bureau of Alcohol, Tobacco and Firearms, and John Pitta, National Executive
Vice President, Federal Law Enforcement Officers Association); U.S. Department of the Treasury, Bureau of Alcohol,
Tobacco and Firearms, “Report and Recommendation of the ATF Working Group on the Importability of Certain
Semiautomatic Rifles,” July, 1989, p. 6.

  32 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statements
and testimony of John McGaw, Director, Bureau of Alcohol, Tobacco and Firearms, and John Pitta, National Executive
Vice President, Federal Law Enforcement Officers Association); U.S. Department of the Treasury, Bureau of Alcohol,
Tobacco and Firearms, “Report and Recommendation of the ATF Working Group on the Importability of Certain
Semiautomatic Rifles,” July, 1989, p. 6.

  33 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protection Act, House of
Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice, April 25, 1994 (Statement
and testimony of Dr. David Milzman, Associate Director, Trauma Services, Georgetown University Medical Center,
Washington, DC); U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, “Report and
Recommendation of the ATF Working Group on the Importability of Certain Semiautomatic Rifles,” July, 1989, p. 6.

  34 See H.R. 4296, Appendix A, for the list.




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  35 H.R. 4296 bans the following semiautomatic assault weapons by name (as well as any copies or duplicates, in any
caliber): All AK–47 type; Beretta AR–70; Colt AR–15; DC9, 22; FNC; FN–FAL/LAR; Galil; MAC 10, MAC 11–type;
Steyr AUG; Street Sweeper; Striker 12; TEC–9; Uzi.

  36 While noting that its list is not all-inclusive, the Bureau of Alcohol, Tobacco, and Firearms has listed the following
semi-automatic firearms that would be banned based on their general characteristics:
    1. Semi-automatic Rifles: AA Arms AR9 semi-automatic rifle; AMT Lightning 25 rifle; Auto Ordnance Thompson
  Model 1927 carbines (finned barrel versions); Calico M100 carbine; Colt Sporter Rifle (all variations); Federal XC900
  carbine; Federal XC450 carbine; Grendel R31 carbine; Iver Johnson M1 carbine (version w/collapsible stock and
  bayonet mount); Springfield M1A rifle.
    2. Pistols: AA Arms AP9 pistol; Australian Automatic Arms pistol; Auto Ordnance Model 1927A5 pistol; American
  Arms Spectra pistol; Calico Model M950 pistol; Calico Model 110 pistol; All Claridge Hi-Tec pistol; D Max auto
  pistol; Grendel P–31 pistol; Heckler & Koch SP89 pistol; Wilkinson Linda pistol.
    3. Shotguns: Benelli M1 Super 90 Defense shotgun; Benelli M3 Super 90 shotgun; Franchi LAW 12 shotgun; Franchi
  SPAS 12 shotgun; USAS 12 shotgun.

  37 H.R. 4296 bans the following semiautomatic assault weapons by name (as well as any copies or duplicates, in any
caliber): All AK–47 type; Beretta AR–70; Colt AR–15; DC9, 22; FNC; FN–FAL/LAR; Galil; MAC 10, MAC 11–type;
Steyr AUG; Street Sweeper; Striker 12; TEC–9; Uzi


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(Leg.Hist.)

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SAFETY FOR ALL ACT, 2016 Cal. Legis. Serv. Prop. 63 (PROPOSITION 63) (WEST)




                              2016 Cal. Legis. Serv. Prop. 63 (PROPOSITION 63) (WEST)


                                        CALIFORNIA 2016 LEGISLATIVE SERVICE

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                                                     PROPOSITION 63
                                                     PROPOSITION 63
                                                   SAFETY FOR ALL ACT


                                          [Approved by the Voters on Nov. 8, 2016.]


This initiative measure is submitted to the people in accordance with the provisions of Section 8 of Article II of the California
                                                          Constitution.

                                                     PROPOSED LAW
                                                The Safety for All Act of 2016



SECTION 1. Title.

This measure shall be known and may be cited as “The Safety for All Act of 2016.”



SEC. 2. Findings and Declarations.

The people of the State of California find and declare:

1. Gun violence destroys lives, families and communities. From 2002 to 2013, California lost 38,576 individuals to gun
violence. That is more than seven times the number of U.S. soldiers killed in combat during the wars in Iraq and Afghanistan
combined. Over this same period, 2,258 children were killed by gunshot injuries in California. The same number of children
murdered in the Sandy Hook elementary school massacre are killed by gunfire in this state every 39 days.

2. In 2013, guns were used to kill 2,900 Californians, including 251 children and teens. That year, at least 6,035 others were
hospitalized or treated in emergency rooms for non-fatal gunshot wounds, including 1,275 children and teens.

3. Guns are commonly used by criminals. According to the California Department of Justice, in 2014 there were 1,169
firearm murders in California, 13,546 armed robberies involving a firearm, and 15,801 aggravated assaults involving a
firearm.

4. This tragic violence imposes significant economic burdens on our society. Researchers conservatively estimate that gun
violence costs the economy at least $229 billion every year, or more than $700 per American per year. In 2013 alone,
California gun deaths and injuries imposed $83 million in medical costs and $4.24 billion in lost productivity.

5. California can do better. Reasonable, common-sense gun laws reduce gun deaths and injuries, keep guns away from
criminals and fight illegal gun trafficking. Although California has led the nation in gun safety laws, those laws still have
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loopholes that leave communities throughout the state vulnerable to gun violence and mass shootings. We can close these
loopholes while still safeguarding the ability of law-abiding, responsible Californians to own guns for self-defense, hunting
and recreation.

6. We know background checks work. Federal background checks have already prevented more than 2.4 million gun sales to
convicted criminals and other illegal purchasers in America. In 2012 alone, background checks blocked 192,043 sales of
firearms to illegal purchasers including 82,000 attempted purchases by felons. That means background checks stopped
roughly 225 felons from buying firearms every day. Yet California law only requires background checks for people who
purchase firearms, not for people who purchase ammunition. We should close that loophole.

7. Right now, any violent felon or dangerously mentally ill person can walk into a sporting goods store or gun shop in
California and buy ammunition, no questions asked. That should change. We should require background checks for
ammunition sales just like gun sales, and stop both from getting into the hands of dangerous individuals.

8. Under current law, stores that sell ammunition are not required to report to law enforcement when ammunition is lost or
stolen. Stores should have to report lost or stolen ammunition within 48 hours of discovering that it is missing so law
enforcement can work to prevent that ammunition from being illegally trafficked into the hands of dangerous individuals.

9. Californians today are not required to report lost or stolen guns to law enforcement. This makes it difficult for law
enforcement to investigate crimes committed with stolen guns, break up gun trafficking rings, and return guns to their lawful
owners. We should require gun owners to report their lost or stolen guns to law enforcement.

10. Under current law, people who commit felonies and other serious crimes are prohibited from possessing firearms. Yet
existing law provides no clear process for those people to relinquish their guns when they become prohibited at the time of
conviction. As a result, in 2014, the Department of Justice identified more than 17,000 people who possess more than 34,000
guns illegally, including more than 1,400 assault weapons. We need to close this dangerous loophole by not only requiring
prohibited people to tum1 in their guns, but also ensuring that it happens.

11. Military–style large-capacity ammunition magazines—some capable of holding more than 100 rounds of
ammunition—significantly increase a shooter’s ability to kill a lot of people in a short amount of time. That is why these
large capacity ammunition magazines are common in many of America’s most horrific mass shootings, from the killings at
101 California Street in San Francisco in 1993 to Columbine High School in 1999 to the massacre at Sandy Hook Elementary
School in Newtown, Connecticut in 2012.

12. Today, California law prohibits the manufacture, importation and sale of military-style, large capacity ammunition
magazines, but does not prohibit the general public from possessing them. We should close that loophole. No one except
trained law enforcement should be able to possess these dangerous ammunition magazines.

13. Although the State of California conducts background checks on gun buyers who live in California, we have to rely on
other states and the FBI to conduct background checks on gun buyers who live elsewhere. We should make background
checks outside of California more effective by consistently requiring the state to report who is prohibited from possessing
firearms to the federal background check system.

14. The theft of a gun is a serious and potentially violent crime. We should clarify that such crimes can be charged as
felonies, and prevent people who are convicted of such crimes from possessing firearms.



SEC. 3. Purpose and Intent.

The people of the State of California declare their purpose and intent in enacting “The Safety for All Act of 2016” (the “Act”)
to be as follows:

1. To implement reasonable and common-sense reforms to make California’s gun safety laws the toughest in the nation while
still safeguarding the Second Amendment rights of all law-abiding, responsible Californians.
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2. To keep guns and ammunition out of the hands of convicted felons, the dangerously mentally ill, and other persons who
are prohibited by law from possessing firearms and ammunition.

3. To ensure that those who buy ammunition in California—just like those who buy firearms—are subject to background
checks.

4. To require all stores that sell ammunition to report any lost or stolen ammunition within 48 hours of discovering that it is
missing.

5. To ensure that California shares crucial information with federal law enforcement by consistently requiring the state to
report individuals who are prohibited by law from possessing firearms to the federal background check system.

6. To require the reporting of lost or stolen firearms to law enforcement.

7. To better enforce the laws that require people to relinquish their firearms once they are convicted of a crime that makes
them ineligible to possess firearms.

8. To make it illegal in California to possess the kinds of military-style ammunition magazines that enable mass killings like
those at Sandy Hook Elementary School; a movie theater in Aurora, Colorado; Columbine High School; and an office
building at 101 California Street in San Francisco, California.

9. To prevent people who are convicted of the theft of a firearm from possessing firearms, and to effectuate the intent of
Proposition 47 that the theft of a firearm is felony grand theft, regardless of the value of the firearm, in alignment with
Sections 25400 and 1192.7 of the Penal Code.



SEC. 4. Lost or Stolen Firearms.



SEC. 4.1. Division 4.5 (commencing with Section 25250) is added to Title 4 of Part 6 of the Penal Code, to read:


                                                  pt. 6 t. 4 d. 4.5 pr. § 25250


                                       DIVISION 4.5. LOST OR STOLEN FIREARMS


                                                  << CA PENAL § 25250 >>

25250. (a) Commencing July 1, 2017, every person shall report the loss or theft of a firearm he or she owns or possesses to a
local law enforcement agency in the jurisdiction in which the theft or loss occurred within five days of the time he or she
knew or reasonably should have known that the firearm had been stolen or lost.

(b) Every person who has reported a firearm lost or stolen under subdivision (a) shall notify the local law enforcement agency
in the jurisdiction in which the theft or loss occurred within five days if the firearm is subsequently recovered by the person.

(c) Notwithstanding subdivision (a), a person shall not be required to report the loss or theft of a firearm that is an antique
firearm within the meaning of subdivision (c) of Section 16170.


                                                  << CA PENAL § 25255 >>


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25255. Section 25250 shall not apply to the following:

(a) Any law enforcement agency or peace officer acting within the course and scope of his or her employment or official
duties if he or she reports the loss or theft to his or her employing agency.

(b) Any United States marshal or member of the Armed Forces of the United States or the National Guard, while engaged in
his or her official duties.

(c) Any person who is licensed, pursuant to Chapter 44 (commencing with Section 921) of Title 18 of the United States Code
and the regulations issued pursuant thereto, and who reports the theft or loss in accordance with Section 923(g)(6) of Title 18
of the United States Code, or the successor provision thereto, and applicable regulations issued thereto.

(d) Any person whose firearm was lost or stolen prior to July 1, 2017.


                                                  << CA PENAL § 25260 >>

25260. Pursuant to Section 11108, every sheriff or police chief shall submit a description of each firearm that has been
reported lost or stolen directly into the Department of Justice Automated Firearms System.


                                                  << CA PENAL § 25265 >>

25265. (a) Every person who violates Section 25250 is, for a first violation, guilty of an infraction, punishable by a fine not to
exceed one hundred dollars ($100).

(b) Every person who violates Section 25250 is, for a second violation, guilty of an infraction, punishable by a fine not to
exceed one thousand dollars ($1,000).

(c) Every person who violates Section 25250 is, for a third or subsequent violation, guilty of a misdemeanor, punishable by
imprisonment in a county jail not exceeding six months, or by a fine not to exceed one thousand dollars ($1,000), or by both
that fine and imprisonment.


                                                  << CA PENAL § 25270 >>

25270. Every person reporting a lost or stolen firearm pursuant to Section 25250 shall report the make, model, and serial
number of the firearm, if known by the person, and any additional relevant information required by the local law enforcement
agency taking the report.


                                                  << CA PENAL § 25275 >>

25275. (a) No person shall report to a local law enforcement agency that a firearm has been lost or stolen, knowing the report
to be false. A violation of this section is an infraction, punishable by a fine not exceeding two hundred fifty dollars ($250) for
a first offense, and by a fine not exceeding one thousand dollars ($1,000) for a second or subsequent offense.

(b) This section shall not preclude prosecution under any other law.



SEC. 4.2. Section 26835 of the Penal Code is amended to read:


                                                  << CA PENAL § 26835 >>


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26835. A licensee shall post conspicuously within the licensed premises the following warnings in block letters not less than
one inch in height:

(a) “IF YOU KEEP A LOADED FIREARM WITHIN ANY PREMISES UNDER YOUR CUSTODY OR CONTROL, AND
A PERSON UNDER 18 YEARS OF AGE OBTAINS IT AND USES IT, RESULTING IN INJURY OR DEATH, OR
CARRIES IT TO A PUBLIC PLACE, YOU MAY BE GUILTY OF A MISDEMEANOR OR A FELONY UNLESS YOU
STORED THE FIREARM IN A LOCKED CONTAINER OR LOCKED THE FIREARM WITH A LOCKING DEVICE,
TO KEEP IT FROM TEMPORARILY FUNCTIONING.”

(b) “IF YOU KEEP A PISTOL, REVOLVER, OR OTHER FIREARM CAPABLE OF BEING CONCEALED UPON THE
PERSON, WITHIN ANY PREMISES UNDER YOUR CUSTODY OR CONTROL, AND A PERSON UNDER 18 YEARS
OF AGE GAINS ACCESS TO THE FIREARM, AND CARRIES IT OFF–PREMISES, YOU MAY BE GUILTY OF A
MISDEMEANOR, UNLESS YOU STORED THE FIREARM IN A LOCKED CONTAINER, OR LOCKED THE
FIREARM WITH A LOCKING DEVICE, TO KEEP IT FROM TEMPORARILY FUNCTIONING.”

(c) “IF YOU KEEP ANY FIREARM WITHIN ANY PREMISES UNDER YOUR CUSTODY OR CONTROL, AND A
PERSON UNDER 18 YEARS OF AGE GAINS ACCESS TO THE FIREARM, AND CARRIES IT OFF–PREMISES TO A
SCHOOL OR SCHOOL–SPONSORED EVENT, YOU MAY BE GUILTY OF A MISDEMEANOR, INCLUDING A FINE
OF UP TO FIVE THOUSAND DOLLARS ($5,000), UNLESS YOU STORED THE FIREARM IN A LOCKED
CONTAINER, OR LOCKED THE FIREARM WITH A LOCKING DEVICE.”

(d) “IF YOU NEGLIGENTLY STORE OR LEAVE A LOADED FIREARM WITHIN ANY PREMISES UNDER YOUR
CUSTODY OR CONTROL, WHERE A PERSON UNDER 18 YEARS OF AGE IS LIKELY TO ACCESS IT, YOU MAY
BE GUILTY OF A MISDEMEANOR, INCLUDING A FINE OF UP TO ONE THOUSAND DOLLARS ($1,000),
UNLESS YOU STORED THE FIREARM IN A LOCKED CONTAINER, OR LOCKED THE FIREARM WITH A
LOCKING DEVICE.”

(e) “DISCHARGING FIREARMS IN POORLY VENTILATED AREAS, CLEANING FIREARMS, OR HANDLING
AMMUNITION MAY RESULT IN EXPOSURE TO LEAD, A SUBSTANCE KNOWN TO CAUSE BIRTH DEFECTS,
REPRODUCTIVE HARM, AND OTHER SERIOUS PHYSICAL INJURY. HAVE ADEQUATE VENTILATION AT ALL
TIMES. WASH HANDS THOROUGHLY AFTER EXPOSURE.”

(f) “FEDERAL REGULATIONS PROVIDE THAT IF YOU DO NOT TAKE PHYSICAL POSSESSION OF THE
FIREARM THAT YOU ARE ACQUIRING OWNERSHIP OF WITHIN 30 DAYS AFTER YOU COMPLETE THE
INITIAL BACKGROUND CHECK PAPERWORK, THEN YOU HAVE TO GO THROUGH THE BACKGROUND
CHECK PROCESS A SECOND TIME IN ORDER TO TAKE PHYSICAL POSSESSION OF THAT FIREARM.”

(g) “NO PERSON SHALL MAKE AN APPLICATION TO PURCHASE MORE THAN ONE PISTOL, REVOLVER, OR
OTHER FIREARM CAPABLE OF BEING CONCEALED UPON THE PERSON WITHIN ANY 30–DAY PERIOD AND
NO DELIVERY SHALL BE MADE TO ANY PERSON WHO HAS MADE AN APPLICATION TO PURCHASE MORE
THAN ONE PISTOL, REVOLVER, OR OTHER FIREARM CAPABLE OF BEING CONCEALED UPON THE PERSON
WITHIN ANY 30–DAY PERIOD.”

(h) “IF A FIREARM YOU OWN OR POSSESS IS LOST OR STOLEN, YOU MUST REPORT THE LOSS OR
THEFT TO A LOCAL LAW ENFORCEMENT AGENCY WHERE THE LOSS OR THEFT OCCURRED WITHIN
FIVE DAYS OF THE TIME YOU KNEW OR REASONABLY SHOULD HAVE KNOWN THAT THE FIREARM
HAD BEEN LOST OR STOLEN.”



SEC. 5. Strengthening the National Instant Criminal Background Check System.



SEC. 5.1. Section 28220 of the Penal Code is amended to read:

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                                                  << CA PENAL § 28220 >>

28220. (a) Upon submission of firearm purchaser information, the Department of Justice shall examine its records, as well as
those records that it is authorized to request from the State Department of State Hospitals pursuant to Section 8104 of the
Welfare and Institutions Code, in order to determine if the purchaser is a person described in subdivision (a) of Section
27535, or is prohibited by state or federal law from possessing, receiving, owning, or purchasing a firearm.

(b) * * * The Department of Justice shall participate in the National Instant Criminal Background Check System (NICS), as
described in subsection (t) of Section 922 of Title 18 of the United States Code, and * * * shall notify the dealer and the chief
of the police department of the city or city and county in which the sale was made, or if the sale was made in a district in
which there is no municipal police department, the sheriff of the county in which the sale was made, that the purchaser is a
person prohibited from acquiring a firearm under federal law.

(c) If the department determines that the purchaser is prohibited by state or federal law from possessing, receiving, owning,
or purchasing a firearm or is a person described in subdivision (a) of Section 27535, it shall immediately notify the dealer and
the chief of the police department of the city or city and county in which the sale was made, or if the sale was made in a
district in which there is no municipal police department, the sheriff of the county in which the sale was made, of that fact.

(d) If the department determines that the copies of the register submitted to it pursuant to subdivision (d) of Section 28210
contain any blank spaces or inaccurate, illegible, or incomplete information, preventing identification of the purchaser or the
handgun or other firearm to be purchased, or if any fee required pursuant to Section 28225 is not submitted by the dealer in
conjunction with submission of copies of the register, the department may notify the dealer of that fact. Upon notification by
the department, the dealer shall submit corrected copies of the register to the department, or shall submit any fee required
pursuant to Section 28225, or both, as appropriate and, if notification by the department is received by the dealer at any time
prior to delivery of the firearm to be purchased, the dealer shall withhold delivery until the conclusion of the waiting period
described in Sections 26815 and 27540.

(e) If the department determines that the information transmitted to it pursuant to Section 28215 contains inaccurate or
incomplete information preventing identification of the purchaser or the handgun or other firearm to be purchased, or if the
fee required pursuant to Section 28225 is not transmitted by the dealer in conjunction with transmission of the electronic or
telephonic record, the department may notify the dealer of that fact. Upon notification by the department, the dealer shall
transmit corrections to the record of electronic or telephonic transfer to the department, or shall transmit any fee required
pursuant to Section 28225, or both, as appropriate, and if notification by the department is received by the dealer at any time
prior to delivery of the firearm to be purchased, the dealer shall withhold delivery until the conclusion of the waiting period
described in Sections 26815 and 27540.

(f)(1)(A) The department shall immediately notify the dealer to delay the transfer of the firearm to the purchaser if the
records of the department, or the records available to the department in the National Instant Criminal Background Check
System, indicate one of the following:

(i) The purchaser has been taken into custody and placed in a facility for mental health treatment or evaluation and may be a
person described in Section 8100 or 8103 of the Welfare and Institutions Code and the department is unable to ascertain
whether the purchaser is a person who is prohibited from possessing, receiving, owning, or purchasing a firearm, pursuant to
Section 8100 or 8103 of the Welfare and Institutions Code, prior to the conclusion of the waiting period described in Sections
26815 and 27540.

(ii) The purchaser has been arrested for, or charged with, a crime that would make him or her, if convicted, a person who is
prohibited by state or federal law from possessing, receiving, owning, or purchasing a firearm, and the department is unable
to ascertain whether the purchaser was convicted of that offense prior to the conclusion of the waiting period described in
Sections 26815 and 27540.

(iii) The purchaser may be a person described in subdivision (a) of Section 27535, and the department is unable to ascertain
whether the purchaser, in fact, is a person described in subdivision (a) of Section 27535, prior to the conclusion of the waiting
period described in Sections 26815 and 27540.

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(B) The dealer shall provide the purchaser with information about the manner in which he or she may contact the department
regarding the delay described in subparagraph (A).

(2) The department shall notify the purchaser by mail regarding the delay and explain the process by which the purchaser
may obtain a copy of the criminal or mental health record the department has on file for the purchaser. Upon receipt of that
criminal or mental health record, the purchaser shall report any inaccuracies or incompleteness to the department on an
approved form.

(3) If the department ascertains the final disposition of the arrest or criminal charge, or the outcome of the mental health
treatment or evaluation, or the purchaser’s eligibility to purchase a firearm, as described in paragraph (1), after the waiting
period described in Sections 26815 and 27540, but within 30 days of the dealer’s original submission of the purchaser
information to the department pursuant to this section, the department shall do the following:

(A) If the purchaser is not a person described in subdivision (a) of Section 27535, and is not prohibited by state or federal
law, including, but not limited to, Section 8100 or 8103 of the Welfare and Institutions Code, from possessing, receiving,
owning, or purchasing a firearm, the department shall immediately notify the dealer of that fact and the dealer may then
immediately transfer the firearm to the purchaser, upon the dealer’s recording on the register or record of electronic transfer
the date that the firearm is transferred, the dealer signing the register or record of electronic transfer indicating delivery of the
firearm to that purchaser, and the purchaser signing the register or record of electronic transfer acknowledging the receipt of
the firearm on the date that the firearm is delivered to him or her.

(B) If the purchaser is a person described in subdivision (a) of Section 27535, or is prohibited by state or federal law,
including, but not limited to, Section 8100 or 8103 of the Welfare and Institutions Code, from possessing, receiving, owning,
or purchasing a firearm, the department shall immediately notify the dealer and the chief of the police department in the city
or city and county in which the sale was made, or if the sale was made in a district in which there is no municipal police
department, the sheriff of the county in which the sale was made, of that fact in compliance with subdivision (c) of Section
28220.

(4) If the department is unable to ascertain the final disposition of the arrest or criminal charge, or the outcome of the mental
health treatment or evaluation, or the purchaser’s eligibility to purchase a firearm, as described in paragraph (1), within 30
days of the dealer’s original submission of purchaser information to the department pursuant to this section, the department
shall immediately notify the dealer and the dealer may then immediately transfer the firearm to the purchaser, upon the
dealer’s recording on the register or record of electronic transfer the date that the firearm is transferred, the dealer signing the
register or record of electronic transfer indicating delivery of the firearm to that purchaser, and the purchaser signing the
register or record of electronic transfer acknowledging the receipt of the firearm on the date that the firearm is delivered to
him or her.

(g) Commencing July 1, 2017, upon receipt of information demonstrating that a person is prohibited from possessing
a firearm pursuant to federal or state law, the department shall submit the name, date of birth, and physical
description of the person to the National Instant Criminal Background Check System Index, Denied Persons Files.
The information provided shall remain privileged and confidential, and shall not be disclosed, except for the purpose
of enforcing federal or state firearms laws.



SEC. 6. Possession of Large–Capacity Magazines.



SEC. 6.1. Section 32310 of the Penal Code is amended to read:


                                                   << CA PENAL § 32310 >>

32310. (a) Except as provided in Article 2 (commencing with Section 32400) of this chapter and in Chapter 1 (commencing
with Section 17700) of Division 2 of Title 2, * * * any person in this state who manufactures or causes to be manufactured,
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imports into the state, keeps for sale, or offers or exposes for sale, or who gives, lends, buys, or receives any large-capacity
magazine is punishable by imprisonment in a county jail not exceeding one year or imprisonment pursuant to subdivision (h)
of Section 1170.

(b) For purposes of this section, “manufacturing” includes both fabricating a magazine and assembling a magazine from a
combination of parts, including, but not limited to, the body, spring, follower, and floor plate or end plate, to be a fully
functioning large-capacity magazine.

(c) Except as provided in Article 2 (commencing with Section 32400) of this chapter and in Chapter 1 (commencing
with Section 17700) of Division 2 of Title 2, commencing July 1, 2017, any person in this state who possesses any
large-capacity magazine, regardless of the date the magazine was acquired, is guilty of an infraction punishable by a
fine not to exceed one hundred dollars ($100) per large-capacity magazine, or is guilty of a misdemeanor punishable
by a fine not to exceed one hundred dollars ($100) per large-capacity magazine, by imprisonment in a county jail not
to exceed one year, or by both that fine and imprisonment.

(d) Any person who may not lawfully possess a large-capacity magazine commencing July 1, 2017 shall, prior to July
1, 2017:

(1) Remove the large-capacity magazine from the state;

(2) Sell the large-capacity magazine to a licensed firearms dealer; or

(3) Surrender the large-capacity magazine to a law enforcement agency for destruction.



SEC. 6.2. Section 32400 of the Penal Code is amended to read:


                                                 << CA PENAL § 32400 >>

32400. Section 32310 does not apply to the sale of, giving of, lending of, possession of, importation into this state of, or
purchase of, any large-capacity magazine to or by any federal, state, county, city and county, or city agency that is charged
with the enforcement of any law, for use by agency employees in the discharge of their official duties, whether on or off duty,
and where the use is authorized by the agency and is within the course and scope of their duties.



SEC. 6.3. Section 32405 of the Penal Code is amended to read:


                                                 << CA PENAL § 32405 >>

32405. Section 32310 does not apply to the sale to, lending to, transfer to, purchase by, receipt of, possession of, or
importation into this state of, a large-capacity magazine by a sworn peace officer, as defined in Chapter 4.5 (commencing
with Section 830) of Title 3 of Part 2, or sworn federal law enforcement officer, who is authorized to carry a firearm in the
course and scope of that officer’s duties.



SEC. 6.4. Section 32406 is added to the Penal Code, to read:


                                                 << CA PENAL § 32406 >>

32406. Subdivision (c) of Section 32310 does not apply to an honorably retired sworn peace officer, as defined in Chapter 4.5

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(commencing with Section 830) of Title 3 of Part 2, or honorably retired sworn federal law enforcement officer, who was
authorized to carry a firearm in the course and scope of that officer’s duties. “Honorably retired” shall have the same meaning
as provided in Section 16690.



SEC. 6.5. Section 32410 of the Penal Code is amended to read:


                                                 << CA PENAL § 32410 >>

32410. Section 32310 does not apply to the sale * * *, purchase, or possession of any large-capacity magazine to or by a
person licensed pursuant to Sections 26700 to 26915, inclusive.



                                            << Repealed: CA PENAL § 32420 >>


SEC. 6.6. Section 32420 of the Penal Code is repealed.



SEC. 6.7. Section 32425 of the Penal Code is amended to read:


                                                 << CA PENAL § 32425 >>

32425. Section 32310 does not apply to any of the following:

(a) The lending or giving of any large-capacity magazine to a person licensed pursuant to Sections 26700 to 26915, inclusive,
or to a gunsmith, for the purposes of maintenance, repair, or modification of that large-capacity magazine.

(b) The possession of any large-capacity magazine by a person specified in subdivision (a) for the purposes specified in
subdivision (a).

(c) The return to its owner of any large-capacity magazine by a person specified in subdivision (a).



SEC. 6.8. Section 32435 of the Penal Code is amended to read:


                                                 << CA PENAL § 32435 >>

32435. Section 32310 does not apply to any of the following:

(a) The sale of, giving of, lending of, possession of, importation into this state of, or purchase of, any large-capacity
magazine, to or by any entity that operates an armored vehicle business pursuant to the laws of this state.

(b) The lending of large-capacity magazines by an entity specified in subdivision (a) to its authorized employees, while in the
course and scope of employment for purposes that pertain to the entity’s armored vehicle business.

(c) The possession of any large-capacity magazines by the employees of an entity specified in subdivision (a) for
purposes that pertain to the entity’s armored vehicle business.

(d) The return of those large-capacity magazines to the entity specified in subdivision (a) by those employees specified in

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subdivision (b).



SEC. 6.9. Section 32450 of the Penal Code is amended to read:


                                                  << CA PENAL § 32450 >>

32450. Section 32310 does not apply to the purchase or possession of a large-capacity magazine by the holder of a special
weapons permit issued pursuant to Section 31000, 32650, or 33300, or pursuant to Article 3 (commencing with Section
18900) of Chapter 1 of Division 5 of Title 2, or pursuant to Article 4 (commencing with Section 32700) of Chapter 6 of this
division, for any of the following purposes:

(a) For use solely as a prop for a motion picture, television, or video production.

(b) For export pursuant to federal regulations.

(c) For resale to law enforcement agencies, government agencies, or the military, pursuant to applicable federal regulations.



SEC. 7. Firearms Dealers.



SEC. 7.1. Section 26885 of the Penal Code is amended to read:


                                                  << CA PENAL § 26885 >>

26885. (a) Except as provided in subdivisions (b) and (c) of Section 26805, all firearms that are in the inventory of a licensee
shall be kept within the licensed location.

(b) Within 48 hours of discovery, a licensee shall report the loss or theft of any of the following items to the appropriate law
enforcement agency in the city, county, or city and county where the licensee’s business premises are located:

(1) Any firearm or ammunition that is merchandise of the licensee.

(2) Any firearm or ammunition that the licensee takes possession of pursuant to Chapter 5 (commencing with Section
28050), or pursuant to Section 30312.

(3) Any firearm or ammunition kept at the licensee’s place of business.



SEC. 7.2. Section 26915 of the Penal Code is amended to read:


                                                  << CA PENAL § 26915 >>

26915. (a) * * * Commencing January 1, 2018, a firearms dealer shall require any agent or employee who handles, sells, or
delivers firearms to obtain and provide to the dealer a certificate of eligibility from the Department of Justice pursuant to
Section 26710. On the application for the certificate, the agent or employee shall provide the name and California firearms
dealer number of the firearms dealer with whom the person is employed.

(b) The department shall notify the firearms dealer in the event that the agent or employee who has a certificate of eligibility
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is or becomes prohibited from possessing firearms.

(c) If the local jurisdiction requires a background check of the agents or employees of a firearms dealer, the agent or
employee shall obtain a certificate of eligibility pursuant to subdivision (a).

(d)(1) Nothing in this section shall be construed to preclude a local jurisdiction from conducting an additional background
check pursuant to Section 11105. The local jurisdiction may not charge a fee for the additional criminal history check.

(2) Nothing in this section shall be construed to preclude a local jurisdiction from prohibiting employment based on criminal
history that does not appear as part of obtaining a certificate of eligibility.

(e) The licensee shall prohibit any agent who the licensee knows or reasonably should know is within a class of persons
prohibited from possessing firearms pursuant to Chapter 2 (commencing with Section 29800) or Chapter 3 (commencing
with Section 29900) of Division 9 of this title, or Section 8100 or 8103 of the Welfare and Institutions Code, from coming
into contact with any firearm that is not secured and from accessing any key, combination, code, or other means to open any
of the locking devices described in subdivision (g).

(f) Nothing in this section shall be construed as preventing a local government from enacting an ordinance imposing
additional conditions on licensees with regard to agents or employees.

(g) For purposes of this article, “secured” means a firearm that is made inoperable in one or more of the following ways:

(1) The firearm is inoperable because it is secured by a firearm safety device listed on the department’s roster of approved
firearm safety devices pursuant to subdivision (d) of Section 23655.

(2) The firearm is stored in a locked gun safe or long-gun safe that meets the standards for department-approved gun safes set
forth in Section 23650.

(3) The firearm is stored in a distinct locked room or area in the building that is used to store firearms, which can only be
unlocked by a key, a combination, or similar means.

(4) The firearm is secured with a hardened steel rod or cable that is at least one-eighth of an inch in diameter through the
trigger guard of the firearm. The steel rod or cable shall be secured with a hardened steel lock that has a shackle. The lock
and shackle shall be protected or shielded from the use of a boltcutter and the rod or cable shall be anchored in a manner that
prevents the removal of the firearm from the premises.



SEC. 8. Sales of Ammunition.



SEC. 8.1. Section 16150 of the Penal Code is amended to read:


                                                 << CA PENAL § 16150 >>

16150. * * * (a) As used in this part, except in subdivision (a) of Section 30305 and in Section 30306, “ammunition”
means one or more loaded cartridges consisting of a primed case, propellant, and with one or more projectiles.
“Ammunition” does not include blanks.

(b) As used in subdivision (a) of Section 30305 and in Section 30306, “ammunition” includes, but is not limited to, any
bullet, cartridge, magazine, clip, speed loader, autoloader, or projectile capable of being fired from a firearm with a deadly
consequence. “Ammunition” does not include blanks.


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SEC. 8.2. Section 16151 is added to the Penal Code, to read:


                                                << CA PENAL § 16151 >>

16151. (a) As used in this part, commencing January 1, 2018, “ammunition vendor” means any person, firm, corporation, or
other business enterprise that holds a current ammunition vendor license issued pursuant to Section 30385.

(b) Commencing January 1, 2018, a firearms dealer licensed pursuant to Sections 26700 to 26915, inclusive, shall
automatically be deemed a licensed ammunition vendor, provided the dealer complies with the requirements of Articles 2
(commencing with Section 30300) and 3 (commencing with Section 30342) of Chapter 1 of Division 10 of Title 4.



                                           << Repealed: CA PENAL § 16662 >>


SEC. 8.3. Section 16662 of the Penal Code is repealed.



SEC. 8.4. Section 17315 of the Penal Code is amended to read:


                                                << CA PENAL § 17315 >>

17315. As used in * * * Articles 2 through 5 of Chapter 1 of Division 10 of Title 4, “vendor” means * * * an ammunition
vendor.



SEC. 8.5. Section 30306 of the Penal Code is amended to read:


                                                << CA PENAL § 30306 >>

30306. (a) Any person, corporation, * * * firm, or other business enterprise who supplies, delivers, sells, or gives
possession or control of, any ammunition to any person who he or she knows or using reasonable care should know is
prohibited from owning, possessing, or having under custody or control, any ammunition or reloaded ammunition pursuant to
subdivision (a) or (b) of Section 30305, is guilty of a misdemeanor, punishable by imprisonment in a county jail not
exceeding one year, or a fine not exceeding one thousand dollars ($1,000), or by both that fine and imprisonment.

(b) Any person, corporation, firm, or other business enterprise who supplies, delivers, sells, or gives possession or
control of, any ammunition to any person whom the person, corporation, firm, or other business enterprise knows or
has cause to believe is not the actual purchaser or transferee of the ammunition, with knowledge or cause to believe
that the ammunition is to be subsequently sold or transferred to a person who is prohibited from owning, possessing,
or having under custody or control any ammunition or reloaded ammunition pursuant to subdivision (a) or (b) of
Section 30305, is guilty of a misdemeanor, punishable by imprisonment in a county jail not exceeding one year, or a
fine not exceeding one thousand dollars ($1,000), or by both that fine and imprisonment.

(c) The provisions of this section are cumulative and shall not be construed as restricting the application of any other law.
However, an act or omission punishable in different ways by this section and another provision of law shall not be punished
under more than one provision.



SEC. 8.6. Section 30312 of the Penal Code is amended to read:

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SAFETY FOR ALL ACT, 2016 Cal. Legis. Serv. Prop. 63 (PROPOSITION 63) (WEST)



                                                    << CA PENAL § 30312 >>

30312. * * * (a)(1) Commencing January 1, 2018, the sale of ammunition by any party shall be conducted by or
processed through a licensed ammunition vendor.

(2) When neither party to an ammunition sale is a licensed ammunition vendor, the seller shall deliver the
ammunition to a vendor to process the transaction. The ammunition vendor shall then promptly and properly deliver
the ammunition to the purchaser, if the sale is not prohibited, as if the ammunition were the vendor’s own
merchandise. If the ammunition vendor cannot legally deliver the ammunition to the purchaser, the vendor shall
forthwith return the ammunition to the seller. The ammunition vendor may charge the purchaser an administrative
fee to process the transaction, in an amount to be set by the Department of Justice, in addition to any applicable fees
that may be charged pursuant to the provisions of this title.

(b) Commencing January 1, 2018, the sale, delivery or transfer of ownership of * * * ammunition by any party may only
occur in a face-to-face transaction with the seller, deliverer, or transferor * * *, provided, however, that ammunition may
be purchased or acquired over the Internet or through other means of remote ordering if a licensed ammunition
vendor initially receives the ammunition and processes the transaction in compliance with this section and Article 3
(commencing with Section 30342) of Chapter 1 of Division 10 of Title 4 of this part.

* * * (c) Subdivisions (a) and (b) shall not apply to * * * the sale, delivery, or transfer of * * * ammunition to any of the
following:

(1) An authorized law enforcement representative of a city, county, city and county, or state or federal government, if the
sale, delivery, or transfer is for exclusive use by that government agency and, prior to the sale, delivery, or transfer of the * *
* ammunition, written authorization from the head of the agency employing the purchaser or transferee is obtained,
identifying the employee as an individual authorized to conduct the transaction, and authorizing the transaction for the
exclusive use of the agency employing the individual.

(2) A sworn peace officer, as defined in Chapter 4.5 (commencing with Section 830) of Title 3 of Part 2, or sworn federal
law enforcement officer, who is authorized to carry a firearm in the course and scope of the officer’s duties.

(3) An importer or manufacturer of * * * ammunition or firearms who is licensed to engage in business pursuant to Chapter
44 (commencing with Section 921) of Title 18 of the United States Code and the regulations issued pursuant thereto.

(4) A person who is on the centralized list of exempted federal firearms licensees maintained by the Department of Justice
pursuant to Article 6 (commencing with Section 28450) of Chapter 6 of Division 6 of this title.

(5) A person whose licensed premises are outside this state and who is licensed as a dealer or collector of firearms pursuant to
Chapter 44 (commencing with Section 921) of Title 18 of the United States Code and the regulations issued pursuant thereto.

(6) A person who is licensed as a collector of firearms pursuant to Chapter 44 (commencing with Section 921) of Title 18 of
the United States Code and the regulations issued pursuant thereto, whose licensed premises are within this state, and who
has a current certificate of eligibility issued by the Department of Justice pursuant to Section 26710.

(7) * * * An ammunition vendor.

(8) A consultant-evaluator.

(9) A person who purchases or receives ammunition at a target facility holding a business or other regulatory license,
provided that the ammunition is at all times kept within the facility’s premises.

(10) A person who purchases or receives ammunition from a spouse, registered domestic partner, or immediate family
member as defined in Section 16720.

(d) A violation of this section is a misdemeanor.
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SAFETY FOR ALL ACT, 2016 Cal. Legis. Serv. Prop. 63 (PROPOSITION 63) (WEST)




SEC. 8.7. Section 30314 is added to the Penal Code, to read:


                                                    << CA PENAL § 30314 >>

30314. (a) Commencing January 1, 2018, a resident of this state shall not bring or transport into this state any ammunition
that he or she purchased or otherwise obtained from outside of this state unless he or she first has that ammunition delivered
to a licensed ammunition vendor for delivery to that resident pursuant to the procedures set forth in Section 30312.

(b) Subdivision (a) does not apply to any of the following:

(1) An ammunition vendor.

(2) A sworn peace officer, as defined in Chapter 4.5 (commencing with Section 830) of Title 3 of Part 2, or sworn federal law
enforcement officer, who is authorized to carry a firearm in the course and scope of the officer’s duties.

(3) An importer or manufacturer of ammunition or firearms who is licensed to engage in business pursuant to Chapter 44
(commencing with Section 921) of Title 18 of the United States Code and the regulations issued pursuant thereto.

(4) A person who is on the centralized list of exempted federal firearms licensees maintained by the Department of Justice
pursuant to Article 6 (commencing with Section 28450) of Chapter 6 of Division 6.

(5) A person who is licensed as a collector of firearms pursuant to Chapter 44 (commencing with Section 921) of Title 18 of
the United States Code and the regulations issued pursuant thereto, whose licensed premises are within this state, and who
has a current certificate of eligibility issued by the Department of Justice pursuant to Section 26710.

(6) A person who acquired the ammunition from a spouse, registered domestic partner, or immediate family member as
defined in Section 16720.

(c) A violation of this section is an infraction for any first time offense, and either an infraction or a misdemeanor for any
subsequent offense.



SEC. 8.8. The heading of Article 3 (commencing with Section 30342) of Chapter 1 of Division 10 of Title 4 of Part 6 of the
Penal Code is amended to read:


                                             pt. 6 t. 4 d. 10 ch. 1 art. 3 pr. § 30342


                                            Article 3. * * * Ammunition Vendors



SEC. 8.9. Section 30342 is added to the Penal Code, immediately preceding Section 30345, to read:


                                                    << CA PENAL § 30342 >>

30342. (a) Commencing January 1, 2018, a valid ammunition vendor license shall be required for any person, firm,
corporation, or other business enterprise to sell more than 500 rounds of ammunition in any 30–day period.

(b) A violation of this section is a misdemeanor.
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SEC. 8.10. Section 30347 of the Penal Code is amended to read:


                                                 << CA PENAL § 30347 >>

30347. (a) An ammunition vendor shall require any agent or employee who handles, sells, delivers, or has under his or
her custody or control any ammunition, to obtain and provide to the vendor a certificate of eligibility from the
Department of Justice issued pursuant to Section 26710. On the application for the certificate, the agent or employee
shall provide the name and address of the ammunition vendor with whom the person is employed, or the name and
California firearms dealer number of the ammunition vendor if applicable.

(b) The department shall notify the ammunition vendor in the event that the agent or employee who has a certificate
of eligibility is or becomes prohibited from possessing ammunition under subdivision (a) of Section 30305 or federal
law.

* * * (c) An ammunition vendor shall not permit any agent or employee who the vendor knows or reasonably should know
is a person described in Chapter 2 (commencing with Section 29800) or Chapter 3 (commencing with Section 29900) of
Division 9 of this title or Section 8100 or 8103 of the Welfare and Institutions Code to handle, sell, * * * deliver, or have
under his or her custody or control, any * * * ammunition in the course and scope of employment.



SEC. 8.11. Section 30348 is added to the Penal Code, to read:


                                                 << CA PENAL § 30348 >>

30348. (a) Except as provided in subdivision (b), the sale of ammunition by a licensed vendor shall be conducted at the
location specified in the license.

(b) A vendor may sell ammunition at a gun show or event if the gun show or event is not conducted from any motorized or
towed vehicle.

(c) For purposes of this section, “gun show or event” means a function sponsored by any national, state, or local organization,
devoted to the collection, competitive use, or other sporting use of firearms, or an organization or association that sponsors
functions devoted to the collection, competitive use, or other sporting use of firearms in the community.

(d) Sales of ammunition at a gun show or event shall comply with all applicable laws including Sections 30347, 30350,
30352, and 30360.



SEC. 8.12. Section 30350 of the Penal Code is amended to read:


                                                 << CA PENAL § 30350 >>

30350. * * * An ammunition vendor shall not sell or otherwise transfer ownership of, offer for sale or otherwise offer to
transfer ownership of, or display for sale or display for transfer of ownership of any * * * ammunition in a manner that allows
that ammunition to be accessible to a purchaser or transferee without the assistance of the vendor or an employee of the
vendor.



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SEC. 8.13. Section 30352 of the Penal Code is amended to read:


                                                     << CA PENAL § 30352 >>

30352. (a) Commencing * * * July 1, 2019, an ammunition vendor shall not sell or otherwise transfer ownership of any * *
* ammunition without, at the time of delivery, legibly recording the following information on a form to be prescribed by
the Department of Justice:

(1) The date of the sale or other transfer.

(2) The purchaser’s or transferee’s driver’s license or other identification number and the state in which it was issued.

(3) The brand, type, and amount of ammunition sold or otherwise transferred.

(4) The purchaser’s or transferee’s full name and signature.

(5) The name of the salesperson who processed the sale or other transaction.

***

(6) The purchaser’s or transferee’s full residential address and telephone number.

(7) The purchaser’s or transferee’s date of birth.

(b) Commencing July 1, 2019, an ammunition vendor shall electronically submit to the department the information
required by subdivision (a) for all sales and transfers of ownership of ammunition. The department shall retain this
information in a database to be known as the Ammunition Purchase Records File. This information shall remain
confidential and may be used by the department and those entities specified in, and pursuant to, subdivision (b) or (c)
of Section 11105, through the California Law Enforcement Telecommunications System, only for law enforcement
purposes. The ammunition vendor shall not use, sell, disclose, or share such information for any other purpose other
than the submission required by this subdivision without the express written consent of the purchaser or transferee.

(c) Commencing on July 1, 2019, only those persons listed in this subdivision, or those persons or entities listed in
subdivision (e), shall be authorized to purchase ammunition. Prior to delivering any ammunition, an ammunition
vendor shall require bona fide evidence of identity to verify that the person who is receiving delivery of the
ammunition is a person or entity listed in subdivision (e) or one of the following:

(1) A person authorized to purchase ammunition pursuant to Section 30370.

(2) A person who was approved by the department to receive a firearm from the ammunition vendor, pursuant to
Section 28220, if that vendor is a licensed firearms dealer, and the ammunition is delivered to the person in the same
transaction as the firearm.

(d) Commencing July 1, 2019, the ammunition vendor shall verify with the department, in a manner prescribed by the
department, that the person is authorized to purchase ammunition by comparing the person’s ammunition purchase
authorization number to the centralized list of authorized ammunition purchasers. If the person is not listed as an
authorized ammunition purchaser, the vendor shall deny the sale or transfer.

* * * (e) Subdivisions (a) and (d) shall not apply to * * * sales or other transfers of ownership of * * * ammunition by * * *
ammunition vendors to any of the following, if properly identified:

***

* * * (1) An ammunition vendor.
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(2) A person who is on the centralized list of exempted federal firearms licensees maintained by the department pursuant to
Article 6 (commencing with Section 28450) of Chapter 6 of Division 6 of this title.

***

(3) A person who purchases or receives ammunition at a target facility holding a business or other regulatory license,
provided that the ammunition is at all times kept within the facility’s premises.

(4) A gunsmith.

(5) A wholesaler.

(6) A manufacturer or importer of firearms or ammunition licensed pursuant to Chapter 44 (commencing with Section 921)
of Title 18 of the United States Code, and the regulations issued pursuant thereto.

(7) An authorized law enforcement representative of a city, county, city and county, or state or federal government, if the sale
or other transfer of ownership is for exclusive use by that government agency, and, prior to the sale, delivery, or transfer of
the * * * ammunition, written authorization from the head of the agency authorizing the transaction is presented to the person
from whom the purchase, delivery, or transfer is being made. Proper written authorization is defined as verifiable written
certification from the head of the agency by which the purchaser, transferee, or person otherwise acquiring ownership is
employed, identifying the employee as an individual authorized to conduct the transaction, and authorizing the transaction for
the exclusive use of the agency by which that individual is employed.

(8) A properly identified sworn peace officer, as defined in Chapter 4.5 (commencing with Section 830) of Title 3 of
Part 2, or properly identified sworn federal law enforcement officer, who is authorized to carry a firearm in the
course and scope of the officer’s duties.

(f)(1) Proper identification is defined as verifiable written certification from the head of the agency by which the
purchaser or transferee is employed, identifying the purchaser or transferee as a full-time paid peace officer who is
authorized to carry a firearm in the course and scope of the officer’s duties.

(2) The certification shall be delivered to the vendor at the time of purchase or transfer and the purchaser or
transferee shall provide bona fide evidence of identity to verify that he or she is the person authorized in the
certification.

(3) The vendor shall keep the certification with the record of sale and submit the certification to the department.

(g) The department is authorized to adopt regulations to implement the provisions of this section.



SEC. 8.14. Section 30363 is added to the Penal Code, to read:


                                                 << CA PENAL § 30363 >>

30363. Within 48 hours of discovery, an ammunition vendor shall report the loss or theft of any of the following items to the
appropriate law enforcement agency in the city, county, or city and county where the vendor’s business premises are located:

(1) Any ammunition that is merchandise of the vendor.

(2) Any ammunition that the vendor takes possession of pursuant to Section 30312.

(3) Any ammunition kept at the vendor’s place of business.

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SEC. 8.15. Article 4 (commencing with Section 30370) is added to Chapter 1 of Division 10 of Title 4 of Part 6 of the Penal
Code, to read:


                                              pt. 6 t. 4 d. 10 ch. 1 art. 4 pr. § 30370


                                        Article 4. Ammunition Purchase Authorizations


                                                   << CA PENAL § 30370 >>

30370. (a)(1) Commencing on January 1, 2019, any person who is 18 years of age or older may apply to the Department of
Justice for an ammunition purchase authorization.

(2) The ammunition purchase authorization may be used by the authorized person to purchase or otherwise seek the transfer
of ownership of ammunition from an ammunition vendor, as that term is defined in Section 16151, and shall have no other
force or effect.

(3) The ammunition purchase authorization shall be valid for four years from July 1, 2019, or the date of issuance, whichever
is later, unless it is revoked by the department pursuant to subdivision (b).

(b) The ammunition purchase authorization shall be promptly revoked by the department upon the occurrence of any event
which would have disqualified the holder from being issued the ammunition purchase authorization pursuant to this section.
If an authorization is revoked, the department shall upon the written request of the holder state the reasons for doing so and
provide the holder an appeal process to challenge that revocation.

(c) The department shall create and maintain an internal centralized list of all persons who are authorized to purchase
ammunition and shall promptly remove from the list any persons whose authorization was revoked by the department
pursuant to this section. The department shall provide access to the list by ammunition vendors for purposes of conducting
ammunition sales or other transfers, and shall provide access to the list by law enforcement agencies for law enforcement
purposes.

(d) The department shall issue an ammunition purchase authorization to the applicant if all of the following conditions are
met:

(1) The applicant is 18 years of age or older.

(2) The applicant is not prohibited from acquiring or possessing ammunition under subdivision (a) of Section 30305 or
federal law.

(3) The applicant pays the fees set forth in subdivision (g).

(e)(1) Upon receipt of an initial or renewal application, the department shall examine its records, and the records it is
authorized to request from the State Department of State Hospitals, pursuant to Section 8104 of the Welfare and Institutions
Code, and if authorized, the National Instant Criminal Background Check System, as described in Section 922(t) of Title 18
of the United States Code, in order to determine if the applicant is prohibited from possessing or acquiring ammunition under
subdivision (a) of Section 30305 or federal law.

(2) The applicant shall be approved or denied within 30 days of the date of the submission of the application to the
department. If the application is denied, the department shall state the reasons for doing so and provide the applicant an
appeal process to challenge that denial.

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(3) If the department is unable to ascertain the final disposition of the application within 30 days of the applicant’s
submission, the department shall grant authorization to the applicant.

(4) The ammunition purchase authorization number shall be the same as the number on the document presented by the person
as bona fide evidence of identity.

(f) The department shall renew a person’s ammunition purchase authorization before its expiration, provided that the
department determines that the person is not prohibited from acquiring or possessing ammunition under subdivision (a) of
Section 30305 or federal law, and provided the applicant timely pays the renewal fee set forth in subdivision (g).

(g) The department may charge a reasonable fee not to exceed fifty dollars ($50) per person for the issuance of an
ammunition purchase authorization or the issuance of a renewal authorization, however, the department shall not set these
fees any higher than necessary to recover the reasonable, estimated costs to fund the ammunition authorization program
provided for in this section and Section 30352, including the enforcement of this program and maintenance of any data
systems associated with this program.

(h) The Ammunition Safety and Enforcement Special Fund is hereby created within the State Treasury. All fees received
pursuant to this section shall be deposited into the Ammunition Safety and Enforcement Special Fund of the General Fund,
and, notwithstanding Section 13340 of the Government Code, are continuously appropriated for purposes of implementing,
operating and enforcing the ammunition authorization program provided for in this section and Section 30352, and for
repaying the start-up loan provided for in Section 30371.

(i) The department shall annually review and may adjust all fees specified in subdivision (g) for inflation.

(j) The department is authorized to adopt regulations to implement the provisions of this section.


                                                  << CA PENAL § 30371 >>

30371. (a) There is hereby appropriated twenty-five million dollars ($25,000,000) from the General Fund as a loan for the
start-up costs of implementing, operating and enforcing the provisions of the ammunition authorization program provided for
in Sections 30352 and 30370.

(b) For purposes of repaying the loan, the Controller shall, after disbursing moneys necessary to implement, operate and
enforce the ammunition authorization program provided for in Sections 30352 and 30370, transfer all proceeds from fees
received by the Ammunition Safety and Enforcement Special Fund up to the amount of the loan provided by this section,
including interest at the pooled money investment account rate, to the General Fund.



SEC. 8.16. Article 5 (commencing with Section 30385) is added to Chapter 1 of Division 10 of Title 4 of Part 6 of the Penal
Code, to read:


                                             pt. 6 t. 4 d. 10 ch. 1 art. 5 pr. § 30385


                                           Article 5. Ammunition Vendor Licenses


                                                  << CA PENAL § 30385 >>

30385. (a) The Department of Justice is authorized to issue ammunition vendor licenses pursuant to this article. The
department shall, commencing July 1, 2017, commence accepting applications for ammunition vendor licenses. If an
application is denied, the department shall inform the applicant of the reason for denial in writing.


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(b) The ammunition vendor license shall be issued in a form prescribed by the department and shall be valid for a period of
one year. The department may adopt regulations to administer the application and enforcement provisions of this article. The
license shall allow the licensee to sell ammunition at the location specified in the license or at a gun show or event as set forth
in Section 30348.

(c)(1) In the case of an entity other than a natural person, the department shall issue the license to the entity, but shall require
a responsible person to pass the background check pursuant to Section 30395.

(2) For purposes of this article, “responsible person” means a person having the power to direct the management, policies,
and practices of the entity as it pertains to ammunition.

(d) Commencing January 1, 2018, a firearms dealer licensed pursuant to Sections 26700 to 26915, inclusive, shall
automatically be deemed a licensed ammunition vendor, provided the dealer complies with the requirements of Article 2
(commencing with Section 30300) and Article 3 (commencing with Section 30342).


                                                   << CA PENAL § 30390 >>

30390. (a) The Department of Justice may charge ammunition vendor license applicants a reasonable fee sufficient to
reimburse the department for the reasonable, estimated costs of administering the license program, including the enforcement
of this program and maintenance of the registry of ammunition vendors.

(b) The fees received by the department pursuant to this article shall be deposited in the Ammunition Vendors Special
Account, which is hereby created. Notwithstanding Section 13340 of the Government Code, the revenue in the fund is
continuously appropriated for use by the department for the purpose of implementing, administering and enforcing the
provisions of this article, and for collecting and maintaining information submitted pursuant to Section 30352.

(c) The revenue in the Firearms Safety and Enforcement Special Fund shall also be available upon appropriation to the
department for the purpose of implementing and enforcing the provisions of this article.


                                                   << CA PENAL § 30395 >>

30395. (a) The Department of Justice is authorized to issue ammunition vendor licenses to applicants who the department has
determined, either as an individual or a responsible person, are not prohibited from possessing, receiving, owning, or
purchasing ammunition under subdivision (a) of Section 30305 or federal law, and who provide a copy of any regulatory or
business license required by local government, a valid seller’s permit issued by the State Board of Equalization, a federal
firearms license if the person is federally licensed, and a certificate of eligibility issued by the department.

(b) The department shall keep a registry of all licensed ammunition vendors. Law enforcement agencies shall be provided
access to the registry for law enforcement purposes.

(c) An ammunition vendor license is subject to forfeiture for a breach of any of the prohibitions and requirements of Article 2
(commencing with Section 30300) or Article 3 (commencing with Section 30342).



SEC. 9. Nothing in this Act shall preclude or preempt a local ordinance that imposes additional penalties or requirements in
regard to the sale or transfer of ammunition.



SEC. 10. Securing Firearms From Prohibited Persons.




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SEC. 10.1. Section 1524 of the Penal Code is amended to read:


                                                  << CA PENAL § 1524 >>

1524. (a) A search warrant may be issued upon any of the following grounds:

(1) When the property was stolen or embezzled.

(2) When the property or things were used as the means of committing a felony.

(3) When the property or things are in the possession of any person with the intent to use them as a means of committing a
public offense, or in the possession of another to whom he or she may have delivered them for the purpose of concealing
them or preventing them from being discovered.

(4) When the property or things to be seized consist of an item or constitute evidence that tends to show a felony has been
committed, or tends to show that a particular person has committed a felony.

(5) When the property or things to be seized consist of evidence that tends to show that sexual exploitation of a child, in
violation of Section 311.3, or possession of matter depicting sexual conduct of a person under 18 years of age, in violation of
Section 311.11, has occurred or is occurring.

(6) When there is a warrant to arrest a person.

(7) When a provider of electronic communication service or remote computing service has records or evidence, as specified
in Section 1524.3, showing that property was stolen or embezzled constituting a misdemeanor, or that property or things are
in the possession of any person with the intent to use them as a means of committing a misdemeanor public offense, or in the
possession of another to whom he or she may have delivered them for the purpose of concealing them or preventing their
discovery.

(8) When the property or things to be seized include an item or evidence that tends to show a violation of Section 3700.5 of
the Labor Code, or tends to show that a particular person has violated Section 3700.5 of the Labor Code.

(9) When the property or things to be seized include a firearm or other deadly weapon at the scene of, or at the premises
occupied or under the control of the person arrested in connection with, a domestic violence incident involving a threat to
human life or a physical assault as provided in Section 18250. This section does not affect warrantless seizures otherwise
authorized by Section 18250.

(10) When the property or things to be seized include a firearm or other deadly weapon that is owned by, or in the possession
of, or in the custody or control of, a person described in subdivision (a) of Section 8102 of the Welfare and Institutions Code.

(11) When the property or things to be seized include a firearm that is owned by, or in the possession of, or in the custody or
control of, a person who is subject to the prohibitions regarding firearms pursuant to Section 6389 of the Family Code, if a
prohibited firearm is possessed, owned, in the custody of, or controlled by a person against whom a protective order has been
issued pursuant to Section 6218 of the Family Code, the person has been lawfully served with that order, and the person has
failed to relinquish the firearm as required by law.

(12) When the information to be received from the use of a tracking device constitutes evidence that tends to show that either
a felony, a misdemeanor violation of the Fish and Game Code, or a misdemeanor violation of the Public Resources Code has
been committed or is being committed, tends to show that a particular person has committed a felony, a misdemeanor
violation of the Fish and Game Code, or a misdemeanor violation of the Public Resources Code, or is committing a felony, a
misdemeanor violation of the Fish and Game Code, or a misdemeanor violation of the Public Resources Code, or will assist
in locating an individual who has committed or is committing a felony, a misdemeanor violation of the Fish and Game Code,
or a misdemeanor violation of the Public Resources Code. A tracking device search warrant issued pursuant to this paragraph
shall be executed in a manner meeting the requirements specified in subdivision (b) of Section 1534.
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(13) When a sample of the blood of a person constitutes evidence that tends to show a violation of Section 23140, 23152, or
23153 of the Vehicle Code and the person from whom the sample is being sought has refused an officer’s request to submit
to, or has failed to complete, a blood test as required by Section 23612 of the Vehicle Code, and the sample will be drawn
from the person in a reasonable, medically approved manner. This paragraph is not intended to abrogate a court’s mandate to
determine the propriety of the issuance of a search warrant on a case-by-case basis.

(14) Beginning January 1, 2016, the property or things to be seized are firearms or ammunition or both that are owned by, in
the possession of, or in the custody or control of a person who is the subject of a gun violence restraining order that has been
issued pursuant to Division 3.2 (commencing with Section 18100) of Title 2 of Part 6, if a prohibited firearm or ammunition
or both is possessed, owned, in the custody of, or controlled by a person against whom a gun violence restraining order has
been issued, the person has been lawfully served with that order, and the person has failed to relinquish the firearm as
required by law.

(15) Beginning January 1, 2018, the property or things to be seized include a firearm that is owned by, or in the
possession of, or in the custody or control of, a person who is subject to the prohibitions regarding firearms pursuant
to Section 29800 or 29805, and the court has made a finding pursuant to paragraph (3) of subdivision (c) of Section
29810 that the person has failed to relinquish the firearm as required by law.

(16) When the property or things to be seized are controlled substances or a device, contrivance, instrument, or paraphernalia
used for unlawfully using or administering a controlled substance pursuant to the authority described in Section 11472 of the
Health and Safety Code.

(17) (A) When all of the following apply:

(i) A sample of the blood of a person constitutes evidence that tends to show a violation of subdivision (b), (c), (d), (e), or (f)
of Section 655 of the Harbors and Navigation Code.

(ii) The person from whom the sample is being sought has refused an officer’s request to submit to, or has failed to complete,
a blood test as required by Section 655.1 of the Harbors and Navigation Code.

(iii) The sample will be drawn from the person in a reasonable, medically approved manner.

(B) This paragraph is not intended to abrogate a court’s mandate to determine the propriety of the issuance of a search
warrant on a case-by-case basis.

(b) The property, things, person, or persons described in subdivision (a) may be taken on the warrant from any place, or from
any person in whose possession the property or things may be.

(c) Notwithstanding subdivision (a) or (b), no search warrant shall issue for any documentary evidence in the possession or
under the control of any person who is a lawyer as defined in Section 950 of the Evidence Code, a physician as defined in
Section 990 of the Evidence Code, a psychotherapist as defined in Section 1010 of the Evidence Code, or a member of the
clergy as defined in Section 1030 of the Evidence Code, and who is not reasonably suspected of engaging or having engaged
in criminal activity related to the documentary evidence for which a warrant is requested unless the following procedure has
been complied with:

(1) At the time of the issuance of the warrant, the court shall appoint a special master in accordance with subdivision (d) to
accompany the person who will serve the warrant. Upon service of the warrant, the special master shall inform the party
served of the specific items being sought and that the party shall have the opportunity to provide the items requested. If the
party, in the judgment of the special master, fails to provide the items requested, the special master shall conduct a search for
the items in the areas indicated in the search warrant.

(2)(A) If the party who has been served states that an item or items should not be disclosed, they shall be sealed by the
special master and taken to court for a hearing.

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(B) At the hearing, the party searched shall be entitled to raise any issues that may be raised pursuant to Section 1538.5 as
well as a claim that the item or items are privileged, as provided by law. The hearing shall be held in the superior court. The
court shall provide sufficient time for the parties to obtain counsel and make motions or present evidence. The hearing shall
be held within three days of the service of the warrant unless the court makes a finding that the expedited hearing is
impracticable. In that case, the matter shall be heard at the earliest possible time.

(C) If an item or items are taken to court for a hearing, any limitations of time prescribed in Chapter 2 (commencing with
Section 799) of Title 3 of Part 2 shall be tolled from the time of the seizure until the final conclusion of the hearing, including
any associated writ or appellate proceedings.

(3) The warrant shall, whenever practicable, be served during normal business hours. In addition, the warrant shall be served
upon a party who appears to have possession or control of the items sought. If, after reasonable efforts, the party serving the
warrant is unable to locate the person, the special master shall seal and return to the court, for determination by the court, any
item that appears to be privileged as provided by law.

(d)(1) As used in this section, a “special master” is an attorney who is a member in good standing of the California State Bar
and who has been selected from a list of qualified attorneys that is maintained by the State Bar particularly for the purposes
of conducting the searches described in this section. These attorneys shall serve without compensation. A special master shall
be considered a public employee, and the governmental entity that caused the search warrant to be issued shall be considered
the employer of the special master and the applicable public entity, for purposes of Division 3.6 (commencing with Section
810) of Title 1 of the Government Code, relating to claims and actions against public entities and public employees. In
selecting the special master, the court shall make every reasonable effort to ensure that the person selected has no relationship
with any of the parties involved in the pending matter. Information obtained by the special master shall be confidential and
may not be divulged except in direct response to inquiry by the court.

(2) In any case in which the magistrate determines that, after reasonable efforts have been made to obtain a special master, a
special master is not available and would not be available within a reasonable period of time, the magistrate may direct the
party seeking the order to conduct the search in the manner described in this section in lieu of the special master.

(e) Any search conducted pursuant to this section by a special master may be conducted in a manner that permits the party
serving the warrant or his or her designee to accompany the special master as he or she conducts his or her search. However,
that party or his or her designee may not participate in the search nor shall he or she examine any of the items being searched
by the special master except upon agreement of the party upon whom the warrant has been served.

(f) As used in this section, “documentary evidence” includes, but is not limited to, writings, documents, blueprints, drawings,
photographs, computer printouts, microfilms, X-rays, files, diagrams, ledgers, books, tapes, audio and video recordings,
films, and papers of any type or description.

(g) No warrant shall issue for any item or items described in Section 1070 of the Evidence Code.

(h) Notwithstanding any other law, no claim of attorney work product as described in Chapter 4 (commencing with Section
2018.010) of Title 4 of Part 4 of the Code of Civil Procedure shall be sustained where there is probable cause to believe that
the lawyer is engaging or has engaged in criminal activity related to the documentary evidence for which a warrant is
requested unless it is established at the hearing with respect to the documentary evidence seized under the warrant that the
services of the lawyer were not sought or obtained to enable or aid anyone to commit or plan to commit a crime or a fraud.

(i) Nothing in this section is intended to limit an attorney’s ability to request an in-camera hearing pursuant to the holding of
the Supreme Court of California in People v. Superior Court (Laff) (2001) 25 Cal.4th 703.

(j) In addition to any other circumstance permitting a magistrate to issue a warrant for a person or property in another county,
when the property or things to be seized consist of any item or constitute evidence that tends to show a violation of Section
530.5, the magistrate may issue a warrant to search a person or property located in another county if the person whose
identifying information was taken or used resides in the same county as the issuing court.

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(k) This section shall not be construed to create a cause of action against any foreign or California corporation, its officers,
employees, agents, or other specified persons for providing location information.



SEC. 10.2. Section 27930 of the Penal Code is amended to read:


                                                   << CA PENAL § 27930 >>

27930. Section 27545 does not apply to deliveries, transfers, or returns of firearms made pursuant to any of the following:

(a) Sections 18000 and 18005.

(b) Division 4 (commencing with Section 18250) of Title 2.

(c) Chapter 2 (commencing with Section 33850) of Division 11.

(d) Sections 34005 and 34010.

(e) Section 29810.



SEC. 10.3. Section 29810 of the Penal Code is amended to read:


                                                   << CA PENAL § 29810 >>

29810. (a) For any person who is subject to Section 29800 or 29805, the court shall, at the time judgment is imposed, provide
on a form supplied by the Department of Justice, a notice to the defendant prohibited by this chapter from owning,
purchasing, receiving, possessing, or having under custody or control, any firearm. The notice shall inform the defendant of
the prohibition regarding firearms and include a form to facilitate the transfer of firearms. If the prohibition on owning or
possessing a firearm will expire on a date specified in the court order, the form shall inform the defendant that he or she may
elect to have his or her firearm transferred to a firearms dealer licensed pursuant to Section 29830.

(b) Failure to provide the notice described in subdivision (a) is not a defense to a violation of this chapter.

(c) This section shall be repealed effective January 1, 2018.



SEC. 10.4. Section 29810 is added to the Penal Code, to read:


                                                   << CA PENAL § 29810 >>

29810. (a) (1) Upon conviction of any offense that renders a person subject to Section 29800 or Section 29805, the person
shall relinquish all firearms he or she owns, possesses, or has under his or her custody or control in the manner provided in
this section.

(2) The court shall, upon conviction of a defendant for an offense described in subdivision (a), instruct the defendant that he
or she is prohibited from owning, purchasing, receiving, possessing, or having under his or her custody or control, any
firearms, ammunition, and ammunition feeding devices, including but not limited to magazines, and shall order the defendant
to relinquish all firearms in the manner provided in this section. The court shall also provide the defendant with a Prohibited

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Persons Relinquishment Form developed by the Department of Justice.

(3) Using the Prohibited Persons Relinquishment Form, the defendant shall name a designee and grant the designee power of
attorney for the purpose of transferring or disposing of any firearms. The designee shall be either a local law enforcement
agency or a consenting third party who is not prohibited from possessing firearms under state or federal law. The designee
shall, within the time periods specified in subdivisions (d) and (e), surrender the firearms to the control of a local law
enforcement agency, sell the firearms to a licensed firearms dealer, or transfer the firearms for storage to a firearms dealer
pursuant to Section 29830.

(b) The Prohibited Persons Relinquishment Form shall do all of the following:

(1) Inform the defendant that he or she is prohibited from owning, purchasing, receiving, possessing, or having under his or
her custody or control, any firearms, ammunition, and ammunition feeding devices, including but not limited to magazines,
and that he or she shall relinquish all firearms through a designee within the time periods set forth in subdivision (d) or (e) by
surrendering the firearms to the control of a local law enforcement agency, selling the firearms to a licensed firearms dealer,
or transferring the firearms for storage to a firearms dealer pursuant to Section 29830.

(2) Inform the defendant that any cohabitant of the defendant who owns firearms must store those firearms in accordance
with Section 25135.

(3) Require the defendant to declare any firearms that he or she owned, possessed, or had under his or her custody or control
at the time of his or her conviction, and require the defendant to describe the firearms and provide all reasonably available
information about the location of the firearms to enable a designee or law enforcement officials to locate the firearms.

(4) Require the defendant to name a designee, if the defendant declares that he or she owned, possessed, or had under his or
her custody or control any firearms at the time of his or her conviction, and grant the designee power of attorney for the
purpose of transferring or disposing of all firearms.

(5) Require the designee to indicate his or her consent to the designation and, except a designee that is a law enforcement
agency, to declare under penalty of perjury that he or she is not prohibited from possessing any firearms under state or federal
law.

(6) Require the designee to state the date each firearm was relinquished and the name of the party to whom it was
relinquished, and to attach receipts from the law enforcement officer or licensed firearms dealer who took possession of the
relinquished firearms.

(7) Inform the defendant and the designee of the obligation to submit the completed Prohibited Persons Relinquishment Form
to the assigned probation officer within the time periods specified in subdivisions (d) and (e).

(c)(1) When a defendant is convicted of an offense described in subdivision (a), the court shall immediately assign the matter
to a probation officer to investigate whether the Automated Firearms System or other credible information, such as a police
report, reveals that the defendant owns, possesses, or has under his or her custody or control any firearms. The assigned
probation officer shall receive the Prohibited Persons Relinquishment Form from the defendant or the defendant’s designee,
as applicable, and ensure that the Automated Firearms System has been properly updated to indicate that the defendant has
relinquished those firearms.

(2) Prior to final disposition or sentencing in the case, the assigned probation officer shall report to the court whether the
defendant has properly complied with the requirements of this section by relinquishing all firearms identified by the
probation officer’s investigation or declared by the defendant on the Prohibited Persons Relinquishment Form, and by timely
submitting a completed Prohibited Persons Relinquishment Form. The probation officer shall also report to the Department
of Justice on a form to be developed by the department whether the Automated Firearms System has been updated to indicate
which firearms have been relinquished by the defendant.

(3) Prior to final disposition or sentencing in the case, the court shall make findings concerning whether the probation

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officer’s report indicates that the defendant has relinquished all firearms as required, and whether the court has received a
completed Prohibited Persons Relinquishment Form, along with the receipts described in paragraph (1) of subdivision (d) or
paragraph (1) of subdivision (e). The court shall ensure that these findings are included in the abstract of judgment. If
necessary to avoid a delay in sentencing, the court may make and enter these findings within 14 days of sentencing.

(4) If the court finds probable cause that the defendant has failed to relinquish any firearms as required, the court shall order
the search for and removal of any firearms at any location where the judge has probable cause to believe the defendant’s
firearms are located. The court shall state with specificity the reasons for and scope of the search and seizure authorized by
the order.

(5) Failure by a defendant to timely file the completed Prohibited Persons Relinquishment Form with the assigned probation
officer shall constitute an infraction punishable by a fine not exceeding one hundred dollars ($100).

(d) The following procedures shall apply to any defendant who is a prohibited person within the meaning of paragraph (1) of
subdivision (a) who does not remain in custody at any time within the five-day period following conviction:

(1) The designee shall dispose of any firearms the defendant owns, possesses, or has under his or her custody or control
within five days of the conviction by surrendering the firearms to the control of a local law enforcement agency, selling the
firearms to a licensed firearms dealer, or transferring the firearms for storage to a firearms dealer pursuant to Section 29830,
in accordance with the wishes of the defendant. Any proceeds from the sale of the firearms shall become the property of the
defendant. The law enforcement officer or licensed dealer taking possession of any firearms pursuant to this subdivision shall
issue a receipt to the designee describing the firearms and listing any serial number or other identification on the firearms at
the time of surrender.

(2) If the defendant owns, possesses, or has under his or her custody or control any firearms to relinquish, the defendant’s
designee shall submit the completed Prohibited Persons Relinquishment Form to the assigned probation officer within five
days following the conviction, along with the receipts described in paragraph (1) of subdivision (d) showing the defendant’s
firearms were surrendered to a local law enforcement agency or sold or transferred to a licensed firearms dealer.

(3) If the defendant does not own, possess, or have under his or her custody or control any firearms to relinquish, he or she
shall, within five days following conviction, submit the completed Prohibited Persons Relinquishment Form to the assigned
probation officer, with a statement affirming that he or she has no firearms to be relinquished.

(e) The following procedures shall apply to any defendant who is a prohibited person within the meaning of paragraph (1) of
subdivision (a) who is in custody at any point within the five-day period following conviction:

(1) The designee shall dispose of any firearms the defendant owns, possesses, or has under his or her custody or control
within 14 days of the conviction by surrendering the firearms to the control of a local law enforcement agency, selling the
firearms to a licensed firearms dealer, or transferring the firearms for storage to a firearms dealer pursuant to Section 29830,
in accordance with the wishes of the defendant. Any proceeds from the sale of the firearms shall become the property of the
defendant. The law enforcement officer or licensed dealer taking possession of any firearms pursuant to this subdivision shall
issue a receipt to the designee describing the firearms and listing any serial number or other identification on the firearms at
the time of surrender.

(2) If the defendant owns, possesses, or has under his or her custody or control any firearms to relinquish, the defendant’s
designee shall submit the completed Prohibited Persons Relinquishment Form to the assigned probation officer, within 14
days following conviction, along with the receipts described in paragraph (1) of subdivision (e) showing the defendant’s
firearms were surrendered to a local law enforcement agency or sold or transferred to a licensed firearms dealer.

(3) If the defendant does not own, possess, or have under his or her custody or control any firearms to relinquish, he or she
shall, within 14 days following conviction, submit the completed Prohibited Persons Relinquishment Form to the assigned
probation officer, with a statement affirming that he or she has no firearms to be relinquished.

(4) If the defendant is released from custody during the 14 days following conviction and a designee has not yet taken

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temporary possession of each firearm to be relinquished as described above, the defendant shall, within five days following
his or her release, relinquish each firearm required to be relinquished pursuant to paragraph (1) of subdivision (d).

(f) For good cause, the court may shorten or enlarge the time periods specified in subdivisions (d) and (e), enlarge the time
period specified in paragraph (3) of subdivision (c), or allow an alternative method of relinquishment.

(g) The defendant shall not be subject to prosecution for unlawful possession of any firearms declared on the Prohibited
Persons Relinquishment Form if the firearms are relinquished as required.

(h) Any firearms that would otherwise be subject to relinquishment by a defendant under this section, but which are lawfully
owned by a cohabitant of the defendant, shall be exempt from relinquishment, provided the defendant is notified that the
cohabitant must store the firearm in accordance with Section 25135.

(i) A law enforcement agency shall update the Automated Firearms System to reflect any firearms that were relinquished to
the agency pursuant to this section. A law enforcement agency shall retain a firearm that was relinquished to the agency
pursuant to this section for 30 days after the date the firearm was relinquished. After the 30–day period has expired, the
firearm is subject to destruction, retention, sale or other transfer by the agency, except upon the certificate of a judge of a
court of record, or of the district attorney of the county, that the retention of the firearm is necessary or proper to the ends of
justice, or if the defendant provides written notice of an intent to appeal a conviction for an offense described in subdivision
(a), or if the Automated Firearms System indicates that the firearm was reported lost or stolen by the lawful owner. If the
firearm was reported lost or stolen, the firearm shall be restored to the lawful owner, as soon as its use as evidence has been
served, upon the lawful owner’s identification of the weapon and proof of ownership, and after the law enforcement agency
has complied with Chapter 2 (commencing with Section 33850) of Division 11 of Title 4. The agency shall notify the
Department of Justice of the disposition of relinquished firearms pursuant to Section 34010.

(j) A city, county, or city and county, or a state agency may adopt a regulation, ordinance, or resolution imposing a charge
equal to its administrative costs relating to the seizure, impounding, storage, or release of a firearm pursuant to Section
33880.

(k) This section shall become operative on January 1, 2018.



SEC. 11. Theft of Firearms.



SEC. 11.1. Section 490.2 of the Penal Code is amended to read:


                                                   << CA PENAL § 490.2 >>

(a) Notwithstanding Section 487 or any other provision of law defining grand theft, obtaining any property by theft where the
value of the money, labor, real or personal property taken does not exceed nine hundred fifty dollars ($950) shall be
considered petty theft and shall be punished as a misdemeanor, except that such person may instead be punished pursuant to
subdivision (h) of Section 1170 if that person has one or more prior convictions for an offense specified in clause (iv) of
subparagraph (C) of paragraph (2) of subdivision (e) of Section 667 or for an offense requiring registration pursuant to
subdivision (c) of Section 290.

(b) This section shall not be applicable to any theft that may be charged as an infraction pursuant to any other provision of
law.

(c) This section shall not apply to theft of a firearm.




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SEC. 11.2. Section 29805 of the Penal Code is amended to read:


                                                  << CA PENAL § 29805 >>

29805. Except as provided in Section 29855 or subdivision (a) of Section 29800, any person who has been convicted of a
misdemeanor violation of Section 71, 76, 136.1, 136.5, or 140, subdivision (d) of Section 148, Section 171b, paragraph (1) of
subdivision (a) of Section 171c, 171d, 186.28, 240, 241, 242, 243, 243.4, 244.5, 245, 245.5, 246.3, 247, 273.5, 273.6, 417,
417.6, 422, 626.9, 646.9, or 830.95, subdivision (a) of former Section 12100, as that section read at any time from when it
was enacted by Section 3 of Chapter 1386 of the Statutes of 1988 to when it was repealed by Section 18 of Chapter 23 of the
Statutes of 1994, Section 17500, 17510, 25300, 25800, 30315, or 32625, subdivision (b) or (d) of Section 26100, or Section
27510, or Section 8100, 8101, or 8103 of the Welfare and Institutions Code, any firearm-related offense pursuant to Sections
871.5 and 1001.5 of the Welfare and Institutions Code, Section 490.2 if the property taken was a firearm, or of the
conduct punished in subdivision (c) of Section 27590, and who, within 10 years of the conviction, owns, purchases, receives,
or has in possession or under custody or control, any firearm is guilty of a public offense, which shall be punishable by
imprisonment in a county jail not exceeding one year or in the state prison, by a fine not exceeding one thousand dollars
($1,000), or by both that imprisonment and fine. The court, on forms prescribed by the Department of Justice, shall notify the
department of persons subject to this section. However, the prohibition in this section may be reduced, eliminated, or
conditioned as provided in Section 29855 or 29860.



SEC. 12. Interim Standards.

Notwithstanding the Administrative Procedure Act (APA), and in order to facilitate the prompt implementation of the Safety
for All Act of 2016, the California Department of Justice may adopt interim standards without compliance with the
procedures set forth in the APA. The interim standards shall remain in effect for no more than two years, and may be earlier
superseded by regulations adopted pursuant to the APA. “Interim standards” means temporary standards that perform the
same function as “emergency regulations” under the Administrative Procedure Act (Chapter 3.5 (commencing with Section
11340) of Part 1 of Division 3 of Title 2 of the Government Code), except that in order to provide greater opportunity for
public comment on permanent regulations, the interim standards may remain in force for two years rather than 180 days.



SEC. 13. Amending the Measure.

This Act shall be broadly construed to accomplish its purposes. The provisions of this measure may be amended by a vote of
55 percent of the members of each house of the Legislature and signed by the Governor so long as such amendments are
consistent with and further the intent of this Act.



SEC. 14. Conflicting Measures.

(a) In the event that this measure and another measure on the same subject matter, including but not limited to the regulation
of the sale or possession of firearms or ammunition, shall appear on the same statewide ballot, the provisions of the other
measure or measures shall be deemed to be in conflict with this measure. In the event that this measure receives a greater
number of affirmative votes than a measure deemed to be in conflict with it, the provisions of this measure shall prevail in
their entirety, and the other measure or measures shall be null and void.

(b) If this measure is approved by voters but superseded by law by any other conflicting measure approved by voters at the
same election, and the conflicting ballot measure is later held invalid, this measure shall be self-executing and given full force
and effect.




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SEC. 15. Severability.

If any provision of this measure, or part of this measure, or the application of any provision or part to any person or
circumstance, is for any reason held to be invalid or unconstitutional, the remaining provisions, or applications of provisions,
shall not be affected, but shall remain in full force and effect, and to this end the provisions of this measure are severable.



SEC. 16. Proponent Standing.

Notwithstanding any other provision of law, if the State, government agency, or any of its officials fail to defend the
constitutionality of this Act, following its approval by the voters, any other government employer, the proponent, or in their
absence, any citizen of this State shall have the authority to intervene in any court action challenging the constitutionality of
this Act for the purpose of defending its constitutionality, whether such action is in trial court, on appeal, or on discretionary
review by the Supreme Court of California or the Supreme Court of the United States. The reasonable fees and costs of
defending the action shall be a charge on funds appropriated to the Department of Justice, which shall be satisfied promptly.


Footnotes
1      So in enrolled Prop. 63.



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                  FINAL REPORT
                     OF THE
         SANDY HOOK ADVISORY COMMISSION

                                   Presented to

                             Governor Dannel P. Malloy
                               State of Connecticut

                                  March 6, 2015




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  “[W]e would often hear people say, I can’t imagine what you’re going
  through. I can’t imagine how hard it must be. I can’t imagine losing
  your child. And while we appreciated the sentiment, the fact was
  that they were imagining it. They were putting themselves into our
  shoes, for at least a second. And as hard and as horrible as it
  sounds, we need people to imagine what it is like. We need to
  empathize with each other, to walk a mile in each other’s shoes.
  Without that imagination, we’ll never change.”


                                          –Jeremy Richman, father of
                                          Avielle Richman




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                                    DEDICATION
           The Sandy Hook Advisory Commission dedicates this report to the
  twenty-six victims who were killed at Sandy Hook Elementary School in
  Newtown, Connecticut on December 14, 2012, to their families, the Newtown
  community, and to all those that have come face-to-face with the devastating
  effects of violence.
           The families of the twenty children and six educators killed have created
  a website in an effort to honor and remember the lives and legacies of each
  victim. The Commission could think of no better way to honor these individuals
  than to direct our readers to this site. Here you will learn more about the
  memorials created for each child and educator killed.




                                www.MySandyHookFamily.org

                                          ***
                               The Children (name/age)

                               Charlotte Helen Bacon (6)

                                   Daniel Barden (7)

                                  Olivia Rose Engel (6)

                                   Josephine Gay (7)

                             Ana Grace Márquez-Greene (6)

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                               Dylan Christopher Hockley (6)

                                     Madeleine Hsu (6)

                                   Catherine Hubbard (6)

                             Chase Michael Anthony Kowalski (7)

                                   Jesse McCord Lewis (6)

                                  James Radley Mattioli (6)

                                Grace Audrey McDonnell (7)

                                      Emilie Parker (6)

                                  Jack Armistead Pinto (6)

                                      Noah Pozner (6)

                                     Caroline Previdi (6)

                                 Jessica Adrienne Rekos (6)

                                  Avielle Rose Richman (6)

                                Benjamin Andrew Wheeler (6)

                                      Allison Wyatt (6)

                                         The Adults

                                    Rachel D‘Avino (29)

                                   Dawn Hochsprung (47)

                                  Anne Marie Murphy (52)

                               Lauren Gabrielle Rousseau (30)

                                     Mary Sherlach (56)

                                   Victoria Leigh Soto (27)

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  A.       Consolidated Recommendations of the Sandy Hook Advisory Commission

  B.       List of Individuals Who Testified Before the Sandy Hook Advisory
           Commission

  C.       Sandy Hook Advisory Commission Agendas and Meeting Minutes*

  D.       Sandy Hook Advisory Commission Interim Report (dated March 18,
           2013)*

  E.       Sandy Hook Elementary School Floor Plan*

  F.       Photographs of weapons used in Sandy Hook Elementary School
           shootings

  G.       Legislation Passed During 2013 General Assembly Session Relating To
           Sandy Hook:

           Public Act 13-3 (―An Act Concerning Gun Violence Prevention And
           Children's Safety‖)*

           Public Act 13-220 (―An Act Concerning Revisions To The Gun Violence
           Prevention And Children's Safety Act‖)*

           Public Act 13-178 (―An Act Concerning The Mental, Emotional And
           Behavioral Health of Youths‖) and Report on Implementation of PA 13-
           178*

           Public Act 13-188 (―An Act Concerning School Safety‖)*

  H.       Report of the State‘s Attorney for the Judicial District of Danbury on the
           Shootings at Sandy Hook Elementary School and 36 Yogananda Street,
           Newton, Connecticut on December 14, 2012 (dated Nov. 25, 2013), with
           accompanying Appendix.*

  1 Appendix entries denoted by an asterisk (*) are not included in the main report, but

  are available for download from the Internet via hyperlink.
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  I.       Report of the Child Advocate, ―Shooting at Sandy Hook Elementary
           School,‖ released on November 21, 2014*

  J.       State Police Investigative Files re: Shootings at Sandy Hook Elementary
           School and 36 Yogananda Street*

  K.       Report of the Safe School Infrastructure Council (revised and updated to
           June 27, 2014)

  L.       School Security and Safety Plan Standards (v 1.0) (dated Dec. 30, 2013)*

  M.       Capitol Region Chiefs of Police Association ―Blue Plan‖ (dated April 24,
           2013) (mutual aid response to incidents within Capitol Region)*




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                                   FOREWORD
  I.       PREFACE
           On December 14, 2012, one of the most vicious and incomprehensible
  domestic attacks in American history occurred at Sandy Hook Elementary
  School in Newtown, Connecticut. Within a few hours, the world understood
  the gravity of the attack. Lives were lost in two distinct locations: Sandy Hook
  Elementary School and a private residence in Newtown.           The scope of the
  tragedy would take on international proportions, and people from around the
  world would grieve and mourn alongside the families of Newtown.
           Lost in the attack were twenty children and six adult staff members:
  Charlotte Bacon, Daniel Barden, Rachel D‘Avino, Olivia Engel, Josephine Gay,
  Dawn Hochsprung, Dylan Hockley, Madeleine Hsu, Catherine Hubbard, Chase
  Kowalski, Jesse Lewis, Ana Márquez-Greene, James Mattioli, Grace McDonnell,
  Anne Marie Murphy, Emilie Parker, Jack Pinto, Noah Pozner, Caroline Previdi,
  Jessica Rekos, Avielle Richman, Lauren Rousseau, Mary Sherlach, Victoria
  Soto, Benjamin Wheeler and Allison Wyatt.
           Prior to attacking Sandy Hook Elementary School, Adam Lanza (―A.L.‖),
  the lone shooter, murdered his mother, Nancy Lanza, in the home they shared.
  Then, as law enforcement approached the elementary school after receiving 911
  calls concerning the shootings there, A.L. took his own life.
           Shortly thereafter, Connecticut Governor Dannel P. Malloy established
  the Sandy Hook Advisory Commission. Comprised of sixteen subject matter
  experts in the fields of mental health and mental wellness, secure facility
  design and operations, law enforcement training and response, and public
  policy implementation, the Commission began taking public testimony from a
  series of outside experts in January 2013.
           The Commission was not intended to be an investigatory body. It was
  not intended to tell the story of what happened on December 14, 2012 with
  academic rigor and forensic precision. The Commission was not endowed with
  the power of subpoena; it did not enjoy heightened access to law enforcement

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  documents at the local, state, or federal level. It was not intended to cast a
  bright light on A.L., and in doing so, make the incomprehensible act somehow
  comprehensible. It was not assigned financial resources. It was endowed only
  with moral authority as representatives of a state so shaken by this tragedy.
           Over a two year period, the panel reviewed laws, policies, and practices
  in place on December 14, 2012 in order to make recommendations intended to
  reduce the probability of another tragedy on the scale of what occurred at
  Sandy Hook Elementary School. The panel focused its work in three distinct
  areas: Safe School Design and Operation, Law Enforcement, Public Safety, and
  Emergency Response, and Mental Health/Mental Wellness.
           Although these topic areas are treated as separate sections of this report,
  mental health/mental wellness support structures, law enforcement training,
  response, and access, and safe school design and operation weave themselves
  into a tapestry in which a combination of threads offers the best opportunity
  for a systematic improvement in the safety of our schools. The Sandy Hook
  Advisory Commission offers this report as our recommendations for such a
  tapestry.
           The intended audience for this report is broad. First and foremost, it is
  for communities that recognize the value of their schools not only as sites for
  the education of children, but also as neighborhood hubs. This report is for
  the boards of education, architects, engineers, and school building committees
  who design and operate school facilities on a daily basis. It is for the volunteer
  and professional providers of guardian services in our towns and cities. It is
  for the lawmakers and legislators who weigh issues of public safety. It is for
  medical and mental health providers and supporting institutions who
  understand that the mind and the body are inextricably linked. It is for the
  32% of Americans who, in any given year, will face a mental health challenge
  and the other 68% who should support them in obtaining the help they need.
  This report is for all of us.



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           The Sandy Hook Advisory Commission offers this report as a tribute to
  those lost and to those families who continue to recover from their connection
  to this tragedy.
  II.      GOVERNOR DANNEL P. MALLOY’S CHARGE TO THE SANDY HOOK
           ADVISORY COMMISSION (PRESENTED ON JANUARY 24, 2013)

                                          ***
           I want to thank all of you for the time and effort that you will put forth
  over the coming weeks and months. I also want to especially thank the mayor,
  Scott Jackson, for serving as chair of this commission. I put a great deal of
  faith in the mayor, and I think he deserves all of it. He's done outstanding
  work in his own community and has served on other commissions that I've
  established previously, and I was very grateful when he accepted my invitation
  to lead this important and historic commission.
           I know that serving on this commission is taking you away from other
  obligations, including from your families, but I believe that together, once our
  work is done, we will have made our children, and indeed, our entire state
  safer. That's our goal.
           The further away we get from December 14, 2012, the more apparent it
  is to me that the entire country was shaken to its core by the tragic events that
  occurred at Sandy Hook Elementary School. This was brought home to me
  particularly during the time that I was in Washington this past weekend, where
  people would stop me on the street and want to talk about this and what could
  be done to make sure that this sort of thing doesn't happen again. And rather
  than losing its impact, I would say, or its immediacy over time, the desire for
  changing our policies and our laws to prevent another incident like this one I
  think is increasing on a daily basis, not decreasing. That may be one of the
  great differences between this mass shooting and others.
           We must bring about change through a thoughtful and comprehensive
  debate, one that looks at not only how we can prevent gun violence, but how
  also we can fix our mental health system.        We must take a serious look at

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  public safety, particularly school safety, so that our children can grow up and
  go to school without the fear of violence in a culture that does, in fact, glorify
  violence. We need to have a discussion about stopping that.
           The recommendations you will craft over the coming weeks and months
  will no doubt take us towards the goal, that goal, better mental health, better
  safety in our schools, and a system that is set up to stop the glorification of
  violence, but before you get started, there are a few things that I want you to
  consider.
           I believe that responsible, law-abiding citizens of our state have a right to
  bear arms, but that right cannot come at the expense of public safety. We need
  to develop a common sense way to regulate access to guns. We need to make
  sure that our mental health professionals have access to the resources and
  information they need to get treatment to those who need it. We must make
  sure the public has better information about what to do when they suspect
  someone may be battling mental illness.
           It's a sad fact that shootings like this are becoming all too common
  occurrences in our country. It's also a fact that in almost every one of these
  cases there were warning signs. That's why we need to come up with ways that
  we as friends, as family, as a society or a school system can better respond to
  those warning signs and hopefully reduce the stigma of mental illness. I want
  to say here that reducing that stigma is extremely important.             There is a
  certain reality about mental illness that is not properly accounted for in the
  public's mind. There's a reality that many citizens, perhaps a majority of our
  citizens, at some point will experience as mental illness challenge, but with
  treatment, almost all of those incidences will be overcome. A very small portion
  or a portion won't be resolved, but yet we attach so much stigma to reaching
  out, to sitting down, to speaking and getting help or medication that will help a
  person through that battle. I said in a speech at the U.S. Conference of Mayors
  last Saturday that we live in a society that has destigmatized violence at the
  same time that it has refused to destigmatize mental treatment.

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           And last, we must make sure that our schools are both safe and
  welcoming places where our children can reach their full potential, and
  teachers can practice their craft without fear.
           Let me also add that while this tragedy happened in a school, we must
  take steps to ensure that the next time it doesn't happen in a movie theatre, at
  a shopping mall, at a ballgame or on a street corner in any of our cities where
  street crime, including using guns that were purchased under loopholes, have
  become a constant problem in our society.
           This is a monumental task that you take on. I want to thank you again
  for the work that you are going to do. I know how seriously each and every one
  of you takes it. I can think of no better way to honor those that we lost in
  Newtown just a few short weeks ago than for you to do your hard and good
  work and come forward with the recommendations that will accomplish our
  common goals. Thank you very much for allowing me to be with you.
                                           ***
  III.     MEMBERSHIP OF THE SANDY HOOK ADVISORY COMMISSION

           Scott D. Jackson (Chair): Mayor, Town of Hamden

           Dr. Adrienne L. Bentman; General (Adult) Psychiatry Residency Director,
           Institute of Living/Hartford Hospital Program; Assistant Professor of
           Psychiatry, University of Connecticut School of Medicine

           Ron Chivinski: Teacher, Newtown Middle School; Vice President,
           Connecticut Chapter of the American Federation of Teachers

           Robert Ducibella: Former (retired) Senior and Founding Principal of
           Ducibella Venter & Santore, Security Consulting Engineers; Senior and
           Founding Principal, Risk and Protection Consulting Services, LLC

           Terry Edelstein (Vice-Chair): Nonprofit Liaison, Office of Governor Dannel
           P. Malloy

           Kathleen Flaherty, Esq.: Associate Executive Director, Connecticut Legal
           Rights Project, Inc.



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           Alice M. Forrester, Ph.D.: Executive Director, Clifford W. Beers Guidance
           Clinic, Inc.

           Ezra H. Griffith, M.D.: Professor Emeritus of and Senior Research
           Scientist in Psychiatry, Deputy Chair for Diversity and Organizational
           Ethics, Department of Psychiatry, Yale University

           Patricia Keavney-Maruca: Member, State Board of Education; Former
           technical high school teacher

           Christopher Lyddy: Chief Operating Officer, Advanced Trauma Solutions,
           Inc.; Former State Representative, 106th Assembly District of Newtown

           Denis McCarthy: Fire Chief and Emergency Management Director, City of
           Norwalk; Member of the CT Department of Emergency Services and
           Public Protection Advisory Board

           Barbara O‘Connor: Director of Public Safety and Chief of Police,
           University of Connecticut

           Wayne Sandford: Professor, University of New Haven, Henry C. Lee
           College of Criminal Justice & Forensic Sciences / Former Deputy
           Commissioner, Connecticut Department of Emergency Management &
           Homeland Security / Former Fire Chief, Town of East Haven

           David J. Schonfeld, M.D., FAAP: Director, National Center for School
           Crisis and Bereavement; Professor of Pediatrics, Drexel University College
           of Medicine

           Harold I. Schwartz, M.D.: Psychiatrist-in-Chief, Hartford Hospital‘s
           Institute of Living; Hartford Healthcare Regional Vice President,
           Behavioral Health; Professor of Psychiatry, University of Connecticut
           School of Medicine; Adjunct Professor of Psychiatry, Yale University
           School of Medicine

           Bernard R. Sullivan (Vice-Chair): Former Chief of Police, City of Hartford;
           Former Commissioner, Connecticut Department of Public Safety; Former
           Chief of Staff to Speaker of the House, Connecticut General Assembly




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                                 ACKNOWLEDGMENTS
           The members of the Sandy Hook Advisory Commission extend their
  deepest gratitude to the many persons and organizations that supported the
  work of the commission and contributed in so many different ways to this
  report. Over the course of two years and thirty meetings, more than 100
  persons appeared before the Commission, sometimes more than once, and
  provided invaluable testimony. Those individuals are identified in Appendix B.
  The Commission also gratefully acknowledges the information provided by
  various individuals, too numerous to name, who did not testify at public
  hearings, but who communicated their thoughts to the Commission.
           The Commission thanks the staff of the Office of Governor Dannel P.
  Malloy, who helped organize the Commission under the extraordinarily difficult
  circumstances that prevailed following the December 14, 2012 tragedy and
  provided support throughout the two years that the Commission has met.
           Several organizations and individuals warrant particular recognition.
  The law firm of McElroy, Deutsch, Mulvaney & Carpenter, LLP served as pro
  bono legal counsel to the Commission and provided extraordinary staff support.
  Attorney Daniel J. Klau provided sound legal advice to the Commission
  throughout its two years of work, and his knowledge and judgment proved
  invaluable.         Attorney Klau also did an exceptional job in assembling and
  integrating the recommendations from the Commission writing groups and
  formatting them into what is now the final report of the Commission. He was
  supported by Louis R. Pepe, Esq., Sarah Droney, Esq., Cathy Hanrahan
  Ouellette, Heidi Zabit, Deirdre F. Rossing, Ronel M. Quealy, Bruce E. Beckius,
  James J. Edwards and Luis Merced. The contribution of the firm‘s dedicated
  attorneys, paralegals, legal assistants, and IT and office support staff to this
  report cannot truly be calculated.
           The Commission also thanks the The University of Connecticut School of
  Law, which provided both facilities and faculty to the commission.          The
  Commission is particularly grateful to Professor Susan Schmeiser, who served
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  as the Reporter for the Commission. But for Professor Schmeiser‘s Herculean
  efforts, especially in connection with the Commission‘s mental health findings
  and recommendations, this report would not have been possible. Thanks also
  to Catherine Dunn, Patrick Butler, Joshua LaPorte and student research
  assistant Andrew Glass of the Thomas J. Meskill Law Library, as well as
  UConn Law students Jeffrey Wisner and Emma Rotondo (Class of 2014), who
  assisted Professor Schmeiser with her work on behalf of the Commission.
           Brenda Cavanaugh, the Executive Director of Community Mediation,
  Inc., generously donated her time and expertise to the Commission,
  particularly to members of the mental health writing group.                      She was
  supported by members of her staff, including David Carter, Rachel Hereema
  and Marge Allende.
           The Commission heard many, many hours of testimony over two years of
  hearings.        Several professional court reporting agencies and their members
  donated their time to transcribe those many hours of testimony, and members
  of the Commission frequently referred to those transcriptions during the
  preparation of this report.         The Commission expresses it great gratitude to
  John Brandon and his firm, Brandon Huseby Reporting & Video; the
  Connecticut          Court   Reporters   Association;   and   the   following    individual
  reporters: Suzanne Benoit; Joanne Buck; Melanie G. Collard; Kathleen S.
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  Remillard; Patricia L. Masi; Viktoria V. Stockmal; Susan K. Whitt; Tracy Gow;
  Marianne Bossé.
           Finally, the Commission thanks the teachers and parents of Newtown,
  Connecticut, who experienced directly the deadly and traumatic events of
  December 14, 2012 and who shared their personal experience of that tragedy
  with members of the Commission. This report cannot bring back their loved
  ones who died, nor can it heal the wounds of the living. But the Commission
  hopes that this report will provide some solace by proposing recommendations

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  that may help other children, parents, teachers and communities avoid similar
  tragedies.




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                                  EXECUTIVE SUMMARY

           On the morning of December 14, 2012, Adam Lanza (―A.L.‖) killed his
  mother, Nancy Lanza, while she slept in her bed. He then drove to the Sandy
  Hook Elementary School in Newtown, Connecticut, where in the space of
  several minutes he killed twenty children and six adult staff members. After
  killing these persons, and as the police were about to enter the school, A.L.
  used a pistol to take his own life.
           The mass shootings shocked and traumatized the Newtown community,
  the State of Connecticut, the nation, indeed the entire world.
           On January 3, 2013, Governor Dannel P. Malloy announced the
  formation of the Sandy Hook Advisory Commission2 to review current policy
  and make specific recommendations concerning public safety, with particular
  attention paid to school safety, mental health, and gun violence prevention. In
  forming the Commission, Governor Malloy directed it to ―look for ways to make
  sure our gun laws are as tight as they are reasonable, that our mental health
  system can reach those that need its help, and that our law enforcement has
  the tools it needs to protect public safety, particularly in our schools.‖
           Recognizing that the Commission would need significant time to study
  the relevant issues, hold hearings and propose final recommendations, he
  nonetheless asked the Commission to submit an initial report, focusing largely
  on gun-related issues, in time for consideration during the regular session of
  the General Assembly.            The 16-member Commission, chaired by Town of
  Hamden Mayor Scott Jackson, met seven times between January 24 and
  March 15 and submitted its Interim Report on March 18, 2013.              The Interim
  Report       proposed      fifteen   specific   recommendations   concerning   firearm
  permitting and registration, the possession, sale and use of high-capacity
  firearms, high capacity magazines, and ammunition, as well as firearm storage


  2 The Office of the Governor established a web page specifically for the Commission to

  post agendas, meetings and other relevant documents, including this report. See
  http://www.governor.ct.gov/malloy/cwp/ view.asp?a=3997&q=516496.
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  and security.              Significantly, the Commission proposed a total ban on the
  possession, sale or transfer of any firearm capable of firing more than ten
  rounds without reloading.
           In stark contrast to the United States Congress, which was unable to
  pass meaningful gun legislation in the wake of the Sandy Hook tragedy, the
  Connecticut General Assembly adopted many of the proposals in the
  Commission‘s Interim Report and passed the most significant gun reform
  legislation in the nation. That legislation is embodied in Public Act 13-3.3
           The Commission‘s Interim Report also included recommendations
  regarding the development of detailed safe school design and operations
  standards.         These recommendations resulted in the creation of the School
  Security Infrastructure Council, see Public Act 13-3, sec. 80-83, and a
  state/local working group convened by the Department of Emergency Services
  and Public Protection/Division of Emergency Management and Homeland
  Security, in consultation with the Department of Education. See Public Act 13-
  3, sec. 86. These bodies initiated the development of safe school design and
  operation standards, which form the basis of rational and justifiable criteria to
  guide renovations, expansions and new school construction throughout our
  state.
           Over the next two years, the Commission held twenty-three more
  hearings and received testimony from 100 experts in the areas of school safety
  and security, mental health and law enforcement. See Appendix B. Lacking
  subpoena power, the Commission necessarily relied on several other state
  agencies to gather, and eventually release, pertinent information about the
  shootings and A.L. The State‘s Attorney for the Judicial District of Danbury,
  which had jurisdiction over the Sandy Hook crimes, released a report on
  November 25, 2013 that summarized the investigatory findings of the State
  Police.      The State Police released its own investigatory files, with extensive


  3 The Connecticut General Assembly passed several modifications to Public Act 13-3

  during the same session in which that act was passed. See Public Act 13-220.
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  redactions, on December 27, 2013.               Eleven months later, on November 21,
  2014, the Office of the Child Advocate issued a report detailing and examining
  A.L.‘s mental health history and the difficulties his family faced in attempting
  to meet his needs.
           The information the Commission obtained from the reports of other state
  agencies was essential to formulating the final set of policy prescriptions and
  legislative recommendations presented in this report.              Except as otherwise
  stated below, this report supersedes the Interim Report.                  Consistent with
  Governor Malloy‘s charge, those proscriptions and recommendations fall within
  three substantive areas: (1) safe school design and operations, (2) law
  enforcement, public safety and emergency response, and (3) mental health and
  wellness.          The subject-matter experts on the Commission developed a
  preliminary set of policies and recommendations, which were then submitted to
  the full Commission for debate, amendment and final approval.                  Thus, the
  recommendations set forth herein represent the consensus of the full
  Commission.
           A listing of all of the Commission‘s recommendations is set forth in
  Appendix         A.        However,   the   Commission‘s    recommendations     are   best
  understood and appreciated when read in the context of the full report.
  Accordingly, the main body of this report is comprised of three sub-sections,
  which correspond to substantive areas described in the preceding paragraph.
  The Table of Contents at the outset of this report is intended to serve as a
  detailed        road       map   of   the    Commission‘s     findings,    analyses   and
  recommendations. For readers viewing this report on the Internet, the Table of
  Contents contains hyperlinks to the related sections of the report, enhancing
  the ease of navigating the report. The body of the report also contains many
  hyperlinks to relevant source materials. Although particular readers, based on
  their specific backgrounds, may find some parts of the report more or less
  relevant than others, the three sub-sections of the report form a cohesive
  whole.

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  I.       THE SUBSTANTIVE COMPONENTS OF THE FINAL REPORT
           A.       Safe School Design And Operation
           The Commission‘s recommendations concerning safe school design and
  operation, referred to herein as ―SSDO,‖ begin with the premise that there is at
  least one place, other than a home, in which every person, whether a child or
  an adult, should feel absolutely safe and secure from harm: school. Short of
  transforming our schools into gated communities or prison-like environments,
  however, no school can be freed entirely from the risk of violence.
  Nevertheless, through safe school design and operation strategies, and through
  closer      coordination   with   our   educators,   local   law   enforcement,   fire
  departments, EMS, public safety personnel, security experts and mental health
  professionals, our schools can become much safer environments.
           Although the Sandy Hook tragedy was a mass shooting incident, the
  Commission determined that it should not propose a set of recommendations
  intended only to reduce the risk of that specific type of event from reoccurring
  at a school. An ―active shooter‖ represents just one type of risk. Yet schools
  face a multitude of risks, including natural and man-made disasters.
  Consequently, the Commission determined that while recommendations
  concerning safe school design and operations should be informed by historical
  events, including those involving active shooters, they should address a
  broader range of potential risks, as planning for the future involves more than
  just learning from the past.       Consequently, the Commission adopted an ―all
  hazards‖ risk management approach in developing its recommendations.
           The Commission‘s SSDO recommendations include very detailed design
  standards, addressing such matters as specialized forced entry resistant
  glazing for school entry doors and locks for classroom doors. In particular, the
  Commission largely endorses the very detailed set of school infrastructure
  design standards adopted by the state‘s School Security Infrastructure Council.
  See Appendix K.



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           The Commission‘s SSDO recommendations also acknowledge that the
  fundamental purpose of our schools is to educate our children and, therefore,
  that proposed security options must enhance, not diminish that educational
  experience. Schools should be great places to learn, not just because they are
  safe and the educational process is uninterrupted, but because the physical
  design of schools facilitates, excites and engenders interactions between
  students and students, students and teachers, teachers and teachers, and
  students, teachers, and staff, the spaces they are in             and the world around
  them.
           Site and school building designs can facilitate these interpersonal
  interactions or diminish their opportunity for occurrence and their efficacy.
  They can affect how learning materials and media are presented, explained,
  studied, understood, and appreciated. They can link and connect the theories
  and principles taught inside with what happens in the real world outside of the
  school walls, doors, and windows. The Commission took all of these factors
  into account in its SSDO recommendations.
           Finally, the Commission identifies three critical components of any
  effective SSDO plan. First, SSDO strategies must be tailored to the specific
  needs of particular communities.                 A ―one-size-fits-all‖ SSDO strategy is
  destined for failure.          Second, SSDO standards are not static; they must be
  reviewed        and        updated   on   a   regular   basis.   Third,   the   successful
  implementation of SSDO strategies requires the support of ―local champions.‖
  Each community or school district should have a small standing committee or
  commission, comprised of individuals representing the school community, law
  enforcement, fire, EMS and public health, whose responsibility is to ensure
  that the SSDO standards and strategies are actually implemented in their
  community.
           B.       Law Enforcement, Public Safety And Emergency Response

           United States civilians own or possess in excess of 300 million guns: as
  of 2009, they owned or possessed approximately 114 million handguns, 110
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  million       rifles       and   86     million   shotguns.   The   incidence   of   gun
  ownership/possession in the United States—nearly one gun on average for
  every resident—is the highest in the world. Most guns are lawfully owned by
  law abiding persons who use them for recreational activities, such as hunting
  and target practice, and/or for self-defense. However, many guns are owned or
  possessed illegally or, even if legal, are used for unlawful purposes.
           Beyond the sheer number of guns in the United States, the lethality of
  readily available firearms and ammunition continues to increase.                     The
  connection between the extent of the tragedy at Sandy Hook Elementary School
  and the lethality of weapons used in the attack on the school is self-evident
  and beyond dispute.                   The Commission is deeply concerned about the
  proliferation, throughout the civilian population, of weapons that were
  specifically designed for military use during wartime. ―Assault weapons‖ like
  the AR-15, as well as large capacity magazines often used with those weapons,
  have no legitimate place in the civilian population. The Commission finds that
  the cost to society of easy civilian access to assault weapons and large capacity
  magazines vastly outweighs the benefits of civilian ownership. By contrast, the
  Commission finds that the significant benefit to society from eliminating
  civilian ownership and possession of assault weapons and large capacity
  magazines can be realized with only a minimal burden on persons who want to
  hunt, engage in target practice or use weapons for self-defense. They remain
  free to engage in those activities with a vast array of long guns and handguns.
  In short, the Commission‘s first goal is simply to limit the possession and use
  of weapons designed for wartime use to members of our military services and
  law enforcement personnel.
           The Commission acknowledges the United States‘ long tradition of gun
  ownership and the Second Amendment rights of gun owners.                  However, the
  Commission also notes that although United States Supreme Court held in
  District of Columbia v. Heller, 554 U.S. 570 (2008), that the Second Amendment
  right to bear arms is a personal right, the court also held that the right is not

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  absolute.       The Supreme Court further acknowledged in Heller that society has
  the right to regulate gun ownership, possession and use within constitutionally
  permissible         limits.     Through      reasonable,   constitutionally   permissible
  regulations        applicable   to    long   guns,   handguns   and   ammunition,    the
  Commission seeks to minimize to the greatest extent possible the number of
  gun-related civilian deaths, while respecting the constitutional rights of lawful
  gun owners.
           C.       Mental and Behavioral Health
           A.L.‘s mental and behavioral health history, and the connection between
  that history and the mass shootings at the Sandy Hook Elementary School, has
  been the subject of intense discussion, analysis and debate over the past two
  years.      Rather than mine A.L.‘s life and interactions with particular mental
  health systems for insights into how those systems can better serve the state‘s
  children, however, the Commission had a different charge. It was tasked to
  study the systems themselves.
           The mental and behavioral health section of this report begins by
  addressing the existing mental health system and identifies the essential
  elements for an effective system that promotes mental health across the
  lifespan.       These include comprehensive and coordinated systems of care in
  which behavioral health and physical health are understood as highly
  interrelated, are given equal priority, and are part of a holistic approach to
  wellness that sees the individual in the context of the family and broader
  community.
           The report next considers the barriers that impede access to quality care
  in our current system.               Initially, the Commission examines the system‘s
  fragmented payment structure, which undermines care coordination and
  consistency, denies care to many who most need it, and limits care for reasons
  that often have little to do with its clinical justifications or efficacy.           The
  Commission‘s analysis identifies deficiencies in both the public and private
  systems of care and calls for increased integration to make effective, clinically

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  indicated services and evidence-based community programs available to
  children and adults regardless of economic status.
           The Commission next addresses the ongoing burdens of stigma and
  discrimination that afflict the system and its participants, while deterring many
  in need from pursuing behavioral health services. Carefully considered efforts
  to diminish the stigma that attaches to mental disorder and its treatments
  must play a central role in systemic reform.
           The mental health section next turns to issues that implicate potential
  conflicts between individual privacy and autonomy on the one hand, and
  community safety on the other. An overarching theme of this section of the
  Commission‘s report is that these interests should be viewed as overlapping,
  not oppositional. The report examines central laws and policies that govern
  matters of privacy, confidentiality and community safety in the domain of
  mental health treatment, making recommendations that preserve the existing
  balance while calling for clarification in areas that might frustrate the timely
  provision of needed care.       The report then considers the vexing topic of
  violence.       Unthinkably violent episodes such as the Sandy Hook shootings
  represent not only a loss of precious lives but also a profound disruption of the
  basic human need for safety and security, which is critical to adults and
  absolutely essential to children. There is little comfort to be taken from any
  explanation following such an event, but somehow it seems easier to believe
  that the source of such horror lies in an individual‘s pathology, in a condition
  that could be cured or contained if adequately identified, than in more
  indeterminate values and practices that shape our entire culture.          While
  discerning no clear answers to the question of what role A.L.‘s behavioral
  health challenges played in the violence he ultimately inflicted, the Commission
  nonetheless turns its attention to what we have learned about the role of
  mental disorder in violent events.      We review and synthesize the available
  research on the topic, identify relevant risk factors for violence and offer
  recommendations for ways to address those risk factors in order to promote

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  mental health, diminish the suffering associated with untreated mental illness,
  and enhance the community‘s experience of safety.
           Finally, the Commission proposes specific steps that communities and
  schools should take to buttress their members‘ resilience and equip them to
  care for one another and themselves in the face of trauma and loss. When a
  disaster event occurs, whether due to intentional violence or a terrible accident
  or a phenomenon of nature, its impact on individuals and communities can be
  devastating and can persist far beyond the immediate aftermath. The
  Commission contends that, while it is not yet possible to prevent such events
  from taking place or to insulate people from the suffering that ensues, there is
  much that governments, schools and other institutions can do to facilitate an
  effective and humane response. A carefully planned and coordinated response
  will help to reestablish a critical sense of security, ensure that needed services
  become available immediately and remain so for as long as necessary, and
  promote community-wide recovery. Unfortunately, experiences of trauma and
  loss afflict children, families and communities in ways that extend far beyond
  large-scale crises, and many of the Commission‘s recommended measures are
  germane to such experiences as well as to relatively rare disaster events.




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             OVERVIEW OF MASS SHOOTINGS AT
   SANDY HOOK ELEMENTARY SCHOOL ON DECEMBER 14, 2012
           The mass murder of twenty children and six adults at Sandy Hook
  Elementary School on December 14, 2012 has previously been described in
  detail in numerous publications, including the Danbury State‘s Attorney‘s
  report/appendix of November 25, 2013, the investigative files of the
  Connecticut State Police and the Report of the Child Advocate Concerning the
  Shootings at Sandy Hook Elementary School.         It is not the purpose of this
  report to provide a forensic examination of the events of that date. Accordingly,
  what follows is an overview of those events, but one which still contains some
  graphic details. Some readers may find this disturbing.
                                         ***
           On December 11, 2012, A.L.‘s mother, Nancy Lanza, left her home in
  Newtown, CT for a several day trip to New Hampshire. A.L. remained home
  alone during his mother‘s trip, which she told friends was intended to serve as
  both a respite from the difficulties of being A.L.‘s mother and as an experiment
  in leaving A.L. alone for longer periods of time. She checked into the Omni
  Mount Washington Resort on Tuesday, December 11 at midday and stayed
  there until shortly after noon on December 13. She arrived back in Newtown,
  CT at approximately 10:00 p.m. that evening.
           On the morning of December 14, sometime between 8:00 a.m. and 9:00
  a.m., A.L. went into his mother‘s bedroom and shot her in the head four times
  with a .22 caliber Savage Mark II bolt-action rifle that she had lawfully
  purchased. He left the rifle on the floor next to her bed.
           After killing his mother, A.L. drove to Sandy Hook Elementary School,
  which he had attended as a child.      He drove a black 2010 Honda Civic his
  mother had purchased for him.        He brought with him a small arsenal of
  weapons, including: a semi-automatic Sig Sauer P226, 9mm pistol; a Glock 20,
  10mm semi-automatic pistol; a Bushmaster Model XM15-E2S rifle (a semi-
  automatic civilian version of the fully automatic M-16 military assault rifle);

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  and an Izhmash Saiga-12, 12 gauge shotgun. He also brought with him over
  400 rounds of ammunition and several high capacity magazines, including two
  Magpul PMAG 30 magazines (for the Bushmaster rifle) duct-taped together in a
  tactical configuration and capable of holding a total of 60 rounds of 5.56 mm
  ammunition (30 rounds per magazine). A.L.‘s mother lawfully purchased all of
  these weapons and ammunition.
           A.L. arrived at the school shortly before 9:30 a.m. Approximately 489
  students and 82 staff members were present at the time. He parked his car in
  a ―No Parking‖ zone and walked to the front entrance of the school,4 carrying
  with him the Bushmaster rifle, the Sig Sauer and Glock pistols and a large
  supply of ammunition for all three weapons. He left the shotgun in the car.
           As was customary, the front doors of the school were locked. A.L. used
  the Bushmaster rifle to shoot out a plate glass window on the right side of the
  entrance doors to the front lobby.              (Police subsequently recovered eight
  expended brass 5.56 mm bullet casings from that area of the building.) A.L.
  entered the building, wearing a hat and sunglasses and appearing calm. He
  turned to his left, facing a hallway with administrative offices and classrooms
  on each side.              Upon hearing shots, school principal Dawn Hochsprung and
  school psychologist Mary Sherlach entered the hallway from room 9, where
  they were attending a meeting. Another staff member followed them. A.L. shot
  and killed Hochsprung and Sherlach in the hallway. The staff member was
  shot in the leg and fell to the ground, where she was struck again by further
  gunfire. She laid still in the hallway momentarily and then crawled back into
  room 9 and held the door shut. Another staff member, who was at the far end
  of the hallway from where A.L. was standing, was struck in the foot by a bullet.
  She retreated into a nearby classroom.
           The first 911 call from the school was made at about this time, 9:35:39
  a.m. The Newtown Police Department responded immediately, with the first


  4 A floor plan of the school and its exterior is available at: http://www.governor.ct.gov/

  malloy/lib/malloy/shac_doc_final_report_-_117shesandparkinglotmap.pdf
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  officer arriving at the rear of the school (on Crestwood Drive) at 9:39:00. Less
  than a minute later three officers, in two separate vehicles, arrived at
  Dickenson Drive, which leads up to the front of the school. They drove up to
  the road to a baseball field near the school, parked their vehicles and
  proceeding towards the entrance of the school on foot. A small team of police
  officers first entered the school at 9:44:50, less than eleven minutes after the
  first 911 call.
           While the police were responding to the 911 calls, A.L. entered the main
  office, where staff members were hiding. They heard A.L. open the office door,
  walk in the office and then leave. A.L. then walked down the hall and entered
  two first grade classrooms, rooms 8 and 10, in an indeterminate order.
           Substitute teacher Lauren Rousseau and behavioral therapist Rachel
  D‘Avino were in room 8, along with sixteen children.       Using the Bushmaster
  rifle, A.L. killed Rousseau, D‘Avino and 15 children. (Fourteen children were
  killed in the classroom. The fifteenth died after being transported to Danbury
  Hospital.) A sixteenth child in the classroom was not shot. Police investigators
  subsequently recovered eighty expended 5.56 mm bullet casings from room 8.
           Teacher Victoria Soto, behavioral therapist Anne Marie Murphy and
  sixteen students were in room 10. A.L. entered that room and, again using the
  Bushmaster rifle, killed Soto, Murphy and five students. (Four students were
  found dead in the room and the fifth was pronounced dead after being
  transported to the hospital.)      Nine children were able to escape from the
  classroom and survived, either because A.L. stopped shooting in order to reload
  or because his weapon jammed.          The police also found two other children
  uninjured in the classroom.
           After killing the occupants of rooms 8 and 10, A.L. killed himself with a
  single shot to the head from the Glock pistol. This is believed to have occurred
  at 9:40 a.m. His body was found in room 10. Police subsequently recovered
  49 expended 5.56 mm shell casings, and one 10 mm casing, from room 10.



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           Although the Commission has chosen to conclude the description of the
  events of December 14, 2012 at the time of A.L.‘s death, the Commission
  recognizes and acknowledges that, in many ways, the trauma of that event
  continues to this day for many of those involved. While certain events, like the
  notification to parents and families that their loved ones were killed in the
  attack, can be fixed in time and place, the experiences of the many different
  participants are so different after 9:40 a.m. on December 14, 2012 that the
  Commission feels it would be a disservice to all to attempt to capture those
  experiences in this section of the report.




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                                        PART ONE
   FINDINGS AND RECOMMENDATIONS OF THE SAFE SCHOOL
  DESIGN AND OPERATIONS WRITING GROUP, AS ADOPTED AND
            APPROVED BY THE FULL COMMISSION
  I.       PRELIMINARY STATEMENT
           There is at least one place, other than a home, in which every person,
  whether a child or adult, should feel absolutely safe and secure from the threat
  of physical harm: school. All schools—whether pre-K, K-12, colleges or other
  post-secondary institutions—are places for learning and personal growth.
  Sadly, the tragic shootings at Sandy Hook Elementary School, Columbine,
  Virginia Tech and other institutions taught Connecticut, and have reminded
  the nation at large, that schools, even elementary schools educating our
  youngest children, are not immune from the gun violence that afflicts our
  society.
           The initial, and entirely natural, reaction to a tragedy like the shootings
  at Sandy Hook Elementary School is to consider steps that would make it
  virtually impossible for such a violent event to occur at a school ever again.
  The Commission heard testimony about how some countries have transformed
  their schools into what might at best be described as ―gated communities,‖ but
  which might more accurately be described as akin to minimum security
  prisons in terms of their design.         Such facilities may, in fact, effectively
  eliminate some of the risk of an event like Sandy Hook. But they achieve that
  objective at great cost, not just financial, but mental, emotional and
  developmental as well. That is not the direction the Commission believes the
  American educational system should follow.
           Short of transforming our schools into gated communities or prison-like
  environments, no school can be freed entirely from the risk of violence.
  Nevertheless, through improved safe school design and operation (SSDO)
  strategies, and through closer coordination with our educators, local law
  enforcement, fire          departments, EMS, public safety personnel, security

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  professionals and mental health experts, our schools can become much safer
  environments for students, faculty and staff. Moreover, we can significantly
  reduce the risk of violence occurring on school grounds without sacrificing our
  schools‘ core educational mission and community outreach programs.
  Accomplishing these goals can actually improve the educational eco-system
  and create safe school climates that allow students, teachers, and staff to
  flourish and excel.
           A.       Contents Of Safe School Design And Operations Writing Group
                    Report.

           The Commission‘s final report on safe school design and operations
  reflects four basic goals and objectives. First, the Commission wanted to learn
  from the shootings at Sandy Hook and to apply the knowledge it acquired to
  the areas of school safety and security, from both design and operational
  perspectives.          Second,      the   Commission        sought    to   develop    specific
  recommendations to address the absence of a uniform set of standards for safe
  school        design       and   operations,   to    establish   a   mechanism   to   ensure
  implementation of proposed standards and to create a rational and credible
  impetus to fund these security enhancements. Third, the Commission sought
  to create a usable resource document—a ―best practices‖ template for use in
  the design of new schools, renovations, expansion and retrofits to existing
  schools—reflecting the lessons learned from the Sandy Hook, Columbine,
  Virginia Tech and other tragic school events. Fourth, the Commission hoped
  its work would mark the beginning of a long-term, ongoing process, so that its
  proposed best practice standards would evolve over time and be updated to
  reflect new lessons learned, advancements in building construction materials
  and techniques, security technologies, improvements in our systems of incident
  response, situational awareness, mental and behavioral health, and changes in
  our educational institutions.
           Consistent with these goals and objectives, this section of the
  Commission‘s final report is divided into three main parts. Part II sets forth

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  the guiding principles or philosophy that informed the Commission‘s work and
  its recommendations with respect to SSDO. Part III contains additional SSDO-
  related recommendations beyond those in the Commission‘s Interim Report
  dated March 18, 2013. In Part IV the Commission endorses Public Act 13-3
  (―An Act Concerning Gun Violence Prevention And Children's Safety‖) (―P.A. 13-
  3‖), which adopted and implemented many of the Commission‘s SSDO
  recommendations from its Interim Report. The Commission also endorses the
  work product of two important groups that P.A. 13-3 created: the Report of the
  School Safety Infrastructure Council (SSIC) and the School Security and Safety
  Plan Standards. Finally, Part V sets forth what the Commission believes are
  the key standards adopted by the SSIC.
           The SSDO portion of the SHAC Report has been extensively informed by
  the testimony provided to the Commission and the other SHAC sub-committee
  reports on Law Enforcement and Public Safety and Mental Health.
           B.       Who Should Read This Report?
           The Commission‘s recommendations, and the SSDO standards and
  strategies that flowed from them, should be of particular interest to all
  architects, engineers, consultants and contractors who are involved with school
  design and construction.       Of course, school faculty and staff, local school
  boards, and members of local and state government and organizations involved
  with new school design and construction or existing school renovations or
  expansion, should also review these recommendations.
           For reasons explained in greater detail below, other organizational
  groups should also familiarize themselves with the recommendations.            In
  particular, emergency responders, including local law enforcement, fire and
  EMS personnel, will all play a crucial role in adapting the proposed standards,
  which are necessarily general in nature, to the specific needs of their particular
  communities and schools.
           It is the Commission‘s position that building and fire code officials
  should review this report, as recommendations contained within it or endorsed

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  by standards referenced within it will need to be conformed and/or reconciled
  with Building and Fire Codes.             Often, building and occupant protection
  schemes run contrary to the requirements for rapid and effective law
  enforcement, fire department, and EMS response and hence the need for these
  agencies to familiarize themselves with the report and its references to the Safe
  School Infrastructure Council recommendations and the School Security and
  Safety Plan Standards and Templates.
           Additionally, a common theme which evolved in the SHAC hearings was
  the underlying principle that mental and behavioral health are affected by or
  have an effect upon a Safe School Climate and response to events that occur in
  and around schools. The Commission therefore advocates for professionals in
  this field to read this report as well.
           Lastly, testimony from the First Selectman of the Town of Newtown
  identified clearly that events in school eventually require management support
  from the elected Town leaders.       This strongly suggests that town leadership
  and government have a vested interest in safe schools and the contents of this
  document.
           C.       Why The Commission’s Recommendations Should Be Credited.
           The SSDO recommendations set forth in its Interim Report and this
  report do not simply represent the views of the members of the Commission
  with expertise in school safety and design and operations, nor do they simply
  represent the informed opinions of school architects, design professionals, and
  emergency responders.        To prepare this report, but especially to honor the
  Sandy Hook victims, their families, the on-scene emergency responders, and
  members of the Newtown school system with meaningful recommendations, the
  Commission brought together a broader range of subject matters experts than
  has ever been brought to bear on the creation of SSDO strategies and
  standards.
           More specifically, the Commission explored the cutting edge risk and
  resiliency tools shared by the Department of Homeland Security. It studied the

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  Columbine Commission report and questioned Colorado Governor Bill Ritter
  about Colorado‘s response to that tragedy.           Professor Richard Bonnie, the
  Director of the Virginia Commission on Mental Health Law Report and
  consultant to the Virginia Tech Review Panel, discussed the importance of
  threat assessment teams as well as gaps in community mental health services.
  Commissioner Patricia Rehmer of the Connecticut Department of Mental
  Health and Addiction Services testified that school tragedies have unique
  aspects that may necessitate a specific plan that differs in some ways from our
  state comprehensive disaster response plans for natural and man-made
  disasters. The need for short and long-term intervention may be appropriate in
  dealing with school response and recovery.            (See Section VII. ―Response,
  Recovery And Resilience,‖ infra, at p. 196.) The Connecticut State Troopers
  provided detailed testimony on guns, ammunitions, fire arms training, and
  legal constraints regarding gun sales, control and usage, and so informed the
  Commission on numerous aspects of school design and operations to address
  active shooter threats. The Connecticut Police Chief‘s Association provided a
  report highlighting the need to take into consideration all of the school facilities
  used in order to provide the highest level of security and lessen the buildings‘
  vulnerabilities.           The Commission learned that target-hardening and crime
  prevention methods must include an environmental design that incorporates
  locks, lighting, alarm systems, panic alarms, video surveillance, access control,
  natural surveillance and territorial concern, a theory that a well-cared for
  property is less apt to be an area where crime is committed. Architects from
  the American Institute of Architects Connecticut Chapter and experienced in
  school design shared their expertise on building fortification and the
  importance of visibility and being able to delay an intruder, as well as design
  strategies to enhance incident response, evacuation, shelter-in-place, and
  rescue and recovery activities.            Mila Kennet, Project Manager, Federal
  Emergency Management Agency (Infrastructure Protection and Disaster
  Management Division) shared cutting edge risk and resiliency tools as well as

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  their Integrated Rapid Visual Screening Risk Assessment. The Commission also
  heard from Kenneth S. Trump, President, National School Safety and Security
  Services; William P. Shea, Deputy Commissioner of the Department of
  Emergency Services and Public Protection (DESPP) with jurisdiction over the
  Division of Emergency Management and Homeland Security (DEMHS), and
  William Hackett, State Emergency Management Director at DEMHS, who
  presented testimony on the role of DEMHS and the function of the State
  Emergency Operations Center response to the shooting at Sandy Hook
  Elementary School and described statewide emergency planning initiatives that
  are relevant to this incident.      Gregg Champlin, New Hampshire School
  Emergency Planning and Natural Hazards Program Specialist, shared New
  Hampshire‘s Emergency Response Planning for Schools and Childcare
  Programs.
           The Commission also received extraordinary testimony from the Newtown
  Police Chief, the Newtown School Superintendent and Newtown‘s First
  Selectman, whose testimony was based on their own personal experience and
  provided invaluable insights from their perspectives and the family members
  whom they represented.
           The SSDO recommendations, while informing physical plant and school
  grounds security design and operations, were also informed by extensive
  testimony from the physical and mental/behavioral health subject matter
  experts. This included individuals with diagnosed behavioral health disorders,
  practicing clinicians, healthcare organizations and health insurance personnel.
  Insights from these testimonies informed recommendations in the SSDO report
  as part of the acknowledged premise that schools are an integral component of
  the community they serve and that the creation of a safe school climate is in
  part reliant upon a healthy community.        (See Section II.A.4, ―Places of care:
  schools and communities,‖ infra, at p. 99.)




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           This is only a very partial list of the broad range of experts with whom
  the Commission consulted, nor does it include written materials that the
  Commission reviewed.
  II.      GUIDING PRINCIPLES OF SAFE SCHOOL DESIGN AND OPERATION
           RECOMMENDATIONS.

           Although safe school design is ultimately reflected in the physical design
  and construction of an educational institution, and while safe school operation
  is ultimately reflected in a set of standards and strategies, the testimony the
  Commission received underscored the importance of certain basic principles
  that it believes should inform SSDO recommendations in general.
           A.       The “All Hazards” Approach To Safe School Design And
                    Operation.

           The mass shootings at Sandy Hook represent a particular type of violent
  event—the ―active shooter‖—that has become too common on school properties.
  The Commission heard extensive testimony concerning other active shooters,
  including the mass shootings at Columbine High School in 1999 and at
  Virginia Tech in 2007.       Commission members also reviewed the extensive
  written reports of those and other active shooter events.
           The Commission notes that the Columbine and Virginia Tech reports
  focused on two things: 1) understanding and describing in detail the specific
  event that was that subject of the report; and 2) setting forth recommendations
  intended to reduce the likelihood of that type of event reoccurring in the future.
           What these reports did not do, to the satisfaction of this Commission,
  was set forth a usable document that codified the recommendations on safe
  school design and operations learned from these tragedies. Consequently, the
  Commission determined that this report would create an industry best practice
  document that set standards and recommendations to be used moving forward
  in the design and operation of schools from a safety and security perspective.
           After considering the Columbine and Virginia Tech reports and
  examining how other states have addressed SSDO, the Commission concludes

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  that, while developing strategies specifically intended to address active shooter
  events is very important, a more holistic approach to SSDO is necessary and
  appropriate. The active shooter event represents one type of risk. But schools
  face a multitude of risks, including natural and man-made disasters.
  Consequently, the Commission finds that while recommendations concerning
  safe school design and operations should be informed by historical events,
  including those involving active shooters, they should address a broader range
  of potential risks as planning for the future involves more than just learning
  from the past.             Although history has a penchant for repeating itself, the
  Commission was continually reminded that crime profiles evolve as criminal
  methodologies are addressed.              In short, the Commission adopted an ―all
  hazards‖ risk management approach in developing its recommendations as the
  most prudent means to address risk mitigation.
           The Commission notes that the School Safety Infrastructure Council
  adopted the Commission‘s ―all hazards‖ approach recommendation in its
  report:
           Based on testimony from experts at the state, regional and federal
           level, the Council determined that school safety infrastructure
           planning should be based on an ―all hazards‖ assessment, and
           that school design safety standards should encourage the use of
           protective infrastructure design features in all levels or layers of
           school facility construction including:

                             Site development and preparation;
                             Perimeter boundaries and access points;
                             Secondary perimeters up to the building exterior;
                             and the interior of the building itself.

           Another important point, made repeatedly by professionals in the
           field, is that the conduct of these local uniform assessments must
           be an inclusive process involving police, fire, medical, school and
           other local officials. This public safety team approach is not only
           important in the assessment phase, but throughout the design and
           construction period as well. The need for redundancy and
           collaboration is essential.

           While the work of the SSIC is born of the events in Newtown
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           involving a rogue shooter, other potential threats, both natural and
           manmade, have led the Council to consider an ―all hazards‖
           approach to school design and security standards. As a result, the
           Council has broadened the preventive design standards to
           incorporate the most up to date seismic and weather related design
           requirements, while also considering architectural and design
           deterrents to terrorists, environmental and chemical accidents or
           attacks.

           The need to take an ―all hazards approach‖ to the assessment of
           school infrastructure vulnerabilities, and the need to develop
           compliance requirements in school design plans that minimize
           identified weaknesses and better prepare schools for a host of
           potential threats is a major goal of the SSIC. In order to develop a
           uniform set of standards that are adaptable to the many varied
           school construction sites and types of school construction in
           Connecticut, there is a need to develop, or adopt, an ―all hazards‖
           threat assessment tool that not only recognizes and differentiates
           the unique security challenges of each facility, but also provides a
           comparable security analysis of common school security
           infrastructure characteristics that are part of all major school
           construction projects.

           A uniform risk assessment of a school facility during the design
           phase of construction allows school districts to acquire a threshold
           level of awareness and responsiveness to potential threats and can
           provide a thorough evaluation of school security. A number of
           potential threats face every individual school facility, each having
           its own likelihood of occurrence (probability) and potential for
           injury and damage (severity). A comprehensive risk assessment
           includes activities to identify and quantify risk utilizing an ―all-
           hazards‖ approach to threat assessment for both natural and
           manmade hazards, and can be used as a screening tool for a
           preliminary design to determine if the critical systems will enhance
           deterrence, detection, denial, and damage limitation (response) in
           the event of an emergency. The primary objective of the risk
           assessment is to find the most effective mitigation measure(s) to
           achieve a desired level of protection.

  SSIC Report at 9-11.




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           B.       The Commission Based Its Recommendations On Their
                    Perceived Efficacy, Not Their Anticipated Cost.

           Judges and juries are often asked to award money damages as
  compensation for the loss of a person‘s life or limb.             In adopting its
  recommendations, however, the Commission started from the premise that one
  cannot truly put a price on a child‘s life. Thus, the Commission declined to
  self-censor its own potential recommendations because of concerns about the
  potential cost of implementing them. Instead, the Commission was primarily
  concerned with the efficacy of its recommendations; i.e., the likelihood that a
  particular recommendation, if implemented, would be effective in protecting
  students, faculty, staff and other persons authorized to be on school grounds.
           The Commission does not believe that any of its recommendations are
  fiscally impossible or unachievable; such extreme recommendations were
  dismissed.          Of course, some will prove more expensive than others to
  implement.          This is to be expected in any protective design and operations
  strategy.          The development of sources of funding to implement the
  Commission‘s recommendations will be essential, but responsibility for
  identifying and creating funding sources lies primarily with state and local
  communities and their governing bodies, and the Commission feels strongly
  that these endeavors must be made a leading priority.
           The Commission notes, however, that the cost of improving school safety
  and security has long-term financial benefits, as well as improved life safety
  considerations. The quality of a community‘s school system is an important
  factor in maintaining, if not increasing, property values and attracting new
  residents and businesses. The quality of a community‘s school system is not
  defined solely by traditional measures of student educational performance and
  the strength of its teachers and curriculum; it includes other factors, such as
  the perceived and documented safety and security of the community‘s schools.
  The Commission believes that communities that implement SSDO standards
  and strategies, and therefore create safer schools, will be more attractive to

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  potential homebuyers, renters and businesses than communities which,
  because of cost concerns, do not implement such strategies, or do so only
  minimally. It is a generally acknowledged that the strength of a community‘s
  school system is a significant factor influencing individual‘s and family‘s
  selection of communities in which to live and work. Accordingly, the long-term
  benefits of the Commission‘s SSDO recommendations should well outweigh
  their original implementation costs.
           C.       Safe School Design and Operation Strategies Can And Should
                    Enhance, Not Diminish, Students’ Educational Experience.

           As noted in the Introduction, the Commission‘s recommendations are
  based on the principle that SSDO standards and strategies can and should
  enhance the educational experience, not diminish it. Indeed, the likelihood that
  states and communities will adopt and implement SSDO standards and
  strategies is significantly improved if the state and communities perceive them
  as supporting schools‘ educational mission.          There is no inherent conflict
  between implementing measures that create safe school grounds (not just
  buildings) and the design of physical spaces that contribute to a school‘s
  educational mission.
           This principle is reflected in the report of the School Safety Infrastructure
  Council.        See SSIC Report at 2 (―Despite the urgency of achieving school
  security goals, the SSCI has recognized, from its inception, the need to preserve
  an educational environment that maintains an open, welcoming and supportive
  place for teaching and learning.‖)
           Educational institutions are places of learning, cultural and social
  development, mastering of physical abilities, and should be the locus of
  community engagement. They should provide an essential link between how
  these capabilities are nurtured at home and how they are taught in school.
           Great places to learn are great, not just because they are safe, and the
  educational/learning process is uninterrupted, or because learning and self-
  development is more effective in an environment free of fear.          They are also

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  great because their designs facilitate, excite, and engender interactions among
  students, teachers and staff, the spaces they are in and the world around
  them.
           Site and school building designs can facilitate these interpersonal
  interactions or diminish their opportunity for occurrence and their efficacy.
  They can affect how learning materials and media are presented, explained,
  studied, understood, and appreciated. They can link and connect the theories
  and principles taught inside with what happens in the real world outside of the
  school walls, doors, and windows.
           Outdoor environments and indoor spaces affect the way we feel, move,
  and contemplate. These known design consequences must not be unbalanced
  in favor of protective designs, which while improving personal safety, actually
  detract from the core missions of self-development through learning from
  teachers, interacting with peers, and observing how the social process of the
  ―internal school neighborhood‖ operates successfully or unsuccessfully.
           Architectural building designs and the design and landscaping of exterior
  school grounds can significantly contribute to a sense of connection between
  interior school spaces and activities and exterior spaces and activities. They
  can welcome personal approach and engagement or encourage standoff and
  isolation.        They can encourage active participation or informative passive
  engagement, or they can discourage participation and deny those who cannot
  participate the opportunity to view and determine their desire or ability to
  engage. This is true whether for interior classrooms, special event, and activity
  spaces or exterior areas for sports and recreation.
           D.       The Importance Of “Situational Awareness.”
           The Commission finds that enhancing ―situational awareness‖ should be
  a key SSDO objective.         Specifically, safe school designs should create, not
  reduce, opportunities for faculty, staff and students to observe and be more
  aware, beyond the traditional classroom environment, so that they can observe



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  at the earliest opportunities changes in student or adult behavior that might be
  cause for concern.
           The concept of situational awareness has been advanced in the public
  domain through the phrase, ―if you see something, say something.‖                       The
  concept is that people cannot react to what they are unaware of. By contrast,
  when a person observes something unusual, he or she can respond or summon
  assistance.
           Reviews of the Sandy Hook, Columbine and Virginia Tech tragedies and
  testimony received by the Commission demonstrated without any doubt that
  every second counts between the initiation of a threatening event and the
  arrival of emergency responders. Seconds and minutes equate to lives lost or
  saved.        Situational awareness is critical to threat identification and the
  summoning of emergency response.
           The     Commission      found   this    extremely    important   in    the   school
  environment, as students, teachers, and staff may well be the first incident
  observer and incident manager until summoned forces arrive.                     The earliest
  opportunity for detection is therefore a key ingredient in incident management
  and consequence mitigation.
           School       designs   should   support     these   observational     opportunities
  irrespective of requirements to delay the aggressor and their acts. However,
  opportunities for observations of an aggressor may also provide opportunities
  for the aggressor to acquire their target. School designs must therefore provide
  the means for students, teachers, and staff to maintain visual control over their
  environment and close off sight lines once a perceived threat is identified.
           As Dr. Marisa Randazzo explained during her presentation to the
  Commission on March 22, 2013 concerning school threat assessments, school-
  based attacks are rarely sudden, impulsive acts. To the contrary, they typically
  involve significant planning by the attacker, who initially conceives of the idea
  (―ideation‖), develops plans to execute the idea (―planning‖), gathers the tools he
  will use for the attack (―acquisition‖) and then executes the attack

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  (―implementation‖).            By creating school environments that enhance the
  opportunity for faculty, staff and other students to observe student behavior,
  and by training faculty and staff to be attuned to changes in student behavior,
  information about a student‘s ideas and plans for violence may potentially be
  observed or discovered before harm can occur. Because information is likely to
  be scattered and fragmented, however, Dr. Randazzo explained that the key is
  to act quickly upon an initial report of concern, rapidly gather other pieces of
  the puzzle, and then promptly assemble the pieces to see what picture
  emerges.
           In short, situational awareness is a fundamental tool in behavioral
  observation,          condition   assessment,     first   response   determination   and
  management, and incident command control measures.
           E.       The Importance Of Creating A Safe School Climate.
           While the physical design of a school, including its grounds, is a critical
  factor in increasing the safety and security of students, faculty and staff, other
  factors also contribute to creating a safe school climate.            For example, pre-
  service training for all teachers and administrators in character building,
  student responsibility, and anti-bullying has been shown to dramatically
  improve safe school climates. (See Section VII.A.2, ―Training and professional
  development,‖ infra, at p. 203.)
           Additionally, relationship building is key to ensuring and maintaining a
  culture of safety in every school.              Dr. George Sugai, of the University of
  Connecticut‘s Neag School of Education and an expert on school climate and
  student behavior, stressed that preventing school violence at every level
  requires better communication between parents, students, teachers, and
  administrators.            Dr. Sugai testified that communication and interpersonal
  relationships are critical to preventing school violence.            The most important
  thing parents and educators can do, according to Dr. Sugai, is to make sure
  that they are involved with their children, to prevent a sense of isolation and
  the breakdown in communication channels that can lead to violence.

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  Respectful, collaborative relationships between and among parents and
  teachers; teachers and administrators; teachers and students; administrators
  and the community including law enforcement, first responders, and
  mental/behavioral health specialists are essential if we are to have greater
  situational awareness in creating a nonthreatening, accepting, inviting,
  information sharing and therefore safe environment.               Staff, teachers and
  community members must feel comfortable referring a student whose behavior
  raises concern. This will happen in a supportive non-threatening community.
  (See Section VI.A.7, ―From prediction to prevention,‖ infra, at p. 182.)
            Safe School Climates are also known to depend upon maintaining
   acceptable behavioral interactions between students, students and teachers
   and staff. To assist in assessing the dimensions which help determine and
   foster a safe school environment, the National School Climate Center has
   developed a chart5 which will provide schools with the opportunity to assess
   and measure their climates. The Commission advocates for the inclusion of a
   requirement for every school in the State to assess the quality of their Safe
   School Climates by using the Comprehensive School Climate Inventory (CSCI)
   process. It is envisioned that this would assist in reducing the negative effects
   of bullying and other unacceptable behaviors. This would provide a
   valid/reliable and ―gold standard‖ process to accomplish the goals of
   improving Safe School Climates. The CSCI surveys parent/guardians,
   faculty/staff and students (grades 3 – 12).
           Site and school designs play a significant role in creating and supporting
  a ―safe school climate.‖        Good things tend to happen in good places.         Bad
  things tend to happen in bad places.           Employing the well-accepted industry
  best practices of Crime Prevention through Environmental Design (CPTED),
  security       sensitive   architecturally   spatial   designs   and   space   planning
  adjacencies for school spaces and grounds, and specifying the appropriate


  5 Available at: http://www.governor.ct.gov/malloy/lib/malloy/shac_doc_final_report_-

  _13_csci_dimension_chart_final.pdf
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  selection of security responsive building materials and components, has been
  shown to contribute to and create spaces which both feel and act secure.
             Being in a place/space where one feels secure allows the focus to be on
  the school‘s mission and the roles teachers and students need and want to
  fulfill.        Self-protection from perceived threats requires expenditures of
  deleterious and defensive negative energy, a fundamentally subtle distraction
  from core school activities and accomplishments.
             Situational awareness, the ability to know what is happening around
  you, also plays a fundamental role in providing a sense of comfort, safety,
  security, and/or heightened anxiety.                These perceptions participate in an
  individual‘s response to benevolent or threatening circumstances thereby
  aiding the opportunity to concentrate on school activities planned for that
  space or to provide an early warning and opportunity for more effective event
  management.                CPTED design strategies and security sensitive architectural
  and landscape designs foster situational awareness and assist in the creation
  of a safe school climate.
             F.     Safe School Design and Operations Strategies Must Be Tailored
                    To The Needs Of Particular Communities And Specific Schools.

             Although the Commission‘s recommendations grew out of a particular
  event at a particular school, they are general in nature and are intended to
  serve as a basis for safe school design and operation strategies in communities
  throughout Connecticut and across the country. However, every community is
  different and every school district and school is different.                 Thus, the
  recommendations set forth herein are offered with the expectation that they
  will be modified to address the particular needs of specific communities, school
  systems, and schools.
             To illustrate, Connecticut has 169 towns and cities and 165 school
  districts. Some districts have a large number of local police and public safety
  personnel who can respond to a major event at a school within a few minutes.
  Other districts are small, may have no local police department at all, and thus

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  rely on State Police, making for potentially significantly longer response times.
  A community that faces longer response times may decide to undertake
  additional design and operational measures to delay a potential violent
  offender‘s entry into a school or onto its grounds. In short, the basic SSDO
  standards set forth in the Commission‘s recommendations are intended to be
  adjusted on a community and site-specific basis.
  The Commission notes that the SSIC acknowledged this issue in its report:
           Central to the security assessment process and the development of
           the School Security and Safety Plan is the need to conduct an
           emergency response time analysis (ERTA) to deter- mine the actual
           amount of time needed for a police response to a specific school in
           a crisis situation. This exercise will also help in appropriate design
           decisions related to architectural safeguards, locking technologies
           and locations, and other measures that could deter or delay an
           intruder for an amount of time necessary to ensure an onsite
           public safety response prior to deep building penetration. An
           Emergency Response Time Analysis should be conducted for each
           proposed school design plan to better inform local planners on
           which school security design features may be appropriate for
           impeding the entry of unwanted individuals or preventing or
           delaying the free movement of such parties in a school facility.
           (Knowing what the critical response time is can help planners
           build in essential design components to limit movement, isolate
           intruders and facilitate response efforts.)

           The need to balance uniform school security infrastructure
           standards with the needs of local communities to design and build
           schools that are responsive to local educational needs and
           objectives.

                  The need to preserve an educational environment for children;

                  The need to establish a uniform school security infrastructure
                  assessment procedure;

                  The need to ensure the school building planning process is
                  inclusive of all local decision makers, public safety, building
                  code and fire and life safety code personnel; and




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                  The need to establish a cooperative and constructive
                  compliance system that facilitates attainment of the new
                  standards.

  SSIC Report at 9.

           G.       Safe School Design And Operation Standards Are Not Static.
                    They Must Be Reviewed And Updated On A Regular Basis.

           SSDO standards and strategies are not static.      Like building and fire
  codes, SSDO standards and strategies must evolve over time as new security
  threats emerge, security and safety technologies and response strategies
  change and mental health and gun control programs advance.            Accordingly,
  the Commission recommends that SSDO standards and strategies must be
  reviewed and updated regularly (every year) to ensure that they remain current
  and always reflect best practices. For that to happen, a standing organization
  or committee comprised of individuals with the relevant expertise must be
  created to conduct the regular reviews and updates.
           The Commission notes that the General Assembly acknowledged this
  principle in Public Act 13-3, sec. 80(b):
           The School Safety Infrastructure Council shall develop school
           safety infrastructure standards for school building projects under
           chapter 173 of the general statutes and projects receiving
           reimbursement as part of the school security infrastructure
           competitive grant program, pursuant to section 84 of this act. . . .
           The council shall meet at least annually to review and update, if
           necessary, the school safety infrastructure standards and make
           such standards available to local and regional boards of education.

  SSIC Report at 9 (emphasis supplied).

           H.       Successful Implementation Of Safe School Design And
                    Operation Strategies Requires “Local Champions.”

           The development of a concrete set of SSDO standards and strategies is
  the necessary first step in enhancing the safety and security of our schools, but
  it is a meaningless step unless the standards and strategies are actually
  implemented. The Commission believes that creating ―local champions‖ is key
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  to successful implementation. Each community or school district should have
  a small standing committee or commission, comprised of individuals
  representing the school community, law enforcement, fire, EMS and public
  health, whose responsibility is to ensure that the SSDO standards and
  strategies are actually implemented in their community.                   This committee or
  commission may be stand-alone, or it may consist of members of the proposed
  School Safety Design Committee and the School Security and Safety
  Committee, based on whether there is a school construction project or an
  existing school without plans for renovation, expansion or new construction.
  III.     RECOMMENDATIONS
           The       Commission‘s       Interim     Report     included     twenty-two     (22)
  recommendations             addressing    safe   school    design   and   human     resource
  emergency preparedness.                  As previously noted, virtually all of those
  recommendations were acknowledged and adopted in P.A. 13-3, the Report of
  the School Safety Infrastructure Council and/or the School Security and Safety
  Plan Standards.
           The Commission‘s work did not end, however, with the issuance of the
  Interim Report.            The Commission continued to hear testimony on all issues
  within the scope of its mission, including SSDO. In light of that testimony, and
  having considered P.A. 13-3 and the work of the commissions and task forces
  that     it    established,     the   Commission      makes     the   following    additional
  recommendations:
  RECOMMENDATION NO. 1: The SSIC Report includes a standard requiring
  classroom and other safe-haven areas to have doors that can be locked from
  the inside. The Commission cannot emphasize enough the importance of this
  recommendation.               The testimony and other evidence presented to the
  Commission reveals that there has never been an event in which an active
  shooter breached a locked classroom door.                   Accordingly, the Commission
  reiterates its recommendation that all classrooms in K-12 schools should be



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  equipped with locked doors that can be locked from the inside by the
  classroom teacher or substitute.
  RECOMMENDATION                 NO.      2:       The   Commission   also     reiterates    its
  recommendation that all exterior doors in K-12 schools be equipped with
  hardware capable of implementing a full perimeter lockdown.
  RECOMMENDATION NO. 3:                        A feasibility study should be conducted to
  develop additional safety standards concerning the issuance of classroom keys
  to substitute teachers.
           The Commission makes this recommendation due to the absence of
  standardized school district policies regarding the issuance of classroom keys
  to substitute teachers. Testimony provided to the Commission confirms that
  the lack of such policies remains a national problem even after the Sandy Hook
  tragedy.          The      Commission    recommends      the   development     of   realistic,
  manageable and secure approach to key access and control to ensure that all
  teachers charged with the well-being of students can lock their assigned
  classroom doors, but also to address the overall need for maintaining strict
  building security requirements. The management of classroom access control
  should be determined not only through the lens of new locking hardware, but
  also by examining the control and issuance of keys within all K – 12 schools.
  The logistics behind the monitor, control, and record keeping of classroom keys
  will be instrumental for improving school security plans moving forward.
  RECOMMENDATION NO. 4:                        School custodians should be included as
  members of school security and safety committees. Custodians have a wealth
  of knowledge and experience to share with regard to the physical school
  building and grounds.             Accordingly, the Commission requests that the
  Governor submit the following recommendendation for consideration by the
  General Assembly during the 2015 legislative session:6



  6 The format of the proposed legislation follows the format the General Assembly uses

  when proposing amendments to existing legislation. Proposed new text is underlined
  and proposed deletions from existing text appear in strike-through format.
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           Section 10-222m of the general statutes is repealed and the
           following is substituted in lieu thereof (Effective from passage):

           (a) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           develop and implement a school security and safety plan for each
           school under the jurisdiction of such board. Such plans shall be
           based on the school security and safety plan standards developed
           by the Department of Emergency Services and Public Protection,
           pursuant to section 86 of this act. Each local and regional board of
           education shall annually review and update, if necessary, such
           plans.

           (b) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           establish a school security and safety committee at each school
           under the jurisdiction of such board. The school security and
           safety committee shall be responsible for assisting in the
           development of the school security and safety plan for the school
           and administering such plan. Such school security and safety
           committee shall consist of: (1) a local police officer;, (2) a local first
           responder;, (3) a teacher employed at the school, selected with
           the consent and approval of other school or district employees
           of that classification; and (4) an administrator employed at the
           school, selected with the consent and approval of other school
           or district employees of that classification; (5) a custodian
           employed at the school, selected with the consent and approval
           of other school or district employees of that classification; (6)
           the school facilities managers; (7) a mental health professional,
           as defined in section 10-76t of the general statutes,; (8) a parent or
           guardian of a student enrolled in the school; and any other person
           the board of education deems necessary. Any parent or guardian
           serving as a member of a school security and safety committee
           shall not have access to any information reported to such
           committee, pursuant to subparagraph (c) of subdivision (2) of
           subsection (c) of section 10-222k of the general statutes, as
           amended by this act.


           (c) Each local and regional board of education shall annually
           submit the school security and safety plan for each school under
           the jurisdiction of such board, developed pursuant to subsection
           (a) of this section, to the Department of Emergency Services and
           Public Protection.

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  In furtherance of this recommendation, the Commission also recommends that
  the School Security and Safety Plan Standards and Template should be
  changed so that school districts realize the importance of placing custodians on
  these vital committees.
  RECOMMENDATION NO. 5: Teachers, administrators and custodians should
  be appointed to school security and safety committees with the consent and
  approval of other employees of their same classification.             The Commission
  believes that committee members so appointed may be more empowered to
  voice their concerns. Accordingly, the Commission recommends the following:
           Section 10-222m of the general statutes is repealed and the
           following is substituted in lieu thereof (Effective from passage):

           (a) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           develop and implement a school security and safety plan for each
           school under the jurisdiction of such board. Such plans shall be
           based on the school security and safety plan standards developed
           by the Department of Emergency Services and Public Protection,
           pursuant to section 86 of this act. Each local and regional board of
           education shall annually review and update, if necessary, such
           plans.

           (b) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           establish a school security and safety committee at each school
           under the jurisdiction of such board. The school security and
           safety committee shall be responsible for assisting in the
           development of the school security and safety plan for the school
           and administering such plan. Such school security and safety
           committee shall consist of: (1) a local police officer;, (2) a local first
           responder;, (3) a teacher employed at the school, selected with
           the consent and approval of other school or district employees
           of that classification; and (4) an administrator employed at the
           school, selected with the consent and approval of other school
           or district employees of that classification; (5) a custodian
           employed at the school, selected with the consent and approval
           of other school or district employees of that classification; (6)
           the school facilities managers; (7) a mental health professional,
           as defined in section 10-76t of the general statutes,; (8) a parent or
           guardian of a student enrolled in the school; and any other person

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           the board of education deems necessary. Any parent or guardian
           serving as a member of a school security and safety committee
           shall not have access to any information reported to such
           committee, pursuant to subparagraph (c) of subdivision (2) of
           subsection (c) of section 10-222k of the general statutes, as
           amended by this act.

           (c) Each local and regional board of education shall annually
           submit the school security and safety plan for each school under
           the jurisdiction of such board, developed pursuant to subsection
           (a) of this section, to the Department of Emergency Services and
           Public Protection.

  RECOMMENDATION NO. 6:            Consistent with the guiding principle that the
  successful implementation of SSDO standards and strategies requires ―local
  champions,‖ as described previously at p.31, the Commission recommends
  that the State require each school district to create a permanent committee or
  commission, the purpose of which shall be to ensure SSDO standards and
  strategies are implemented in the district. The Commission suggests that the
  committee consist of the following persons: 1) one person selected by the
  Superintendent of Schools; 2) one person selected by the local chief of police; 3)
  one person selected by the local fire chief; 4) one person selected by local EMS;
  5) one person selected to represent local public health and safety; and 6) one
  mental/behavioral health professional.
           Additionally, the State should designate an individual at the state
  Commissioner-level, such as the Commissioner of Education or Commission of
  the Department of Emergency Services and Public Protection, to whom the
  local committee shall be required to submit a written status report on or before
  December 31 of each year.
  RECOMMENDATION NO. 7: The State should amend section 80 (a) of P.A. 13-
  3 to include an architect licensed in the State of Connecticut among the
  members of the School Safety Infrastructure Council.              Therefore, the
  Commission requests that the Governor submit this recommendation for
  consideration by the General Assembly during the 2015 legislative session.

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  RECOMMENDATION NO. 8: The State should amend section 80(b) of P.A. 13-
  3 as follows:
           The School Safety Infrastructure Council shall develop school
           safety infrastructure standards for school building projects under
           chapter 173 of the general statutes and projects receiving
           reimbursement as part of the school security infrastructure
           competitive grant program, pursuant to section 84 of this act.
           Such school safety infrastructure standards shall conform to
           Connecticut and national industry best practice standards for
           school building safety infrastructure and shall include, but not be
           limited to, standards regarding (1) entryways to school buildings
           and classrooms, such as, reinforcement of entryways, ballistic
           glass, solid core doors, double door access, computer-controlled
           electronic locks, remote locks on all entrance and exits and buzzer
           systems (1) entryways to school buildings, classrooms and other
           space that can become areas of safe haven, such as, reinforcement
           of entryways, forced entry and/or ballistic rated glazing, solid core
           (FE and/or BR) doors, double door access, computer-controlled
           electronic locks, remotely controlled locks on all entrance and exits
           and buzzer systems, (2) the use of cameras throughout the school
           building and at all entrances and exits, including the use of closed-
           circuit television monitoring, (3) penetration resistant vestibules,
           and (4) other security infrastructure improvements and devices as
           they become industry standards. The council shall meet at least
           annually to review and update, if necessary, the school safety
           infrastructure standards and make such standards available to
           local and regional boards of education.

  Therefore,        the      Commission   requests   that   the   Governor   submit   this
  recommendation for consideration by the General Assembly during the 2015
  legislative session.
  RECOMMENDATION NO. 9: Each school shall maintain an accurate list of
  faculty, staff and students, complete with emergency contact information,
  which shall include, but not be limited to, parents and guardians of students.
  This information shall be kept at two locations within each school known by
  appropriate school staff and the emergency response teams for that school.
  RECOMMENDATION NO. 10: Each school shall provide safety and security
  training for faculty, staff and students on how to respond to hazards and/or
  events in order to provide competent compliance with the All Hazards School
  Security and Safety Plan Standards. This training shall include live exercises
  to test the efficacy of the training program and to provide a means to develop
  that program as informed by these exercises.              These training programs and
  exercises shall also include the identification and use of rendezvous points,
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  escape routes, location of safe havens, the means of emergency communication
  and the role of faculty, staff, emergency responders, etc. These training and
  exercise programs may benefit from the participation of parents as part of post-
  event response and recovery operations as determined by each school and
  school district in accordance with their incident response plans.
  RECOMMENDATION NO. 11: The Commission recommends that each school
  identify specific individuals to serve as safety and security wardens, who shall
  be responsible for executing and managing the safety and security strategies
  set forth in Recommendation No. 10.
  RECOMMENDATION NO. 12:                   In the design of schools, the Commission
  recommends that classrooms and other spaces of denser population occupancy
  be located away from the points of building entry and that spaces of lesser
  occupancy be adjacent to school entry points, without giving up human visual
  surveillance and situational awareness of the entry points.
  IV.      ENDORSEMENTS AND COMMENTS
           In    addition    to   the   making   the   foregoing   recommendations,   the
  Commissions also wishes to formally endorse the following actions of the
  General Assembly and other task forces and commissions created in the wake
  of the mass shootings at the Sandy Hook Elementary School:
           A.       Endorsement of Public Act 13-3.
           In June 2013, the General Assembly passed, and Governor Malloy signed
  into law, Public Act 13-3, which adopted most of the Commission‘s Interim
  Report recommendations concerning safe school designs and operations. The
  Commission wishes to highlight and commend certain provisions of P.A. 13-3:
           1.       The Commission endorses P.A. 13-3, sec. 80-83 which establishes
  the School Security Infrastructure Council.             This provision adopts Interim
  Report Recommendation 27, which recommended the creation of a blue-ribbon
  panel of design and security experts to establish a set of school security design
  standards.



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           2.       The Commission endorses P.A. 13-3, sec. 86 which requires the
  Department of Emergency Services and Public Protection (DESPP), in
  consultation with the Department of Education (SDE), to develop school
  security and safety plan standards to provide guidance in emergency plan
  management and to further assist school districts in managing practices and
  policies relating to school security and safety planning.
           3.       The Commission endorses P.A. 13-3, sec. 83(b), which states that
  the ―School Building Projects Advisory Council shall (1) develop model
  blueprints for new school building projects that are in accordance with
  industry standards for school buildings and the school safety infrastructure
  standards, developed pursuant to section 80 of this act.‖
           4.       The Commission endorses P.A. 13-3, sec. 86, which adopts the
  Commission‘s Interim Report recommendations that the State develop a set of
  tools and standards governing school threat and risk assessment and
  emergency planning and response. (See Interim Report, Recommendations 18
  through 26.)
           5.       The Commission endorses P.A. 13-3, sec. 87(b), which requires
  each local and regional board of education to establish a school safety and
  security committee for each schools within its jurisdiction.              Each such
  committee ―shall be responsible for assisting in the development of the school
  security and safety plan for the school and administering such plan.‖ P.A. 13-
  3, sec. 87(b).
                    6.       The Commission endorses P.A. 13-3, sec. 88(c)(1) and (2),
  which require that the ―principal of each school shall establish a committee or
  designate at least one existing committee in the school to be responsible for
  developing and fostering a safe school climate and addressing issues relating to
  bullying in the school.‖          P.A. 13-3, sec. 88(c)(1).   Among other things, the
  committee shall ―identify and address patterns of bullying among students in
  the school.‖ P.A. 13-3, sec. 88(c)(2).



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           B.       Endorsement of School Safety Infrastructure Council Report
                    and School Security and Safety Plan Standards.

           The Commission‘s Interim Report recommended the creation of a blue-
  ribbon panel of design and security experts to establish a set of school security
  design standards.            See Interim Report, Recommendation 27.              The State
  adopted that recommendation in sections 80-83 of P.A. 13-3, which established
  the School Security Infrastructure Council.              The Council, in turn, issued a
  detailed report establishing specific school infrastructure standards.
           The Interim Report also recommended that the State develop a set of
  tools and standards governing school threat and risk assessment and
  emergency planning and response.              Section 86 of P.A. 13-3 adopted that
  recommendation and required the Department of Emergency Services and
  Public Protection (DESPP), in consultation with the Department of Education
  (SDE), to develop School Security and Safety Plan Standards to provide
  guidance in emergency plan management and to further assist school districts
  in managing practices and policies relating to school security and safety
  planning. The resultant standards are set forth in full in Appendix L.
           The Commission endorses both the School Safety Infrastructure
  Standards Report and the School Security and Safety Plan Standards. Certain
  aspects of those documents, however, warrant particular mention.
           1.       The      Commission   endorses   the    SSIC‘s   recognition    of   the
   connection between the state as the primary funding source for local school
   construction and school design. The SSIC report states:
           For decades state government has been a primary funding source
           for local school construction, but has not established uniform
           preventative school security design standards. In practice, virtually
           all school safety infrastructure decisions have been made at the
           local level leading to school construction projects with significantly
           different security design features across school district boundaries.
           While maintaining the ability of local school boards to design
           facilities which are responsive to community needs and conducive
           to the educational process, the need to achieve a heightened and
           more uniform level of school safety infrastructure design in each

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           state funded project, as provided for in P.A. 13-3, is now policy.
           ...

           Long a primary source of school construction funding, state
           government will now use its role to require a more comprehensive
           and uniform consideration of school security measures at the local
           level. By establishing a universal school security assessment
           process, by identifying areas of critical concern and by requiring
           mitigation of observed deficiencies, the state will assume greater
           responsibility in establishing a more uniform level of school security
           throughout the state.

  SSIC Report at 1.

           2.       The Commission endorses the SSIC‘s recognition of the importance
  of including all relevant state and local stakeholders in the process of
  improving school security infrastructure. The SSIC report states:
           The state‘s role in this process does not end with funding state
           construction and in providing leadership in securing resources and
           expertise needed to improve school security. It also extends to
           mobilizing all affected parties in recognizing the importance of this
           undertaking, in sharing information and technology and in making
           the goal of improved school safety infrastructure a shared
           statewide objective. In this effort private vendors and a host of
           professional associations including the American Council of
           Engineering Companies of Connecticut, the American Institute of
           Architects, the Associated Builders and Contractors, the
           Associated General Contractors of Connecticut and the
           Connecticut School Construction Coalition have cooperated with
           the School Safety Infrastructure Council (SSIC) in promoting
           solutions to the challenging issues of improved school security
           design.

  SSIC Report at 2.
           The Commission recommends that the SSIC include among the
  professional associations referenced above the following: security professionals,
  law enforcement and emergency responder agencies, and members of the
  educational system.
           3.       The Commission endorses the SSIC‘s requirement that school
  systems seeking state funding certify that they have complied with the new

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  School Security Infrastructure Standards and related requirements.             The
  Commission feels this is important to provide a definite means of achieving
  compliance with the recommended security enhancements. The SSIC Report
  states:
           The provisions of the School Facilities Grant program (Chapter
           173) will be modified to require school systems seeking state
           funding to certify compliance with the new School Safety
           Infrastructure Standards and related requirements.
  SSIC Report at 9.
           4.       The Commission endorses the SSIC‘s recommendations that
  assessments to determine means to enhance school security should
  include a broad base of subject matter experts. The SSIC Report states:
           Another important point, made repeatedly by professionals in the
           field, is that the conduct of these local uniform assessments must
           be an inclusive process involving police, fire, medical, school and
           other local officials. This public safety team approach is not only
           important in the assessment phase, but throughout the design and
           construction period as well. The need for redundancy and
           collaboration is essential.
  SSIC Report at 9.

           5.       The Commission endorses the SSIC position that developing
  school safety and security designs and operations must take into
  account response times by emergency responders. The Report states:
           Central to the security assessment process and the development of
           the School Security and Safety Plan is the need to conduct an
           emergency response time analysis (ERTA) to determine the actual
           amount of time needed for a police [and fire/EMS]7 response to a
           specific school in a crisis situation.

  SSIC Report at 9. The Commission also recommends that the SSIC amend its
  Report to identify the person or entity who shall be responsible for conducting
  the emergency response time analysis.
           6.       The Commission endorses the SSIC‘s recommendation that
  due to the sensitivity of school security infrastructure plans, such plans
  ―should be shielded from disclosure under the Freedom of Information


  7 The Commission recommends the inclusion of the bracketed language in the SSIC

  Report.
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  Act.‖ SSIC Report at 13.
           7.       The Commission supports the following statement concerning
  the development of school safety infrastructure standards:
           These standards are to be developed by January 1, 2014 and
           submitted to the legislature at that time. Effective July 1, 2014, all
           school construction and renovation applications for state funding
           must comply with these standards, or they will not be approved.
           Additionally, state grants provided pursuant to the School Security
           Infrastructure Competitive Grant Program, jointly administered by
           the Departments of Emergency Services and Public Protection
           (DESPP), Education (SDE) and Administrative Services (DAS)
           under section 84 of P.A. 13-3, must be provided in accordance with
           the SSIC standards on and after these standards are submitted.
           Finally, any model blueprints for new school building projects that
           are developed by the School Building Project Advisory Council
           pursuant to Conn. Gen. Stat. § 10-292q must include the SSIC
           standards.

  SSIC Report at 3.
           8.       The Commission supports the requirement in P.A. 13-3, sec. 86
  concerning the development of school security and safety plan standards. The
  report states:
           Development of School Security and Safety Plan Standards. P.A.
           13-3 (section 86) also requires the Department of Emergency
           Services and Public Protection (DESPP), in consultation with the
           Department of Education (SDE), to develop School Security and
           Safety Plan Standards to provide guidance in emergency plan
           management and to further assist school districts in managing
           practices and policies relating to school security and safety
           planning. These standards are intended to assist school districts in
           developing operational school security procedures to respond to
           security events.

           9.       In its Interim Report the Commission identified the need for
  uniform, comprehensive threat assessment standards.                 The SSIC
  acknowledged the same need in its report:
           Until now school safety has been almost entirely determined by
           local decision makers, leading to a very uneven and unpredictable
           level of school security design across school district lines.

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           As an alternative, a uniform comprehensive threat-assessment
           process and consistent standards and corresponding building
           plans will help ensure a threshold level of awareness,
           responsiveness and security.

  SSIC Report at 3.
           10.      The Commission endorses the SSIC‘s requirement of a compliance
  determination process:
           Once a local school district has completed the assessment,
           identified potential vulnerabilities and proposed specific plans to
           remediate deficiencies and secure compliance, the Office of School
           Facilities, Plan Review Unit will evaluate the local plan for
           adequacy and continue to work with local districts to ensure
           compliance with established standards

  SSIC Report at 12.
           11.      The Commission endorses the SSIC‘s recommendation concerning
  the timely creation and issuance of School Security Technical Compliance
  Guidelines:
           At minimum, all school facilities are required to be compliant with
           state and federal building and fire codes. In other areas of school
           design and construction, standards and guidelines may be
           somewhat more variable providing local authorities with the
           flexibility to create an increased level of safety and security while
           meeting broader educational objectives. Areas not identified in the
           Mandatory or Critical Compliance sections noted above will be
           subject to more flexible guidelines to be incorporated in the School
           Security Technical Compliance Manual that is currently under
           development. Once complete this document will be incorporated in
           the SSIC final report as an updated and free standing Appendix E
           to be used by design and architectural professionals, along with
           Appendix A, to achieve security design objectives.

  SSIC Report at 14.
           12.      The      Commission   endorses   the   SSIC‘s   call   for    the
  development of a program to inform key stakeholders of changes in
  school safety infrastructure standards:
           As the Legislature considers implementation of the new standards,
           the Departments of Education, Administrative Services and

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           Emergency Services and Public Protection will develop a broad
           based orientation program designed to inform interested groups
           and the general public.

  SSIC Report at 14.
           13. P.A. 13-3, sec. 81(a) (2) provides that the Commissioner of Education
  shall have the authority to disapprove any application for a state grant that ―is
  not accompanied by a life-cycle cost analysis approved by the Commissioner of
  Construction Services . . . .‖           Section 81(a)(5) further provides that an
  application may be disapproved if ―the estimated construction cost exceeds the
  per square foot cost for schools established in regulations adopted by the
  Commissioner of Construction Services. . . .‖
           The Commission notes that these provisions should be reviewed for
  practical applications for security/cost benefit metric. The Commission further
  notes that security enactments cost money and, therefore, the per square foot
  costs will need to be adjusted.
  V.       KEY SAFE SCHOOL INFRASTRUCTURE COUNCIL STANDARDS
           As noted, the full set of SSIC standards are set forth in Appendix K. The
  Commission feels that it is appropriate, however, to provide in this report a
  subset of SSIC report‘s salient recommendations. The criteria the Commission
  used to identify this subset of recommendations were:
               1. Relative ease of feasibility to implement the recommendation.
               2. Opportunity for the recommendation to provide significant safety
                    and security value.
               3. Ability to implement the recommendation at a reasonable cost for
                    the extent of protective design value obtained.
  The standards set forth below include the Commission‘s suggested
  amendments and additions for future SSIC revisions.8




  8 The reference numbers for each standard are the numbers that appear in the SSIC

  Report. Additional standards recommended by the Commission are denoted by an ―x.‖
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  I.       School Site Perimeter Standards
  1.1 Crime Prevention Through Environmental Design (CPTED) is a crime
  prevention strategy that uses architectural design, landscape planning,
  security systems, and visual surveillance to create a potentially crime free
  environment by influencing human behavior and should be applied when
  appropriate.

  1.3 Fencing, landscaping, edge treatment, bollards, signage, exterior
  furnishings and exterior lighting may be used to establish territorial
  boundaries and clearly delineate areas of public, semi-public, semi-private, and
  private space.

  Access Control

  1.4 School boundaries and property lines shall be clearly demarcated to
  control access to a school facility and shall clearly delineate areas of public,
  semi-public, semi-private, and private space.

  1.5 Where a school is a shared use facility that serves the community,
  internal boundaries shall be clearly defined to establish a distinct perimeter for
  both the school and the shared use facilities with separate and secure access
  points that are clearly defined. Boundaries may be defined by installing
  fencing, signage, edge treatment, landscaping, and ground surface treatment.

  1.7. The number of vehicle and pedestrian access points to school property
  shall be kept to a minimum and shall be clearly designated as such.

  1.8. Directional signage shall be installed at primary points of entry to control
  pedestrian and vehicular access and to clearly delineate vehicular and
  pedestrian traffic routes, loading/unloading zones, parking and delivery areas.
  Signage should be simple and have the necessary level of clarity. Signage
  should have reflective or lighted markings.

  1.x. A means shall be provided to achieve and enforce identity authentication
  and entry authorization at locations and areas established by school operations
  protocols.

  Surveillance

  1.17. The design shall allow for the monitoring of points of entry/egress by
  natural and/or electronic surveillance during normal hours of operation and
  during special events.

  1.18. At minimum, electronic surveillance shall be used at the primary access
  points to the site for both pedestrian and vehicular traffic.
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  1.19. All points of vehicular entry/egress shall be adequately illuminated to
  enhance visibility for purposes of surveillance.

  1.20. Designated pedestrian and vehicular traffic routes shall be adequately
  illuminated to reinforce natural and or electronic surveillance during evening
  hours.

  1.23. Locate access points in areas of high visibility that can be easily
  observed and monitored by staff and students in the course of their normal
  activities. Natural surveillance may be maximized by controlling access points
  that clearly demarcate boundaries and spaces.

  1.24. Video surveillance systems may be used around the site perimeter to
  provide views of points of entry/egress and as a means to securely monitor an
  area when natural surveillance is not available.

  1.26. Lighting should be sufficient to illuminate potential areas of
  concealment, enhance observation, and to provide for the safety of individuals
  moving between adjacent parking areas, streets and around the school facility.

  1.xx . Consider the design of video surveillance systems which have the ability
  to be used locally (on site) by emergency responders and viewed off-site at
  appropriate locations.

  II.      Parking Areas and Vehicular and Pedestrian Routes

  2.2. At the minimum, electronic surveillance shall be used at the primary
  access points to the site for both pedestrian and vehicular traffic.

  2.3. Designated pedestrian and vehicular points of entry/egress and traffic
  routes shall be adequately illuminated to reinforce natural and or electronic
  surveillance.

  2.4. Signage shall be posted at all vehicular access points and in delivery
  zones, parking areas and bus loading/unloading zones with rules as to who is
  allowed to use parking facilities and when they are allowed to do so. Signage
  should be simple and have the necessary level of clarity. Signage should have
  reflective or lighted markings.

  2.6. Parking areas shall be adequately illuminated with vandal resistant
  lighting.

  2.7.     Parking shall be prohibited under or within the school building.



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  2.8. Adequate lighting shall be provided at site entry locations, roadways,
  parking lots, and walkways from parking to buildings.

  2.xx. Gas service rooms, exterior meters/regulators shall be secured.

  2.11. External access to school facilities shall be kept to a limited number of
  controlled entrances. Vehicular circulation routes shall be separated and kept
  to a minimum of two routes per project site for purposes of separating service
  and delivery areas from visitors‘ entry, bus drop-off, student parking and staff
  parking. Circulation routes shall be separated, clearly demarcated, and easily
  supervised. Provide vehicle interdiction devices at building entries to preclude
  vehicle access into the building.

  2.13. A drop-off/pick-up lane shall be designated for buses only with a
  dedicated loading and unloading zone designed to adequately allow for natural
  and/or electronic surveillance and to avoid overcrowding and accidents.

  2.16. Design entry roads so that vehicles do not have a straight-line approach
  to the main building. Use speed-calming features to keep vehicles from gaining
  enough speed to penetrate barriers. Speed-calming features may include, but
  are not limited to, speed bumps, safety islands, differing pavement surfaces,
  landscape buffers, exterior furnishings and light fixtures.

  2.18. Signage text should prevent confusion over site circulation, parking, and
  entrance location. Unless otherwise required, signs should not identify
  sensitive or high risk areas. However, signs should be erected to indicate areas
  of restricted admittance and use of video surveillance.

  2.19. Parking areas should be designed in locations that promote natural
  surveillance. Parking should be located within view from the occupied building,
  while maintaining the maximum stand-off distance possible.

  2.20. Locate visitor parking in areas that provide the fewest security risks to
  school personnel. The distance at which a potentially threatening vehicle can
  park in relation to school grounds and buildings should be controlled.

  2.22. Consider illuminating areas where recreational activities and other
  nontraditional uses of the building occur. If video surveillance systems are
  installed, adequate illumination shall be designed to accommodate it.

  2.23. Consider blue light emergency phones with a duress alarm in all parking
  areas and athletic fields. If utilized, blue light emergency phones shall be
  clearly visible, readily accessible and adequately illuminated to accommodate
  electronic surveillance.

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  2.xx. Review vehicle access routes to the school and the site civil design with
  emergency responders to address their incident response requirements.

  2.xx. Design walkways from all parking areas so that they can be observed
  from within the school by appropriate school staff.

   III.    Recreational Areas – Playgrounds, Athletic Areas, Multipurpose
           Fields

  3.1. The design shall allow for ground level, unobstructed views, for natural
  and/or electronic surveillance of all outdoor athletic areas, playgrounds and
  recreation areas at all times.

  3.3. Pre-kindergarten and kindergarten play areas shall be separated from
  play areas designed for other students and physically secured.

  3.4. Athletic areas and multipurpose fields at elementary school buildings
  shall contain a physical protective barrier to control access and protect the
  area.

  3.5. Playgrounds and other student gathering areas shall be located away
  from public vehicle access areas, such as streets or parking lots by a minimum
  of fifty (50) feet unless prohibited by site constraints.

  3.6. Consider a physical protective barrier around athletic areas and
  multipurpose fields at secondary school buildings to control access and protect
  the area.

  3.7. Locate access points to recreational areas in areas of high visibility that
  can be easily observed and monitored by staff and students in the course of
  their normal activities. Natural surveillance may be maximized by controlling
  access points that clearly demarcate boundaries and spaces.

  3.9. Pre-K and K play areas should be designed so that they have visual
  sightlines to school staff. Fencing should not diminish this visual connection.

  3.x. Review the design of these areas with emergency responders to address
  their incident response requirements.




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  IV.      Communication Systems

  4.1. All classrooms shall have two way communications with the
  administrative office.

  4.2. All communication systems shall be installed in compliance with
  Connecticut state building and fire code requirements.

  4.3. Emergency Communication Systems (ECS) and/or alarm systems shall
  have redundant means to notify first responders, supporting agencies, public
  safety officials and others of an event to allow for effective response and
  incident management. Alarm systems must be compatible with the municipal
  systems in place. These systems may include radio, electronic, wireless or
  multimedia technology which provides real time information (such as audio,
  visual, mapping and relevant data) directly to first responders. Points of
  Broadcast input for these systems shall be reviewed with emergency
  responders. A minimum of 2 shall be provided.

  4.4. Emergency Communication Systems (ECS) shall be installed and
  maintained in accordance with NFPA 72, 2010, or the most current fire code
  standard adopted by the State of Connecticut. ECS may include but is not
  limited to public address (PA) systems, intercoms, loudspeakers, sirens,
  strobes, SMS text alert systems, and other emerging interoperable resource
  sharing communication platforms. The design of these systems shall be
  reviewed with emergency responders.

  4.5. All new buildings shall have approved radio coverage for first responders
  within the building based upon the existing coverage levels of communication
  systems at the exterior of the building. The system as installed must comply
  with all applicable sections of the Federal Communication Commission (FCC)
  Rules for Communication Systems and shall coordinate with the downlink and
  uplink pass band frequencies of the respective first responders. Perform a
  radio audibility and intelligibility test and modify system design accordingly.

  4.6. All in-building radio systems shall be compatible with systems used by
  local first responders at the time of installation.

  4.12. Call buttons with direct intercom communication to the central
  administrative office and/or security office should be installed at key public
  contact areas.

  4.xx. Develop a strategy and ―security team‖ and equip them with hand-held
  radios so they can be effective participants in the radio communications
  system.

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  V.       School Building Exterior – Points of Entry/Egress and Accessibility

  5.1. Points of entry/egress shall be designed to allow for monitoring by
  natural and/or electronic surveillance during normal hours of operation and
  during special events.

  5.2. At minimum electronic surveillance shall be used at the primary points
  of entry.

  5.4. Lighting shall be sufficient to adequately illuminate potential areas of
  concealment and points of building entry, and, enhance natural and/or
  electronic surveillance, and discourage vandalism.

  5.8. Consider blue light emergency phones with a duress alarm along the
  building perimeter as needed to enhance security. If utilized, blue light
  emergency phones shall be clearly visible, readily accessible and adequately
  illuminated to accommodate electronic surveillance.

  5.9. Consider the use of forced entry resistance glazing materials for windows
  and glazed doors using laminated glass and/or polycarbonate to significantly
  improve forced entry delay time beyond standard glazing techniques. A five (5)
  minute forced entry solution should be the design standard.

  Main Entrance/Administrative Offices/Lobby

  5.10. Main entrances shall be well lit and unobstructed to allow for natural
  and/or electronic surveillance at all times.

  5.11. The design shall allow for visitors to be guided to a single control point
  for entry.

  5.12. The main entrance assembly (glazing, frame, & door) shall be forced
  entry resistant to the project standard, with a forced entry time rating as
  informed by local law enforcement response timing.

  5.13. Plans shall carefully address the extent to which glazing is used in
  primary entry ways, areas of high risk and areas of high traffic and the degree
  to which glazing is installed or treated to be bullet, blast, or shatter resistant to
  enhance the level of security. The district‘s priorities for the use of natural
  surveillance, electronic surveillance, natural light and other related security
  measures may affect this decision and the overall level of security.

  5.14. Main entrance doors shall be capable of being secured from a central
  location, such as the central administrative office and/or the school security
  office.
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  5.15. Video surveillance cameras shall be installed in such a manner to show
  who enters and leaves the building and shall be monitored at locations which
  are attended whenever the school is occupied.

  5.16. The design shall allow for providing visitor accessibility only after proper
  identification.

  5. xx. The use of vestibules with forced entry resistant doors and glazing to the
  project standard should be the design standard.

  5.19. The central administrative offices and/or security offices should have an
  unobstructed view of the main entrance lobby doors and hallways. If feasible,
  administrative offices abutting the main entrance should be on an exterior wall
  with windows for natural surveillance of visitor parking, drop off areas, and
  exterior routes leading to the main entrance.

  5.20. Walls, forced entry resistant to the project standard, should be hardened
  in foyers and public entries. Interior and exterior vestibule doors should be
  offset from each other in airlock configuration.

  5.21. Use vestibules to increase security. The entrance vestibule shall have
  both interior and exterior doors that are lockable and controllable from a
  remote location and be designed to achieved enhanced force entry performance
  as identified to the project forced entry standards.

  5.23. When possible, the design should force visitors to pass directly through a
  screening area prior to entering or leaving the school. The screening area
  should be an entrance vestibule, the administration/reception area, a lobby
  check in station, an entry kiosk, or some other controlled area. This controlled
  entrance should serve as the primary control point between the main entrance
  and all other areas of the school.

  5.24. Control visitor access through electronic surveillance with intercom
  audio and remote lock release capability at the visitor entrance.

  5.25. Restrict visitor access during normal hours of operation to the primary
  entrance. If school buildings require multiple entry points, regulate those entry
  points with no access to people without proper identity authentication and
  entry authorization. Consider an electronic access control system for
  authorized persons if multiple entry points are utilized during normal hours of
  operation.

  5.27. Install a panic/duress alarm or call button at an administrative/security
  desk as a protective measure.

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  5.28. Proximity cards, keys, key fobs, coded entries, or other devices may be
  used for access control of students and staff during normal hours of operation.
  The system may be local (residing in the door hardware) or global (building or
  district- wide). Prior to installing a customized door access control system refer
  to the local authority having jurisdiction for compliance with state building and
  fire code.

  5.31. Consider sensors that alert administrative offices when exterior doors at
  all primary and secondary points of entry are left open.

  5.32. Consider radio frequency access control devices at primary points of
  entry to allow rapid entry by emergency responders. Review this technology
  with the emergency responders which serve the school facility.

  5.33. Where ―forced entry‖ required construction is required, the forced entry
  delay time shall be based on the ERTA, and have the forced entry designs
  informed/validated by a licensed architect, professional engineer or qualified
  security consultant.

  5.xx. Provide closers on these doors so that they automatically return to a
  closed, latched, and locked position to preclude unauthorized entry.

  Exterior Doors

  5.34. The design shall allow for the points of entry/egress to be monitored by
  natural and/or electronic surveillance during normal hours of operation and
  during special events.

  5.36. Lighting at these entry points shall be sufficient to illuminate potential
  areas of concealment, enhance natural and/or electronic surveillance,
  discourage and protect against vandalism.

  5.39. Tertiary exterior doors shall be hardened to be penetration resistant and
  burglar resistant.

  5.40. All exterior doors shall be equipped with hardware capable of
  implementing a full perimeter lockdown by manual or electronic means and
  shall be numbered per the SSIC standards.

  5.41. All exterior doors shall be easy to lock and allow for quick release in the
  event of an emergency by authorized personnel and emergency responders.

  5.45. All exterior doors that allow access to the interior of the school shall be
  numbered in sequential order in a clockwise manner starting with the main

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  entrance. All numbers shall be visible from the street or closest point of
  entry/egress, contrast with its background and be retro-reflective.

  5.48. Doors vulnerable to unauthorized access may be monitored by adding
  door contacts or sensors, or may be secured through the use of other protective
  measures, such as delayed opening devices, or video surveillance cameras that
  are available for viewing from a central location, such as the central
  administrative office and/or security office.

  5.53. Specify high security keys and cylinders to prove access control.

  5.xx. Provide closers on these doors so that they automatically return to a
  closed, latched, and locked position to preclude unauthorized entry.

  Exterior Windows/Glazing/Films

  5.55. Windows may serve as a secondary means of egress in case of
  emergency. Any ―rescue window‖ with a window latching device shall be
  capable of being operated from not more than forty eight (48) inches above the
  finished floor.

  5.56. Each classroom having exterior windows shall have the classroom
  number affixed to the upper right hand corner of the first and last window of
  the corresponding classroom. The numbers shall be reflective, with contrasting
  background and shall be readable from the ground plain at a minimum
  distance of fifty (50) feet.

  5.57. Plans shall carefully address the extent to which glazing is used in
  primary entry ways, areas of high risk and areas of high traffic and the degree
  to which glazing is installed or treated to be bullet, blast, or shatter resistant to
  enhance the level of security. The district‘s priorities for the use of natural
  surveillance, electronic surveillance, natural light and other related security
  measures may affect this decision and the overall level of security.

  5.59. Design windows, framing and anchoring systems to be shatter resistant,
  burglar resistant, and forced entry resistant to the project forced entry
  standards, especially in areas of high risk. Whenever feasible, specify force
  entry resistant glazing on all exterior glazing.

  5.60. Resistance for glazing may be built into the window or applied with a film
  or a suitable additional forced entry resistant ―storm‖ window.

  5.61. Classroom windows should be operable to allow for evacuation in an
  emergency. Review with the authority having jurisdiction and fire department
  to balance emergency evacuation, external access, and security requirements.
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  VI.      School Building Interior

  Interior physical security measures are a valuable part of a school‘s overall
  physical security infrastructure. Some physical measures such as doors,
  locks, and windows deter, prevent or delay an intruder from freely moving
  throughout a school and from entering areas where students and personnel
  may be located. Natural and electronic surveillance can assist in locating and
  identifying a threat and minimizing the time it takes for first responders to
  neutralize a threat.

  6.1. The design shall provide for controlled access to classrooms and other
  areas in the interior that are predominantly used by students during normal
  hours of operation to protect against intruders.

  6.4. All interior room numbers shall be coordinated in a uniform room
  numbering system format. Numbering shall be in sequential order in a
  clockwise manner starting with the interior door closest to the main point of
  entry. Interior room number signage shall be wall mounted. Additional room
  number signage may be ceiling or flag mounted. Interior room number signage
  specifications and installation shall be in compliance with ADA standards and
  other applicable regulations as required.

  6.x. Record documentation drawings shall be kept which include floor plans
  with the room numbering system. These drawings shall be safeguarded but
  available for emergency responders. Review opportunities for emergency
  responders agencies to have these drawings as well.

  6.x. Review design opportunities to create interior safe havens with forced
  entry resistant walls and doors. These may be libraries, auditoriums,
  cafeterias, gyms or portions of school wings or blocks of classrooms.

  6.5. Establish separate entrance and exit patterns for areas that have
  concentrated high- volume use, such as cafeterias and corridors, to reduce
  time required for movement into and out of spaces and to reduce the
  opportunity for personal conflict. Separation of student traffic flow can help
  define orderly movement and save time, and an unauthorized user will perceive
  a greater risk of detection.

  6.6. Consider intruder doors that automatically lock when an intruder alarm
  or lockdown is activated to limit intruder accessibility within the building. If
  installed, intruder doors shall automatically release in the event of an
  emergency or power outage and must be equipped with a means for law
  enforcement and other first responders to open as necessary.



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  Interior Surveillance

  6.7.     An intrusion detection system shall be installed in all school facilities.

  6.8. If video surveillance systems are utilized, the surveillance system shall be
  available for viewing from a central location, such as the central administrative
  office and/or the school security office, and at points of emergency responder
  incident management. Review these locations with emergency responders in
  the design phase.

  6.9. Consider electronic surveillance in lobbies, corridors, hallways, large
  assembly areas, stairwells or other areas (such as areas of refuge/safe havens)
  as a means to securely monitor those areas when natural surveillance is not
  available.

  6.10. The design of a school facility should allow for the designation of
  controlled hiding spaces. A controlled hiding place should create a safe place
  for students and personnel to hide and protect themselves in the event of an
  emergency. The controlled hiding space should be lockable and readily
  accessible. A controlled hiding space could be a classroom or some other
  designated area within the building.

  6.xx. Design interior hallways and adjacent spaces to provide situational
  awareness of hallway conditions from these rooms, but also provide means to
  eliminate vision into these rooms as activated by room occupants.

  Classroom Security

  6.11. All classrooms shall be equipped with a communications system to alert
  administrators in case of emergency. Such communication systems may
  consist of a push-to-talk button system, an identifiable telephone system, or
  other means.

  6.12. Door hardware, handles, locks and thresholds shall be ANSI/BHMA
  Grade 1.

  6.13. All classroom doors shall be lockable from the inside without requiring
  lock activation from the hallway, and door locks shall be tamper resistant.

  6.15. Classroom door locks shall be easy to lock and allow for quick release in
  the event of an emergency.

  6.16. Classroom doors with interior locks shall have the capability of being
  unlocked/ released from the interior with one motion.

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  6.17. All door locking systems must comply with life safety and State of
  Connecticut building and fire codes to allow emergency evacuation.

  6.xx. Provide doors between adjacent classrooms to provide means of moving
  classroom occupants from one classroom to the next as a means to relocate
  students and teachers from an impending hallway threat. Provide such doors
  with suitable locking hardware to preclude unauthorized tailgating.

  6.xx. Provide closers on these doors so that they automatically return to a
  closed, latched, and locked position to preclude unauthorized entry.

  6.20. If classroom doors are equipped with a sidelight, the glazing should be
  penetration/forced entry resistant to the project forced entry standard.

  6.21. If interior windows are installed to provide lines of sight into/out of
  classrooms or other populated areas, certain factors should be taken into
  consideration relating to the size, placement and material used for those
  windows, including:

  6.21.1.     Minimizing the size of windows or the installation of multiple
  interspersed smaller windows with barriers in a larger window area to deter
  intruder accessibility.

  6.21.2.   Placing windows at a sufficient distance from the interior locking
  mechanism to prevent or make difficult the opening of a door or lock from
  outside.

  6.21.3.       Concealing or obstructing window views to prevent an assailant‘s
  ability to ascertain the status or presence of persons inside of a classroom
  during lockdown.

  6.21.4.     Hardening window frames and glazing to the project forced entry
  standards to lessen window vulnerability.

  Large Assembly Areas (gym, auditorium, cafeteria, or other areas of
  large assembly)

  6.22. Points of entrance and egress shall be clearly demarcated and designed
  to meet the project forced entry standards.

  6.26. Lighting shall be sufficient to illuminate potential areas of concealment,
  enhance natural and/or electronic surveillance, discourage vandalism and
  protect against vandalism.



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  6.29. Electronic surveillance should be used in large assembly areas and at all
  exit doors to securely monitor those areas when natural surveillance is not
  available.

  Shared Space or Mixed Occupancy (library, BOE, mixed use or other
  community service)

  6.32. Shared space shall have separate, secure and controllable entrances.

  6.33. The design of shared space should prevent unauthorized access to the
  rest of the school.

  6.34. The design of shared space shall allow for the monitoring of points of
  entry/egress by natural and/or electronic surveillance during normal hours of
  operation.

  VII.     Roofs

  7.1.     The design shall allow for roof accessibility to authorized personnel only.

  7.2. Access to the roof should be internal to the building. Roof access hatches
  shall be locked from the inside.

  7.3. If external access exists, roof ladders should be removable, retractable, or
  lockable. Screen walls around equipment or service yards should not provide
  easy access to the roof or upper windows.

  7.x. Provide adequate lighting and controls for roof access means and roof
  access points into the school.

  VIII.     Critical Assets/Utilities

  8.1. Screens at utilities, such as transformers, gas meters, generators, trash
  dumpsters, or other equipment shall be designed to minimize concealment
  opportunities and adequate to preclude unauthorized access. Installation of
  screens at utilities shall be compliant with utility company requirements.

  8.2. Access to building operations systems shall be restricted to designated
  users with locks, keys and/or electronic access controls. Secure all mechanical
  rooms with intruder detection sensors.

  8.3. Loading docks shall be designed to keep vehicles from driving into or
  parking under the facility.



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  8.x. Spaces with critical systems shall be provided appropriate graphics to be
  recognizable to emergency responders.

  8.x. Gas meter/regulator rooms shall be provided with forced entry resistant
  doors and to the project standards.

  8.x. Gas leak detection systems/sensors shall be installed wherever gas
  metering or appliances are installed.

  8.5. Shipping and receiving areas shall be separated from all utility rooms by
  at least fifty (50) feet unless prohibited by site constraints. If a site is
  determined to be physically constrained from reasonably meeting the fifty (50)
  foot separation requirement, maximize the separation distance between the
  receiving area and the utility room to the greatest extent possible. Utility rooms
  and service areas include electrical, telephone, data, fire alarm, fire
  suppression rooms, and mechanical rooms.

  8.6. Critical building components should be located away from vulnerable
  areas. Critical building components may include, but are not limited to:

  •     Emergency generator;
  •     Normal fuel storage;
  •     Main switchgear;
  •     Telephone distribution;
  •     Fire pumps;
  •     Building control centers;
  •     Main ventilation systems if critical to building operation.
  •     Elevator machinery and controls.
  •     Shafts for stairs, elevators, and utilities.

  Other Security Infrastructure and Design Strategies

  9.1. The design shall include special rooms for hazardous supplies that can
  be locked.

  9.x. The design shall include secured spaces, closets, cabinets or means of
  protection to minimize the use of dangerous objects from shop, cooking or
  other similar occupancies.

  9.2. Egress stairwells should be located remotely and should not discharge
  into lobbies, parking or loading areas.
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  9.4. Trash receptacles, dumpsters, mailboxes and other large containers shall
  be kept at least thirty (30) feet from the building unless prohibited by site
  constraints. If a site is determined to be physically constrained from reasonably
  meeting the thirty (30) foot separation requirement, maximize the separation
  distance to the greatest extent possible.




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                                           PART TWO

             FINDINGS AND RECOMMENDATIONS OF THE LAW
            ENFORCEMENT WRITING GROUP, AS ADOPTED AND
                  APPROVED BY THE FULL COMMISSION
  I.       INTRODUCTION
           Regardless of socioeconomic, ethnic, or gender divisions, households
  across the state and across the nation seek and deserve safety and security for
  their families; the types of civic spaces that are conducive to supportive
  environments and places where we want to raise our children. The ferocity of
  attacks like those perpetrated at Sandy Hook Elementary School shatters that
  sense of security and deprives us of the serenity that we all deserve.
           In 21st century America, certain topics are destined to divide us. With
  great rhetorical flourish, the message boards ignite with sincere passion on
  these topics. How we manage firearms in our evolving community is one such
  topic.
           The lethality of the weapons used in the attack on Sandy Hook
  Elementary School requires that the Commission evaluate access to firearms
  and ammunition. The analysis of the Commission is not rooted in dogma or a
  particular ingrained ―world view,‖ but rather a rational analysis of what type of
  firearms are available to citizens and what that means to the security of
  communities.           In its analysis, the Commission engaged in a pragmatic, not
  dogmatic, review.
           United States civilians own or possess in excess of 300 million guns: as
  of 2009, they owned or possessed approximately 114 million handguns, 110
  million       rifles       and   86   million   shotguns.9   The   incidence     of   gun
  ownership/possession in the United States—nearly one gun on average for
  every resident—is the highest in the world. Most guns are lawfully owned by
  law abiding persons who use them for recreational activities, such as hunting

  9 See ―Gun Control Legislation,‖ Report of the Congressional Research Service (Nov.

  14, 2012) at 8.
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  and target practice, and/or for self-defense. However, many guns are owned or
  possessed illegally or, even if legal, are used for unlawful purposes.
           The Commission acknowledges the United States‘ long tradition of gun
  ownership and the Second Amendment rights of gun owners. The Commission
  also notes that although a divided (5-4) United States Supreme Court held in
  District of Columbia v. Heller, 554 U.S. 570 (2008), that the Second Amendment
  right to bear arms is a personal right, it also held the right is not absolute. The
  Supreme Court also acknowledged in Heller that society has the right to
  regulate gun ownership, possession and use within constitutionally permissible
  limits.
           The Constitution of the United States compels us to evaluate our nation
  as a society that changes, grows, and evolves.       And as our world and our
  collective beliefs mature, so must the laws that govern us. As Supreme Court
  Justice Oliver Wendell Holmes, Jr. so eloquently stated regarding the dynamic
  nature of our legal structure, ―It is still more revolting if the grounds upon
  which [a law] was laid down have vanished long since, and the rule simply
  persists from blind imitation of the past.‖ The Commission seeks to recommend
  a framework that applies the broad principles of the Constitution to
  contemporary reality. Technological advances, economic transformations, and
  broad changes in the way we perceive the world around us have irrevocably
  changed the world. Even as we, as a community, discuss topics of controversy,
  we must avoid that ―blind imitation of the past‖; we must understand that we
  can apply our own technological and cultural tools, even if those tools were
  unavailable to our forefathers.     We must understand that innovation is a
  quintessential American trait, and it is our moral obligation to apply these
  principles of innovation to generate solutions to the issues that we face.
           In setting forth the following recommendations, the Commission does not
  seek to deprive citizens of their right to hunt, engage in target practice or own a
  firearm for self-defense; nor does the Commission seek to rewrite the
  Constitution of the United States or centuries‘ worth of legal decisions

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  pertaining to the right to bear arms.       Rather, the Commission‘s goals and
  objectives are two-fold.
           First, the Commission is deeply concerned about the proliferation,
  throughout the civilian population, of weapons that were specifically designed
  for military use during wartime.      The Commission believes that ―assault
  weapons‖ like the AR-15, as well as large capacity magazines (―LCM‘s‖) often
  used with those weapons, have no legitimate place in the civilian population.
  The Commission finds that the cost to society of easy civilian access to assault
  weapons and LCM‘s vastly outweighs the benefits of civilian ownership.       By
  contrast, the Commission finds that the significant benefit to society from
  eliminating civilian ownership and possession of assault weapons and LCM‘s
  can be realized with only a minimal burden on persons who want to hunt,
  engage in target practice or use weapons for self-defense. They remain free to
  engage in those activities with a vast array of long guns and handguns. In
  short, the Commission‘s first goal is simply to limit the possession and use of
  weapons designed for wartime use to members of our military services and law
  enforcement personnel.
           Second, through reasonable, constitutionally permissible regulations
  applicable to long guns, handguns and ammunition, the Commission seeks to
  minimize to the greatest extent possible the number of gun-related civilian
  deaths.
  II.      INTERIM REPORT RECOMMENDATIONS
           In its Interim Report of March 19, 2013, the Commission made a number
  of recommendations concerning firearms and ammunition. The Commission is
  pleased that the Connecticut General Assembly adopted many of the
  recommendations during its 2013 legislative session.       The Interim Report
  findings and recommendations, and their current status as reflected in law, are
  set forth below.




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           A.       Firearm Permitting And Registration
           As of the date of the Interim Report, Connecticut law required
  registration and permits to own and carry certain firearms. The Commission
  found that firearms of significant lethality could be obtained legally without a
  permit or registration.      According to the Connecticut State Police, there are
  approximately 1.4 million registered firearms in the State of Connecticut, and
  possibly up to 2 million unregistered firearms. Given the lethality of certain
  models of firearm that do not currently require registration of any sort, the
  Commission found this discrepancy in permitting and registration to be not
  only unwarranted, but shocking. Furthermore, the Commission believed that
  the lack of uniform control abets ―straw purchases‖—purchases by one
  individual made on behalf of a third-party—that can be used to deliver firearms
  to potential criminals. In order for law enforcement agencies to safely engage in
  their lawful duties, the Commission proposed the following recommendations:
  RECOMMENDATION NO. 1.              Mandatory background checks on the sale or
  transfer of any firearm, including long guns, at private and gun show sales.
           Status: Recommendation accepted and adopted by P.A. 13-3, § 1.
  RECOMMENDATION NO. 2.              Require registration, including a certificate of
  registration, for every firearm. This certificate of registration should be issued
  subsequent to the completion of a background check and is separate and
  distinct from a permit to carry.
           Status: Not adopted.     The Commission reaffirms its recommendation
  requiring the registration of all firearms and requests that the Governor
  resubmit this recommendation for reconsideration by the General Assembly
  during the 2015 legislative session.
  RECOMMENDATION NO. 3.              Require firearms permits to be renewed on a
  regular basis. This renewal process should include a test of firearms handling
  capacity as well as an understanding of applicable laws and regulations.
           Status: Not adopted. (Note: Under existing law, a firearm permit is good
  for five years and may be renewed without the recommended process.             See

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  Conn. Gen. Stat. § 29-36h.)            The Commission requests that the Governor
  resubmit this recommendation for legislative action.
           B.       High-Capacity Firearms, Magazine Capacity, And Ammunition

           The Commission found that certain types of ammunition and magazines
  that were readily available at the time it issued its Interim Report posed a
  distinct threat to safety in private settings as well as in places of assembly.
  The Commission further found that, despite the lethality of this ammunition,
  the law imposed only limited controls on its purchase.              The Commission
  understood that a life can be lost every few seconds in a spree killing. The
  Commission took seriously the rights afforded under the Second Amendment,
  but balanced those rights against the language of the Preamble to the
  Constitution, which includes assurances of ―domestic tranquility‖ and the
  obligation to ―promote the general welfare.‖10 In order to maintain the safety of
  places of assembly by ensuring that lawful, competent firearms owners are the
  only individuals lawfully allowed to possess certain types and quantities of
  ammunition, the Commission proposed the following recommendations:
  RECOMMENDATION NO. 4. Institute a ban on the sale, possession, or use of
  any magazine or ammunition feeding device in excess of 10 rounds except for
  military and police use. In proposing this recommendation, the Commission
  recognized that certain sporting events at times involve the use of higher
  capacity magazines. However, the consensus of the Commission was that the
  spirit of sportsmanship can be maintained with lower capacity magazines.
           Status:           Accepted and adopted by P.A. 13-3, §§ 23-24.
  RECOMMENDATION NO. 5. Institute a ban on the possession or sale of all
  armor-piercing and incendiary bullets, regardless of caliber.               First-time
  offenses should be classified as a Class D Felony.


  10 The Commission notes that in January 2014 the Federal District Court of
  Connecticut rejected a legal challenge to the constitutionality of the gun legislation
  that the General Assembly enacted and Governor Malloy signed into law in 2013. See
  Shew v. Malloy, 994 F.Supp.2d 234 (D. Conn. 2014). As of the date of this report, the
  District Court‘s judgment is on review in the Second Circuit Court of Appeals.
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           Status: Accepted and adopted in part by P.A. 13-3, § 32 (banning armor-
  piercing bullets). The Commission reaffirms its position that the ban should
  also apply to incendiary bullets and urges the Governor to submit this
  recommendation to the General Assembly for reconsideration during the 2015
  legislative session.
  RECOMMENDATION NO. 6. Allow ammunition purchases only for registered
  firearms.
           Status: Not adopted in absence of firearm registration requirement. The
  Commission reaffirms its position that the law should only permit individuals
  to purchase ammunition for registered firearms and requests that the Governor
  submit this recommendation to the General Assembly for reconsideration
  during the 2015 legislative session.
  RECOMMENDATION NO. 7. Evaluate best practices for determining the
  regulation or prohibition of the sale and purchase of ammunition via the
  Internet.
           Status: Not adopted. The Commission reaffirms its position that the
  state should study and evaluate best practices for determining the regulation
  or prohibition of the sale and purchase of ammunition via the Internet and
  requests that the Governor submit this recommendation to the General
  Assembly for reconsideration during the 2015 legislative session.
  RECOMMENDATION NO. 8.                 Evaluate the effectiveness of federal law in
  limiting the purchase of firearms via the Internet to only those individuals who
  have passed the appropriate background screening.
           Status:       Not adopted. The Commission reaffirms its position that the
  state should study and evaluate the effectiveness of federal law in limiting the
  purchase of firearms via the Internet to only those individuals who have passed
  the appropriate background screening and urges the General Assembly to
  reconsider this recommendation during the 2015 legislative session.
  RECOMMENDATION NO. 9.                Limit the amount of ammunition that can be
  purchased at any given time.

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           Status: Not adopted. The Commission reaffirms its position that the law
  should only permit individuals to purchase ammunition for registered firearms
  and requests that the Governor submit this request to the General Assembly
  for reconsideration during the 2015 legislative session.
           C.       Assault Weapons
           The Commission found that the legal definition of ―assault weapon‖ at
  the time it issued its Interim Report allowed for cosmetic changes to military-
  style firearms that did not reduce their lethality, yet facilitated their lawful
  purchase. The Commission determined that defining an ―assault weapon‖ by
  its form rather than its function had been ineffective. The consensus of the
  Commission was that gun violence is an issue that transcends the tragedy at
  Sandy Hook, and the commonality of high-capacity firearms in violent crimes
  had to be acknowledged. According to the 2011 Connecticut Uniform Crime
  Reporting Program, only two (2) of 94 firearm-related homicides in the state
  were committed with a rifle or a shotgun.           It was the consensus of the
  Commission that firearm lethality directly correlated to capacity, a correlation
  borne out not only in Sandy Hook Elementary School, but in other violent
  confrontations in and beyond Connecticut.             Therefore, the Commission
  proposed the following recommendation:
  RECOMMENDATION NO. 10.              Prohibit the possession, sale or transfer of any
  firearm capable of firing more than 10 rounds without reloading. This
  prohibition would extend to military-style firearms as well as handguns. Law
  enforcement and military would be exempt from this ban.
  Status: Not adopted. Instead, the General Assembly created of a list of specific
  semiautomatic rifles, pistols and shotguns that are banned. See P.A. 13-3, §§
  25-31. The Commission requests the Governor to submit this request to the
  General Assembly for reconsideration during the 2015 legislative session.
           D.       Firearm Storage And Security
           The Commission found that when firearms are present in a household,
  insufficient safeguards often existed to prevent household members or guests

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  who should not have access to the firearms from gaining access.         To better
  ensure that only appropriate handlers have direct access to firearms, the
  Commission recommended the following:
  RECOMMENDATION NO. 11. Require that trigger locks must be provided at
  the time of sale or transfer of any firearm.
           Status: Not adopted. The Commission reaffirms its position that the law
  should require trigger locks to be provided at the time of sale or transfer of any
  firearm, and requests that the Governor resubmit this recommendation to the
  General Assembly for reconsideration during the 2015 legislative session.
  RECOMMENDATION NO. 12.             Require that the state develop and update a
  ―best practices‖ manual and require that all firearms in a home be stored in a
  locked container and adhere to these best practices; with current minimum
  standards featuring a tamper-resistant mechanical lock or other safety
  (including biometric) device when they are not under the owner's direct control
  or supervision. The owner should also be directly responsible for securing any
  key used to gain access to the locked container.
           Status: Accepted and adopted in part by P.A. 13-3, § 54-56.
           E.       Additional Recommendations Re: Firearms And Ammunition

  RECOMMENDATION NO. 13.             Require non-residents seeking to purchase a
  firearm or ammunition in the State of Connecticut to obtain a Certificate of
  Eligibility and conform to all other regulations applicable to Connecticut
  residents.
           Status: P.A. 13-3 requires that anyone who purchases ammunition in
  CT must have Connecticut state credentials. See P.A. 13-3, § 14(c).
  RECOMMENDATION NO. 14.             Require gun clubs to report any negligent or
  reckless behavior with a firearm, or illegal possession of any firearm or
  magazine, to the Connecticut Department of Emergency Services and Public
  Protection, Commissioner of Public Safety, and local law enforcement.




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           Status: Not adopted. The Commission reaffirms this recommendation
  and requests that the Governor resubmit it to the General Assembly for
  reconsideration during the 2015 legislative session.
  RECOMMENDATION NO. 15. Requiring promoters of gun shows to receive a
  permit from the Chief of Police or Chief Elected Official as well as provide notice
  to the Commissioner of the Connecticut Department of Emergency Services
  and Public Protection.
           Status:       Not adopted. The Commission reaffirms this recommendation
  and requests that the Governor resubmit it to the General Assembly for
  reconsideration during the 2015 legislative session.
  III.     FINAL REPORT ADDITIONAL RECOMMENDATIONS
           After issuing its Interim Report, the Commission continued to hear
  presentations by experts in a variety of fields, including law enforcement. In
  addition to the recommendations in the Interim Report, which are resubmitted
  to the extent not previously adopted, the Commission made the following
  additional findings and proposes the following recommendations.
           A.       Firearms/Ammunition
  RECOMMENDATION NO. 16. Require that any shell casing for ammunition
  sold or possessed in Connecticut have a serial number laser etched on it for
  tracing purposes.
           Rationale:        ―Straw purchases‖ of ammunition enable individuals to
  circumvent many laws intended to help prevent or reduce gun violence and to
  assist law enforcement personnel in solving gun-related crimes. In addition to
  urging the General Assembly to reconsider Recommendation No. 6, which
  would limit purchases of ammunition to owners of registered firearms and
  solely for the specific type of firearm, the Commission also believes that making
  every round of ammunition traceable will discourage the use of firearms and
  ammunition for unlawful purposes. At the same time, applying technological
  advances to both ammunition and firearms provides a clear and unique
  economic         development     opportunity    for   manufacturers   in   and   beyond

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  Connecticut. Given our state's rich manufacturing history, from Eli Whitney to
  Winchester Repeating Arms, to Colt's Manufacturing Company, we can and
  should take advantage of the opportunity to spark the next evolutionary leap in
  firearms and ammunition manufacturing.
  RECOMMENDATION NO. 17. Any person seeking a license to sell, purchase
  or carry any type of firearm in the state should be required to pass a suitability
  screening process.
           Rationale:        The Commission finds that certain individuals are not suited
  to own, possess or use firearms.          A mental health diagnosis, alone, should not
  serve as a basis for unsuitability.11 (See Section VI.A.8, infra, at p.185.)



           The Commission agrees with two proposals set forth in the December
           11

  2013 report of the Consortium for Risk-Based Firearm Policy, entitled ―Guns,
  Public Health, and Mental Illness: An Evidence-Based Approach for State
  Policy.‖ The Consortium recommends the following:
         1. Current state law should be strengthened to temporarily prohibit
  individuals from purchasing or possessing firearms after a short-term
  involuntary hospitalization [for psychiatric treatment].       Concurrently, the
  process for restoring firearms rights should be clarified and improved.
  Specifically: (i) States should enact new legislation temporarily prohibiting
  individuals from purchasing or possessing firearms after a short-term
  involuntary hospitalization. This prohibition should be predicated on a clinical
  finding of danger to self or danger to others; (ii) Restoration of an individual‘s
  ability to purchase or possess a firearm following a firearm disqualification due
  to mental illness should be based on an evaluation by a qualified clinician and
  a finding that the petition is unlikely to relapse and present a danger to self or
  others in the foreseeable future.
         2. States should enact new prohibitions on individuals‘ ability to
  purchase or possess a firearm that reflect evidence-based risk of
  dangerousness. Such individuals include: (i) persons convicted of a violent
  misdemeanor; (ii) persons subject to a temporary domestic violence restraining
  order; (iii) persons convicted of two or more DWI or DUI‘s in a period of five
  years; (iv) persons convicted of two or more misdemeanor crimes involving a
  controlled substance in a period of five years; (v) a system should be devised to
  allow family members to obtain a "Gun Restraining Order." This would allow
  those closest to an individual to ask the court, based on their testimony as to a
  threat of violence, to issue a court order authorizing the police to seize any
  firearms owned or possessed by such individual.

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           The Commission further finds that tension occasionally exists between
  permitting criteria used by the local firearm permit issuing authority (usually
  the Chief of Police) and the state Firearms Review Board, which reviews permit
  denials by the local issuing authority. To ensure that both the local issuing
  authority and the Firearms Review Board apply the same criteria, the
  suitability screening process should be codified in law.             The Commission
  requests that the Governor submit this recommendation it to the General
  Assembly for consideration during the 2015 legislative session.
  RECOMMENDATION NO. 18. To allow, at a judge's discretion, the opportunity
  to temporarily remove any firearms, ammunition, and carry permits from a
  person who is the subject of an ex parte restraining order, civil protection order
  or family violence protective order, at the time of the issuance of that order.
  The Commission believes that the time period between the ex parte request and
  the issuance of a full restraining order, civil protection order or family violence
  protective order, constitutes a period of critical danger, one that must be
  recognized under law and addressed via judicial discretion.
           B.        Best Practices/Protocols
  RECOMMENDATION NO. 19.                   Grant state-wide peace officer status to all
  sworn law enforcement officers in Connecticut to assure their ability to respond
  to any other jurisdiction within the state in the event of a major police
  emergency, but only at the express invitation of the requesting jurisdiction.
  Self-dispatch by public safety or EMS resources should be prohibited to
  prevent over-response.
           Rationale:        Under existing law, a local law enforcement officer‘s legal
  status as such is limited to the specific town in which he/she works.             For
  example, a police officer in Hartford does not have the legal authority to make
  an arrest (other than a felony citizen arrest) in Bloomfield or Windsor.          The
  limited geographic scope of a local law enforcement officer‘s jurisdiction can be
  an impediment under certain circumstances, such as the tragedy in Sandy
  Hook, when a police department may find itself overwhelmed by events and

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  lacking sufficient resources, both in terms of personnel and equipment, to
  respond effectively. In such a case, there is a clear need for police officers from
  surrounding towns and communities to be able to assist the overwhelmed
  department and to do so in their official capacities.
  RECOMMENDATION NO. 20.                            Provide funding for the Department of
  Emergency Services and Public Protection, Division of Emergency Management
  and Homeland Security, to establish positions for regional School Safety
  Planners charged with assisting districts in the planning for all hazards
  emergencies and the effective exercising of those plans.
           Rationale:          The Commission believes that developing a set of written
  standards governing safe school design and operation, and creating a written
  plan that instructs teachers, staff, local law enforcement, fire and emergency
  management personnel on how to respond to potential threats, is only the first
  step towards the goal of making local schools safer for students, faculty, staff
  and visitors. A plan that sits on a shelf simply collects dust. The law has long
  required local schools to have periodic fire drills to test the efficacy of fire
  response plans and to train teachers, staff and students how to respond to a
  real fire if one occurs, and data on school fires, specifically the lack of fatalities
  in the last half century, evidences the effectiveness of these drills.                      The
  Commission believes that the law should also require local schools to undergo
  periodic training and drilling of school safety and security plans.
           Because           local   school   and    law   enforcement   officials   are   already
  overwhelmed with existing responsibilities, the Commission recommends the
  creation of, and funding for, a new position of regional School Safety Planner.
  The proposed School Safety Planner would be responsible for developing and
  overseeing drilling and training at all schools in his/her jurisdiction.                    The
  School Safety Planner would also be responsible for reviewing school security
  plans on a periodic basis to ensure that they remain current, reflect best
  practices and are consistent with relevant statutes and ordinances. The school



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  safety planner would also work with local school officials to ensure recovery, as
  well as prevention response and mitigation, planning was in place.
  RECOMMENDATION NO. 21.               Develop regional multi-jurisdictional, multi-
  discipline, Unified Command concept of operations, integrating local and state
  police, for major events of great consequence. These plans should include
  administrative staff of local schools or other entities to assure best information
  is available.
           Rationale: An event in a town that ultimately requires the involvement of
  a large number of law enforcement officers may not necessarily begin as a
  major event. The actual or apparent magnitude of the event may grow over
  time.      An event that begins as one that local police are fully capable of
  addressing may evolve into a major event that requires the assistance of law
  enforcement personnel, as well as fire and EMS personnel, from surrounding
  communities.
           The Commission believes that local communities, acting in concert on a
  regional basis, should develop a plan that sets forth a tiered response to such
  events.       The Commission recommends the Capitol Region ―Blue Plan‖ as a
  model for such a plan.12 The Blue Plan categorizes events into three stages,
  each stage reflecting an increasingly serious event that requires the assistance
  of more law enforcement personnel from surrounding communities. The plan
  establishes a unified command for operations, identifies what personnel are
  required to respond for each stage and designates pre-established staging
  areas, establishes specific channels for electronic communications, and so on.
  These plans should give consideration to linkage with the state unified
  command structure where appropriate.
  RECOMMENDATION NO. 22.              Establish statewide and/or regional Incident
  Management Teams for public safety personnel.



  12 See Appendix M.  Only a portion of the Blue Plan is included in the Appendix.
  Additional information is available from the Capitol Region Chiefs of Police
  Association.
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           Rationale: The preceding recommendation pertains primarily to local law
  enforcement.               The Commission also finds, however, that public safety
  operations occasionally experience a ―resource gap.‖                For example, if a
  firefighter dies in the line of duty and the members of the department attend
  his funeral, a need exists in the relevant municipality for a group of qualified
  individuals from other communities to assume temporary responsibility for
  local fire department operations. Similarly, a small town with a volunteer fire
  department may face a major fire incident or disaster, which requires a larger
  and stronger response than the town is equipped to provide.
           The Commission recommends the creation of statewide and/or regional
  Incident Management Teams to fill this resource gap when it occurs. Incident
  Management Teams would be comprised of appropriate staff from other towns
  and communities, who would be prepared to step in to assist with or assume
  responsibility for public safety management operations when circumstances
  require.
           Ideally, the Commission believes that Incident Management Teams
  should be a component of the plan proposed in Recommendation No. 20. To
  the     extent       possible,     the   Commission   encourages   integration   of   law
  enforcement, fire and emergency management personnel into a single plan.
  RECOMMENDATION NO. 23. Integrate Public Safety Dispatch centers, with
  minimum staffing levels, into all major event response plans.
           Rationale. This recommendation addresses emergency 911 call centers.
  The Commission finds that the emergency 911 function is a critical component
  of any response to a major event.               Accordingly, that function must be a
  component of any major event response plan.
           The Commission further finds that many smaller 911 call centers are
  often staffed by a single person who handles both call intake and police
  dispatch functions.             If a major event happens within such a call center‘s
  geographic area of responsibility, the single staffer may quickly become
  overwhelmed.               Accordingly, the Commission believes that 911 call centers

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  should be subject to a minimum staffing requirement of two people. If a major
  event occurs, one person would be responsible for call intake, the other for
  dispatch.
           The Commission recognizes that some communities with smaller 911 call
  centers may not have the financial resources required to meet the minimum
  staffing requirement.          The Commission recommends that such communities
  regionalize their 911 call center function. In making this recommendation, the
  Commission does not mean to suggest that communities that choose to
  regionalize their 911 call center functions should close their police stations at
  night, when staffing levels might otherwise fall below the recommended
  minimum level.             Members of the public typically view police stations as a
  ―beacon of light‖ that should always be open. The Commission notes, however,
  that a person other than a police officer (such as a cadet or supernumerary
  officer) can be available to provide basic assistance to members of the public
  during evening and early morning hours.
           RECOMMENDATION NO. 24. Require that lead agencies that respond
  to major events conduct a review and provide formal after-action reports, which
  should be maintained on file with the appropriate public agencies.               (In
  Connecticut, the Commission recommends that a copy of each after-action
  report should be provided to, and maintained on file by the Department of
  Emergency Services and Public Protection and the Connecticut Police Chiefs
  Association.)
           Rationale: The Commission finds that a formal after-the-fact study and
  analysis of man-made and natural disasters and other major events resulting
  in significant loss of life or property damage can help states and local
  communities plan for such events in the future, with the goal of preventing
  them if possible, but at least minimizing the extent of the damage they cause to
  persons and property.
           For example, formal study and analysis of an event like Sandy Hook may
  reveal how the shooter entered the building; whether he was allowed entry

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  voluntarily or by force; whether surveillances cameras existed and, if so, where
  they were located and what events they captured; whether classroom doors
  could be locked (and whether they were locked), etc. The preparation of formal
  after-action reports of major events will help ensure that states and
  communities have the most current information about, and are aware of the
  best practices for planning and responding to, such events.
  RECOMMENDATION NO. 25. Require the Department of Emergency Services
  and Public Protection, Division of State Police, in conjunction with the
  Connecticut Police Chiefs Association, to develop and conduct joint regional
  exercises of planned responses to major events. Those agencies should also
  review all existing policies concerning planned responses to active shooters.
  The review should focus on the best practices for disrupting active shooters as
  rapidly as possible.
           Rationale. The development of a plan for addressing major events, such
  as     the     Capitol     Region   ―Blue    Plan‖   discussed   in   connection   with
  Recommendation No. 21, is only a first step toward improving law enforcement,
  fire and emergency management response to events like Sandy Hook and other
  manmade and natural disasters.              Any plan must be tested.    Testing serves
  multiple purposes. For example, it reveals potential weaknesses in the plan,
  which can be addressed through revisions to the plan. Testing also serves a
  critically important joint training function.         Events like Sandy Hook require
  local law enforcement and State Police to work collaboratively. Joint training
  exercises will help ensure effective collaboration during actual events.
           Any response plan should also reflect best practices. Accordingly, the
  Commission recommends that the Department of Emergency Services and
  Public Protection and the Connecticut Police Chiefs Association jointly review
  all existing policies concerning response to active shooters to ensure that they
  reflect best practices, particularly with respect to disrupting active shooters as
  quickly as possible.



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  RECOMMENDATION NO. 26.                   Expand incident training at Police and Fire
  Academies in Connecticut.
           Rationale. Although the Commission hopes that most law enforcement
  officers and firefighters will never have to face an event like Sandy Hook,
  training in how to respond to and manage such events should be part of the
  curriculum at the state‘s police and fire academies to better prepare First
  Responder graduates for major events, should they occur.
  RECOMMENDATION NO. 27.                  Create a statewide working group to address
  first responder mental health issues.
           Rationale.        First responders face particular challenges in their jobs.
  Those challenges have the potential to adversely affect first responders‘ mental
  health, which in turn adversely affects their ability to perform their jobs
  effectively.
  RECOMMENDATION NO. 28.                   Create and publish a Statewide Donations
  Management Plan for incidents of statewide consequence. This could be done
  through Connecticut Care, which was established by P.A. 13-275.
           Rationale.        In the days and weeks after the Sandy Hook tragedy, the
  Town of Newtown, Connecticut was inundated by gifts from well-meaning
  people around the country, indeed the world, who hoped the gifts would
  provide some comfort to the grieving families and members of the community
  in general.         Delivery trucks, even tractor-trailers, filled with items such as
  stuffed Teddy Bears essentially dumped these gifts on the Town, which was ill-
  equipped to distribute or store them.
           C.       Gun Violence Reduction Strategies
  RECOMMENDATION NO. 29.                  Programs should be developed that focus on
  violence reduction through the educational process or other entities.
           Rationale.        When people feel that their concerns are being heard and
  addressed by a community that cares, such individuals are less likely to resort
  to violence as a solution to their problems.



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  RECOMMENDATION NO. 30.                    Alcohol awareness programs should be
  included at appropriate points in the K-12 curriculum.
           Rationale. Alcohol is the single most prevalent substance associated with
  violent crime.             Decreasing illegal alcohol consumption by minors and
  increasing the responsible use of alcohol by persons of legal age to consume it
  will reduce the number of violent crimes.          The state should develop and
  support educational programs intended to increase student understanding of
  the dangerous effects of alcohol consumption, including cognitive impairment.




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                                    PART THREE

  FINDINGS AND RECOMMENDATIONS OF THE MENTAL HEALTH
   WRITING GROUP, AS ADOPTED AND APPROVED BY THE FULL
                       COMMISSION
  I.       INTRODUCTION
           This report now turns to matters surrounding mental health and the
  larger behavioral health system, topics on which the Commission heard
  extensive testimony over multiple hearings.           A distinguished group of
  clinicians, scholars, government officials, advocates and consumers testified on
  various aspects of our existing systems of care for children, adolescents and
  adults; others submitted written testimony.        While much of the material
  brought before the Commission addressed elements of the systems at work in
  Connecticut, as well as the experiences of individuals and families navigating
  those systems, the discussion below has broader relevance for mental health
  across the country and beyond.
           As with the rest of this report, we begin with the events of December 14,
  2012 to ascertain whether and how inadequacies in existing systems may have
  contributed to or exacerbated the terrible losses experienced that day.      This
  section, however, differs from our discussions of school security and law
  enforcement issues in several key respects. First, while it has been clear from
  the beginning that the shootings of 20 first graders and six educators at Sandy
  Hook Elementary School would have implications for school security and
  infrastructure as well as for law enforcement and the regulation of firearms, it
  has been far less clear exactly how these tragic events would intersect with
  issues related to the mental health system. This is especially so in light of the
  fact that almost no details about A.L.‘s mental health history emerged until
  nearly a year after the shootings, and a more complete picture did not take
  shape until the final months of 2014.        Second, behavioral health and the
  systems that address it comprise an enormous, and enormously complex,
  subject. Third, with the shooter and the person closest to him – his mother –
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  also deceased on December 14, 2012, much remains unknown about the state
  of his mind and his mental health in the months leading up to the shootings.
  Governor Malloy included a close examination of mental health and its systems
  of care among his charges to this Commission, and Commission members have
  embraced the opportunity to confront aspects of the behavioral health system
  that bear on the events of December 14 while possessing broader relevance.
  Below, we advance carefully considered recommendations for improvements to
  existing models of care and funding structures, problems of stigma and
  community safety, and recovery efforts following traumatic events.
           The young man responsible for the tragic events of December 14, 2012
  was, without a doubt, deeply disturbed.                 As noted earlier, this Commission
  lacked       direct        access   to   records   documenting    his   developmental     and
  educational history and had to glean that information from sources in the
  public domain. These sources included the Connecticut Police Report released
  in December of 2013 and State‘s Attorney Stephen Sedensky‘s summary of that
  investigation, both of which were heavily redacted, as well as journalistic
  accounts and, most recently, the report issued by Connecticut‘s Office of the
  Child Advocate, ―Shooting at Sandy Hook Elementary School.‖                        The Child
  Advocate‘s         report,     released    on   November    21,   2014,   offers   the   most
  comprehensive, detailed and thorough examination of A.L.‘s troubled life and
  the struggles faced by his family to meet his needs. Its purpose was to review
  the circumstances that predated his commission of mass murder on December
  14, 2012 and to issue any recommendations for improvements in the systems
  critical to children‘s developmental, educational and behavioral health that
  flowed from this review. The report identifies many points over the course of
  his life when his needs and impairments went unrecognized, underappreciated,
  or underserved by the systems with which he had contact.                           Ultimately,
  however, the report emphasizes that no distinct causal lines can be drawn
  between his experiences – even if in hindsight we can say that they reflected



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  systems failures – or relationships and his decision to take the lives of children
  and educators at Sandy Hook Elementary School.
           This Commission‘s charge was different.                    Rather than mine one
  individual‘s life and interactions with particular systems for insights into how
  those systems can better serve the state‘s children, we were assigned the task
  of    studying        the      systems    themselves.      Our     work   is   therefore   fully
  complementary with the work of Connecticut‘s Child Advocate and our own
  report incorporates by reference the findings and recommendations advanced
  in hers. It is important to acknowledge here that the extensive discussion of
  mental health in which we engage below might be taken as support for the
  belief that mental illness drove A.L. to commit mass murder at Sandy Hook
  Elementary School, and that effective treatment of this illness – whether forced
  on him or undertaken voluntarily – would have prevented the violence.
  Although         he        clearly   suffered   from    profound   mental,     emotional   and
  developmental challenges, nothing in the records addressed by the Child
  Advocate‘s report establishes a causal role for mental illness in A.L.‘s crimes.
  Experts who contributed to that report found insufficient evidence to suggest
  that he would have qualified for a psychotic illness. He did appear to suffer
  from severe anxiety with obsessive-compulsive features and possibly from
  Obsessive-Compulsive Disorder, as well as from depression.                       He had been
  diagnosed with an autism spectrum disorder based on difficulties with
  communication, sensory sensitivities and rigidity that emerged at a very early
  age, and he received the post-mortem diagnosis of anorexia. Nonetheless, a
  narrow understanding of mental illness cannot fully account for the challenges
  facing this young man.
           Similarly, the Commission recognizes that a narrow understanding of
  mental health remains insufficient to identify what could have been done to
  improve A.L.‘s chances of living a functional, nonviolent life. His problems and
  the challenges encountered by his family were multifaceted and not reducible
  to any particular category of psychiatric illness.                 In addition, although the

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  Lanza family was fortunate enough to have financial resources that permitted
  them access to potentially helpful evaluation and treatment services, those
  resources proved insufficient to ensure that his complex needs were adequately
  met or to protect against increasing social isolation.       The discussion that
  follows takes as its premise the idea that mental health is not merely the
  absence of mental disorder. Instead, mental health must be conceived more
  broadly to embrace social, emotional and behavioral health and wellness.
  Available evidence strongly suggests that A.L.‘s life and the lives of those close
  to him, particularly his mother‘s, were increasingly characterized by a lack of
  well-being.         According to the World Health Organization, mental health is
  defined as ―a state of well-being in which every individual realizes his or her
  own potential, can cope with the normal stresses of life, can work productively
  and fruitfully, and is able to make a contribution to her or his community.‖
  World Health Organization.          (2014). Mental Health: A State of Well-Being.
  Retrieved from http://www.who.int/features/factfiles/mental_health/en/. The
  framework of wellness or well-being also has direct relevance to A.L.‘s actions
  and their impact on his victims and the broader community. Hence the task of
  the programs, policies and services that make up our mental health system
  must include not only the identification and treatment of mental illness but
  also the promotion of social, emotional and psychological wellness throughout
  the lifespan.
           This section first addresses the mental health system that currently
  exists. It begins by proposing essential elements for an effective system that
  promotes mental health across the lifespan. These include comprehensive and
  coordinated systems of care in which behavioral health and physical health are
  understood as highly interrelated, are given equal priority, and are part of a
  holistic approach to wellness that sees the individual in the context of the
  family and broader community. This approach must traverse payment systems
  and must form part of a concerted focus on healthy child development.
  Schools are essential players in this approach, both as sites for prevention,

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  early intervention and the delivery of services and as learning communities
  where social and emotional health come to be seen as essential to the process
  of educating young members of a just and caring society.
           It then considers the barriers that impede access to quality care in our
  current system. We first examine our fragmented payment structure, which
  undermines care coordination and consistency, denies care to many who most
  need it, and limits care for reasons that often have little to do with its clinical
  justifications or efficacy. Our analysis identifies deficiencies in both the public
  and private systems of care and calls for increased integration to make
  effective, clinically indicated services and evidence-based community programs
  available to children and adults, regardless of economic status.         We then
  address the ongoing burdens of stigma and discrimination that afflict the
  system and its participants, while deterring many in need from pursuing
  behavioral health services. Carefully considered efforts to diminish the stigma
  that attaches to mental disorder and its treatments must play a central role in
  systemic reform.
           Following our analysis of systemic barriers that currently frustrate
  access to quality care and related recommendations, this section turns to
  issues that implicate potential conflicts between values at the core of our social
  order: interests in individual privacy and autonomy on the one hand, and
  community safety on the other.           An overarching theme of these final
  subsections holds that these individual and community interests should be
  viewed as overlapping rather than opposed. First we examine central laws and
  policies that govern matters of privacy, confidentiality and community safety in
  the domain of mental health treatment, making recommendations that
  preserve the existing balance while calling for clarification in areas that might
  frustrate the timely provision of needed care. We then take up the vexing topic
  of violence. Unthinkably violent episodes such as the Sandy Hook shootings
  represent not only a loss of precious lives but also a profound disruption of the
  basic human need for safety and security, which is critical to adults and

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  absolutely essential to children. There is little comfort to be taken from any
  explanation following such an event, but somehow it seems easier to believe
  that the source of such horror lies in an individual‘s pathology, in a condition
  that could be cured or contained if adequately identified, than in more
  indeterminate values and practices that shape our entire culture.           While
  discerning no clear answers to the question of what role A.L.‘s behavioral
  health challenges played in the violence he ultimately inflicted, the Commission
  nonetheless turns its attention to what we have learned about the role of
  mental disorder in violent events.     We review and synthesize the available
  research on the topic, identify relevant risk factors for violence and offer
  recommendations for ways to address those risk factors in order to promote
  mental health, diminish the suffering associated with untreated mental illness,
  and enhance the community‘s experience of safety.
           Finally, this section proposes specific steps that communities and
  schools should take to buttress their members‘ resilience and equip them to
  care for one another and themselves in the face of trauma and loss. When a
  disaster event occurs, whether due to intentional violence or a terrible accident
  or a phenomenon of nature, its impact on individuals and communities can be
  devastating and can persist far beyond the immediate aftermath.              Our
  contention is that, while it is not yet possible to prevent such events from
  taking place or to insulate people from the suffering that ensues, there is much
  that governments, schools and other institutions can do to facilitate an
  effective and humane response. A carefully planned and coordinated response
  will help to reestablish a critical sense of security, ensure that needed services
  become available immediately and remain so for as long as necessary, and
  promote community-wide recovery. Unfortunately, experiences of trauma and
  loss afflict children, families and communities in ways that extend far beyond
  large-scale crises, and many of our recommended measures are germane to
  such experiences as well as to relatively rare disaster events.



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           For each topic, we first offer a detailed analysis of the relevant issues and
  then identify the Commission‘s key findings and recommendations.                 Our
  analysis draws on the testimony presented to the Commission in both oral and
  written form, as well as on the expertise of Commission members and on
  additional resources available in the public domain. Our goal in this section is
  to take a close look at the concrete systems, funding structures and programs
  in place to provide mental health services, as well as the laws, policies and
  attitudes that impact mental health, in order to ascertain how we can best
  promote the well-being and resilience of children, adults, families and
  communities.
  II.      MODELS OF CARE
           A.       Analysis: Reforming The System

           Despite the existence of a broad array of potentially helpful treatment
  modalities and services and the efforts of dedicated and skilled professionals,
  our behavioral health system as a whole fails too many children and adults in
  need.      Indeed, in testimony offered to the Commission and in a variety of other
  venues, experts and participants at all levels persistently describe our mental
  health system as ―broken.‖          Among the system‘s major shortcomings, a
  disproportionate focus on the etiology and symptoms of illness rather than the
  conditions conducive to health greatly limits its efficacy and reach.         Mental
  health extends significantly beyond the management of mental illness. Yet for
  much of the past century, mental health care has remained largely reactive
  instead of proactive. Our narrow approach to mental health care has generally
  confined strategies to screening, referral and treatment for mental illness. Just
  as physical health entails more than the mere absence of disease, however,
  mental health encompasses overall psychological, emotional and social well-
  being.        Achievement of such well-being demands a more comprehensive
  approach that prioritizes the promotion of mental health as well as the
  treatment of mental disorder. While it is critical that we have effective systems
  in place to identify and treat mental illness, such systems remain insufficient
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  to promote true mental health. Instead, we must build systems of care that
  actively foster healthy individuals, families and communities. Leading sources
  suggest that nearly one-quarter of the U.S. population suffers from a
  diagnosable mental disorder in any given year and up to half of us will struggle
  with mental health challenges during our lifetimes. If we include substance use
  disorders the numbers increase significantly, with an estimated 32% of
  Americans experiencing a behavioral health challenge every year. Many of these
                                            disorders   emerge     in    childhood    or
    “Mental health is defined as a state
                                            adolescence. Approximately half of young
    of well-being in which every
    individual realizes his or her own      people qualify for some behavioral health
    potential, can cope with the normal
    stresses of life, can work              diagnosis by the time they reach 18, and at
    productively and fruitfully, and is     least one in five youths meets criteria for a
    able to make a contribution to her or
    his community.”                         lifetime mental disorder that is associated
                                            with    severe   distress   and     impaired
    World Health Organization. 2014.
    Mental Health: A State of Well-Being.   functioning. Merikangas, K. R. et al. (2010).
    Retrieved from http://www.who/int/
                                            Lifetime Prevalence of Mental Disorders in
    features/factfiles/mental_health/en
                                            U.S. Adolescents: Results from the National
  Comorbidity Survey Replication-Adolescent Supplement (NCS-A). Journal of the
  American Academy of Child & Adolescent Psychiatry, 49(10), 980-989.                 As
  detailed later in this report, our current behavioral health care systems remain
  woefully fragmented, underfunded and tainted by stigma.                These systems
  inadequately serve the millions of Americans suffering from a diagnosable
  mental disorder each year, many of them children and adolescents.
           Examined through the lens of illness, the numbers are sobering.
  Examined through the lens of wellness, though, they are truly disheartening.
  According to the Centers for Disease Control and Prevention (CDC), ―only about
  17% of U.S. adults are considered to be in a state of optimal mental health.‖
  Centers for Disease Control and Prevention. (2013). Mental Health Basics.
  Retrieved from http://www.cdc.gov/mentalhealth/basics.htm. The foundation
  for optimal mental health is established in infancy and is reinforced through

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  childhood and beyond. Our systems of behavioral health care serve the goal of
  wellness promotion even less effectively than they do the goal of treating mental
  disorder. The Commission advocates a comprehensive, integrated approach to
  mental health that prioritizes healthy child development, which in turn
  requires healthy families and caring, resilient communities.
                    1.       Laying the groundwork for lifelong mental health
           Research in the social, behavioral and life sciences has firmly established
  the centrality of early childhood to healthy brain development.                As Harvard
  University‘s Center on the Developing Child explains, ―[e]arly experiences affect
  the development of brain architecture, which provides the foundation for all
  future learning, behavior, and health. Just as a weak foundation compromises
  the quality and strength of a house, adverse experiences early in life can impair
  brain architecture, with negative effects lasting into adulthood.‖ Center on the
  Developing         Child     at   Harvard   University.   (2015).   Key   Concepts:   Brain
  Architecture. Retrieved from http://developingchild.harvard.edu/key_concepts
  /brain_architecture/.html/.
           But even a rough beginning does not condemn a child to a lifetime of
  illness; rather, childhood offers multiple opportunities to develop the
  psychological, emotional and social resources necessary for resilience. We as a
  society must endeavor to provide the conditions within which all infants and
  children can form positive, secure attachments; know that their basic needs for
  food, shelter and love can be met; receive competent and developmentally
  appropriate health care; take advantage of educational opportunities to
  cultivate social and emotional as well as cognitive capabilities; and access
  effective support and treatment services for any behavioral health challenges
  that may emerge.
           Our current systems fail many children and youth who are at risk for
  developing behavioral health disorders. Later portions of this report address
  some of the barriers that frustrate access to effective mental health care. But
  even where services to treat the symptoms of mental illness are available, these

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                                                                              work     –     if     at    all    –
      “What is a picture you get in your head of a child who struggles        primarily           for    people
      with mental health, a child who needs mental health services?
      In response to recent calls for a registry of those with mental         with     existing          mental
      health issues, I’ve taken to saying, well, we do a census every
                                                                              health               diagnoses,
      ten years, let’s just use that because mental health is a
      continuum, and nearly all of us will struggle with our mental           offering very little in
      health at one point in our lives. Some of us will struggle more
      severely or more often than others, but few will never struggle         the          service              of
      at all. When we, as a society, continue to think of those with          prevention.                       In
      mental health issues as an us vs. them instead of thinking of
      mental health as a we, fear and ignorance win. And fear and             addition, most existing
      ignorance lead to shame, denial and bullying on an individual           programs and services
      level and lack of appropriate services, funding and supports on a
      systemic level.”                                                        are     structured            and
                                                                              financed in ways that
      Abby Anderson, Co-Chair, Children’s Committee of The Keep the
      Promise Coalition, Executive Director, CT Juvenile Justice              deny         continuity           of
      Alliance, testimony before the Sandy Hook Advisory
      Commission, April 12, 2013.                                             care.     What we need
                                                                              instead is a holistic
  approach that will follow children from birth to adulthood, identifying risk
  factors, reinforcing protective factors, and promoting positive development
  throughout. This approach must include peer as well as professional support
  and must direct services toward prevention as well as treatment.                                  It should
  embrace         system-of-care      principles,      including          greater    coordination           and
  efficiency of care, community partnerships, inclusion of families and youth as
  collaborators and decision-makers, and incorporation of evidence-based
  practices as an organizing framework. The Commission endorses an integrated
  model of health care that consolidates primary/pediatric and behavioral health
  in a medical home. This model should be family-centered and attuned to the
  environmental contexts in which families exist.                         Although a comprehensive
  developmental approach begins in the earliest moments of life, our behavioral
  health system more generally must address the needs of individuals, families
  and communities across the lifespan.
           The earliest years of a person‘s life lay the groundwork for future
  wellness.        Even if that person faces behavioral health challenges in later

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  childhood or beyond, a strong early foundation can help the person gain the
  tools necessary to weather such challenges and enjoy a healthy, fulfilling and
  productive life. A weak early foundation, on the other hand, can render the
  person more susceptible to behavioral health problems and diminish the
  resources available to support recovery. The comprehensive, integrated model
  of health care that the Commission supports is essential to reducing the
  psychological and biological stressors related to experiences of trauma, violence
  and grief, to stabilizing the health of families, and to promoting the resilience
  necessary for positive development. Its promotion of mental health and overall
  wellness must address the unique needs of babies and young children as well
  as those of school-aged children, adolescents, young adults and older adults.
  Our systems of care must afford access to age-appropriate programs and
  services across the lifespan.
                    2.       Treating the whole person and the whole family
           For children and adults alike, physical and emotional health are so
  deeply interconnected that the separation of one from the other compromises
  both. A recent policy brief by the Robert Wood Johnson Foundation called ―Are
  the Children Well? A Model and Recommendations for Promoting the Wellness
  of the Nation‘s Young People‖ notes that such separation, ―which is not
  supported by science, is usually the result of custom and convenience, and
  contributes to inequities in services and the social marginalization of affected
  individuals.‖ .‖ Murphy, D. at al. (2014). Are the Children Well? A Model and
  Recommendation for Promoting the Mental Wellness of the Nation’s Young
  People.                Retrieved     from     www.rwjf.org/content/dam/farm/reports
  /issue_briefs/2014/rwjf414424.
           At present, our physical and behavioral health care systems largely
  function independently, without real coordination or integration.              Existing
  mechanisms for financing health care have reinforced the barriers between
  these systems.             One persistent problem has been the existence of mental
  health carve-outs, separate benefits packages and/or funding mechanisms for

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  mental health and substance abuse services, detached from other health care,
  which emerged in the 1970s and 1980s as part of managed care‘s effort to rein
  in the rising cost of health care. Widely adopted in both private and public
  insurance programs, including Medicaid managed care, these carve-outs have
  contributed to fragmented and inefficient systems that serve most Americans
  poorly, particularly children.             Although rare examples such as Connecticut‘s
  Behavioral Health Partnership have achieved a more integrated approach to
  behavioral health services through a funding mechanism distinct from other
  health benefits, in general carve-outs have served individuals and communities
  poorly.
           The longstanding bifurcation of care between physical and mental health
  exacerbates the incidence and severity of illness and potentially contributes to
  other social problems. Our bodies and minds cannot be so easily separated.
  Physical ailments are frequently accompanied by psychological, emotional and
  social difficulties, and people who
  struggle        with        behavioral     health        “Only a third of people with mental health
                                                           problems access care in a timely manner,
  challenges are especially prone to                       and there are significant human and
  suffer       from          disease   and    even         economic costs to poor access and to care
                                                           that is not effective or is not as effective as it
  premature death.               Yet in a system           could or should be. And just as an example
                                                           of that, people with severe emotional or
  that addresses mental and physical
                                                           mental health issues tend to live much
  health separately, these connections                     shorter lives than their peers.”
  remain unlikely to be identified or                      Gary Steck, CEO, Wellmore Behavioral
  addressed.           In particular, primary              Health, testimony presented to the Sandy
                                                           Hook Advisory Commission, April 12, 2103
  care providers have not historically
  received the training, support or financing to attend to their patients‘ mental
  health. Our health care delivery systems and reimbursement paradigms must
  embrace a holistic approach to health that treats the whole person.
           Just as our behavioral and physical health care systems generally exist
  in separate silos, within the behavioral care system additional silos exist for
  different populations based on age, employment, socio-economic status,

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  involvement with the criminal justice system, diagnosis and other factors. The
  Commission heard repeatedly about the extent to which our private and public
  systems create different points of entry and afford access to disparate programs
  and services. A pervasive lack of integration within and between systems leads
  to gaps in care, potentially duplicative care, and inappropriate cost-shifting. It
  is clear to the Commission, and to many others who have studied these issues,
  that better integrated systems of care are critical to both the effective treatment
  of mental illness and the successful promotion of psychological, social and
  emotional wellness among children, adults and communities. Recent findings
  by the Task Force to Study the Provision of Behavioral Health Services for
  Young Adults,13 established after the Sandy Hook shootings pursuant to P.A.
  13-3, identify critical shortcomings in Connecticut‘s overall system of
  behavioral health care for children, adolescents and young adults that fail
  individuals, families and the State of Connecticut. Key shortcomings include
  inadequate identification of behavioral health problems early in children‘s
  development, workforce deficits – encompassing insufficient numbers of
  providers qualified to address the behavioral health care needs of children and
  young adults and inadequate training in evidence-based evaluation methods
  and treatments for the existing provider community – and pervasive system
  fragmentation.
           A recent issue brief on integrated physical and behavioral health care
  from the SAMHSA-HRSA (the federal Substance Abuse and Mental Health
  Services Administration and Health Resources and Services Administration)
  Center for Integrated Health Solutions provides a useful schema for thinking
  about possible models of care integration. This schema reflects a continuum of
  integrated services ranging from discrete behavioral and physical health care


  13 See http://www.cga.ct.gov/ph/tfs/20130701

  _Task%20Force%20to%20Study%20The%20Provisions%20of%20Behavioral%20Healt
  h%20Services%20For%20Young%20Adults/Final%20Report%20for%20the%20Task%
  20Force%20to%20Study%20the%20Provision%20of%20Behavioral%20Health%20Serv
  ices%20for%20Young%20Adults.pdf
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  systems and settings to blended ones. On one end are models of coordinated
  care involving either minimal collaboration or basic collaboration at a distance
  between primary and behavioral health providers. In the middle are models of
  co-located care, where physical proximity between providers who share the
  same       facility        facilitates   more    regular   communication   and     potential
  collaboration. At the other end, fully integrated care entails teams of primary
  and behavioral health providers who seek solutions together and eventually
  function in a fully merged practice that treats the whole patient. SAMHSA-
  HRSA Center for Integrated Health Solutions. (2013). A Standard Framework
  for        Levels           of      Integrated      Healthcare.        Retrieved       from
  www.integration.samhsa.gov/integrated-care-models/A_Standard
  _Framework_for_Levels_of_Integrated_Healthcare.pdf. We must transform our
  fractured, siloed system of health care services into one that embraces care
  coordination at minimum with a longer-term goal of more complete integration.
  An integrated system can best treat the whole person, support the whole family
  and successfully promote true mental health.
           In addition, the Commission endorses a model of health care that
  integrates pediatrics and behavioral health in ways that are specifically family-
  centered and attuned to the environmental contexts in which families exist.
  We must enhance existing medical models of health care services by
  incorporating findings from neuroscience, child development, family systems
  and public health on topics such as toxic stress and the lasting effects of
  trauma and loss on the mind, body and spirit. To treat the whole person and
  cultivate wellness across the population, our health delivery systems and
  reimbursement paradigms should embrace a biopsychosocial model.                        First
  proposed by psychiatrist George Engel in the late 1970s, the biopsychosocial
  approach departs from an exclusively biomedical model of human health by
  presuming that the science of medicine ―must include the psychosocial
  dimensions (personal, emotional, family, community) in addition to the
  biological aspects (diseases) of all patients.‖ Smith, R. C. (2002). The

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  Biopsychosocial Revolution: Interviewing and Provider-Patient Relationships
  Becoming Key Issues for Primary Care. Journal of General Internal Medicine,
  17(4), 309-310. A biopsychosocial approach treats the whole person in his or
  her social context and is by definition a model of integrated care.
           Medical and behavioral health practitioners must work as partners in
  addressing the holistic needs of individual children and adults in the context of
  their family systems. Providers that integrate both physical and mental health
  services – either through their own care delivery or through integration of
  services within a medical home model – should be adequately compensated.
  Funding paradigms that promote holistic health care will help to incentivize
  care integration.          Although more focused mental health treatment for acute
  and chronic conditions will remain a necessary component of an integrated
  system, the continued carving out of behavioral health services from primary
  health care is generally counterproductive. While primary care providers who
  accept Medicaid can seek reimbursement for behavioral health screenings,
  coverage for such screenings is often not available through other funding
  mechanisms and reimbursement for interventions and treatment by primary
  care providers is particularly lacking. Funding and care delivery mechanisms
  that promote wellness models focused on the whole person offer the only clear
  path to community health.
           Positive child development requires access to effective health care,
  including programs and services associated with behavioral health, but our
  obligations to children do not end there.         We must help children learn pro-
  social skills and strategies to cope with distress, loss, frustration, and
  disappointment.            We need to ensure that children have sustained and
  meaningful relationships with caring adults, including supportive and
  nurturing relationships in schools, other sites of child congregate care, and
  throughout our communities. We need to take deliberate action when we see a
  paucity of such relationships. We need to make concerted efforts to minimize
  children‘s exposure to adverse events that might compromise healthy

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  development, rather than providing ourselves with the false reassurance that
  children in situations of chronic community violence or poverty get ―used to it.‖
  We need to actively promote healthy communities and resilience, rather than
  assuming these will take shape on their own. We need to nurture a positive
  future outlook, creativity, inquiry, and a sense of mastery in our children. We
  have to view healthy child development as an active process and not just an
  inevitable product of the passage of time.
           Treating mental health as the absence of mental illness works no better
  than treating physical health as the absence of physical illness.       We need
  instead to promote healthy ways of living, encourage the adoption of health-
  promoting habits (such as healthy eating, exercise, stress reduction, etc.), and
  help children learn how to – and want to – avoid risky behaviors. We must help
  them develop the resilience they will need to flourish through adversity.     In
  addition, we must communicate clearly to children and adults across the
  lifespan the centrality of psychological and emotional health to overall well-
  being.
                    3.       Family-centered care
           The fragmented nature of Connecticut‘s care delivery system imposes
  significant burdens on children and families.      Even if families are fortunate
  enough to connect with a primary care provider who can perform a
  comprehensive assessment and offer needed referrals, they may be at sea when
  it comes to navigating other essential programs and professional services. To
  attend to the needs of their developing children, many families must negotiate
  multiple systems, including a primary care office; a behavioral health clinic;
  birth-to-three services; and whatever school services are available.    Families
  have largely been left to manage these on their own, a process that creates
  confusion and compounds isolation.




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           While some progress has been made
  in Connecticut, such as the expanding                        “Our system is broken. It is broken
                                                               for children. There is nothing that is
  availability of home- and community-based                    working for these kids and their
                                                               parents. Their parents don’t know
  behavioral health services for youth and
                                                               where to turn.”
  their     families,        several   issues   remain
                                                               Kim Pernerewski, NAMI-CT,
  unresolved.         Currently there are multiple             testimony presented to the Sandy
  eligibility categories for children based on                 Hook Advisory Commission, March
                                                               22, 2013.
  poverty,         custody,      un-insurability        or
  disability. Children often move from one eligibility category to another due to
  changing         family     circumstances,    further      fragmenting        potential      support
  structures and creating major disruptions in their behavioral health care. In
  addition, providers must manage several contracts, authorization procedures,
  eligibility     systems,      payment    structures,       utilization     criteria    and      billing
  procedures for essentially the same or a similar population of youth.                                 The
  current fee-for-service payment structure further maintains the ―silo‖ funding
  that creates resource inefficiencies and erects barriers for families.                         It also
  establishes disjointed delivery systems that do not require all providers to
  engage in the collaborative process of family-centered practice and planning
  that state agencies serving children and youths are committed to delivering.
           A comprehensive developmental model of mental health has many
  advantages over the siloed approach that has prevailed in Connecticut and
  beyond. By prioritizing the prevention of disease, the mitigation of factors that
  contribute to illness, and the promotion of resilience, the developmental model
  addresses problems before they disrupt the life course of individuals or the
  welfare of the community. It reaches more than just severe or even episodic
  mental illness, but psychological, emotional and social well-being more
  generally.       This model emphasizes all aspects of healthy child development,
  including social, emotional, physical and cognitive development.                           With the
  rapid brain growth that occurs in early childhood, efforts to promote the
  conditions for healthy development in the first years of life are likely to promote

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  mental health more effectively than treating problems later in life. Center on
  the    Developing          Child   at   Harvard    University.   (2007).   A    Science-Based
  Framework for Early Childhood Policy: Using Evidence to Improve Outcomes in
  Learning, Behavior, and Health for Vulnerable Children.                        Retrieved from
  http://developingchild.harvard.edu/index.php/download_file/-/view/63/.
  Critically, these conditions include a healthy family in which positive
  attachment develops between children and their caregivers.
           Multiple risk factors that affect families, particularly poverty, family
  instability and violence, can create the sort of acute and persistent stress that
  damages the architecture of the developing brain. Child development experts
  have labeled such stress ―toxic‖ because its activation of the body‘s stress
  response systems, without adequate protections, can wreak severe and lasting
  damage on many organs of a child‘s body. High and persistent levels of stress,
  particularly where healthy attachments are absent, disrupt neural circuits and
  weaken a child‘s foundation for learning and future health, potentially
  impacting not only the individual child but future generations as well.                   To
  promote healthy child development and foster robust communities, our
  systems of care must attend to the factors affecting family welfare.                   These
  include an ability to meet the family‘s basic needs, something we must address
  if we are to provide services in ways that are supportive, compassionate and
  preserving of dignity.
           Recent research has established that the experience of chronic and
  potentially toxic stress profoundly affects children‘s well-being, including their
  susceptibility to disease and mental illness. One large-scale study, an ongoing
  collaboration between the Centers for Disease Control and Prevention in
  Atlanta, GA and Kaiser Permanente in San Diego, CA, has persuasively linked
  what the study dubs ― adverse childhood experiences (ACEs) to lifelong health
  and social consequences. Centers for Disease Control and Prevention. (2014).
  Injury prevention & control: Division of violence prevention.                  Retrieved from
  http://www.cdc.gov/violenceprevention/acestudy/; Health Presentations. The

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  adverse            childhood   experiences     survey.        Retrieved      from
  http://acestudy.org/home. Conducted by Doctors Vincent J. Flitti and Robert
  F. Anda, this study examined 17,000 middle-class Kaiser Permanente Health
  Plan members in the San Diego area (80% white/Hispanic, 10% black, 10%
  Asian; 74% attended college; mean age 57) over fourteen years to determine
  each individual‘s current state of health and well-being in light of that person‘s
  early exposure to ACEs. The study illuminated the pervasiveness of traumatic
  experiences such as physical and sexual abuse, neglect, family violence, family
  substance abuse, and the loss of a parent in the lives of American children and
  drew a clear connection between adverse childhood experiences and chronic
  disease as an adult, as well as risk of other health, social and emotional
  problems. Most participants in the study reported at least one ACE, and the
  vast majority reported two or more.          The study also found that the more
  traumatic events a participant suffered in childhood, the higher that person‗s
  risk as an adult for disease, and social and emotional challenges. Felitti, V. J.,
  & Anda, R. F. (2010). The relationship of adverse childhood experiences to
  adult medical disease, psychiatric disorders, and sexual behavior: Implications
  for healthcare. In R. A. Lanius, E. Vermetten, & C. Pain (Eds.), The hidden
  epidemic: The impact of early life trauma on health and disease (pp. 77-87).
  Cambridge: Cambridge University Press.
           The Commission heard testimony from experts at Yale, UConn, and the
  National Child Traumatic Stress Network confirming the prevalence of
  traumatic stress in the lives of American children.      According to Dr. Julian
  Ford, Professor of Psychiatry at UConn Health Center, by age seventeen up to
  67% children have experienced some form of victimization and one in five have
  experienced at least four different types.14       The ACEs study and similar
  research establish a credible basis for a new paradigm of medical, public




  14 See http://www.governor.ct.gov/malloy/lib/malloy/SHAC_Doc_2013.04.26

  _Ford_presentation.pdf.
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  health, and social service practice that would start with a comprehensive
  biopsychosocial evaluation at the outset of ongoing health care.
           Whether or not factors such as severe economic deprivation or
  interpersonal violence afflict a family, the presence of mental health problems
  among family members can provide a source of significant stress.        A child‘s
  illness in particular may create ongoing stress for parents, siblings and other
  family members, impact personal relationships within the family, and threaten
  the family‘s overall health.         Stress on family members can invite other
  emotional and behavioral problems such as substance abuse, which in turn
  impact the development of children. An effective system of care must support
  families in managing the health care of their children.          Current funding
  structures, including fee-for-service payment and mental health carve-outs
  that maintain siloed funding and delivery systems, exclude holistic treatment
  of the family. Moreover, just as pediatric providers must approach children‘s
  care in the context of their families and broader communities, so too adult
  providers should treat parents in the context of their families. The Commission
  recommends cross-training of behavioral health and primary care providers
  that focuses on families‘ strengths and accepts the family as a partner in
  treatment.
           Most children fare best when their families take an active role in their
  health care. Family-centered systems of care must prepare families to become
  engaged, empowered and educated so that they can act as partners in
  children‘s care. Strategies to support families in managing the health care of
  their children should include incorporating families‘ input on multidisciplinary
  healthcare teams.          Professionals should assess a family‘s knowledge about
  behavioral health, the support systems available to the family, and the barriers
  to good health facing its members. To identify potential obstacles to effective
  treatment, clinicians should elicit families‘ beliefs about the use of various
  treatment modalities, including psychotropic medications and talk therapy.
  Negative perceptions of psychiatric medications, mental health professionals or

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  other aspects of behavioral health care may interfere with understanding of
  and/or adherence to recommended treatment.                 While such attitudes may
  reflect specific family dynamics, personalities and/or histories, particular
  beliefs about behavioral health and mental illness often have broader cultural
  significance in the communities from which families hail.             Systems of care
  serving children, adults and families must achieve cultural and linguistic
  competence to make appropriate services and supports available and relevant
  across a diverse population.             Cultural and linguistic competence is also
  essential to eliminating disparities in care and health outcomes.15
                    4.       Places of care: schools and communities
           Children exist within multiple social systems, and their needs can‘t be
  isolated from those of the systems in which they function.                 Schools in
  particular must be understood as integral to their communities; what happens
  at school directly impacts the surrounding community and what happens in
  the community affects its schools and their occupants. Schools must play a
  critical role in fostering healthy child development and healthy communities.
  They should provide learning tools geared toward positive development and
  serve as a locus for preventive care, early identification of behavioral health
  problems, effective treatment offerings, and referral to appropriate programs
  and services in the community. Healthy social development can be conveyed
  by role models such as parents, teachers, community leaders, and other adults
  in children‘s lives, but it can also – and should – be actively taught in schools.
  Our educational system has prioritized children‘s cognitive development at the
  expense of their social and emotional development, and this disproportionate
  focus on academic achievement threatens to become even more entrenched
  with the increasing centrality of standardized testing.               Research clearly
  demonstrates, however, that social and emotional learning (SEL) curricula have



  15 See Connecticut Children‘s Behavioral Health Plan, available at:

  http://www.plan4children.org/wp-content/uploads/2014/10/CBH_PLAN_FINAL-
  _2_.pdf.
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  a positive impact on children‗s development and actually enhance their
  academic progress.            Durlak, J.A., Weissberg, R.P., Dymnicki, A.B., Taylor,
  R.D., & Schellinger, K.B.           (2011). The Impact of Enhancing Students‘ Social
  and      Emotional         Learning:   A   Meta-analysis      of     School-based    Universal
  Interventions. Child Development, 82(1), 405-432. See also Schonfeld, D.J. et
  al. (2014). Cluster-Randomized Trial Demonstrating Impact on Academic
  Achievement of Elementary Social-Emotional Learning. School Psychology
  Quarterly.             Advance         online         publication.       Retrieved        from
  http://eds.a.ebscohost.com/ehost/pdfviewer/pdfviewer?sid=6f697340-6fcb-
  4143-b5ea-f14a180f5b08%40sessionmgr4001&vid=0&hid=4113.
             Social-emotional learning can help children identify and name feelings,
  including feelings such as frustration, anger and loneliness that potentially
  contribute to disruptive and self-destructive behaviors.                  It can also teach
  children how to employ social problem-solving skills to manage difficult
  emotions and potentially conflictual situations, avoid and prevent risky
  behaviors, and establish and nurture positive social relationships.
           Social-emotional learning should form an integral part of the curriculum
  from preschool through high school.                It works best when it is a pervasive
  component of the school environment that informs the culture of the school
  and the behavior of adult educators.               Too often school administrators and
  teachers view SEL as secondary to academic curricula, worrying that time
  spent on aspects of SEL will detract from students‘ academic achievement. As
  a result, even evidence-based SEL curricula are rarely included past the
  earliest grades, and where SEL is taught it rarely receives the time and
  attention it deserves.           All schools should implement a sequenced social
  development           curriculum.      This     curriculum    must     include   anti-bullying
  strategies and, as appropriate, alcohol and drug awareness as part of a broader
  substance          abuse      prevention      curriculum      for     school-aged     children.
  Comprehensive youth development can prepare young people to meet the
  challenges of adolescence and adulthood through a progressive series of

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  activities and experiences that foster social, moral, emotional, physical and
  cognitive growth.          In this context, a coordinated, comprehensive system of
  support services for all students ensures that their physical, social, emotional
  and health needs are met and their school environments are safe and orderly
  while also promoting their optimal academic development.
           While all students benefit from a concerted focus on social-emotional
  learning, for students struggling with mental health and/or developmental
  disorders inadequate supports for social and emotional wellness and a lack of
  attention to SEL can have particularly deleterious consequences. The recent
  report issuing from Connecticut‘s Office of the Child Advocate, which
  exhaustively chronicles and reflects on A.L.‘s educational, behavioral and
  developmental history, emphasizes the striking absence of social-emotional
  learning in his educational records. According to these records, A.L.‘s acute
  difficulties managing the social and behavioral demands of a school
  environment formed the basis for his placement on ―homebound‖ status
  beginning in the 8th grade, a disposition under Connecticut education law
  reserved for children deemed ―too disabled to receive services in school even
  with modifications and supports.‖         (OCA Report, 2014, p. 43.)   His parents
  sought, and eventually obtained, a doctor‘s recommendation that A.L. be
  exempted from attending school due to his debilitating anxiety. ―Homebound‖
  status differs from home schooling in that the latter represents a commitment
  by parents to provide an equivalent education outside of a school environment;
  in Connecticut school districts are not required to provide special education or
  other services to home-schooled children. A student on ―homebound‖ status,
  on the other hand, is by definition a child receiving special education services
  pursuant to an Individualized Education Program (IEP).
           Despite the centrality of social, emotional and behavioral health
  challenges to A.L.‘s identified disabilities, his IEP was directed almost
  exclusively toward supports for his academic progress.         For example, as his
  tenth grade year approached and educators involved in crafting his IEP aspired

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  to reintegrate him fully into high school classes, ―attention to A.L.‘s severe
  disabilities focused […] on curricular issues rather than on the social and
  emotional        characteristics       that   were   seriously     impacting      his    ability   to
  participate in a regular educational environment‖ (p. 64).                      Indeed, the Child
  Advocate‘s investigation concluded that ―[t]he absence of a plan to address
  A.L.‘s social-emotional issues with a program that was sufficiently intense and
  therapeutic likely contributed to a situation in which he eventually became
  increasingly withdrawn and socially isolated‖ (Id).
                                                       The Child Advocate‘s report makes
      “[W]e’ve got to be very careful,          clear, however, that this apparent neglect of
      because teachers, caregivers, police
      officers, judges, courts, child           social, emotional and behavioral health and
      welfare workers, pediatricians, all of    development        that     emerges       in     A.L.‘s
      us can think that there’s something
      wrong with them [children who             educational records is not unique to the
      have experienced traumatic stress].
                                                Newtown     schools,        but     rather      is   a
      There’s something wrong, but it is
      not something wrong with them.            widespread phenomenon related to resource
      They are trying to survive.”
                                                limitations and the misplaced segregation of
      Dr. Julian Ford, Professor of             academic    skills    from       other    aspects    of
      Psychiatry, UConn Health Center,
      testimony presented to the Sandy          development.              What      behavioral       or
      Hook Advisory Commission, April           developmental support services are available
      26, 2013.
                                                may be ―tightly rationed so that districts can
  serve many children with their allotted resources[,]‖ which may diminish still
  further under constrained budgets (p. 82).
           The social and emotional health of our students, particularly in low-
  income communities but also in more affluent ones, is frequently compromised
  by chronic stress. Such stress presents an ongoing problem in education that
  schools often lack the resources to address.                From bullying to interpersonal
  violence, substance abuse, parental loss and grief, many of our students and
  their families live under persistent and pervasive stress that interferes with
  learning and complicates the educational process.                       Schools should develop
  therapeutic         mentoring       programs,    particularly      for    youth    and       families

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  experiencing chronic stress. These programs should be designed with an eye
  toward those children and families who lack positive supports and connections
  in their lives.            Since schools are essential parts of their communities, it is
  neither possible nor desirable to view issues impacting children categorically as
  either ―community‖ or ―school‖ problems.                Children‘s experiences in their
  homes and communities follow them through the school doors, and their
  experiences in schools accompany them when they leave.                   Therefore it is
  paramount that what they learn, observe and encounter at school impact them
  positively as they return to their homes and neighborhoods. While it is also
  important to respect family privacy, we should not assume that parents do not
  want, or that children will not benefit from, supportive services provided in
  school settings to assist them in dealing with the challenges they face in their
  communities.
           School-based health services should be designed to provide screening
  and referral for developmental and behavioral health problems, exposure to
  toxic stress, and other risk factors, as well as effective treatment offerings to
  address trauma, loss and other stressors. Schools might also invite families to
  screen for potential stressors and offer resources to parents and other family
  members to manage and address their own stress and exposure to adverse
  experiences.         As detailed below in our discussion of response and recovery
  efforts following disaster events, all professionals working in school-based
  health centers and indeed throughout the schools must receive training in
  recognizing signs of trauma exposure, toxic stress and behavioral health
  challenges. To address the high cost of ACEs, Connecticut should build and
  support a collaborative system of care for children and families that starts with
  the schools. Schools, primary care and behavioral health providers should use
  similar standardized, validated screening and assessment tools to improve
  early identification and treatment of emotional and behavioral problems,
  including screening for adverse events and other likely causes of toxic stress.



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           Schools should partner with behavioral and pediatric health providers
  and other organizations providing care and support to children and families to
  enhance community resources and augment the services available in schools.
  For many children, however, schools offer the only real possibility of accessing
  services. School districts should therefore increase the availability of school
  guidance counselors, social workers, psychologists, and other school health
  and behavioral health professionals during and after the school day as well as
  potentially on Saturdays. School staff should be prepared to assist children in
  crisis and able to initiate a process that may lead to referral to appropriate
  additional services (whether within the school or within the community) for
  support and treatment when indicated.        This is not the same as training
  teachers and other school professionals who are not mental health providers to
  provide mental health treatment or therapy. Teachers of students facing loss
  can, for example, appreciate the impact of bereavement on children‘s learning
  and development, acquire strategies to bolster learning and adjustment for
  grieving students within the classroom and school setting, and offer empathy
  and support – all without being expected to provide grief counseling. They can
  become capable at identifying children who may benefit from additional
  support and knowledgeable about referral sources.       Teachers need a school
  leadership that encourages this role by promoting ongoing professional
  development in these areas and offering consultation with those more
  knowledgeable about these issues when teachers have concerns about their
  students. Our mental health system in turn must make resources available
  across the state to assist school professionals in supporting children.      The
  Commission therefore recommends that the State Department of Education
  establish a lead section or program on school mental health within its
  department to facilitate these activities. We also recommend that the Federal
  Department of Education develop a comparable department/program to
  provide guidance and facilitation to programs in individual states.



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           In addition, schools should form multidisciplinary risk-assessment
  teams that gather information on and respond supportively to children who
  may pose a risk to others or face a risk to themselves due to toxic stress,
  trauma, social isolation or other factors. These teams should look to factors
  such as social connectedness and behavioral changes in identifying children at
  risk rather than profiling them based on demographic characteristics, or other
  aspects of their identity in ways that contribute to stigma. We revisit the risk-
  assessment process later in this report when discussing the role of mental
  illness in violent events.
                    5.       Social isolation

           Although the Lanza family was fortunate enough to escape the kind of
  financial stress that afflicts so many American families, the severe impairments
  that emerged for A.L. as he moved through elementary school and beyond
  placed an enormous strain on his parents, particularly his mother. Indeed, the
                                                                 stress   of   managing      A.L.‘s
      “Nearly 20% of adolescents can be classified as            apparent        needs         and
      socially excluded (i.e., being ignored or excluded by
                                                                 limitations   led    his   mother
      others), an experience that most liken to “social
      death”. Research has found significant associations        down a path of isolation and
      between chronic social ostracism and participation in
      risk behaviors such as cigarette smoking, alcohol,         disconnection from the school
      and/or illicit drug use, higher levels of depression and   system and other community
      anxiety, peer victimization, and aggression up to and
      including school violence. Retrospective studies have      resources.          A.L.   himself
      reported that chronic social ostracism, especially
                                                                 became so isolated over the
      experienced during high school, is a risk factor for
      suicidal ideation and attempts during adulthood. In        course of his adolescence and
      short, social exclusion threatens psychological and
      behavior systems that are critical for normal
                                                                 young adulthood that by the
      adolescent development, health, and life-longevity.”       months before the Sandy Hook

      Richard Gilman, PhD, Professor, University of              shootings he spent virtually all
      Cincinnati Department of Pediatrics, Division of Child     of his time alone in his room,
      and Adolescent Psychiatry, Cincinnati Children’s
      Hospital Medical Center, written testimony submitted       his windows blacked out with
      to the Sandy Hook Advisory Commission
                                                                 garbage bags, communicating


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  with his mother solely by e-mail. While the isolation experienced by members
  of the Lanza family may have been unusually extreme, social isolation in
  general must be viewed as a pervasive public health problem.
           In recent years, scientists have established clear associations between
  social isolation and ill health, even linking loneliness to increased risk of
  premature death.            Paradoxically enough, in an age of social networking and
  nearly ubiquitous electronic connection, many American adults, children and
  families are experiencing unprecedented social isolation.            Such isolation can
  impact people across the lifespan, but it may present the greatest risks during
  adolescence and in the later years of life.             Adolescents in particular may
  become disengaged from their peers and communities due to behavioral health
  disturbances, bullying, and other circumstances, and their isolation may result
  from practices of exclusion perpetrated by their peers.
           We must educate parents and others about the dangers associated with
  social isolation.          But education alone is not enough.     In addition, we must
  build systems of care that include mechanisms and support structures to
  counter such isolation and offer opportunities for connection to isolated
  individuals and families.          In other words, systems of care must go hand-in-
  hand with communities of care.
           The Commission is concerned that certain decisions related to educating
  children outside of a school environment may in some cases exacerbate the
  risks of social isolation, particularly for those children with identified and
  pronounced           social,   emotional   and   behavioral   disturbances.     Although
  Connecticut in particular imposes very few regulatory requirements on parents
  who choose to home-school their children, and parents‘ rights to do so enjoy
  legal protection, the Commission finds that some home-schooled children with
  serious social, emotional and behavioral health difficulties may be cut off from
  needed services if their parents or guardians lack the resources, knowledge or
  motivation to provide support for healthy development in these areas.



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           Therefore the Commission recommends that each board of education in
  Connecticut ensure that all children with disabilities – including children with
  significant emotional, social and/or behavioral difficulties – who are in need of
  special education and related services in order to make adequate progress be
  identified and evaluated in accordance with the IDEA.         Without access to
  supportive services, home-schooling for children with severe social and
  emotional challenges may not adequately address those children‘s needs or
  help them develop the skills they will need to function in society.        Where
  parents elect to home-school a child with an identified disability, the home-
  schooled child should have an individual education program (IEP) approved by
  the special education director of the Area Education Agency and access to
  special education services. Currently, Connecticut law requires that parents
  who choose to educate their children at home or outside of the public school
  system be prepared to demonstrate ―that the child is elsewhere receiving
  equivalent instruction in the studies taught in the public schools.‖ Conn. Gen.
  Stat. § 10-184 (2015). Connecticut statutes afford parents who educate their
  children in private schools or at home the right to refuse any special education
  services, and exempts the school district from having to provide such services if
  the parents decline them. Conn. Gen. Stat. § 10-184a (2015). But targeted
  supports may be essential to address the developmental needs of students with
  identified social, emotional and behavioral challenges. The risk is particularly
  acute in a system where the state‘s attention is directed solely toward the
  academic content of children‘s home educational curriculum and where school
  districts‘ obligations to support their healthy development generally end there.
  Connecticut should therefore require that a parent providing home-schooling to
  a child with identified emotional, social and/or behavioral difficulties of a
  significant nature sufficient to require special education and related services
  file with the local superintendent on a regular basis (at least annually) progress
  reports prepared by an individualized education program team selected by the
  parent.      The state should also consider requiring that a parent‘s obligations

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  under Conn. Gen. Stat. § 10-184 encompass approval of the individualized
  education plan and adequate progress as documented in these reports.
           When a student‘s medical and/or mental health condition interferes with
  the student‘s school attendance to the extent that the student will miss three
  or more weeks of school, special education law requires a board of education to
  provide homebound or hospitalized instruction if recommended by the
  student‘s planning and placement team. In A.L.‘s case, his mother appears to
  have sought a recommendation from a community psychiatrist that he be
  placed on homebound status, and the community psychiatrist furnished such
  a recommendation during A.L.‘s eighth grade year. Over the next few years he
  returned to school only to a limited extent and with extensive support services.
  Yet despite the fact that the basis for his original homebound status derived
  from his acute anxiety symptoms and emotional difficulties, his individualized
  education plan and related services persistently failed to address his social and
  emotional needs.            This was a grave oversight that the Commission sees as
  linked to the pervasive inattention to social and emotional learning that
  plagues our educational system. If the particular disabilities that necessitate
  ―homebound‖ education include social, emotional and behavioral difficulties,
  then a student‘s individualized education program and related services should
  address these difficulties expressly in addition to providing any necessary
  academic supports.
                    6.       Concluding thoughts
           A growing chorus of voices has called for dramatic reforms to existing
  mental and behavioral health care systems at both the state and national
  levels. Over a decade ago, the President‘s New Freedom Commission on Mental
  Health urged better coordination between primary and behavioral health care
  and a less fragmented, more consumer- and family-driven system of care, as
  well as more involvement by schools in children‘s mental health care. Within
  the past several months, a Robert Wood Johnson Foundation brief embraced
  wellness promotion as a model for children‘s behavioral health, and illuminated

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  the harms wrought by the artificial distinction between physical and mental
  health that has long organized the financing and delivery of health care in our
  country. In Connecticut, several reports have emerged over the past two years
  cataloguing the many shortcomings of our state‘s behavioral health systems
  serving       child,       youth   and   adult   populations.   All   of   these   thoughtful
  investigations have yielded specific recommendations designed to achieve a
  better integrated, more easily navigable and more equitable behavioral health
  system.
           The Commission joins these voices in urging adoption of a new model of
  care, one that emphasizes wellness while effectively and compassionately
  addressing illness; that places positive child development and healthy families
  front and center; and that breaks down existing silos to provide holistic and
  continuous care across the population. We support the Affordable Care Act‘s
  (ACA) affirmation that prevention, early intervention, and treatment of mental
  and substance use disorders are an integral part of improving and maintaining
  overall health.            Factors essential to this new model of care will include
  enhanced integration of primary and behavioral health care and a key role for
  schools in fostering healthy, resilient children, families and communities.
           B.       Recommendations16
           1.       Recognizing that mental health is more than the absence of mental
  illness, we must build systems of care that go beyond treating mental illness to
  foster healthy individuals, families and communities and embrace                       overall
  psychological, emotional and social well-being.
           2.       To promote true wellness, Connecticut must build a mental health
  system that targets detection and treatment while building stronger, resilient
  communities of care.
           3.       Addressing a fragmented and underfunded behavioral health
  system tainted by stigma requires building a comprehensive, integrated


  16 The recommendations set forth in this subsection of the report, and in subsequent

  subsections, are numbered sequentially.
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  approach to care. The approach will stress family involvement and community
  resilience. Care will be holistic and involve pediatric and adult medical homes
  from birth to adulthood, with efforts to ensure continuity of care. Identifying risk
  factors, reinforcing protective factors, and promoting positive development
  throughout will be key goals, and peer as well as professional support will be
  involved. Treatment and prevention will be stressed.
           4.       To treat the whole person and cultivate wellness across the
  population, our health delivery systems and reimbursement paradigms should
  embrace a biopsychosocial model that understands the individual’s physical and
  mental health strengths and challenges in the context of that person’s social
  environment and relationships.
           5.       Providers      should    be     incentivized    through    reimbursement
  mechanisms to integrate both physical and mental health services, whether
  through their own care delivery or through integration of services within a
  medical home model.
           6.       To       promote   healthy    child    development   and   foster   robust
  communities, our systems of care must attend to the factors affecting family
  welfare. Current funding structures must thus be revamped. The Commission
  recommends support for models of integrated care driven by family needs in
  which all providers focus on family strength, address their risk factors, and
  accept the family as a partner in treatment.
           7.       Schools must play a critical role in fostering healthy child
  development and healthy communities.                    Healthy social development can be
  conveyed by role models such as parents, teachers, community leaders, and
  other adults in children’s lives, but it can also – and should – be actively taught
  in schools.
           8.       Social-emotional learning must form an integral part of the
  curriculum from preschool through high school.                Social-emotional learning can
  help children identify and name feelings such as frustration, anger and
  loneliness that potentially contribute to disruptive and self-destructive behavior.

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  It can also teach children how to employ social problem-solving skills to manage
  difficult emotional and potentially conflictual situations.
           9.       A sequenced social development curriculum must include anti-
  bullying strategies.       As appropriate, it should also include alcohol and drug
  awareness as part of a broader substance-abuse prevention curriculum for
  school-aged children.
           10.      Many of our students and their families live under persistent and
  pervasive stress that interferes with learning and complicates the educational
  process.       There are many potential resources such as school based health
  centers that should provide a locus of preventive care, including screenings and
  referrals for developmental and behavioral difficulties, exposure to toxic stress,
  and other risk factors, as well as treatment offerings that can address crisis,
  grief and other stressors.       Alternatively, schools can employ the services of
  community-based mental health providers such as child guidance clinics.
           11.      Schools should form multidisciplinary risk-assessment teams that
  gather information on and respond supportively to children who may pose a risk
  to others or face a risk to themselves due to toxic stress, trauma, social isolation
  or other factors. (See recommendation 39, infra, regarding the role of mental
  illness in violent events.)       Schools should look to factors such as social
  connectedness in identifying children at risk; all school staff should be trained in
  inquiry-based techniques to apply when disciplinary issues arise in order to
  deepen their understanding of how children’s behavior can be linked to
  underlying stressors.
           12.      Schools should work with all providers to enhance community
  resources and augment services available in schools. For many children schools
  offer the only real possibility of accessing services, so districts should increase
  the availability of school guidance counselors, social workers, psychologists, and
  other school health and behavioral health professionals during and after school
  as well as potentially on Saturdays.



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           13.      The state and federal departments of education should establish
  lead sections or programs on school mental health to supplement (not replace) the
  work of CT DCF.            These sections would play a critical role in conducting and
  coordinating broad-based prevention and intervention efforts within the school
  system to help ensure a coordinated, seamless and comprehensive statewide
  system.
           14.      The Commission endorses the recommendations advanced in
  Connecticut Children’s Behavioral Health Plan, a report and implementation plan
  compiled pursuant to Connecticut’s Public Act 13-178, that call for a
  comprehensive, developmentally appropriate continuum of care that expands
  and equalizes culturally relevant resources available to children and their
  families across payment systems and geographic boundaries.
           15.      Each board of education must ensure that children with disabilities
  be identified and evaluated in accordance with the Individuals with Disabilities
  Education Act, or IDEA. Where parents elect to home-school children with an
  identified disability, the home-schooled child shall have an individual education
  program (IEP) approved by the special education director of the Area Education
  Agency, as well as access to special education services.              Periodic reports
  regarding the progress of such home-schooled children should be filed with the
  local superintendent (at least annually) and be prepared by an individualized
  education program team selected by the parent.             The state should consider
  requiring that a parent’s obligations under state law encompass approval of the
  individualized education plan and adequate progress as documented in these
  reports.
           16.       When the particular disabilities that necessitate “homebound”
  education include social, emotional and behavioral difficulties, the student’s
  individualized education program and related services must address these
  difficulties expressly in addition to providing any necessary academic supports.




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   III. BARRIERS TO ACCESS: INSURANCE AND FUNDING ISSUES
           A.       Analysis: System Fragmentation As A Barrier To Effective Care
           Funding for mental health services in our system of care comes from a
  variety of public and private sources.      The system itself, which is routinely
  described as ―fragmented,‖ depends for its organization on how its services are
  funded. Currently, Connecticut‘s healthcare system has three tiers: the private
  system of care, funded through insurance, group health plans, a Consumer-
  Operated and Oriented Plan (CO-OP) such as HealthyCT, or out-of-pocket
  expenditures; the public system, funded through Medicaid, Medicare, and
  Tricare; and healthcare services for those without insurance or other coverage,
  provided largely through emergency departments and acute care hospitals,
  community health centers, and free clinics.          These tiers serve different
  populations largely based on income, and they provide access to disparate
  services.       Within the behavioral health field, individuals and families who
  obtain care in the public system may fare better in some respects than those
  with private insurance, although across these systems underfunding and
  uncoordinated funding result in inadequate and disorganized access even
  when services are available.        A fully functional mental health system will
  require better coordination and access to a broad range of necessary services
  across payment systems. In addition, it is essential to institute higher rates of
  reimbursement for behavioral health providers to cover the actual cost of care
  and build up a workforce that remains able to meet the ever-expanding needs
  in this area.
           Ample testimony presented to the Commission made clear that the
  services to which individuals and families have access depend greatly on the
  source and method of their funding. The Commission heard testimony from
  Connecticut‘s Health Care Advocate, Victoria Veltri, suggesting that despite the
  existence of mental health services in Connecticut targeted toward populations
  across the lifespan, the fragmentation of such services creates widespread
  confusion about what exactly is available and who is eligible to receive it. In

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  Connecticut, as in states across the country, many state agencies are involved
  in the provision of mental health and substance abuse services, including the
  Department of Children and Families, the Department of Mental Health and
  Addiction Services, the Department of Social Services, the Judicial Branch and
  the Department of Corrections; yet very little coordination among these
  agencies takes place. Such coordination is essential to bring coherence and
  efficacy to a system with a diverse array of services targeting different segments
  of the population.
           Major reports on Connecticut‘s mental health system released over the
  past few years have identified significant problems with fragmentation resulting
  from diverse payment systems and a lack of coordination or consistency among
  state agencies. Connecticut Office of the Health Care Advocate (OHA). (2013).
  Findings and Recommendations: Access to Mental Health and Substance Use
  Services.                  Retrieved      from        http://www.ct.gov/oha/lib/oha/
  report_of_findings_and_recs_on_oha_hearing_1-2-13.pdf; The Task Force to
  Study the Provision of Behavioral Health Services for Young Adults. (2014).
  Final       Report.         Retrieved   from   http://www.cga.ct.gov/ph/tfs/20130701
  _Task%20Force%20to%20Study%20The%20Provisions%20of%20Behavioral%2
  0Health%20Services%20For%20Young%20Adults/Final%20Report%20for%20t
  he%20Task%20Force%20to%20Study%20the%20Provision%20of%20Behaviora
  l%20Health%20Services%20for%20Young%20Adults.pdf;                 and    Connecticut
  Department of Children and Families (DCF). (2014.) Connecticut Children‘s
  Behavioral Health Plan. Retrieved from http://www.plan4children.org/wp-
  content/uploads/2014/10/CBH_PLAN_FINAL-_2_.pdf. A fragmented system
  yields unequal access to effective treatment, discontinuities of care for those
  receiving services, and unsustainable financial burdens for individuals,
  families and communities.
           Definitional issues are critical to the discussion of access. If we restrict
  our definition of ―care‖ to the traditional medical model of inpatient, outpatient
  day and residential programs, we will limit access for many to the innovative

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  programs that have come to be seen as essential to improved outcomes from
  mental illness and other challenges to emotional and behavioral health.
  Funding decisions about behavioral health services must look beyond the
  biomedical model of mental disorder that has prevailed over the past few
  decades. Pharmaceutical treatments and more traditional therapies do afford
  precious relief to many people.         For others struggling with mental and
  substance use disorders, however, psychosocial interventions, programs that
  address the social environments in which they live, services directed toward the
  achievement of functional skills and other efforts to engage the whole person
  are critical elements of recovery.
           In Connecticut, major discrepancies exist in the services available to
  individuals and families based on payment source. Publicly funded programs
  generally provide a much wider array of services for children and adults
  suffering from mental illness than do private insurance plans.       Commercial
  insurance tends to limit reimbursement to traditional inpatient and outpatient,
  episodic services and often will not reimburse care once the symptoms are
  considered chronic.        The full range of services necessary for the effective
  treatment and recovery of individuals with mental illness remains unavailable
  to many with commercial insurance.          For instance, programs that provide
  housing and vocational support can be essential components of an effective
  treatment strategy for individuals battling major mental illness, and without
  these a person whose illness progresses from acute to chronic will be at a
  distinct disadvantage.        Commercial insurance should reimburse the full
  panoply of services available through the public system, from those directed
  toward individuals with severe psychiatric disabilities to those that help the
  many Americans suffering from mental health challenges across the spectrum.
           As a general matter, the bifurcation of behavioral health from other
  health care has had a number of pernicious effects, one of which is the
  persistent underfunding of the former. This bifurcation finds vivid expression
  in behavioral health carve-outs, particularly in the commercial market, which

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  over the past two decades have removed behavioral health services from many
  health benefits packages. Many Medicaid managed care plans have provided
  behavioral health services on a fee-for-service basis apart from other health
  benefits. In Connecticut, the Behavioral Health Partnership has pioneered a
  more integrated approach for children, adults and families on the state
  Medicaid plans that administers behavioral health services in ways designed to
  promote care coordination, particularly for children.                   Carve-outs that thwart
  holistic care as well as true parity between physical and mental health care
  persist, however, in commercial insurance.                  Private health plans frequently
  contract with managed care operations to administer mental health services
  separate from other benefits. Such carve-outs increase systems fragmentation
  and perpetuate discriminatory practices that affect both mental health
  consumers and providers.
                    1.         Improving access to effective services in the public system
           While Connecticut‘s public mental health system is better funded per
  capita than those of most other states, its resources remain inadequate to
  serve the ever-expanding needs of
  the child, adolescent and adult                   “In order to facilitate optimum treatment, health
                                                    care information must flow between providers
  populations.               Behavioral health      and a seamless transition of care must be
                                                    available when multiple systems of care are
  services have suffered in an era of
                                                    involved with the individual and family. Payers
  tight      state       budgets.       In    her   have not generally incentivized care coordination
                                                    or communication across treaters, contributing
  testimony before the Commission                   to a fragmented and poorly coordinated mental
  and      the      comprehensive            2013   health system. Current providers are frequently
                                                    unable to access patients’ past psychiatric
  report issued out of her office,                  records in a timely manner which can contribute
  Connecticut‘s                Health        Care   to care fragmentation.”

  Advocate Victoria Veltri identified               The Task Force to Study the Provision of
                                                    Behavioral Health Services for Young Adults.
  cost-shifting          and     a   dearth    of
                                                    (2014). Final Report
  research on the cost-effectiveness
  of current state programs as two problems plaguing the public system. State
  agencies such as DCF and DMHAS fund community-based services that assist

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  residents in the public system as well as residents with private insurance, and
  yet the state picks up the tab in many instances. The OHA report suggests
  that insight into the relative cost-effectiveness of particular programs might
  permit the state to accomplish more in areas of real need, even with limited
  resources.
           In addition, recent reports by the legislative Task Force to Study the
  Provision of Behavioral Health Services for Young Adults and the Department
  of Children and Families identify a lack of care integration as a feature of
  Connecticut‘s system that poorly serves the needs of state residents. Children,
  adolescents and young adults are often involved in multiple systems of care,
  including the mental health system, the substance abuse treatment system,
  educational systems, the primary care system, DCF, DMHAS and the juvenile
  justice system. The lack of treatment coordination among systems addressing
  the needs of this population increases the likelihood that some people will fall
  through the cracks and others will receive inadequate care. Moreover, for the
  many adolescents and adults with co-occurring mental health disorders and
  substance use disorders, separate systems of care with diverse funding
  streams undermine treatment efficacy. The Commission supports creation of
  incentives for care coordination, including reimbursement of integrated
  services and communication between providers.               Across private and public
  systems, the funding for preventive services and early intervention programs
  remains inadequate.             Significant improvement in the delivery of necessary
  services will require additional funding on a consistent basis.
                    2.       Elevating reimbursement rates to meet the costs of care
           Inadequate rates for mental health services under both public and
  private systems have materially impacted access to and quality of care. The
  theme of insufficient reimbursement rates reverberated throughout the
  Commission‘s hearings.            People who receive services through Medicaid have
  virtually no access to private practitioners because payment rates are woefully
  low. Testimony before the Commission established that existing Medicaid rates

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  have been covering only half the cost of providing mental health care.                           (See
  Steck, Plant and Amdur‘s presentation, April 12, 2013.)                      For inpatient care,
  reimbursement remains substantially below costs.                           Hospitals providing
  inpatient psychiatric care to children and adolescents with Medicaid lose
  between $300 and $500 per day due to low reimbursement rates even as
  demand for inpatient treatment increases. (See testimony of Stephen Larcen,
  Ph.D., Senior Vice President of Behavioral Health at Hartford Healthcare, May
  3, 2013.) Inadequate reimbursement rates also mean that outpatient clinics
  furnishing intensive behavioral health services to children and adults lose
  hundreds of thousands of dollars each year.                     See generally Report of the
  Connecticut Community Providers Association, ―Prioritizing Community Based
  Services in CT: How investing in the cost of care for health and human services
  strengthens families, community and the state economy‖ (February 2015).17
  Connecticut has pioneered the model of Enhanced Care Clinics (ECC‘s), which
  deliver comprehensive and coordinated outpatient behavioral health care to
  adults and children on
                                     There are different definitions that dictate whether something
  Medicaid        on     both   a
                                     is medically necessary. So as a condition for getting your
  routine and an urgent              treatment or service covered under any kind of plan, whether
                                     it’s Medicaid or a state-regulated plan or a federally regulated
  basis.      The number of          plan, you have to prove that it’s medically necessary, that you
  children seen in such              need it basically. But the definition of what’s medically
                                     necessary is different in state law than in the Medicaid
  specially          designated      program, for instance. So the Medicaid program has a very
  clinics has doubled in             broad definition of medical necessity, broader than it is for
                                     private insurance plans. So depending on what program you’re
  recent        years        while   in, you have a different standard to meet to get your service.
                                     You may also have different benefits, and that happens all the
  reimbursement              rates
                                     time.
  have remained static,
                                     Victoria Veltri, Testimony presented to the Sandy Hook
  forcing          ECC‘s        to   Advisory Commission, March 22, 2013
  operate       at     enormous



  17 Available at: http://www.governor.ct.gov/malloy/lib/malloy/

  shac_doc_final_report_-_final-ccpa-report-february-2015.pdf.

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  losses.       Though somewhat better, Medicare rates increasingly raise the same
  issue.
           Even the rates provided by commercial insurers are inadequate, and
  many mental health clinicians now decline to accept any forms of insurance,
  whether public or private. Access to their services is therefore limited to those
  who can pay out of pocket.                Inadequate reimbursement rates have had
  dramatic effects on the behavioral health workforce.              Provider networks for
  adult care through the public and private systems are insufficient to meet
  existing needs, and those for child and adolescent care are even more deficient.
  The dearth of providers creates a substantial barrier to access. (Office of the
  Health Care Advocate, 2013, p. 26-27). It is critical to provide reimbursement
  rates under Medicaid and otherwise that actually cover the costs of care.
                    3.       Improving access to effective services in the private system

           Alongside insufficient rates of payment, additional factors impede access
  to care for those with commercial insurance.                   Even if a clinician has
  recommended a certain course of treatment, insurers routinely deny payment
  for such care through precertification requirements and review of covered
  services.        An individual seeking coverage for behavioral health services
  generally must obtain prior authorization from the insurer, although a limited
  number of outpatient therapy sessions may be exempt from this requirement.
  The principles of mental health parity, enshrined in the Mental Health Parity
  and Addiction Equity Act of 2008 and reiterated in the Affordable Care Act,
  preclude outright discrimination in private coverage for behavioral health
  services; insurance plans may not apply limitations on coverage more
  stringently for behavioral health services than for other medical services. Even
  with enhanced parity, though, employment of ―medical necessity‖ criteria in the
  precertification and review processes too often facilitates the denial rather than
  the provision of care.
           For most services funded through any external source, the payer will
  cover only those found to be ―medically necessary.‖ Ms. Veltri testified that
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  various funding sources, whether a public plan such as Medicaid or a private
  insurance plan subject to either state or federal regulation, all employ different
  definitions of medical necessity to determine whether mental health services
  will be covered.           In general, Medicaid uses a broader definition of medical
  necessity than do most private insurance plans.              These vastly divergent
  approaches to determinations of medical necessity contribute a troubling
  degree of arbitrariness and inscrutability to our systems of care.
           For those with private insurance, ―medical necessity‖ may become an
  insurmountable obstacle to receiving the care that their providers have deemed
  most appropriate.            In addition to outright denials of care, the processes
  through which medical necessity determinations are rendered, reviewed, and
  potentially reversed function to obstruct treatment when it is most needed.
  These processes are deeply flawed in ways that frustrate access to effective
  behavioral health care.          First, the performance of reviews by contractors or
  employees of the insurer creates an inherent conflict of interest that
  compromises the fairness of the process. Second, placement of the burden of
  proof on the policyholder not only delays much effective treatment but
  frequently places it altogether out of reach. Individuals and families wrestling
  with behavioral health challenges are just not equipped to marshal the
  evidence required to sway a reviewer, who, at least at the internal stages, may
  be allied with the insurer.            Before the enactment of P.A. 13-3 (An Act
  Concerning Gun Violence Prevention and Children‘s Safety) in Connecticut,
  reviewers conducting these determinations did not necessarily have the
  behavioral health training necessary to qualify as a ―clinical peer‖ to the
  provider. Conn. Gen. Stat. § 38a-591c (2015). The new law appears to remedy
  this problem by requiring that health carriers contract with clinical peers to
  conduct utilization reviews, and specifying minimum qualifications for clinical
  peers across child, adolescent and adult mental and substance use disorders.
  Conn. Gen. Stat. § 38a-591c (2015).



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           Even with concerted efforts at the federal and state levels to eradicate
  discrimination in coverage for behavioral health services and implement parity,
  the employment of ―medical necessity‖ criteria in the precertification and review
  process around behavioral health services too often results in the denial or
  delay of needed care. Currently, a private insurer may fail to pre-certify care or
  deny ongoing care by virtue of its own determination that the proposed services
  do not meet medical necessity criteria.                Following such a denial, clinicians
  employed or chosen by the insurer conduct an initial review, and additional
  layers of internal review may follow.                    Ultimately, in Connecticut, the
  policyholder may obtain an external review through the Office of the Insurance
  Commissioner, which assigns independent review organizations on a rotating
  basis to make final coverage determinations and provides a toolkit to aid
  consumers in navigating this difficult process.18
             According         to   Anne    Melissa   Dowling,   Deputy    Commissioner    of
  Insurance, these reviewers end up reversing up to 40% of the denials of
  coverage.        Throughout the process, the policyholder and provider retain the
  burden of proof to demonstrate that the proposed treatment is medically
  necessary. Some residents also reach out for assistance to the Office of the
  Healthcare Advocate, much of whose caseload is devoted to behavioral health
  issues.       Sometimes, patients and families withdraw from treatment out of
  concern that the obligation for payment will fall to them.                     Before the
  enactment          of      P.A.   13-3   in   Connecticut,   reviewers   conducting   these
  determinations did not necessarily have the behavioral health training
  necessary to qualify as a clinical peer to the provider; the recent statute
  appears to remedy this problem by requiring that health carriers contract with
  clinical peers to conduct utilization review.             Despite this change, behavioral
  health providers continue, virtually unanimously, to report repeated and
  inappropriate denials of care.



  18 See http://www.ct.gov/cid/lib/cid/Behavioral_Health_Consumer_Tool_Kit.pdf.

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           The Commission concludes that this process still poses a formidable
  barrier to timely and appropriate care and remains concerned about the
  conflict of interest inherent in a process in which the payor reviews its own
  denials of care.           The Commission therefore recommends that all appeals of
  denials of care be processed through an independent entity such as the Office
  of the Health Care Advocate.           Independent clinicians selected by this entity
  should be available around the clock for such reviews. A second level of review
  should be available through the same entity. Insurers should be required to
  provide reimbursement during the denial and appeals period up to the point of
                                             ultimate denial by the neutral reviewing
    “So it’s a major burden on a family      party.        When       a     licensed     provider
    to assemble medical documents for
    reimbursement in a field it knows        determines that a particular course of
    nothing about. And it’s probably         treatment is medically necessary, the
    not at its best anyway because it’s so
    stressed with the severity of the        burden of proof should fall to the insurer
    issue. […] And some of the terrible      to demonstrate otherwise. Any conclusion
    things we’ve seen families have to
    do in order to qualify for plans or to   by a reviewer that care is not medically
    get coverage just adds to the stress.”   necessary should be based, to the extent

    Anne Melissa Dowling, Testimony          possible,     on    findings     in   the    medical
    presented to the Sandy Hook              literature.        The      results   of    scientific
    Advisory Commission, March 22,
                                             studies,      and/or        recommendations        of
    2013
                                             recognized         health     care     professional
  organizations and recognized authorities of evidence of efficacy especially in the
  absence of scientific studies, should not be discredited solely on the assertion
  of the insurer. While essential, the involvement of clinical peers alone does not
  guarantee a fair and impartial review.
           Many people with private health coverage lack access to evidence-based
  mental health treatment programs available to those in the publicly funded
  system. The recent Task Force Report identifies this disparity as a significant
  barrier to effective behavioral health services for children and adults alike in
  Connecticut.          Such programs include Integrated Dual Disorders Treatment

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  (IDDT), Intensive In-Home Child and Adolescent Psychiatric Services (IICAPS),
  Trauma-Focused             Cognitive-Behavioral    Therapy   (TF-CBT),   Extended    Day
  Treatment (EDT), Multi-Systems Therapy (MST), Functional Family Therapy
  (FFT),     Multi-Dimensional        Family   Therapy    (MDFT),   and    Trauma     Affect
  Regulation: Guide for Education and Therapy (TARGET). Despite the fact that
  these programs have strong evidence of success when implemented effectively
  (often with the support of a quality assurance process), including reductions in
  emergency psychiatric admissions, commercial insurers have been historically
  unwilling to cover such services.
           For those with commercial insurance, inadequate provider panels further
  impede access to care.           Most health plans maintain networks, or panels, of
  providers with whom they contract to furnish services to the plan‘s members.
  In the area of behavioral health services, many providers are reluctant to join
  such panels when the reimbursement they would receive remains so
  inadequate.         Other providers appear on multiple panels but do not actually
  accept patients from certain plans because of low reimbursement rates.
  Insurers publish these panel lists for their policyholders to assist them in
  locating available providers whose services will be eligible for coverage. All too
  frequently, though, these panel lists become             inaccurate and/or outdated,
  retaining names of clinicians who have resigned from the panel or remain on
  the panel but do not actually accept new patients with that insurance.                 To
  guarantee that panel lists facilitate rather than frustrate access to care,
  insurers should be required to maintain up-to-date and accurate provider
  panel lists and to furnish these to policyholders. Connecticut should establish
  standards for accurate lists, as well as a mechanism for fining or otherwise
  holding insurers accountable for publishing inadequate lists.
           When policyholders reach beyond provider panels to seek treatment from
  out-of-network providers, their efforts to seek reimbursement from their health
  plans encounter the same obstacles as those with in-network providers whose
  prescribed treatments have been denied on medical necessity grounds. Indeed,

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  the process of filing for reimbursement and pursuing appeals may fall even
  harder on those seeking reimbursement who have paid up front for otherwise
  covered services. As Deputy Commissioner Dowling observed, many families
  facing this situation are so ill-equipped to complete the necessary paperwork
  that they are unable to make an effective case until they have reached their
  third or fourth reviews, often with the assistance of someone from the Office of
  the Healthcare Advocate.
                    4.       Expanding an overtaxed workforce
           As noted above, inadequate rates of reimbursement have contributed
  significantly to workforce deficits in the behavioral health sector. Clinicians in
  private practice have been increasingly unwilling to accept insurance due to
  low reimbursement rates as well as the considerable administrative burdens –
  altogether unreimbursed – that go along with submitting claims. The problem
  is particularly acute in the area of child and adolescent care, with far too few
  providers serving a population with expanding needs.          In Connecticut, the
  private provider system of care, in particular nonprofit child guidance clinics,
  form the central hub for children and families seeking mental health services.
  Yet the system has been woefully underfunded and burdened by requirements
  that mandate oversight of every treatment plan by an MD psychiatrist as well
  as preauthorization for treatment. It lacks incentives for growth, improvements
  in technology or implementation of evidence-based practices.            Although
  Enhanced Care Clinic requirement have improved access to care for families
  with Husky insurance under the state Medicaid plan, they have created
  additional barriers for those with private insurance or who pay out of pocket.
  Testimony before the Commission established that demand for child and
  adolescent psychiatric beds in Connecticut routinely exceeds supply. The total
  number of child/adolescent beds in Connecticut has decreased over the last
  ten years due to the significant financial disincentives for hospitals to provide
  such beds.



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           Connecticut and the rest of the nation must take steps to increase the
  behavioral health workforce, above all in child and adolescent specialties.
                                                                          According                to
      “Workforce issues have an enormous influence on the provision       Connecticut‘s       Health
      of mental health care. At the most basic level they affect access
                                                                          Care Advocate Victoria
      to care, since workforce shortages limit the availability of
      services to children and families in need. For example, there       Veltri,     fewer     than
      are serious shortages of professionals trained to assess and
      treat children and adolescents, and severe shortages of child       8,000                 child
      psychiatrists and advanced practice nurses who have                 psychiatrists serve the
      prescriptive authority. High levels of workforce turnover
      negatively affect continuity of care since turnover disrupts the    entire    United    States
      relationships between children, families and their providers.       population of over 74
      Training of the workforce affects quality of care, with many
      non-degreed direct care staff receiving little training, while      million           children.
      many professionals receive inadequate training in advanced
                                                                          Nonprofit         providers
      evidence-based practices for children, youth and families.
      Training of the workforce also impacts the appropriateness of       such as child guidance
      care delivered. For example, most mental health professionals
      are not formally educated about substance abuse and therefore       clinics   are     currently
      may not detect or treat abuse in adolescents and their families.    overwhelmed            and
      Lastly, workforce diversity and cultural competence impact the
      relevance of care. The current mental health workforce lacks        underfunded,           but
      much racial diversity and the professions are struggling to         strengthening          and
      define and teach cultural competence within the workforce.”
                                                                          expanding            these
      Michael A. Hoge, Ph.D., Yale School of Medicine, Department of
      Psychiatry, written testimony submitted to the Sandy Hook
                                                                          providers can quickly
      Advisory Commission.                                                develop         desperately
                                                                          needed systems of care
  in Connecticut. Indeed, to meet the expanding needs of children, adults and
  families, it will be essential to increase the number of clinicians working
  throughout the system.              Measures might include reimbursing psychiatrists
  serving both adult and pediatric populations at rates equivalent to other
  specialty care providers; enacting educational loan forgiveness programs that
  encourage medical students to pursue training in psychiatry, particularly child
  and adolescent psychiatry; enacting similar programs for graduate students in
  clinical psychology and social work programs; as well as other targeted efforts



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  to bring talented professionals into the mental health workforce and encourage
  such professionals to serve high-need populations.
                    5.         Concluding thoughts: Toward a more integrated system of
                               care

           Implementation of the Affordable Care Act promises to bring significant
  changes to the ways in which we think about, organize and fund health care
  more generally, and behavioral health care specifically, as we move from
  traditional fee-for-service models of care to what are known as value-based
  models.        Value-based models purport to reward quality of care rather than
  quantity. More importantly, the ACA embraces the goal of care integration by
  prioritizing medical homes, which take a patient-centered, comprehensive,
  team-based and coordinated approach to primary care.                            It seeks to contain
  costs in part by encouraging the formation of Accountable Care Organizations,
  whereby                      physicians,
  hospitals and other health                  “[S]omething that interferes with accessing care is that
                                              we have a very complicated system of providing mental
  care          providers            create
                                              health services. […] [F]or too many Americans with
  networks            to        coordinate    mental illness, the mental health services and supports
                                              they need remain fragmented, disconnected and often
  population-based patient care               inadequate, frustrating the opportunity for recovery.
  and       receive          rewards    for   And so what we have are many different provider
                                              systems. We have many different state agencies. We
  delivering care efficiently.          As    have private insurance. We have Medicaid. We have
  with      medical          homes,     the   different criteria. And as a result, trying to navigate
                                              that when you have a problem is a significant barrier to
  growth of Accountable Care                  receiving care. […] [I]f you’re a family or an individual, it
                                              can be really daunting to figure out where do I go,
  Organizations under the ACA
                                              which door do I enter. And they all have their own
  represents         a       shift   toward   criteria, eligibility criteria, means of access, exclusions,
                                              etc. “
  better integrated care.              The
  Commission               agrees      that   Robert Plant, Ph.D., Chief Clinical Officer , Wellmore
                                              Behavioral Health, Testimony presented to the Sandy
  services that ―wrap around‖                 Hook Advisory Commission, April 12, 2013.
  the patient should become
  the norm. But the transition from a fee-for-service system to population-based
  care will present systematic complexities, and it is essential that behavioral

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  health needs remain a focal point of these coordinated systems. Behavioral
  health carve-outs may soon be behind us.
           The comprehensive system of care envisioned by the Affordable Care Act
  will require behaviorally competent and collaborative primary care delivered in
  coordination with co-located mental health professionals.          Primary care
  providers must also have access to effective screening tools and education
  around behavioral health matters, as well as psychiatric consultation where
  needed. Connecticut‘s ACCESS-MH program, funded through DCF pursuant
  to P.A. 13-3, provides one example of a program geared toward integrating
  behavioral health services with primary care – in this case, at pediatricians‘
  offices. It is designed to enhance the behavioral health services available to all
  children and adolescents, regardless of insurance status, by making teams of
  behavioral health professionals available to primary care providers for
  consultation, assistance and care services.        As detailed elsewhere in this
  report, the Commission supports efforts such as this one to make behavioral
  health services available through primary care offices and schools.
           B.       Key Findings And Recommendations

           17.      A fully functional   mental health system will require better
  coordination and access to a broad range of necessary services across payment
  systems.
           18.      Inadequate reimbursement rates combined with high utilization
  rates at many outpatient behavioral health clinics have made this model of care
  financially unsustainable. In addition, overall Medicaid rates for adult inpatient
  care have not increased in at least eight years. Recent increases in rates for
  inpatient child and adolescent care have been coupled with decreases in other
  Medicaid reimbursement rates to the same hospitals.             The Commission
  recommends that higher reimbursement rates in both outpatient and inpatient
  settings, which better reflect the costs of care, be a core component of a
  redesigned behavioral health care system.


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           19.      Inadequate reimbursement rates have also impacted the behavioral
  health workforce, which remains insufficient to meet the needs of many
  Connecticut residents.          The Commission recommends that, in addition to
  addressing reimbursement rates, Connecticut identify and take measures to
  increase the behavioral health workforce.            These might include educational
  incentives such as loan forgiveness programs.
           20.      Connecticut has significant problems with system fragmentation
  resulting from diverse payment systems and a lack of coordination or
  consistency among state agencies. A fragmented system yields unequal access
  to effective treatment, discontinuities of care for those receiving service, and
  unsustainable financial burdens for individuals, families and communities.
           21.      The definition of “care” must be reviewed. Funding decisions about
  behavioral health “care” must look beyond the model that has prevailed over the
  past several decades to embrace psychosocial interventions, services directed
  toward the achievement of functional skills and other efforts to engage the whole
  person, which frequently offer the best prognosis for recovery.            A behavioral
  health diagnosis accompanied by acute, rather than chronic, symptoms should
  be removed as a prerequisite for access to care.
           22.      Commercial insurance should cover the full panoply of services
  available through the public behavioral health system, e.g., programs that
  provide housing, vocational and occupational support, and drop-in services that
  can be essential components of an effective treatment strategy for individuals
  struggling with severe mental illness. The Commission recommends continuing
  efforts to expand coverage to a broad range of evidence-supported services for
  individuals with private insurance.
           23.      Since the goal of optimal health care is to integrate behavioral health
  seamlessly into comprehensive care, continued use of behavioral health carve-
  outs, designed to control behavioral health costs rather than increase access,
  should be phased out as quickly as possible. The Connecticut Behavioral Health
  Partnership is noteworthy in designing incentives to coordinated care across

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  physical and mental health as well as substance abuse services for Medicaid-
  funded care despite the existence of a behavioral health carve-out, but full
  integration and comprehensive care is most likely achieved through eliminating
  mental health carve-outs altogether.
           24.      To guarantee that provider panel lists facilitate, rather than
  frustrate, access to care, health plans should be required to maintain up-to-date
  and accurate provider panel lists and to make these available to all members.
  The Commission recommends that Connecticut establish standards for accurate
  lists, as well as a mechanism for fining or otherwise holding insurers
  accountable for publishing inaccurate lists.
           25.      Despite recent changes in Connecticut law, behavioral health
  providers continue, virtually unanimously, to report repeated and inappropriate
  denials of care.           The Commission therefore recommends that appeals of all
  denials of care be processed through an independent entity such as the Office of
  the Health Care Advocate. Independent clinicians selected by this entity should
  be available around the clock for such reviews. A second level of review should
  be available through the same entity. Insurers should be required to provide
  reimbursement during the denial and appeals period up to the point of ultimate
  denial by the neutral reviewing party. When a licensed provider determines that
  a particular course of treatment is medically necessary, the burden of proof
  should fall to the insurer to demonstrate otherwise. Any conclusion by a reviewer
  that care is not medically necessary should be based, to the extent possible, on
  findings in the medical literature.         The results of scientific studies, and/or
  recommendations of recognized health care professional organizations and
  recognized authorities of evidence of efficacy especially in the absence of
  scientific studies, should not be discredited solely on the assertion of the insurer.
           26.      The Commission has recommended adoption of models of care that
  integrate behavioral and general health services. In the current world of diverse
  funding and delivery mechanisms, it is impossible to talk about access to mental
  or behavioral health services in a unified way.           In the Commission’s view,

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  Connecticut must find ways to fund integrated models of care for both children
  and adults that ensure access to quality, affordable, culturally appropriate and
  timely care for residents throughout the state.
  IV.      BARRIERS TO ACCESS: STIGMA AND DISCRIMINATION
           A.       Analysis: Confronting Mental Health Stigma
           When Governor Malloy addressed this Commission at its first meeting on
  January 24, 2013, he emphasized the need to reduce the stigma of mental
  illness, noting aptly that our culture has destigmatized violence yet failed to
  destigmatize mental health treatment. Throughout the testimony presented to
  the Commission, users of mental health services, mental health providers,
  government officials, academics, members of the law enforcement community
  and others spoke repeatedly of the ways in which stigma frustrates effective
  treatment and recovery of individuals with mental health challenges.       Many
  members of the public still view mental illness as shameful and frightening and
  perceive people with behavioral health difficulties as different and dangerous.
  The problem is not limited to people‘s attitudes, though. Stigma infects our
  laws, policies and institutions.
           The stigma associated with mental illness impacts individuals, families
  and communities in significant ways.              Stigma discourages people from
  accessing care, interferes with care once it is accessed, and informs a
  fragmented and inadequately funded system of care.          Many individuals who
  struggle with mental health challenges either do not seek care or discontinue
  care prematurely, and experts have identified stigma as a major factor. Despite
  widespread efforts over the past fifteen years to combat stigma, catalyzed in
  part by former U.S. Surgeon General David Satcher‗s 1999 report on Mental
  Health and the 2003 report of the President‗s New Freedom Commission on
  Mental Health, recent studies have found that many Americans still regard
  people with mental illness as dangerous, incompetent and at fault for their
  condition. Department of Health and Human Services, U.S. Public Health
  Service. (1999). Mental Health, A Report of the Surgeon General. Retrieved from

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  http://profiles.nlm.nih.gov/ps/access/NNBBHS.pdf;                        The     President‘s         New
  Freedom          Commission          on     Mental        Health.      (2003).   Retrieved          from
  http://govinfo.library.unt.edu/mentalhealthcommission/reports/FinalReport/
  downloads/FinalReport.pdf.
                    1.       Defining stigma
           According to its common dictionary definition, stigma is a mark of
  disgrace associated with a particular circumstance, quality or person.                               The
  concept of social stigma came into focus following the 1963 publication of
  sociologist Erving Goffman‘s book Stigma: Notes on the Management of Spoiled
  Identity.       Over the past half-century since that book emerged, academic
  researchers, policy makers and others have sought to understand how and why
  certain conditions and markers of identity, including disability, get stigmatized
  and how the affected individuals or groups internalize, manage or resist
  stigma. One of the most fundamental insights to come out of this decades-long
  investigation is that language itself can serve as a powerful agent of stigma. It
                                                                          may seem obvious that
      “Mental illness stigma has many components. Stigma                  derogatory        terms       for
      involves disrespectful language, inaccurate stereotypes,
      negative public attitudes, social exclusion, and loss of self-      individuals who struggle
      esteem. Many people believe, incorrectly, that mental illness       with     mental            health
      indicates fundamental character flaws, a propensity for
      violence, and lifelong limitations and then act according to        challenges          such      as
      those beliefs by isolating, avoiding and belittling those who
                                                                          ―psycho‖     or       ―lunatic‖
      manifest mental illness. Those beliefs and behaviors create
      significant barriers to help-seeking. Even when effective help      convey                profound
      is available, many will not take advantage of it for fear of the
      rejection, isolation, and loss of opportunities that may result     disrespect, but language
      when others learn they have sought mental health                    can also contribute to
      treatment. Youth with mental health problems are
      particularly vulnerable to teasing and bullying and, as a           stigma in more subtle
      result, may try to hide their problems rather than seek
                                                                          ways.      When we refer,
      appropriate professional assistance.”
                                                                          for    example,       to     ―the
      Dr. Otto Wahl, Professor of Psychology and Director of the
      Graduate Institute of Professional Psychology, University of
                                                                          mentally     ill‖     or     call
      Hartford, written testimony submitted to the Sandy Hook             someone                        ―a
      Advisory Commission.
                                                                          schizophrenic‖        we      are

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  reducing individuals with mental health challenges to markers of pathology;
  such language, in turn, helps to justify discriminatory policies and practices.
  Above all, people living with mental illness are people first.
           More recently, experts have developed our understanding of stigma by
  illuminating its mechanisms.          Dr. Bruce Link and Dr. Peggy Phelan have
  offered an influential model of stigma that identifies four dynamic components
  through which stigma works its harm. The first is labeling – the process by
  which certain human differences are socially selected for salience. Then labels
  must be linked to negative attributes or stereotypes.        In the mental health
  arena, diagnostic categories help organize information about a person‘s
  difficulties and assist providers in designing appropriate treatments to relieve
  that person‘s suffering.         A diagnosis may also enable someone to better
  understand his or her condition, to avoid self-blame, and to see a way forward.
  But mental illness diagnoses can also become labels that subject a person to
  negative        stereotypes,   including   assumptions   about   incompetence   or
  dangerousness, and they can limit the person‘s sense of his or her own
  potential.
           Labels can have a dramatic impact on a person‘s present and future
  experience that extends far beyond the descriptive. Nearly fifty years ago, in a
  groundbreaking study examining the power of labeling, social psychologists
  Robert Rosenthal and Lenore Jacobson told teachers that certain of their
  students had scored in the top 20% on a test purported to identify ―academic
  bloomers,‖ or children who were entering a period of intense intellectual
  development. In reality they chose the children at random, and the students
  they identified had scored no differently from their peers on an I.Q. test. A year
  later, when they administered the same I.Q. test, the students labeled
  ―academic bloomers‖ outperformed their peers by 10-15 points.            In other
  words, the identification of these students as ―academic bloomers‖ influenced
  the way their teachers taught the children; the teachers‘ higher expectations of
  certain students in turn actually fostered dramatic intellectual development.

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  The      label,      randomly   assigned,   became    a   self-fulfilling   prophecy.19
  Unfortunately, labels can constrain people‘s potential just as they can expand
  it.
           In addition to labeling, stigma requires the separation of insiders from
  outsiders through which a labeled group is understood as so fundamentally
  different from the rest of ―us‖ that ―they‖ come to seem less than fully human.
  For example, although more than one in four Americans wrestles with a
  diagnosable mental health condition every year, and at least half of Americans
  will qualify for a diagnosis of mental illness over the course of their lifetimes,
  we tend to see ―the mentally ill‖ as a discrete group of outsiders whose
  condition justifies avoidance and a curtailment of rights. Mental illness labels
  frequently activate a process of dehumanization. (―The default response to a
  target labeled with mental illness, in the absence of corrective information, may
  be dehumanization.‖ Martinez, A. G., Piff, P. K., & Hinshaw, S. P. (2011). The
  Power of a Label: Mental Illness Diagnoses, Ascribed Humanity, and Social
  Rejection. Journal of Social and Clinical Psychology, 30, 1-23, 20.)            Labels
  accompanied by negative stereotypes can blind us to people‘s full humanity.
           Finally, the labeled person experiences loss of status and discrimination.
  Link and Phelan emphasize that stigma depends on power differences between
  those doing the labeling and those labeled.          Without social conditions that
  produce and maintain such power disparities, labels may combine with
  negative stereotypes and practices of separation but they will not result in
  significant status loss or discrimination.        One of their examples may help to
  illuminate this distinction.       Participants in a program for the treatment of
  serious mental illness may develop labels for certain members of the hospital
  staff, dismissively designating some clinicians ―pill pushers‖ and stereotyping
  them as cold, paternalistic and arrogant. They may even avoid, disparage and
  exclude members of the labeled group, but the program participants lack ―the
  social, cultural, economic and political power to imbue their cognitions about

  19 See generally http://rosenthal.socialpsychology.org.

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  staff with serious discriminatory consequences.‖ Link, B.G., & Phelan, J.C.
  (2001). Conceptualizing Stigma. American Review of Sociology, 27, 363-385,
  376.       The stigma attached to mental illness, on the other hand, does have
  serious discriminatory consequences that impact most aspects of a person‘s
  life.    In recent years, researchers have identified stigma as a fundamental
  cause of what they call ―diminished life chances,‖ which include housing,
  employment opportunities and income levels, education and academic
  outcomes, social relationships, psychological well-being, access to quality
  health care and good health itself.                     Hatzenbuehler, M.L., Phelan, J.C., and
  Link, B.G. (2013). Stigma as a Fundamental Cause of Population Health
  Inequalities. American Journal of Public Health, 103(5), 813-821.
                    2.       The pervasiveness of stigma
           Despite widespread advances in understandings of mental illness among
  experts and the general public alike, negative attitudes toward people with
  mental illness appear to have become increasingly pervasive over the past
  several decades.              A 1991 poll measuring Americans‘ attitudes toward
                                                                disabilities concluded that ―mental
     “I’ve worked in this field all of my adult life. I
                                                                illness was the most disturbing type
     have experienced in my own family serious
     mental illness. I’m very much aware of the                 of disability related condition for the
     fact that stigma is the overwhelming issue to
     people seeking access. The Surgeon General                 general     public.‖     Hinshaw,    S.P.
     highlighted this in his 1999 groundbreaking                (2007). The Mark of Shame: Stigma of
     report. […] Today, even though I think the
     public understands much more so than ever                  Mental Illness and an Agenda for
     that these are biologically based illnesses, the           Change. New York: Oxford University
     public’s view of mental health and what we
     internalize in our own belief system is much               Press, p. 102.     Research conducted
     more negative than it ever was.”
                                                                later that decade found that stigma
     Sheila Amdur, testimony presented to the                   regarding     major     depression   and
     Sandy Hook Advisory Commission, April 12,
     2013.                                                      schizophrenia      in   particular   had
                                                                increased since the middle of the
  century even though Americans knew more about mental illness than at any
  earlier time. It seems that members of the public had become more likely to

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  associate major mental illness with dangerousness, possibly due in part to the
  closing of state psychiatric hospitals beginning in the 1960s and 1970s,
  inadequate funding of community services, and the increasing numbers of
  people with mental illness living homeless on the streets, factors that
  contributed to what some have called the ―criminalization of mental illness.‖
  As a result of their fears, many Americans are reluctant to interact with people
  who have mental illnesses. One large-scale 1996 study capturing Americans‘
  views of mental illness revealed that 38% are unwilling to be friends with
  someone having mental health difficulties, 64% do not want someone with
  schizophrenia as a close coworker, and more than 68% would not want
  someone with depression to marry into their family. Pescosolido, B.A., et al.
  (2000). Americans‘ Views of Mental Health and Illness at Century‘s End:
  Continuity and Change. Public report on the MacArthur Mental Health Module,
  1996 General Social Survey. Bloomington, IN: Indiana Consortium of Mental
  Health Services Research, Indiana University; New York, NY: The Joseph P.
  Mailman School of Public Health, Columbia University.             More recently, in a
  2013 poll conducted by the Kaiser Family Foundation, 66% of respondents
  reported that they would feel very or somewhat uncomfortable if a person with
  a serious mental illness worked at their child‘s school, 47% would feel
  uncomfortable living next door to someone with a serious mental illness, and
  41% would feel uncomfortable working with someone who has a serious mental
  illness.20
           Stigma is by no means a uniquely American problem; instead, stigma
  surrounding mental illness has been documented in countries across the globe,
  whatever their laws and policies on mental disorder.            In their preface to a
  recent book on mental illness stigma, the authors write: ―We know of no society
  where the stigma of mental illness is not present and potent.‖ Corrigan, P.,




  20 See http://kff.org/disparities-policy/poll-finding/kaiser-health-tracking-poll-
  february-2013/)
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  Roe, D. & Tsang, H. (2011). Challenging the Stigma of Mental Illness: Lessons
  for Therapists and Advocates. Oxford: Wiley-Blackwell.
           Advocates hoped that advances in brain science would help to counteract
  misunderstandings about mental illness that fuel stigma. But efforts over the
  past fifteen years to identify the neurobiological basis of some psychiatric
  illnesses and impart this knowledge to the public do not appear to have
  diminished stigma.                  If anything, such efforts seem to have increased social
  distancing         around            mental     illness    and   strengthened         perceptions        of
  dangerousness.               Pescosolido, et al. (2010). ―A Disease Like Any Other‖? A
  Decade of Change in Public Reactions to Schizophrenia, Depression, and
  Alcohol Dependence. American Journal of Psychiatry, 167(11), 1321-1330. The
  explanation that a person‘s brain is just ―wired differently‖ may elicit fear
  rather than acceptance. Unfortunately, it appears that little has changed since
  the publication of the comprehensive Surgeon General‘s report on mental
  health in 1999: stigma remains ―the most formidable obstacle in the arena of
  mental illness and health‖ (Surgeon
  General‘s Report, 1999, p. 3).                              “This central misconception [conflating mental
           3.       Stigma deters access to                   illness and violent behavior] can distract from
                    care                                      other efforts to reduce violence and
                                                              unnecessarily stigmatize millions with mental
           Fear of getting labeled ―mentally                  health disorders. It could also actually
                                                              undermine public safety by discouraging people
  ill‖   often      discourages           people     from     who pose the greatest risk from seeking
                                                              services, which in turn could result in many with
  seeking help for themselves.                        The
                                                              serious mental illness ending up in the criminal
  potential loss of friends, employment,                      justice system, often for minor quality of life
                                                              offenses and other non-violent offenses. This of
  and the regard of others may eclipse                        course would further perpetuate the mistaken
  the     potential          relief    from     suffering.    impression that mental illness, criminality and
                                                              violence are inextricably linked.”
  Indeed, a recent analysis drawing on
  data from one hundred and forty-four                        Joette Katz, Commissioner, Connecticut
                                                              Department of Children and Families & former
  separate studies conducted across the                       Justice of the Connecticut Supreme Court,
                                                              testimony before the Sandy Hook Advisory
  globe concludes that stigma is a key
                                                              Commission, March 22, 2013
  deterrent in accessing mental health

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  care.      Clement, et al. (2015). What is the impact of mental-health-related
  stigma on help seeking? A Systematic Review of Quantitative and Qualitative
  Studies.                   Psychological        Medicine,             45(1):           11-27.
  Doi:10.1017/S0033291714000129.                 A significant percentage (approximately
  40% according to the most recent data) of people with serious mental health
  challenges         never     pursue    treatment,    and   others    begin     treatment   but
  discontinue it or fail to adhere fully to the recommended course.                      (For a
  comprehensive review of the topic, see Corrigan, P., Druss, B., and Perlick, D.
  (2014). The Impact of Mental Illness Stigma on Seeking and Participating in
  Mental Health Care. Psychological Science in the Public Interest, 15(2): 37-70.)
  According to one sociologist summarizing research on public beliefs about
  mental illness in the United States, ―studies of unmet need consistently report
  attitudes/beliefs are the primary barrier to care, exceeding the influence of
  otherwise formidable structural factors (e.g., insurance, finances),‖ Schnittker,
  J. (2013). Public Beliefs about Mental Illness. In C.S. Anesthensel, J.C. Phelan
  & A. Bierman (Eds.), Handbook of the Sociology of Mental Health (pp. 75-93).
  New York, NY: Springer. The problem may be even more pronounced in the
  context of child and adolescent mental disorders, with low rates of diagnosis
  relative to the number of youths who meet diagnostic criteria, and still lowers
  rates of treatment for those whose disorders are identified. Pescosolido, B.A. et
  al. (2008). Public Knowledge and Assessment of Child Mental Health Problems:
  Findings from the National Stigma Study-Children.                   Journal of the American
  Academy of Child and Adolescent Psychiatry, 47(3), 339-349.
           The consequences of such deterrence can be grim for the individual,
  including unrelieved suffering and worse outcomes down the road.                      Experts
  have concluded that ―stigma represents a significant public health concern
  because it is a major barrier to care seeking or ongoing treatment
  participation.‖ Corrigan, P. (2004). How Stigma Interferes with Mental Health
  Care.      American Psychologist, 59(7), 614-625.           Family members and friends
  may also suffer. They may not understand what is happening to their loved

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  one or may feel helpless to do anything if that person will not pursue
  treatment.         And the community at large bears a burden when one of its
  members will not get the help he or she needs. Symptoms of untreated mental
  illness may interfere with a person‘s ability to participate fully in society.   For
  those with severe mental illness, the consequences could be even more
  devastating.           Although as a general matter mental illness alone contributes
  little to rates of violence, certain forms of severe mental illness may, if left
  untreated, increase the risk for violent behavior, and psychiatric illnesses such
  as major depression clearly raise the risk for self-harm.          Paradoxically, the
  stigma surrounding a perceived association between mental illness and
  violence may actually undermine general safety, since this stigma poses a
  barrier to care for many who need it most.
                    4.       Stigma impacts what care is available

           Stigma also affects the availability and quality of care. The persistent
  underfunding of mental health services, evident in such discriminatory public
  policies as Medicare lifetime limits on psychiatric treatment and low rates of
  reimbursement for mental health providers, may result from the stigma
  attached to mental illness. Although recent reforms such as the federal Mental
  Health Parity and Addiction Equity Act of 2008 seek to achieve parity between
  insurance benefits for mental health services and those for other medical care,
  we have a long way to go before behavioral health care receives equal coverage.
  As highlighted in this report‘s discussion of insurance and funding issues as
  barriers to effective care, precertification requirements that delay and even
  deter access to behavioral health services must be understood as a product of
  stigma as well as a mechanism that compounds its effects. Under most private
  and public insurance plans, behavioral health services (with the exception of
  limited psychotherapy sessions) require prior authorization – a determination
  before treatment begins that the services are medically necessary.            Private
  insurers routinely deny coverage under this ill-defined standard for everything
  from inpatient hospitalization to intensive outpatient treatment to evidence-
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  based community services.        Long-established fundamental elements of
  recovery, such as vocational, occupational and social rehabilitation programs,
  are not reimbursed under private plans. Likewise, more recently validated
  approaches such as Integrated Dual Disorder Treatment or IDDT, an evidence-
  based practice that combines substance abuse services with mental health
  services for people with co-occurring mental health and substance use
  disorder, receive no coverage.    In addition, commercial insurers generally
  distinguish between acute and chronic care, denying care for the latter. By
  comparison, it is impossible to imagine that reimbursement would be denied at
  the point that symptoms of congestive heart failure or COPD fail to remit and
  become chronic.
           Even when people do access treatment, they may face expectations of
  less than full recovery due to stigma within the behavioral health system itself.
  Individuals with mental health issues are often forced into systems delivery
  models that focus on their limitations rather than their strengths. They may
  encounter dismissive or paternalistic attitudes from clinicians, who may
  neglect to ask patients about their goals. Research has established that mental
  health professionals often harbor some of the same stigmatizing views of their
  clients that members of the general public do. Horsfall, J., Cleary, M., & Hunt,
  G.E. (2010). Stigma in Mental Health: Clients and Professionals.       Issues in
  Mental Health Nursing, 31(7), 450-455. Systems that make use of peer support
  and recovery support specialists in addition to professional mental health
  providers may best promote wellness and encourage consumers to flourish.
  Such support specialists, however, can be effective only if they receive respect
  in their dual capacity: as professional partners to other members of the
  treatment team, and as peers to the person in recovery.




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           5.       Internalized stigma
           Stigma is first and foremost a function of negative attitudes, exclusionary
  practices, and discriminatory systems – all external impediments to human
  flourishing.           But   stigma is frequently
  internalized as well through a dynamic                 “My son was diagnosed at the age of
                                                         eight with bipolar disorder, eight
  called ―self-stigma.‖           For example, when      years old. And let me tell you, when
                                                         that happened, it was like somebody
  people        with     mental    health   challenges
                                                         hit us with a brick, and we didn’t
  constantly hear messages about their own               know where to turn, we didn’t know
                                                         what to do, we didn’t know who to
  inferiority, they can begin to believe that a          look to. “
  diagnosis of mental illness means an end to
                                                         Kim Pernerewski, President of NAMI
  achieving their life‘s goals.             One study    Waterbury, Testimony presented to
  dubbed this the ―why try‖ effect, whereby              the Sandy Hook Advisory
                                                         Commission, March 22, 2013.
  individuals with mental illness internalize
  negative stereotypes, applying these attitudes toward themselves in ways that
  undermines their self-esteem and self-efficacy.          They may decline to pursue
  opportunities that would advance their personal aspirations because they
  accept the idea that their illness defines them. Corrigan, P.W., Larson, J.E.,
  Rusch, N. (2009). Self-Stigma and the ‗Why Try‘ Effect: Impact on Life Goals
  and Evidence-Based Practices. World Psychiatry, 8(2), 75-81. This experience
  contributes significantly to isolation and demoralization and has been shown to
  impact a wide range of life outcomes. Livingston, J.D. & Boyd, J.E. (2010).
  Correlates and Consequences of Internalized Stigma for People Living With
  Mental Illness: A Systematic Review and Meta-analysis. Social Science &
  Medicine, 71(12), 2150-2161.
           Moreover, stigma affects not only the individual diagnosed but also that
  person‘s family. Researchers call this ―stigma by association‖ or ―associative
  stigma.‖       Van Der Sanden, R.L., Bos, A.E., Slutterheim, S.E., Pryor, J.B., &
  Kok, G. (2013). Experiences of Stigma by Association among Family Members
  of People with Mental Illness. Rehabilitative Psychology, 58(1), 73-80. The fear
  and shame that surround mental illness, and the social distancing it entails,

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  compound the family‘s burden and deplete its resources.        Family members
  wrestling with a loved one‘s psychiatric illness frequently go through a grieving
  process, one that they must endure alone. For both the individual and that
  person‘s family, a diagnosis of mental illness evokes a very different response
  than does a diagnosis of cancer.     Rather than bring casseroles, friends and
  neighbors may stay away, expressing their discomfort through avoidance and
  gossip.       Family members may suffer severe psychological strain and their
  relationships may become imperiled.
           Although it is unclear exactly what role stigma played in the Lanza
  household, it seems likely that the stigma attached to mental illness and the
  behavioral health system affected the family‘s choices and internal dynamics as
  well as its interactions with the community. Stigma may have informed his
  mother‘s decision to withdraw A.L. from treatment at Yale.       Stigma almost
  certainly contributed to the isolation that both experienced. According to the
  recent report issuing from the Office of the Child Advocate, Ms. Lanza may
  have both overestimated and underestimated her son‘s social, emotional, and
  behavioral health challenges. On the one hand she created and perfected what
  the Yale Child Study Center‘s evaluating psychiatrist dubbed a ―prosthetic
  environment‖ that unwittingly undermined her son‘s healthy development and
  enabled his progressive alienation from the community of his peers. Ultimately
  he became so isolated that he eschewed live human contact altogether. On the
  other hand, she may have failed to appreciate the full and increasingly
  alarming extent of his social and emotional impairments. Out of concern for
  his welfare she narrowed her own world dramatically to accommodate her son,
  thereby cutting both of them off from potential support structures. The stress
  and shame of parenting a deeply troubled child may have made it impossible
  for Ms. Lanza to ask for help in those final years. Nothing in the record before
  the Commission suggests that offers of assistance were forthcoming. Pervasive
  stigma compounds the stress and shame that many families experience, and
  this experience may encourage family members to retreat still further from

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  potential social supports. The Child Advocate‘s report notes emphatically that
  stigma can impede the sort of successful family engagement strategies that are
  critical to the effective care and support of children with emotional,
  developmental and behavioral challenges.
                    6.       The media‘s role in perpetuating stigma
           Any discussion of this topic would be incomplete without a reflection on
  the significant role the media plays in perpetuating stigma. In 1999, a New
  York Daily News headline screamed, ―Get The Violent Crazies Off Our Streets!‖
  A 2013 headline on the cover of the British paper The Sun announced ―1,200
  Killed By Mental Patients,‖ with the number 1,200 highlighted in blood red.
  Such headlines strongly bolster the misconception that people with psychiatric
  illnesses are routinely violent and dangerous.            Since many Americans learn
  about mental illness principally through visual and print media, the messages
  they encounter there go a long way toward shaping their attitudes. As the New
  Jersey Governor‘s Council on Mental Health Stigma explains, ―[t]hose living
  with mental illness are sometimes exempt from the sensitivity and compassion
  that writers, journalists, filmmakers, and television producers afford those
  living with illnesses such as cancer and diabetes.‖21
           Even less obviously sensationalistic media coverage can compound these
  damaging and inaccurate stereotypes.                Much of the coverage on access to
  firearms in the wake of tragedies such as the Sandy Hook shootings has
  focused on restrictions related to a person‘s history of psychiatric treatment.
  For example, a December 21, 2013 New York Times article bearing the headline
  ―When the Right to Bear Arms Includes the Mentally Ill‖ was followed one week
  later by an editorial provocatively titled ―When the Mentally Ill Own Guns.‖ In
  the second piece, the editors of the New York Times referred to the earlier
  article as a ―recent report showing how people who brandish guns, threaten
  family and neighbors and even admit to mental illness are able to get around
  the police‖ Editorial Board (December 28, 2013). When the Mentally Ill Own

  21 See http://www.state.nj.us/mhstigmacouncil/community/media/

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  Guns. The New York Times. The implication here is that an identified mental
  illness clearly signals dangerousness even if the laws on firearm eligibility do
  not preclude all of ―the mentally ill‖ from owning guns. As discussed elsewhere
  in this report, mental illness plays a marginal role in the risk of gun violence,
  particularly gun violence directed toward strangers, but headlines such as
  these suggest otherwise.              Moreover, recent research confirms that the
  inordinate focus on mental illness in media coverage of mass shootings clearly
  increases stigma toward people with serious mental illness and provides fodder
  for discriminatory policies and practices.           McGinty, E.E., Webster, D.W., &
  Barry, C.L. (2013). Effects of News Media Messages About Mass Shootings on
  Attitudes Towards Persons With Serious Mental Illness and Public Support for
  Gun Control Policies. American Journal of Psychiatry, 170(5), 494-501.              In
  addition to exacerbating negative attitudes toward people with psychiatric
  illnesses, media coverage that places mental illness at the center of debates
  over gun control may irresponsibly distort the issues by suggesting that access
  to firearms by individuals with mental illness constitutes a significant factor in
  overall rates of gun violence.
                    7.       Effectively combating stigma
           While it is clear that we must work to eradicate stigma and its effects on
  people suffering from mental health challenges and their families, it is far less
  clear how we should go about doing so.              Concerted stigma-reduction efforts
  have had a mixed record of success.                 For example, as described earlier,
  clinicians, advocates and policy makers have increasingly presented mental
  illness as a medical disease with neurobiological origins, partly in response to
  scientific knowledge and partly in an effort to decrease stigma. At least one
  recent study, however, establishes that even if the                  public embraces
  neurobiological explanations for disorders such as schizophrenia, major
  depression and alcohol dependence, signs of stigma have not diminished
  significantly.         Indeed, while researchers did identify widespread support for
  mental health treatment, they also found that such support actually went

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  hand-in-hand with exclusionary policies toward people with behavioral health
  challenges. (Pescosolido, B. A., 2010).
           Other studies have focused on the particular mechanisms employed in
  anti-stigma campaigns, identifying three general categories: protest efforts,
  education, and direct contact with people living with mental illness.              They
  suggest that these approaches have varying degrees of efficacy and that their
  impact may well depend on the audience.                     Protests launched against
  stigmatizing media images and stereotypical depictions of mental illness have
  witnessed some success in reducing such representations, but their impact on
  the public‘s attitudes is less clear. Indeed, the suppression of stereotypes, if
  not combined with efforts to promote personal contact, may actually exacerbate
  stigma. Corrigan, P.W., Penn, D.L. (1999). Lessons from Social Psychology on
  Discrediting         Psychiatric   Stigma.    American Psychologist,   54(9),   765-776.
  Educational campaigns that address many of the misconceptions surrounding
  mental illness may influence the attitudes of providers within the healthcare
  system but are unlikely, without more, to make much of a difference to
  members of the general public.               Finally, and of particular concern to this
  Commission, strong evidence suggests that discussions linking mental illness
  and violence may exacerbate negative, fearful attitudes toward people with
  mental health challenges and encourage exclusion and avoidance. Even where
  such discussions occur in an effort to generate support for mental health
  services, these negative stereotypes may coincide with contrary impulses,
  undercutting such support.
           A clearly effective way to correct the negative stereotypes held by those
  outside the mental health field is to contest dehumanization by illuminating
  the humanity of those who live with mental illness. Where possible, we should
  foster personal contact between members of the public and people with lived
  experience of mental illness.           Rusch, N., Angermeyer, M.C., Corrigan, P.W.
  (2005).       Mental Illness Stigma: Concepts, Consequences, and Initiatives to
  Reduce Stigma.             European Psychiatry, 20(8), 529-539; Corrigan, P.W., Penn,

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  D.L. (1999).           Lessons from Social Psychology on Discrediting Psychiatric
  Stigma. American Psychologist, 54(9), 765-776.                 In addition to programs
  promoting personal contact, media outlets can expose the public to those with
  lived experience. We can look to places such as New Zealand, Canada and the
  United Kingdom, among others, for examples of broad-scale media campaigns
  to combat stigma. These efforts appear to have had some salutary effects. In
  the case of England‘s ―Time to Change‖ anti-stigma campaign, launched in
  2009, recent survey data finds that media messages aimed at changing
  attitudes and behaviors around mental health problems have had a positive
  impact, though a moderate one.               Evans-Lacko, S., Corker, E., Williams, P.,
  Henderson, C., and Thornicroft, G. (2014). Effect of the Time to Change Anti-
  Stigma Campaign, Launched in 2009, Recent Survey Data Finds That Media
  Messages Aimed at Changing Attitude and Behaviors Around Mental Health
  Problems Have Had a Positive Impact, Though a Moderate One.                 The Lancet
  Psychiatry, 1(2), 121-128.22           Experts who study mental health stigma agree
  that media campaigns must incorporate two types of messages to combat
  stigma effectively: ―see the person‖ messages and recovery-oriented messages.
  Both draw attention to the person behind the label and refute gloomy, and
  potentially self-fulfilling, prognoses.         While short of clear consensus, two
  additional messages also receive broad support: those that promote social
  inclusion (also described as a ―human rights‖ message) and those that
  emphasize the high prevalence of mental disorders. Experts caution against a
  ―one size fits all‖ approach, stressing that particular combinations of messages,
  targeted toward particular audiences, are likely to be most effective.           Clement,
  S., Jarrett, M., Henderson, C., and Thornicroft, G. (2010). Messages to Use in
  Population-Level           Campaigns    to   Reduce   Mental    Health-Related    Stigma:
  Consensus Development Study. Epidemiologia e Psichiatria Sociale, 19(1), 72-
  29.       The Substance Abuse and Mental Health Services Administration
  (SAMHSA) has published a comprehensive toolkit called Developing a Stigma

  22 Available at http://www.time-to-change.org.uk/.

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  Reduction Initiative that includes a step-by-step guide as well as best practices
  for successful campaigns to reduce stigma.23
           Many of the Commission‘s additional recommendations, while not
  addressed directly to stigma reduction, may have the salutary effect of
  decreasing stigma. For example, school-based behavioral health services have
  the potential to enable children and families to address mental health
  challenges in an environment relatively free from the stigma that attaches to
  the mental health system.      Even more significantly, they could over time
  diminish the stigma associated with mental illness by integrating mental health
  care with other forms of health screening and care available to children
  through the schools. Schools can communicate to students and their families
  that mental health is an important component of total wellness.
           Programs such as CIT (Crisis Intervention Team Training) and CIT-Y
  (training directed toward youth issues) for the law enforcement community and
  Mental Health First Aid for teachers, counselors, parents, neighbors, coaches,
  youth group leaders, police officers and
  others can have a direct impact on stigma.       “What CIT and CIT-Y both do, is they
                                                   create opportunities. [A program
  The former programs equip law enforcement        like these] reduces the stigma even
  officers with the tools necessary to assist      by us, because we wear badges, we
                                                   wear uniforms, but we’re human
  people experiencing behavioral health crises     beings. Do we have a stigma, do we
                                                   have a perception of what mental
  and to deescalate situations that could
                                                   health looks like or what a person in
  otherwise lead to arrest, injury or worse.       crises looks like? It helps reduce
                                                   that for everyone. “
  Mental Health First Aid, a program first
  developed in Australia, has since 2008           Sergeant Chris McKee, Windsor
                                                   Connecticut Police Department,
  prepared teachers, counselors, parents and       Testimony before Sandy Hook
  others across the United States to recognize     Advisory Commission, March 22,
                                                   2013
  the warning signs of a mental health
  challenge and to offer help until appropriate treatment and support become


  23 Available at http://store.samhsa.gov/shin/content//SMA06-4176/SMA06-

  4176.pdf.
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  available. Strong evidence suggests that this program has not only increased
  mental health literacy among its participants and connected people to needed
  services, but also reduced stigma.        The program has taken hold already in
  parts of Connecticut.
           An early focus on social and emotional learning that continues through
  the upper grades may also work to combat stigma and discrimination.
  Children who learn not merely to recognize and regulate but also to tolerate
  emotion may develop less fearful attitudes toward those who do experience
  behavioral and emotional challenges.        As children proceed through middle and
  high school, mental health issues should play a central role in the health
  education curriculum. Our educational system places an undue emphasis on
  cognitive skills, and the ascendancy of high-stakes testing only compounds the
  problem.        To promote healthy development of children and adolescents, we
  must foster the capacity for empathy alongside critical thinking and creative
  problem solving.
           For adolescents and adults facing mental health diagnoses, effective
  psychoeducation of both individuals and families can promote acceptance and
  decrease stigma.           Psychoeducation involves structured programs in which
  individuals and families are educated about mental illness, its treatments, and
  strategies for handling typical challenges that might arise in association with a
  particular condition.          Psychoeducation can also encompass information
  relevant to a broad range of conditions or circumstances that trigger
  psychological stress.         The premise of psychoeducation is that knowledge
  provides a powerful tool for managing behavioral health challenges.         When
  taught by peers alongside providers, it not only promotes recovery but also
  offers built-in peer support.




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           Psychoeducation should
                                                      “Allocating money to support people in distress is a
  embrace                    evidence-based
                                                      natural and conscientious response to a tragedy of
  practices.        Some examples of                  this nature. Our communities are in dire need of
                                                      constructive outlets for aggression and supportive
  effective        programs              include      engagement. However, increasing funding for status
  courses such as Parents and                         quo mental health programs [alone] will not
                                                      accomplish this objective of supporting people
  Teachers         as        Allies,         eCPR,    experiencing distress. The experience of many
  Mental Health First Aid, Think                      patients in the current mental health system is one of
                                                      frustration after diagnosis because the focus often
  Trauma and TARGET (Trauma                           becomes managing symptoms and minimizing side
                                                      effects of medication, rather than feeling good and
  Affect Regulation: Guide for
                                                      striving for happiness and a meaningful life. This
  Education and Therapy) that                         approach is leading to oppression, discrimination and
                                                      a significant loss of human potential. It is time to
  educate         the    community               at   support people in ways that appreciate experiences
  large about how to recognize                        contextually and conceive of suffering as transient.
                                                      The mental health system should not treat people as
  signs of emotional distress and                     if there is something inherently wrong with them
  how best to assist those in                         from which they cannot recover. We should focus on
                                                      promoting resilience and encouraging people to take
  need.           The        goal       of    such    responsibility and be accountable for their actions
                                                      and their lives. It has been my experience and that of
  programs is not to teach people
                                                      many others that when people learn what they need
  how to diagnose their family                        to do to be well, including the power of nutrition, of
                                                      working through troubling emotions, of belief in self,
  members,               friends               and    of living intentionally rather than simply existing,
  neighbors          with           a        mental   they recover. Let’s work together to create an
                                                      environment where there are options. Communities
  illness,        but          instead           to   need to be created where people feel as if they have
  recognize that someone whom                         been supported when they reach out to talk about
                                                      their troubles. We must foster the expectation that
  they might consider ―different‖                     people will rebuild their lives. We cannot accomplish
                                                      this aim without including people with psychiatric
  or ―odd‖ may in fact need help.
                                                      histories in the conversation. “
  Participants          learn           ways     to
                                                      Deron Drumm, Co-Executive Director of Advocacy
  connect with an individual in                       Unlimited & Director of Recovery University, written
  need and to empower that                            testimony submitted to the Sandy Hook Advisory
                                                      Commission
  person to get help.                    Courses
  such       as    NAMI‘s           Family       to




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  Family and Peer to Peer partner affected individuals and families with others
  who have been through similar experiences.24 Above all, such programs need
  to incorporate a model of wellness rather than illness.          People living with
  mental health challenges, their family members and friends need to learn skills
  to manage their condition. Diagnosis brings with it a distinct set of challenges,
  only some of which are due to symptoms of the illness itself. People with lived
  experience are role models and can provide examples of a path to a successful
  recovery. They can be part of a treatment team as peer support specialists, or
  providers can refer people in treatment to peer support groups outside of the
  treatment setting.
           Personal accounts coming from those with lived experience of mental
  illness or their families play an important part in effective stigma-reduction.
  Such stories can reach people currently struggling with mental health
  challenges as well as the general public, providing vivid examples for both of
  recovery and resilience.           One in five people currently lives with a mental
  fillness. While most of us know someone living with a mental health challenge,
  too many of us are afraid to talk about it. As a community we need to move
  beyond this silence and toward true acceptance.
                    8.       Concluding thoughts

           As Governor Malloy stated, we must combat the stigma surrounding
  mental health challenges if we are to achieve a mental health system that
  effectively and compassionately helps people overcome barriers to health and
  achieve full participation in our society.          Money invested in anti-stigma
  campaigns must be spent wisely to create social change. Since stigma works
  its harm through stereotyping, social distancing and dehumanization, anti-
  stigma efforts must involve participants with lived experience of behavioral


  24 For resources see http://www.ct.gov/dmhas/lib/dmhas/cosig/

  FamilyToolkit.pdf; see also http://store.samhsa.gov/product/Family-
  Psychoeducation-Evidence-Based-Practices-EBP-KIT/SMA09-4423.

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  health problems who put a human face on mental illness. Stigma can also
  distort people‘s self-understandings as they internalize messages about their
  own inferiority. Providing people with evidence-based psychoeducation helps to
  educate, empower and embrace individuals, families, and communities
  impacted by mental illness. Anti-stigma campaigns must communicate in clear
  and persuasive terms that a diagnosis of mental illness doesn‘t have to mean
  an end to achieving one‘s life goals.
           These efforts should embrace the broader purview of social and
  emotional health and psychological resilience rather than focusing exclusively
  on serious mental illness. Stigma around mental health issues can take hold
  in part because our culture has devalued psychological wellness and emotional
  awareness. Behavioral health challenges affect all of us, and even diagnosable
  mental disorder will touch each one of us directly or through those we love. If
  we can cultivate the capacity for empathy in our children and ourselves, we will
  go a long way toward eradicating stigma and building a system that promotes
  true wellness across our society.
           B.       Key Findings And Recommendations
           27.      Notwithstanding widespread efforts over the past two decades to
  combat stigma, recent studies have found that many members of our society still
  regard people with mental illness as dangerous, incompetent and at fault for
  their condition. But a diagnosis of mental illness does not have to mean an end
  to achieving one’s life goals. Systems of care that promote wellness generally
  and recovery for those who struggle with behavioral health challenges and the
  effects of traumatic stress can help to diminish stigma and its effects. The media
  plays a pivotal role in perpetuating stigma but it can also serve as an agent of
  change, a key player in efforts to eradicate stigma.
           28.      Research suggests that anti-stigma campaigns should incorporate
  two types of messages to combat stigma effectively: “see the person” messages
  that highlight the full humanity of individuals living with mental illness rather
  than focusing on labels; and recovery-oriented messages that refute gloomy, and

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  potentially self-fulfilling, prognoses. But experts caution against a “one size fits
  all” approach, stressing that particular combinations of messages, targeted
  toward particular audiences, are likely to be most effective. The Commission
  strongly supports research that will identify the most effective measures to
  reduce stigma, as well as implementation of those measures.
           29.      Many of the Commission’s recommendations regarding models of
  care and the organization and funding of systems of care, while not addressed
  directly toward stigma reduction, may have the effect of decreasing stigma. For
  example, school-based behavioral health services have the potential to enable
  children and families to address mental health challenges in an environment
  relatively free from the stigma that attaches to the mental health system. Even
  more significantly, they could over time diminish the stigma associated with
  mental illness by integrating mental health care with other forms of health
  screening and care available to children through schools.
           30.      The Commission recommends the expansion of programs that
  engage people across the community in issues relevant to mental health.
  Programs such as CIT (Crisis Intervention Training) and CIT-Y (training directed
  toward youth issues) for the law enforcement community, as well as Mental
  Health First Aid for teachers, counselors, parents, neighbors, coaches, youth
  group leaders, police officers and others, increase mental health awareness
  among members of the community who can then offer support to children and
  adults facing mental health challenges and help them access the resources they
  need.
           31.      For adolescents and adults facing mental health diagnoses, effective
  psychoeducation of both individuals and families can promote acceptance and
  decrease stigma.           Psychoeducation involves structured programs in which
  individuals and families are educated about mental illness and its treatment,
  and strategies are given for handling typical challenges that might arise in
  association with a particular condition.          The goal of such programs is to
  recognize that someone whom they might consider “different” or “odd” may in

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  fact need help. Participants learn ways to connect with an individual in need
  and to empower that person to seek help. Above all, such programs need to
  incorporate a model of wellness rather than focus primarily on illness. People
  with lived experience serve as role models and can provide examples of a path to
  a successful recovery.
  V.       PRIVACY, CONFIDENTIALITY AND COMMUNITY SAFETY
           A.       Analysis: Privacy In The Service Of Mental Health
           Privacy and confidentiality form integral aspects of an effective and
  humane mental health system.                     Federal and state privacy laws shield
  information regarding medical treatment generally, and behavioral health
  treatment         specifically,      from   unauthorized     disclosure.     Obligations     of
  confidentiality on the part of medical providers, however, begin with the
  Hippocratic Oath and find expression in codes of medical ethics. Additional
  laws,      policies        and   professional    ethics   protect   the    confidentiality   of
  communications between mental health consumers and their treatment
  providers. Writing that ―[t]he mental health of our citizenry, no less than its
  physical health, is a public good of transcendent importance,‖ the United
  States Supreme Court recognized a federal psychotherapist-patient privilege in
  a 1996 case, Jaffee v. Redmond, 518 U.S. 1, 11 (1996). Such privileges, which
  exist     in    every       state,   safeguard   confidential   communications       between
  individuals and their psychotherapists against compelled disclosure in court.
  They are predicated on the recognition that successful mental health treatment
  requires honesty and trust. Very few of us would be willing to share our most
  intimate thoughts and feelings with a provider without assurance that these
  would not be revealed publicly, much less used against us in a legal
  proceeding.




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           The right to privacy more broadly garners protection under federal and
  state constitutions. But guarantees of privacy are not absolute, even in the
  context of mental health care. Instead, they entail a balancing of rights and
  responsibilities in the interests of individual well-being and community safety.
  Questions of privacy and confidentiality implicate a complex tangle of federal
  laws, including the Health Insurance Portability and Accountability Act (HIPAA)
  Privacy Rule, the Family Educational Rights and Privacy Act (FERPA), and
  statutes directed toward the confidentiality of substance abuse treatment. In
  addition to these federal provisions, states have their own laws and policies
  prohibiting, limiting or – in some cases – mandating the disclosure of mental
  health information.
           In the wake of recent high-profile events in which individuals with
  psychiatric histories committed acts of mass violence, including the shootings
  at Virginia Tech University and at an Aurora, CO movie theater, some
  commentators have called for changes to existing laws in order to permit more
  ready disclosure of protected health and
  educational information in the name of
                                                                  “The widespread perception is that
  public safety.             A closer examination of              information privacy laws make it
                                                                  difficult to respond effectively to
  existing laws, along with the sort of
                                                                  troubled students. This perception is
  guidance recently provided by the U.S.                          only partly correct. Privacy laws can
                                                                  block some attempts to share
  Department            of     Health        and     Human        information, but even more often may
  Services,        illuminates       provisions            that   cause holders of such information to
                                                                  default to the nondisclosure options –
  permit appropriate disclosure of private                        even when laws permit the option to
  information when a clear and imminent                           disclose. […] Much of the frustration
                                                                  about privacy laws stems from lack of
  and serious threat to public safety exists.                     understanding. When seen clearly,
                                                                  the privacy laws contain many
  Additional         clarification      is     particularly
                                                                  provisions that allow for information
  important in light of the fact that, as the                     sharing where necessary.”
  panel appointed to study the Virginia Tech                      Mass Shootings at Virginia Tech,
  shootings         observed,      fear       of    violating     Report of the Review Panel (August
                                                                  2007), p. 63.
  applicable         laws      sometimes           leads     to

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  excessive caution in cases where disclosure is warranted. The Commission is
  divided on whether revisions to existing laws are warranted to permit mental
  health professionals in some cases to share relevant information about a
  patient‘s treatment with family members over the patient‘s objections.
                    1.       The HIPAA Privacy Rule
           The federal HIPAA Privacy Rule, which took effect in 2003, protects the
  privacy of patients‘ health information while permitting appropriate uses and
  disclosures of the information when necessary for a patient‘s treatment, for
  public health purposes, or for other critical needs such as a serious threat to
  the health or safety of the patient or third parties.         It applies to ―covered
  entities,‖ which include all health care providers, including mental health care
  providers, and health plans that transmit health information in electronic form.
  The information protected, though, encompasses individually identifiable
  health information transmitted in any format.         Providers must observe the
  minimum requirements of the Privacy Rule regardless of the state in which
  they practice, although if a state‘s laws provide greater protections to patients
  then providers must adhere to the more stringent laws. HIPAA distinguishes
  between situations that permit disclosure of a patient‘s health information with
  that patient‘s express or implied consent and those that require further
  authorization, typically in the form of a detailed release.
           At the same time that it expands patients‘ rights to control the disclosure
  of protected health information (―PHI‖) and communications about their care,
  the Privacy Rule permits disclosure of such information in a variety of
  circumstances.             For instance, HIPAA allows a health care provider to
  communicate in the patient‘s presence with a patient‘s family, friends or other
  persons who are involved in the patient‘s care or payment for care, as long as
  the patient does not object. Ideally, family and friends play a supportive and
  integral role in a patient‘s health care. When a patient has capacity to make
  health care decisions and expressly consents to disclosure, HIPAA clearly
  permits a provider to share relevant information with family members or

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  others.        In circumstances where, using professional judgment, the provider
  may infer consent from a patient‘s conduct – for example, when a family
  member or friend is invited into the treatment room – that provider may also
  discuss such information with third parties.             A more complicated situation
  arises where a patient is not capable of objecting or granting consent, because
  the patient is either incapacitated or not present. In such situations, providers
  may still disclose information to family members or friends as long as the
  provider determines, based on professional judgment, that disclosure is in the
  patient‘s best interests. Where the third party is neither a family member nor a
  friend, the provider ―must be reasonably sure that the patient asked the person
  to be involved in his or her care or payment for care.‖             U.S. Department of
  Health and Human Services (HHS). (2014). Guidance Document: HIPAA Privacy
  Rule        and            Sharing   Information     Related   to    Mental      Health.
  http://www.hhs.gov/ocr/privacy/hipaa/understanding/special/mhguidance.h
  tml.     In all cases, however, disclosures must be limited to protected health
  information directly relevant to the person‘s involvement in the patient‘s care or
  payment for care.
           The Privacy Rule enumerates other circumstances in which covered
  entities may use and disclose PHI, including as part of their own ―treatment,
  payment and health care operations.‖                In other words, they may reveal a
  patient‘s health information to further the patient‘s health care services, to
  obtain payment or reimbursement for care provided, or to advance their own
  internal operations. Providers may not release protected health information to
  employers, schools, or others for purposes other than treatment, payment or
  health care operations without a very specific written authorization.
           Several external conditions permit providers to disclose portions of a
  patient‘s health information. If a statute or court order requires a provider to
  disclose individually identifiable health information, then the provider may do
  so.    In limited circumstances, the Rule permits disclosure for certain public
  health purposes as well as for the protection of individuals from abuse, neglect

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  or domestic violence.       The Rule also allows disclosure for certain law
  enforcement purposes. In cases where a serious and imminent physical threat
  to the safety of an individual or the public exists providers may disclose to
  someone they believe may be able to prevent or lessen that threat.      Again, in
  all cases disclosure should be limited to the minimum amount of information
  needed to accomplish its intended purpose.
           Like the Jaffee case, HIPAA identifies a particularly pressing need for
  confidentiality in psychotherapeutic relationships.     While the Privacy Rule
  covers all health information, additional privacy protections apply to notes from
  psychotherapy sessions. According to the Privacy Rule, psychotherapy notes
  are ―notes recorded by a health care provider who is a mental health
  professional documenting or analyzing the contents of a conversation during a
  private counseling session or a group, joint, or family counseling session and
  that are separate from the rest of the patient‘s medical record.‖ (HHS Guidance,
  p.3.)    These are to be distinguished from information about medication, the
  modalities and frequency of treatments, results of clinical tests, diagnoses,
  progress reports, or the like. They do not include any information contained in
  a patient‘s medical record. Disclosure of psychotherapy notes requires written
  authorization from the patient.
           An exception to this extra solicitude granted psychotherapy notes arises
  if disclosure is mandated by other law.       Such compelled disclosure would
  generally arise only in situations involving mandatory reporting of abuse and
  mandatory ―duty to warn‖ situations in which the patient threatens serious
  and imminent harm against reasonably identifiable victims, or those in which
  the patient poses a threat of imminent harm to self.        Since the California
  Supreme Court decided the landmark case of Tarasoff v. Regents of the
  University of California in 1976, almost all states have recognized an exception
  to therapist-patient confidentiality where a therapist determines that a patient
  poses a serious threat of harm to others.       In some states, such knowledge
  triggers a duty to warn or to take other measures to protect potential victims,

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  while in others, such as Connecticut, it gives providers permission to breach
  confidentiality without fear of legal reprisal. Connecticut law currently defines
  this exception differently depending on the professional status of the therapist,
  with separate statutory provisions applying to psychologists, psychiatrists,
  social workers, marital and family therapists, and professional counselors.
  While the statutory ―duty‖ in Connecticut is couched in permissive language,
  court cases appear to recognize a potentially mandatory duty to protect in
  situations where a patient poses a threat of imminent harm to a known victim
  or class of victims.
           Under the HIPAA Privacy Rule, if a provider discerns a serious, imminent
  threat of harm to the patient or to others, the provider may contact a patient‘s
  family or law enforcement, consistent with applicable law and standards of
  ethical conduct. Even where a threat exists, however, disclosures may not be
  made indiscriminately; they should be made only to people who are reasonably
  able to prevent the harm or lessen the threat.               These may include police
  officers, family members, school administrators, and campus security.
                    2.       The health information of a minor child
           Children are generally not accorded the same rights to control their
  health information as are emancipated minors and adults. The Privacy Rule
  authorizes a health care provider to share information regarding the health and
  treatment of a minor child with that child‘s personal representative.          HIPAA
  recognizes that parents, guardians or others acting ―in loco parentis‖ usually
  have the authority to make health care decisions about their minor children
  and therefore serve in most cases as personal representatives who can access
  PHI, authorize disclosure to third parties, and exercise other privacy rights of
  the child. Exceptions to this provision arise when state law permits a child to
  access health (including mental health) services without a parent‘s consent;
  when someone other than the parent is authorized by law to make health care
  decisions for the child; or when the parent or guardian assents to a particular
  confidentiality agreement between the provider and the child.              State laws

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  determine the specific age at which a child may make his or her own health
  care decisions for HIPAA purposes.              Although parents serving as personal
  representatives generally have access to information contained in their child‘s
  medical records, including information about diagnosis, symptoms and
  treatment plans, they do not have the right to a copy of notes from the child‘s
  psychotherapy sessions. Moreover, if a provider suspects that permitting the
  parent or guardian to exercise the child‘s privacy rights might endanger the
  child or is otherwise not in the child‘s best interests then the provider need not
  do so. Similar provisions apply to a legal representative, such as the guardian,
  of an adult or emancipated minor patient.
                    3.       Limits on a parent or guardian‘s access to health information
                             of an adult child

           When a child reaches the age of majority, his or her parents or legal
  guardian no longer have the right to make decisions regarding the adult child‘s
  medical care. Under non-emergency circumstances, HIPAA prevents doctors,
  therapists and other providers from sharing protected information about an
  adult patient‘s treatment – even with family members – when the patient has
  objected to disclosure.          Many in the behavioral health community see these
  HIPAA restrictions as too stringent when applied to family members,
  particularly in the context of treatment for mental and substance use
  disorders.        A person suffering from the symptoms of a serious mental illness,
  which might include hallucinations, paranoia, suicidal feelings, and other
  experiences with the potential to cloud judgment and distort reality, could be
  poorly positioned to make such decisions. If not privy to critical information
  about the patient‘s condition and treatment, family members may remain
  unable to provide the support necessary for the patient‘s recovery and may lack
  the preparation to respond to a potentially volatile situation.
           A hypothetical scenario may help to illustrate these dangers.          An 18-
  year-old young man has had to take leave from his first year in college due to
  his third psychotic episode; he has recently received a diagnosis of

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  schizophrenia. He lives at home with his parents and is entirely dependent on
  them, unable to hold employment or live independently. He does well when he
  takes medication but rapidly decompensates when he becomes non-compliant.
  Although his parents attempt to supervise his medication to ensure that he
  remains compliant, he does not always cooperate. He has been readmitted to
  an inpatient unit following his latest discontinuation of medication. On the
  unit, he refuses to sign a release allowing the staff to share information about
  him with his parents. When he reveals to staff that he intends to stop his
  medications again, once discharged, the staff is unable to disclose this to his
  parents. In addition, he has decided that his parents are plotting against him
  and that remaining in their household is dangerous for him. He has developed
  a plan to go home on discharge, gather some belongings and hitch-hike to
  another state where he has a friend who, although they have not been in
  communication for several years, the patient is sure will take him in. The staff
  is similarly unable to advise the parents of this plan because the patient has
  failed to sign a release. HIPAA requires a finding of imminent dangerousness
  to share information without a patient‘s express or implied permission. While
  his treatment providers fear that this patient is clearly on a path to chronic
  psychosis, homelessness and revolving door admissions, because his behavior
  cannot be considered imminently dangerous either to himself or others HIPAA
  makes it unlikely that his parents – his sole support system – will be able to
  intervene.        If they violate HIPAA‘s Privacy Rule, providers may be subject to
  very large fines or, under some circumstances, even graver penalties.
           Others within the mental health community, however, maintain that
  HIPAA‘s existing exceptions afford sufficient opportunities to protect patients
  and others from danger.             They are concerned that weakening privacy
  protections for mental health patients may frustrate treatment by deterring
  some who need it from seeking or continuing care, and by discouraging truly
  forthcoming communications with providers in the course of treatment.
  Moreover, a less robust approach to privacy might threaten the autonomy of

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  mental health consumers, at least in the short-term. Whereas those persuaded
  that HIPAA protections go too far in elevating privacy rights over other concerns
  support efforts to amend the federal law in Congress, advocates of patient
  privacy oppose such efforts. Opponents claim that in many cases providers
  actually hide behind HIPAA, overestimating its restrictions and their own
  potential liability.        At the very least, efforts must be made to clarify these
  issues, educate participants across the mental health system on the precise
  contours of the law, and encourage voluntary communication about treatment
  to the extent it promotes recovery.
                    4.       Communications to health care providers from concerned
                             friends or family members

                                                                    Although HIPAA and state laws
      “It’s not that this is a person who is only             place significant constraints on the
      acting badly in their counseling setting and
      [is] fine everywhere else. If we’re starting to         disclosure of individually identifiable
      see real behavioral concerns, we’re seeing it           health information absent a patient‘s
      in the different areas of their life: in the
      classroom, in the home, on the playing field,           consent or authorization, HIPAA does
      in the workplace if we’re dealing with an               not      prevent         concerned         family
      adult case, for example, and not just in a
      counseling setting. So trying to get access to          members            and         others        from
      that protected information often doesn’t get
                                                              communicating their own worries
      us more than what we’re able to find out
      through publicly available information or just          about a person‘s health or safety to a
      talking with teachers, for example, or
      colleagues. But with mental health                      provider.    In the context of mental
      professionals involved, one thing that’s very           health treatment, HIPAA permits a
      important is that we can always provide
      information to a counselor, to a therapist. So          health      care     provider         to     take
      while psychologists, psychiatrists, social
                                                              information in from family members
      workers can’t give us information from a
      patient, there is nothing that prevents them            or friends who are concerned about
      from receiving information. “
                                                              someone      receiving         mental      health
      Marisa Randazzo, Ph.D., SIGMA Threat                    treatment,     even       if   that     provider
      Management Associates, testimony before
      Sandy Hook Advisory Commission, March 22,               cannot reveal information to those
      2013.                                                   parties.      For        instance,      in    her
                                                              testimony to the Commission, Marisa

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  Randazzo, Ph.D., a national expert on threat assessment and violence
  prevention, suggested that privacy laws such as HIPAA do not pose a major
  obstacle to the work of teams focused on identifying students or workers who
  may pose a threat of harm to themselves or others. According to Dr. Randazzo,
  while privacy laws may prevent teams conducting threat assessments from
  accessing protected health information absent emergency services, teams often
  have access to equally relevant information through other channels such as
  teachers, friends and family members that may suffice to inform the team as to
  a    person‘s          particular   risk   factors.   Moreover,   since   HIPAA   permits
  communications to providers, knowledge that family members, friends and
  even threat assessment teams have of a particular patient‘s behavior may
  actually contribute to the patient‘s treatment.              HHS recently clarified that
  HIPAA ―in no way prevents health care providers from listening to family
  members or other caregivers who may have concerns about the health and
  well-being of the patient, so the health care provider can factor that
  information into the patient‘s care.‖ (HHS Guidance, 2014, p. 8.) Any such
  information transmitted to a provider by someone close to the patient, if given
  under a promise of confidentiality, may be withheld from the patient ―if the
  disclosure would be reasonably likely to reveal the source of information.‖
  (HHS Guidance, 2014, p. 8); 45 C.F.R. § 164.524(a)(2)(v)).                The regulations
  implementing HIPAA carve out this exception to a patient‘s right of access to
  protected health information so that family members may communicate
  relevant safety information without worrying that the patient will feel betrayed
  upon learning of this communication.
                    5.       FERPA
           The HIPAA Privacy Rule specifically excludes from its reach records that
  are protected under The Family Educational Rights and Privacy Act, or FERPA.
  FERPA guards the privacy of students‘ education and treatment records.                 It
  applies to all educational agencies and institutions that receive funds under
  any program administered by the U.S. Department of Education, and therefore

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  reaches virtually all public schools and school districts, as well as most private
  and all public colleges and university, including medical, law and other
  professional schools.      Since it does not apply to schools that do not receive
  funding from the U.S. Department of Education, private and parochial
  elementary and secondary schools are generally exempt from FERPA‘s
  requirements. The law requires the written consent of a parent or eligible
  student before an educational agency or institution may disclose education
  records or personally identifiable information from education records. At the
  elementary or secondary school level, ―education records‖ not only encompass
  a student‘s academic records but also a student‘s health records such as
  immunization records and those residing with a school nurse that are
  maintained by an educational agency or institution.         They also include a
  student‘s records on special education services provided under the Individuals
  With Disabilities Education Act (IDEA).        FERPA gives students and their
  parents the right to inspect all education records.
           At postsecondary institutions, a student‘s medical and psychological
  treatment records relating to student health or psychological services are
  generally excluded from the definition of ―education records‖ under FERPA so
  long as they are created, maintained and used only in connection with that
  student‘s treatment. This means that treatment records are available only to
  professionals providing medical or mental health care to the student, or to
  other appropriate professionals of the student‘s choice.     A student does not
  have an automatic right to inspect such records if they are not considered
  ―education records.‖ Such records may be disclosed for other purposes with
  the written consent of the student or, if a relevant exception applies, without
  the student‘s consent.      For example, disclosure may be made in connection
  with a health or safety emergency.       Once the records are disclosed for any
  purposes other than treatment, however, including to the student himself or
  herself, they become ―education records‖ subject to all other FERPA
  requirements. If the student is receiving treatment at a university hospital that

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  provides such services without regard to a person‘s status as a student and not
  on behalf of the university, then records related to the treatment are subject to
  the HIPAA Privacy Rule rather than FERPA.
           As with HIPAA, FERPA‘s provisions include exceptions that apply when a
  student‘s or third party‘s health or safety is at stake.    Both education and
  treatment records may be disclosed to appropriate parties without consent in
  connection with an emergency if necessary to protect the health or safety of the
  student or others.
           6.       Gray areas between FERPA and HIPAA
           Because both laws protect the privacy of records that may pertain to a
  person‘s health history or treatment, some confusion exists around areas of
  potential intersection between FERPA and HIPAA.           One area of potential
  confusion involves the records of health care provided to students in an
  educational setting.       A public elementary or secondary school that provides
  health care to students through school-based health clinics, nurses, social
  workers or other professionals is generally not considered a ―covered entity‖
  subject to HIPAA. The actual records relating to student health are generally
  considered ―education records,‖ and for all schools receiving funding from the
  Department of Education these records are therefore subject to FERPA rather
  than the HIPAA Privacy Rule. In other words, the HIPAA Privacy Rule usually
  does not apply to schools or those acting on behalf of schools to provide health
  services to students. But where an outside provider or entity provides services
  directly to students without acting on behalf of the school, even if it does so on
  school grounds, then its records are not subject to FERPA. Those records may
  be subject to the HIPAA Privacy Rule if that provider is a ―covered entity.‖ For
  schools that are not covered by FERPA, such as private schools that do not
  receive funding from the U.S. Department of Education, the HIPAA Privacy




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  Rule may apply to all individually identifiable health information of students as
  long as the schools qualify as ―covered entities.‖25
                    7.       Concluding thoughts: Balancing privacy and safety under
                             both HIPAA and FERPA

           With their extensive limitations on disclosure of private information and
  their recognition of individual privacy rights, both HIPAA and FERPA codify the
  deep respect for personal privacy that our society has embraced for more than
  a century. Yet both statutes shield private health and educational information
  from unauthorized disclosure while maintaining exceptions that serve equally
  significant interests in community safety. When a person‘s behavioral health
  challenges are contributing to a serious and imminent safety threat, then
  provisions within existing laws permit the sharing of relevant information that
  would otherwise be shielded from disclosure to the extent that this information
  is likely to lessen or avert this threat.          Recent guidance from the U.S.
  Department of Health and Human Services helps to clarify when and how such
  information may be communicated.              This sort of clarification needs to be
  combined with outreach to and education of behavioral health care providers.
  It remains the case, however, that the language of these laws is exceedingly
  complex.        The guidance documents issued by HHS are themselves densely
  written and fail to adequately elucidate all relevant issues. Additional efforts at
  both the state and federal levels to facilitate appropriate interpretation and
  application of these laws are therefore warranted.         As recommended by the
  Task Force to Study the Provision of Behavioral Health Services for Young
  Adults, Connecticut should ―[c]larify, and educate all health care providers
  regarding, the current HIPAA and FERPA laws that address communications
  between clinical providers and college, school and university settings where
  adolescents and young adults study in order to allow enhanced and timely
  communication when safety due to a mental illness (threat to self or others) is
  an issue.‖ (Task Force Report, 2014, p. 62)

  25 See http://www2.ed.gov/policy/gen/guid/fpco/doc/ferpa-hipaa-guidance.pdf.

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           Some members of the Commission remain concerned that existing laws
  such as HIPAA that restrict disclosure of treatment information even to parents
  or other family members over a patient‘s objection erect an additional barrier to
  effective care. Others support communication about treatment consistent with
  an adult patient‘s choice as long as no emergency or threat to safety exists.
  Since threats to safety occur on a continuum from minimal to extreme, there
  will always be gray zones in which the assessment of the degree of threat and
  the interpretation of privacy laws create a conundrum for clinicians considering
  disclosure of patient information.        Although the Commission was unable to
  arrive at a recommendation concerning these issues, its members agree that
  privacy laws must be interpreted and applied in ways that facilitate care
  coordination and the provision of integrated care to the maximum extent
  possible. It is particularly critical that information-sharing take place to the
  full extent permitted under law so that children's needs can be adequately
  recognized and addressed across schools, health care settings, child guidance
  clinics, and other institutions critical to their healthy development.
           B.       Recommendations
           32.      The Commission cautions against measures that would curtail the
  privacy rights of people living with mental illness in the absence of a clear
  understanding of what current laws and policies do and do not allow. Although
  recent guidance issuing from federal agencies attempts to clear up widespread
  confusion about how far existing laws go in limiting the sorts of disclosures that
  might arise in the context of concerns about safety, ambiguities and potential
  misunderstandings persist.         Additional efforts to clarify and educate providers
  and the public on these issues are sorely needed.
           33.      Existing laws permit appropriate disclosure of otherwise private
  mental health information in situations where a threat to someone’s safety
  appears imminent.          Privacy laws still, however, restrict most communications
  about a person’s mental health treatment absent that person’s consent, even
  where barriers to disclosure frustrate effective care or subject the patient and

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  others to less obvious dangers.        The Commission supports efforts to facilitate
  communication in the service of effective care while respecting individuals’ rights
  to privacy and autonomy.
           34.      With respect to children’s behavioral health, it is essential that
  information-sharing take place to the full extent permitted by law so that
  children’s needs can be adequately recognized and addressed across schools,
  health care settings, guidance clinics, and other institutions critical to their
  healthy development. Educational privacy laws should be implemented in such
  a way that they do not compromise essential communication for children
  struggling with serious emotional, behavioral and developmental challenges.
  With parent permission, schools and treatment providers should in general be
  allowed to share important information that will facilitate the care and education
  of children.
  VI.      THE ROLE OF MENTAL ILLNESS IN VIOLENT EVENTS
           A.       Analysis: Mental Illness And Violence, Misconceptions And
                    Realities

           What role did mental illness play in A.L.‘s decision to take the lives of
  twenty-six children and adults at Sandy Hook Elementary School, as well as
  that of his own mother and himself?              As noted in the Child Advocate‘s
  exhaustive report on his developmental and educational history, we do not
  have a definitive answer to that question and may never discover one. Simply
  posing the question here, in the context of the Commission‘s report, may lend
  credence to popular misconceptions surrounding the extent to which mental
  illness contributes to violence in America.        As we shift focus from the gun
  safety implications of the Sandy Hook shootings to the implications for mental
  health treatment, the Commission remains concerned that a report dwelling on
  questions of mental illness or mental health risks may cement associations
  between mental illness and violence for the public. Indeed, many of the experts
  who testified before the Commission expressed their hope that discussions of
  mental health in the aftermath of mass shootings avoid reinforcing the

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  perceived link between mental illness
  and violence. Nearly half of Americans                       “The first mental hospital in the American
                                                               colonies was founded by no lesser light
  believe      that      persons       with     serious        than Benjamin Franklin, who first argued
                                                               before the Pennsylvania colony that
  mental illness are ―more dangerous
                                                               treatment should be provided to people
  than         the        general        population,‖          with mental illness for humanitarian
                                                               reasons because they were in pain. He
  according to a 2013 public opinion                           was told that the resources weren’t
  survey whose results appeared online                         available. He came back in the next
                                                               session and argued that people with
  in    the      New         England     Journal         of    mental illness were ‘a terror to their
  Medicine.26           As noted earlier, such                 neighbors, who are daily apprehensive of
                                                               the violences they may commit.’ If you go
  beliefs flow from the pervasive stigma                       to Philadelphia now, the treatment facility
                                                               that was built at that time still stands.”
  attached         to        mental     illness         and
  contribute            unmistakably          to        the    Dr. John Monahan, Professor at the
                                                               University of Virginia School of Law,
  attitudes and behaviors that comprise                        Testimony presented to the Sandy Hook
  ongoing        stigma.           Therefore,      it    is    Advisory Commission, April 26, 2013.

  essential        that       we      address      these
  popular beliefs alongside the relevant empirical research, which largely refutes
  the presumed association between psychiatric illness and violence while
  providing a more nuanced account of the salient risk factors for violence.
  While the Commission‘s case for improvements to our behavioral health
  systems may find readier acceptance if accompanied by a promised reduction
  in societal violence, the real picture is far more complicated.
           No significant correlation exists between most psychiatric illness per se
  and violence, including gun violence, in our culture.                          This is true even for
  severe psychiatric disorders, such as bipolar disorder and major depression.
  Approximately one fifth of American adults suffer from a diagnosable mental
  disorder in any given year. NIMH, Any Mental Illness Among Adults. Available
  at: http://www.nimh.nih.gov/health/statistics/prevalence/any-mental-illness-



  26 Barry, C.L., McGinty, E.E., Vernick, J.S., and Webster, D.W. (2013). After Newtown

  – Public Opinion on Gun Policy and Mental Illness. The New England Journal of
  Medicine. Available at: http://www.nejm.org/doi/full/10.1056/NEJMp1300512.
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  ami-among-adults.shtml.       Close to 6% of the U.S. population qualifies for a
  diagnosis of major psychiatric illness, generally understood to be an illness
  marked by psychosis, disordered thinking, delusions, hallucinations, and/or
  severe impairments in daily living. According to the leading research, however,
  mental illness underlies somewhere between 3%-5% of violent acts committed
  in the United States.      Studies demonstrate repeatedly that while untreated
  psychiatric illness in a narrow subset of the population may increase the risk
  of violence to a significant degree for that subset, a diagnosable mental illness
  is a very weak predictor of interpersonal violence -- particularly compared to
  other factors such as substance abuse, a history of violence, socio-economic
  disadvantage, youth, and male gender. For gun violence in particular, mental
  illness contributes greatly to rates of suicide but marginally to homicide rates.
  Likewise, the Commission heard testimony from experts in the field of Autism
  Spectrum Disorders suggesting a similarly weak link between such disorders
  and externally directed violence.        These developmental disorders involve
  challenges in social functioning, communication and adjustment to change.
  Researchers to date have not found any correlation between the presence of an
  Autism Spectrum Disorder alone and an increased risk for criminal violence.
           Yet it is impossible to avoid talking about the mental health implications
  of tragedies such as the Newtown shootings for a number of reasons. Despite
  the widespread assumption that anyone who could commit an act like this
  must be mentally ill, reviews of mass murders committed over the past three
  decades suggest that many perpetrators would not qualify for a diagnosable
  mental illness. For example, ―offender and offense characteristics of a
  nonrandom sample of adolescent mass murderers,‖ in American Academy of
  Child and Adolescent Psychiatry found that out of 34 adolescent males involved
  in 27 school shootings between 1958 and 1999, only 23% had a documented
  psychiatric history and 6% demonstrated evidence of psychosis around the
  time of the killings. Meloy, J.R., Hempel, A.G., Mohandie, K., Shiva, A.A., and
  Gray, B.T. (2001). Offender and Offense Characteristics of a Nonrandom

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  Sample of Adolescent Mass Murderers. Journal of the American Academy of
  Child & Adolescent Psychiatry, 40(6), 719-728.     But even if many would not
  qualify for a diagnosable mental illness under the current edition of the
  Diagnostic and Statistical Manual of Mental Disorders (the DSM), our experience
  tells us that there is something terribly wrong with such individuals. We want
  to assign mental illness as a cause because to do so appears to provide some
  sort of answer to the question, ―How could this happen?‖           It also feels
  unsatisfying to assert that people who commit mass murder do not have a
  mental illness in the face of several recent mass killings where perpetrators
  clearly appeared to have psychotic illnesses, specifically the shootings at the
  Navy Yard, at an Aurora, CO movie theater, and in Tucson, Arizona.
           While psychiatric illness is associated with real symptoms and real
  suffering, diagnosable mental disorder must be understood as both a scientific
  and a socio-cultural entity. The entire world of aberrant thoughts, feelings and
  behavior is not captured by any edition of the DSM; nevertheless, we experience
  some types of aberrant behavior as so deviant from the norm that we assume
  they must reflect illness.      This confusion is compounded by the many
  conditions which, while technically mental disorders appearing in the DSM, are
  not generally what we mean when we conflate mental illness and violence.
           For example, mental health experts understand the personality disorders
  as constellations of personality characteristics that deviate from the norm, are
  pervasive and inflexible and lead to distress or impairment. The behaviors and
  inner experiences of the personality disorders occur on a continuum with
  normal behavior and experiences.        They differ vastly from psychosis, the
  condition many in the general public assume underlies serious violence in the
  mentally ill. Press accounts and the written manifesto of Elliot Rodger, who
  murdered six people and injured thirteen others in a shooting spree in Isla
  Vista, California in May 2014, suggest strongly that Rodger suffered from an
  extreme degree of narcissism and likely qualified for a diagnosis of narcissistic
  personality disorder. It was a profound sense of entitlement, lack of empathy,

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  and rage toward others (particularly women) for rejecting him and achieving
  happiness that made Rodgers dangerous. There is little, if anything, to suggest
  that he suffered from a psychotic disorder, and yet media accounts of his
  crimes reinvigorated the myth that mental illness causes mass violence. Our
  frequent conflation of serious antisocial deviance and aberrant behavior – of
  bad behavior and mad behavior – impairs our ability to arrive at even a
  common definition of mental illness in relation to violent behaviors.
           Across the population, mental illness accounts for approximately 4%
  (with estimates ranging from 3-5%) of the violent acts committed in the United
  States. If we could somehow eliminate mental illness from American society,
  then, we would likely be left with more than 95% of the violence we currently
  experience.         With these figures in mind, we can say with confidence that
  persons who suffer from even significant psychiatric challenges should not in
  general be considered more prone to violence than the population at large.
           Certain exceptions apply to this general observation. These exceptions
  are primarily limited to two groups: individuals with psychotic/delusional
  disorders who are currently abusing drugs or alcohol; and young men in their
  first episode of untreated psychosis, particularly those with persecutory
  delusions and unregulated anger.         We address these issues in more detail
  below.
           But leading studies clearly suggest that, under most circumstances,
  people living with mental illness are no more violent than the general public.
  Such studies repeatedly find that a mental illness diagnosis is a weak predictor
  of violent acts, defined broadly to include hitting, throwing objects and
  engaging in physical fights as well as using weapons.       A diagnosis such as
  depression, anxiety, bipolar disorder, or schizophrenia alone tells us almost
  nothing about a person‘s likelihood of committing acts of violence toward
  others. For psychiatric patients who are not currently psychotic, there is most
  likely no more risk of violence than for the average person.            Across the



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  population, however, certain risk factors are understood to increase the
  likelihood that particular individuals will engage in violent behavior.
                    1.        Identifying risk factors
           Experts have identified certain factors that heighten the risk of violence
  among people with and without psychiatric disorders.               As a general matter,
  mental illness correlates with a risk of violent acts far less than do male
  gender, youth, and social or economic disadvantage. Other clear risk factors
  for externally directed violence include a history of serious abuse or other
  trauma as a child and violent victimization over the life course. In addition,
  episodes of recent violence, prior arrests, certain personality disorders such as
  psychopathy, conduct disorders, high levels of anger, and the presence of
  escalating violent fantasies all increase the likelihood of violence. According to
  a recent article by experts in behavioral health, public health and gun violence,
  ―[e]vidence from studies in criminology and developmental epidemiology has
  shown that risk factors for crime and violence are similar in persons with
  mental illness and the general population, and that risk exposure often begins
  early in life.‖ Swanson, J.W., McGinty, E.E., Fazel, S., and Mays, V.M. (2014.)
  Mental Illness and Reduction of Gun Violence and Suicide: Bringing
  Epidemiologic Research to Policy. Annals of Epidemiology. Advance online
  publication.               Available      at:     http://www.sciencedirect.com/science/
  journal/10472797.               Although some variations emerge with a closer look at
  particular types of violence, these factors remain salient for violence across the
  board and homicide in particular.               For example, men perpetrate more than
  90% of homicides in the United States. Men also complete the act of suicide
  approximately four times as often as women do, many of those by firearm. The
  vast majority of school shooters and perpetrators of other mass killings have
  been male.




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           We also know that substance abuse has a stronger association with acts
  of violence than does a psychiatric diagnosis. Substance abuse also combines
  with mental illness to increase the risk of violence significantly. In what has
                                                  been called the best epidemiological
      “What we know about violence is that it’s
                                                  study     ever   conducted   on     rates   of
      dynamic. So every single one of us is
      capable of engaging in violence under the   violence among populations with and
      right circumstances. If our lives are
      threatened, a family member’s life is
                                                  without     diagnosed   mental      illnesses,
      threatened, we are capable of acting        persons who abused alcohol were more
      violently.”
                                                  than twice as likely to commit acts of
      Marissa Randazzo, Ph.D., Sigma Threat       violence than those diagnosable with a
      Management Associates, Testimony
      presented to the Sandy Hook Advisory        major mental disorder who did not
      Commission, March 22, 2013.
                                                  abuse alcohol, and those who abused
                                                  drugs were nearly three times as likely
  to engage in violence. Swanson, J.W., Holzer, C.E., Ganju, V.K., and Jono, R.T.
  (1990). Violence and Psychiatric Disorder in the Community: Evident from the
  Epidemiologic Catchment Area Surveys. Psychiatric Services, 41(7), 761-770.
  Another major study showed that where persons living with mental illness were
  not abusing drugs or alcohol, they had no statistically significant differences in
  their rates of violence compared to the general public. Alcohol and drug abuse
  are highly salient risk factors for violence, and when a person with a
  psychiatric condition has a simultaneous substance abuse problem, the risk of
  violence escalates. Steadman, H. et al. (1998). Violence by People Discharged
  from Acute Psychiatric Inpatient Facilities and by Others in the Same
  Neighborhoods. Archives of General Psychiatry, 55, 393-401. (A summary of
  the study is available at http://www.macarthur.virginia.edu/violence.html.)
  Substance abuse frequently co-occurs with symptoms of mental disorder,
  particularly when those symptoms have not received adequate treatment.
  Drugs and alcohol likely account for much of the increased risk of violence
  among individuals with psychiatric illnesses. Therefore, efforts to address the
  contribution of mental illness to violence generally must confront substance

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  abuse to have any measurable effect.
           We also know that rates of gun violence in general, and particularly gun
  fatalities, correlate strongly with higher rates of gun ownership. Whereas the
  United States has both extremely high rates of gun ownership and high rates of
  firearm-related deaths, Japan and the United Kingdom have very low gun
  ownership rates and correspondingly low rates of gun-related deaths.          In a
  recent study evaluating the relationship between rates of gun ownership and
  deaths by firearms across twenty-seven developed countries, researchers found
  ―a significant positive correlation between guns per capita per country and the
  rate of firearm related deaths, with Japan being on one end of the spectrum
  and the US being on the other.‖        Their statistical analysis identified a far
  weaker correlation between rates of mental illness – estimated by looking at
  major depressive disorder – and gun deaths, and no significant correlation at
  all between rates of mental illness and general crime. Bangalore, S. and
  Messerli, F.H. (2013). Gun Ownership and Firearm-related Deaths, The
  American Journal of Medicine, 126(10), 873-876.
           Some countries have dramatically reduced their rates of gun violence
  with heightened regulation of firearms. For example, Australia implemented
  strict gun control legislation across its states and territories following the 1996
  murder of thirty-five people at a popular tourist destination by a young man
  with assault weapons. Since then, Australia has seen a significant reduction
  in firearms-related deaths.     The new law banned all automatic and semi-
  automatic long guns (establishing national buybacks of semi-automatic rifles,
  self-loading and pump-action shotguns, and handguns) and instituted a strict
  licensing and registration requirement for all legal firearms. There have been
  no mass shootings in Australia since 1996, and the firearms mortality rate has
  decreased from approximately .27 per 100,000 to .13 per 100,000 in recent
  years. Viewed from a different angle, death by firearm is now well over twenty
  times (and as much as twenty-seven times) more likely to occur in the United
  States than in Australia.      As the Child Advocate‘s report observed, ―[t]he

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  conclusion that access to guns drives shooting episodes far more than the
  presence of mental illness is inescapable‖ (OCA Report, 2014, p. 79).             In
  addition to declining rates of gun homicide and elimination of mass shootings
  altogether, rates of suicide by firearm also saw striking declines in Australia
  during this period.        Peters, R. (2013). Rational firearm regulation: evidence-
  based gun laws in Australia. In D. Webster & J. Vernick (Eds.), Reducing gun
  violence in America: informing policy with evidence and analysis (pp. 195-204).
  Baltimore: Johns Hopkins Press. See also Alpers, P. (2013). The big melt: how
  one democracy changed after scrapping a third of its firearms. In D. Webster &
  J. Vernick (Eds.), Reducing gun violence in America: informing policy with
  evidence and analysis (pp. 205-211). Baltimore: Johns Hopkins Press.
           One exception to the weak correlation between psychiatric disorder and
  violence involves individuals undergoing a first psychotic episode, particularly
  if high levels of anger accompany persecutory or paranoid delusions.             In
  testimony presented to the Commission, Dr. Madelon Baranoski of the Yale
  School of Medicine offered a useful account of why particular symptoms of
  psychosis may increase the risk of violence.           A person suffering from a
  psychotic illness often confuses internal thought processes with real events in
  the world. So if that person is feeling scared, he or she may mistake thoughts
  of danger for actual danger. Likewise, internal feelings of anger and unease
  may appear to be coming from external sources. Persecutory delusions, such
  as beliefs that a person is being spied on or is the target of a conspiracy, can be
  extremely frightening for someone who cannot reliably distinguish his or her
  own thoughts from external reality. Yet even such delusions of persecution do
  not generally appear to lead to violence in the absence of unregulated anger.
  High levels of anger increase the risk of violence across our society, whether or
  not psychiatric illness is present.
           Some researchers have estimated that a relatively significant risk of
  violence – several times the risk for the general public – accompanies a first
  episode of untreated psychosis, especially during the period between the onset

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  of illness and the beginning of treatment known as the duration of untreated
  psychosis, or DUP.            A large-scale analysis of the available research on
  homicides committed by persons with a psychotic illness found that annual
  homicide rates by individuals with untreated psychosis were          approximately
  fifteen times higher than rates for individuals with treated psychotic illnesses.
  Nielssen, O. and Large, M. (2010). Rates of Homicide During the First Episode
  of Psychosis and After Treatment: A Systematic Review and Meta-analysis.
  Schizophrenia Bulletin, 36(4), 702-712.          For those who had received mental
  health treatment, total homicide rates were approximately 1 in 10,000
  annually.        For those in a first episode of psychosis before treatment began,
  however, homicide rates approached 1 in 700.
           A very recent study out of Sweden suggests that a diagnosis of
  schizophrenia or related psychotic disorder is associated with an increased risk
  for violent offenses, suicide and premature mortality.      Researchers also found,
  though, that specific risk factors beyond the diagnosis enhance the likelihood
  of these poor outcomes.            Published in The Lancet, this large-scale study
  compared records of over 24,000 Swedes diagnosed with schizophrenia to
  those of their siblings without such diagnoses and of the general population. It
  isolated three risk factors that typically increase the rates of all three adverse
  outcomes: drug use disorders, a history of violent criminal behavior, and self-
  harm. Fazel, S., Wolf, A., Palm, C., and Lichtenstein, P. (2014.) Violent Crime,
  Suicide, and Premature Mortality in Patients with Schizophrenia and Related
  Disorders: A 38-Year Total Population Study in Sweden. The Lancet Psychiatry,
  1(1), 44-54.         Once again, this study supports the conclusion that a specific
  diagnosis alone tells us very little about a person‘s likelihood of engaging in
  acts of violence. Instead, we must attend carefully to the particular risk factors
  that research conducted throughout the world has linked to violence and self-
  harm.




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                    2.       Types of violence
           We have noted that approximately 3-5% of all violence committed in the
  United States is attributable to persons living with mental illness.          That
  includes aggressive acts such as pushing another person, other types of
  assaultive or threatening behavior, and gun violence, among other things.
  Researchers have identified hitting another person as the type of violence most
  frequently committed by discharged psychiatric patients. In one major study,
  only 2%-3% of the violent acts attributable to discharged psychiatric patients
  involved a gun or threats of a gun. Monahan, J. et al. (2001). Rethinking Risk
  Assessment: The MacArthur Study of Mental Disorder and Violence. New York:
  Oxford University Press.
           Absolute rates of violence are low among individuals with mental illness
  and homicidal violence is extremely rare. Stranger homicide in particular – the
  killing of a person unknown to the perpetrator – comprises a very small
  fraction of the larger picture of violence in our society. A study conducted by
  an international team of researchers looking at data from countries across the
  globe confirmed that stranger homicide by persons with schizophrenia is an
  extraordinarily rare and unpredictable event, likely occurring at a rate of
  approximately 1/140,000 people with schizophrenia per year. The same large-
  scale analysis found that, across the population, the risk that any person will
  die at the hands of a stranger with a psychotic illness in any given year
  amounts to one in 14 million. Nielssen, O. et al. (2011). Homicide of Strangers
  by People with a Psychotic Illness. Schizophrenia Bulletin, 37(3), 572-579.
                    3.       Protective factors
           When symptoms of mental illness are controlled, the rates of violence
  among people with psychiatric disorders appear to decrease even further. The
  highly regarded MacArthur Violence Risk Assessment Study found that, among
  individuals with a history of psychiatric hospitalization but no active symptoms
  of psychiatric disorder in the past year, the rate of any violent behavior was 2%
  – equivalent to that of the general population.       Monahan, J. et al. (2001).

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  Rethinking Risk Assessment: The MacArthur Study of Mental Disorder and
  Violence. New York: Oxford University Press.                   A summary of the study and
  references         to      additional   analyses   of    the    dataset   are   available   at
  http://macarthur.virginia.edu/risk.html.                As noted earlier, such studies tend
  to define violence broadly to include acts that range from hitting someone or
  engaging in a physical altercation to threatening others and/or using weapons.
           Where an increased risk of externally directed violence exists, the
  availability of community treatment appears to offer a critical protective
  measure.          According to the MacArthur study, while recently discharged
  psychiatric patients had somewhat elevated rates of violence (11.5% vs. 4.6% in
  the community) in the first ten weeks after discharge, within this group those
  who had attended outpatient treatment sessions had considerably lower rates
  of violence than those who hadn‘t. Indeed, discharged psychiatric patients who
  had received one session per week of outpatient treatment had rates of violence
  significantly lower than the general population.
           Early intervention programs intended to reach adolescents and young
  adults in the prodromal phase of schizophrenia – the period of weeks, months
  or years in which individuals experience behavioral and psychological
  abnormalities that precede the onset of fully psychotic symptoms – with
  supports and early treatment may help to mitigate the risk associated with
  early psychosis. Connecticut pioneered two of the first such programs in the
  country. STEP, the clinic for Specialized Treatment Early in Psychosis at the
  Connecticut Mental Health Center in New Haven, is a Yale-DMHAS partnership
  established in 2006 that provides extensive outpatient services and supports
  for young people suffering early symptoms of psychosis and their families. The
  program has witnessed reductions in inpatient hospitalizations and other clear
  benefits associated with comprehensive early intervention in the prodromal
  phase of psychosis.              Srihari, V.H. et al. (2015) First-Episode Services for
  Psychotic Disorders in the U.S. Public Sector: A Pragmatic Randomized
  Controlled Trial. Psychiatric Services. Advance online publication. Available at:

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  http://ps.psychiatryonline.org/doi/10.1176/appi.ps.201400236.                             The
  POTENTIAL Early Psychosis Program at Hartford Hospital‘s Institute of Living,
  first initiated on a small scale in 2004 and since expanded, has achieved
  similar results, with a large proportion of the young adults treated thus far
  successfully pursuing work and/or educational goals.                   De Maio, M., Graham,
  P., Vaughan, D., Haber, L., and Madonick, S. (2015.) Review of International
  Early Psychosis Programmes and a Model to Overcome Unique Challenges to
  the Treatment of Early Psychosis in the United States. Early Intervention in
  Psychiatry, 9(1), 1-11.
                    4.           Self-harm and victimization
           It is essential to remember that those with mental health challenges are
  far more likely to be victims of violence than perpetrators. This is true both at
  the hands of others and through self-harming behavior.                  For example, women
  with mental illness face a five-fold greater likelihood of experiencing domestic
  violence than do women without a psychiatric disorder. Suicide, the leading
  type of firearm-related death, is highly correlated with mental disorder. Some
  studies estimate that up to 90-95% of completed suicides are attributable to
  depression and other psychiatric illnesses, often in combination with
  substance abuse. Guns play a major role in suicide; over half of completed
  suicides involve firearms.              The use of a gun makes it far more likely that a
  suicide attempt will actually result in death.                 Significantly more gun-related
  deaths in American occur by suicide than by homicide. In 2010, suicides made
  up 61.2% of the 31,672 deaths by firearm in the United States, whereas
  homicides accounted for 35%.                   Similar figures exist for 2011: 32,163 gun
  deaths, of which 19,392 were suicides and 11,078 homicides. GunPolicy.org.
  United      States         –    Gun   Facts,   Figures   and   the   Law.    Retrieved   from
  http://www.gunpolicy.org/firearms/region/united-states.                      Indeed,     mass
  shootings frequently end with the shooter‘s suicide, whether directly or through
  the intervention of law enforcement (a phenomenon known as ―suicide by cop‖).



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  These tragic events cannot be adequately understood without attention to their
  suicidal dimensions.
                    5.       Managing the risk of violence
           How can we know who is likely to become violent in the future, and what
  can we do to stop them? Risk factors alone tell us little about any individual‘s
  future acts of violence. Mental health professionals have developed two very
  different approaches to risk assessment: an actuarial approach and a clinical
  approach. An actuarial risk assessment engages in inductive reasoning,
  applying known information about others who share certain characteristics
  such as age, education level, etc. with a particular individual to assess that
  individual‘s risk of violence. Clinical assessments, on the other hand, focus on
  the particular facts of a particular person‘s life experience over time. Neither
  mechanism, on its own, can reliably predict future violence, although actuarial
  measures tend to be more accurate than clinical predictions alone. Clinical
  factors may be most relevant for hospitalized psychiatric patients with acute
  illness. Actuarial methods that look beyond the individual to historical factors
  appear to be more predictive for long-term community violence.            The most
  effective approach to managing the risk of future violence combines actuarial
  and clinical measures in a dynamic assessment that evaluates a person‘s
  likelihood of committing violent acts in ways that are sensitive to how that
  person responds to various interventions.
           The fact that experts have identified certain risk factors that enhance the
  likelihood of violence, however, neither guarantees a certain outcome nor
  determines what interventions, if any, will effectively mitigate that risk.
  Findings of ―dangerousness‖ cannot be equated with predictions of a violent
  act. In other words, mere knowledge of risk factors does not yield conclusions
  about what to do next. Short of involuntary inpatient commitment, involuntary
  outpatient commitment in those states that have such laws, and gun seizure
  laws, most risk factors for violence in individuals facing mental health
  challenges are not susceptible to intervention without their voluntary

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  participation. Where clinicians do identify risk factors that are associated with
  bad outcomes, they should focus targeted treatment and intervention on those
  factors that can be changed and monitor those that can‘t.                      For high-risk
  patients, mental health treatment should attempt to increase risk mitigators
  and decrease risk aggravators.
           In a variety of contexts, risk factors alone produce no certainty of
  outcome. For example, cell phone use while driving certainly constitutes a risk
  factor for accidents – and therefore a kind of dangerousness – and yet it is
  nearly impossible to predict which drivers will cause accidents in the future. A
  diagnosis of mental illness has far less predictive value for future violence than
  driving while talking or texting on a phone does for future car accidents.
  Efforts to manage risk should identify and address risky behaviors, not risky
  persons.
           A person‘s prior history of violence is the
  best predictor of future episodes, and each                    “[J]ust knowing somebody
                                                                 has mental illness does not
  additional episode enhances the predictability of              make them at an increased
                                                                 risk for violence. It isn’t an
  the next one.              Measures that ensure earlier
                                                                 associated risk factor.”
  treatment of psychosis and continued treatment
                                                                 Dr. Madelon Baranoski,
  in the community would likely prevent at least                 Testimony presented to the
  some violent acts.           Equally important, evidence       Sandy Hook Advisory
                                                                 Commission, April 12, 2013
  suggests that early intervention can dramatically
  alter the course of psychotic illness and prevent acute episodes from becoming
  chronic. Early intervention, then, not only offers a better prognosis but may
  further reduce the risk that a young person slipping into untreated psychosis
  would lash out violently toward family members or strangers.
                    6.       The limits of violence prediction
           While it can feel as if our culture is saturated with violence, for predictive
  purposes stranger violence in general is what is known as a ―low base-rate
  event,‖ and acts of mass violence are considerably more rare.                    Attempts to
  predict such events face little likelihood of success. Even if we could devise an

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  instrument or method of predicting violence with a 95% rate of accuracy,
  violence is a rare enough occurrence (with rates of serious violence among even
  identifiably high risk populations hovering in the low single digits) that our
  predictions would still yield an unacceptable number of false positives.               In
  reality, our predictions are far less accurate than that, with actual measures
  generally achieving no more than a 50% accuracy rate. Any test that purports
  to predict future violence will produce far more wrong answers than correct
  ones. This combination of low base rate events and tests with low levels of
  accuracy therefore makes predictions of specific future violent acts something
  of a fool‘s errand, with overreaching a near certainty. Mass fatality incidents
  such as those that have occurred over the past few years in Newtown, Aurora,
  Tucson, the Washington Navy Yard, Fort Hood, TX, and – most recently – Isla
  Vista, CA remain extremely rare, despite their prominence in the media.
  Although their incidence appears to have increased in the past several years,
  such events still account for only one-tenth of 1% of all firearm-related
  homicides in the United States.           American Psychological Association. (2013).
  Gun Violence: Prediction, Prevention            and Policy,    p.   4.   Retrieved   from
  http://www.apa.org/pubs/info/reports/gun-violence-prevention.aspx.
           Although A.L. evidently received no mental health treatment during the
  five years preceding the shootings at Sandy Hook, some other recent
  perpetrators of mass violence were involved with the mental health system
  shortly before their crimes.          The question inevitably arises as to why any
  mental health professionals who encountered that person failed to prevent
  such violence. Certain legal reforms that have arisen in the wake of these
  tragedies assign new reporting requirements to such professionals on the
  assumption that clinicians possess the expertise and prescience to predict and
  prevent violence.          Yet the reality is that mental health professionals are ill-
  equipped to make specific predictions of violence with any accuracy.                 Such
  predictions differ from assessments of risk that equate with the general
  condition of ―dangerousness‖ (being at significantly higher risk than the norm).

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  According to Dr. Michael Norko, Director of Forensic Services at Connecticut‘s
  DMHAS and Associate Professor in Yale‘s Department of Psychiatry, ―[w]e can
  determine current dangerousness reasonably well, for clinical purposes, when
  the danger is due to psychiatric conditions.‖              (Norko, M. (April 12, 2013).
  Testimony to the Sandy Hook Advisory Commission.) In other words, clinicians
  are skilled at identifying which patients currently pose a danger to themselves
  or to others and at devising ways to manage risks related to psychiatric
  conditions. But testimony before the Commission from forensic psychiatrists
  and others makes clear that no one has yet devised a reliable method for
  predicting future violence – who will and will not be violent, when violence will
  occur, or what the targets of that violence might be.
           The field of future violence prediction, whether art or science, achieves
  modest accuracy at best and is therefore of little clinical utility. Predictive
  instruments are truly helpful only if nearly infallible.          In looking to address
  deficiencies in the mental health system and productive points of intervention,
  the Commission‘s recommendations should not be taken as having the primary
  goal of violence risk-reduction. Even an improved mental health system, alone,
  will at best modestly reduce violence in our society.              Instead, a welcome
  outcome of improved and more widely accessible mental health services might
  be harm reduction, including a reduction in self-harm and suffering.
  Reductions in harm to others may constitute a secondary benefit of a better
  resourced and more cohesive mental health system that can effectively promote
  psychological wellness and recovery.
                    7.       From prediction to prevention
           Just as clinical risk assessment is of limited utility in efforts to prevent
  violence, trait-based profiling appears to represent an ineffective and even
  counterproductive means of identifying individuals likely to commit acts of
  targeted violence.          The Commission heard testimony from law enforcement
  officials and others, including an expert school security consultant who worked
  for the United States Secret Service, suggesting that profiling tends to be

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  inaccurate and far more likely to create stigma than to avert harm.                                          An
  influential report compiled by the Secret Service in collaboration with the U.S.
  Department of Education on school shootings
  carried out between 1974 and 2000 specifically                               “When we connect those
                                                                               people, students, former
  determined that ―[t]here is no accurate or useful
                                                                               students or others to the
  profile of students who engaged in targeted school                           right resources to help solve
                                                                               those problems, their
  violence.‖            U.S.        Secret      Service    and       U.S.      thoughts and plans of
  Department of Education. (2002). The Final Report                            violence typically go away.”

  and      Findings          of    the   Safe     School        Initiative:    Marissa Randazzo, Ph.D.,
  Implications for the Prevention of School Attacks in                         Testimony presented to the
                                                                               Sandy Hook Advisory
  the        United           States.               Available          at:     Commission, March 22,
                                                                               2013.
  http://www.secretservice.gov/ntac/ssi_final_repor
  t.pdf.
           Instead, experts have developed a promising alternative to psychological
  or demographic profiling called behavioral threat assessment, which focuses on
  identifying        and          intervening     with     individuals        whose    behavior       and/or
  communications clearly indicate an intention to commit violence. The Secret
  Service‘s behavioral threat assessment model has been adapted for use in
  educational institutions, workplace settings, and the U.S. military. Dr. Marissa
  Randazzo, a national expert on threat assessment and targeted violence,
  testified at length to the Commission on the composition, workings and goals of
  teams called ―threat assessment teams‖ that gather information from multiple
  sources in response to indications that a student, colleague or other person‘s
  behavior has raised alarms. The threat assessment process should focus less
  on a person‘s static qualities – an approach closer to profiling – than on the
  person‘s current situation, particularly the dynamic elements of what might be
  changing for the better or worse.                   Once a team has identified someone who
  appears to be on a pathway to violence, the team ideally becomes a resource
  connecting the troubled child, adolescent or adult to the help they need to
  address their underlying problems. The Commission has recommended above

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  that all schools form such multidisciplinary teams to conduct risk assessments
  for students when concerns are raised. These would not only identify students
  at risk for committing violence, but also serve as a resource for children and
  families facing multiple stressors.           Rather than stigmatize these individuals
  and families, risk assessment teams should become a ―go to‖ community
  resource that supports and strengthens families and community connections.
           Expertise in predicting any individual person‘s likelihood of committing
  violent acts need not form the core of violence-prevention efforts in any event.
  Instead, a public health approach to violence prevention would emphasize
  comprehensive,             population-based   strategies   that   implement    protective
  mechanisms on a broad scale long before any particular person poses a specific
  danger.       It takes violence as a systemic problem rather than an individual
  failing and attempts to address the underlying root causes and risk factors.
  Hemenway, D. and Miller, M. (2013). Public Health Approach to the Prevention
  of Gun Violence. New England Journal of Medicine, 368, 2033-2035. See also
  American Psychological Association. (2013). Gun Violence: Prediction, Prevention
  and Policy. Available at: http://www.apa.org/pubs/info/reports/gun-violence-
  prevention.aspx. Experts who advocate this sort of approach point to examples
  such as traffic fatalities and tobacco use, where effective regulation, public
  awareness campaigns, and other system-wide interventions have successfully
  enhanced public safety.            To return to the analogy of cell phone use while
  driving, we do not need to predict the likelihood that any particular driver will
  cause a traffic accident in order to address the risks such behavior may
  present. Rather, we can regulate the use of hand-held devices while driving
  and communicate to the public about the dangers of distracted driving.
           Any effort to reduce violence on a broad scale, however, must address
  factors known to contribute to the risk of harm, including developmental
  factors such as chronic childhood adversity, poor behavioral regulation, and
  social disconnectedness, as well as environmental factors such as poverty and
  unemployment.              As detailed above, both substance abuse and access to

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  firearms also clearly contribute to the risk that a person will pose a danger to
  self or others.            Therefore, an effective violence-prevention strategy cannot
  ignore or discount these major risk factors. Likewise, a young man such as
  A.L. with severe and largely untreated social and emotional challenges,
  profound and worsening social isolation, a longstanding and obsessive
  fascination with violence and mass murder, and—perhaps most importantly—
  unfettered access to an arsenal of firearms would appear to present a number
  of risk factors for behaviors that could pose a danger to himself and/or others.
  According to the Child Advocate‘s extensive investigation of his educational,
  health and familial history, in A.L.‘s case these risk factors were persistently
  neglected and underestimated.
                    8.       Mandatory reporting and firearm ownership
           In the wake of the Sandy Hook shootings, several states rushed to
  implement mandatory reporting laws and to augment existing laws that make
  certain persons ineligible to own or purchase firearms. For example, New York
  enacted the SAFE Act of 2013, which compels mental health professionals to
  report to county authorities anyone to whom they are currently providing
  treatment if they believe that person ―is likely to engage in conduct that would
  result in serious harm to self or others.‖               Such a report sets in motion a
  process for including that person on a statewide database limiting their access
  to       firearms           for   at    least     five     years.        Available    at
  https://www.omh.ny.gov/omhweb/safe_act/nysafe.pdf. While removing guns
  from those who may legitimately be considered at risk for violence is an
  eminently worthy goal, the statute incorporates poorly defined criteria for
  making such determinations and thus threatens to compromise the provider-
  patient relationship toward uncertain ends. According to the New York Times,
  within the first year and a half of its existence this reporting requirement had
  led to approximately 34,500 individuals being identified as too mentally




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  unstable to possess firearms.27 The long term impact of New York‘s reporting
  requirement may well include increased stigma and diminished trust of the
  mental health system, which in turn may deter those who need it from seeking
  treatment. By contrast, California recently enacted a law that seeks input on a
  person‘s potential dangerousness from a broader range of sources close to that
  person. The ―Gun Violence Restraining Order‖ bill permits family members to
  petition a court for a gun restraining order authorizing temporary seizure of
  firearms – as well as temporarily banning gun purchases – from anyone
  deemed potentially violent.28
           While eschewing the broad reporting requirement that New York has
  assigned to mental health professionals, Connecticut‘s law now extends
  mandatory reporting of a person‘s history of psychiatric treatment in ways that
  are likely overinclusive and potentially underinclusive. Connecticut‘s statute
  disqualifies for a gun permit or eligibility certificate anyone committed by a
  court to a psychiatric facility during the prior sixty months. Conn. Gen. Stat.
  § 29-38c (2015). This five-year ban on gun ownership for anyone with a court-
  ordered commitment represents a significant extension of the prior ineligibility
  period, which was limited to twelve months.
           Controversially, Connecticut‘s statute makes anyone voluntarily admitted
  to an inpatient psychiatric facility within the past six months ineligible for gun
  ownership.             Since   voluntary     admission   does   not   require    a   clinical
  determination of dangerousness, some of these voluntary patients may pose no
  particular risk of violence.        The law now requires the Department of Mental
  Health       and      Addiction   Services    to   maintain   information   on    voluntary
  admissions and to make that information available to the state Department of




  27 Available at http://www.nytimes.com/2014/10/19/nyregion/mental-reports-put-

  34500-on-new-yorks-no-guns-list.html.
  28 Available at https://leginfo.legislature.ca.gov/faces/billHistoryClient.xhtml.




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  Emergency Services and Public Protection so that DESPP can enforce these
  gun restrictions.
           Laws such as these overreach by employing mental illness as a proxy for
  dangerousness. In most states, even involuntary inpatient commitment may
  occur on the basis of either dangerousness or criteria such as an inability to
  meet one‘s basic needs and refusal of treatment. The latter may bear little or
  no correlation to a risk of violent acts. A recent report by the Consortium for
  Risk-Based Firearm Policy, composed of leading experts on gun violence
  prevention, mental health and public health, supports state laws that
  temporarily prohibit individuals from purchasing or possessing firearms after
  short-term involuntary hospitalizations predicated on a clinical finding of
  danger to self or others.          While such a finding forms the basis for most
  involuntary         commitments,    this   may    not   be   the   case   for    voluntary
  hospitalizations, which do not require a finding of dangerousness.                     The
  inclusion of voluntary inpatient treatment among the criteria for mandatory
  reporting to DMHAS and ineligibility for gun ownership also risks discouraging
  people who need care from accessing it, and adds to the stigma surrounding
  mental health treatment.
           On the other hand, the law does not address individuals who are
  admitted involuntarily to a psychiatric facility on an emergency basis.                 In
  Connecticut, a Physician‘s Emergency Certificate (PEC) attesting that the
  person being admitted is a danger to self or others or gravely disabled and in
  need of immediate care in a psychiatric hospital can result in a 15-day
  involuntary hospitalization, which can be challenged in court.                  Without a
  probate court order supporting or extending the involuntary hospitalization,
  however, such a hospitalization has no impact on a person‘s eligibility for gun
  ownership. Prohibiting gun eligibility for a voluntarily admitted patient while
  allowing it for a patient admitted under a PEC—and in most instances deemed
  by two physicians to be dangerous to self or others—reflects an incoherent
  approach to public safety.

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           Current categories of disqualification for firearm ownership under both
  state and federal law serve as a rough, and often inadequate, proxy for
  dangerousness. They miss many, if not most, of the people who actually pose a
  danger of violence.          They may also capture people whose psychiatric
  admissions are predicated on designations such as ―grave disability,‖ which
  generally entail an inability to take care of one‘s basic needs and have little or
  no bearing on the likelihood of violence. Hence the December 2013 report by
  the Consortium for Risk-Based Firearm Policy titled Guns, Public Health, and
  Mental Illness: An Evidence-Based Approach for State Policy recommends that
  states expand prohibitions on gun ownership using specific criteria that reflect
  evidence-based risk of dangerousness rather than generalizations informed by
  stigma.29 In addition to involuntarily hospitalized patients clinically identified
  as dangerous, the report identifies four categories of ineligibility with
  demonstrable relevance to a risk of future violence: (1) persons convicted of a
  violent misdemeanor; (2) persons subject to a temporary domestic violence
  restraining order; (3) persons convicted of two or more DWI or DUIs in a period
  of five years; and (4) persons convicted of two or more misdemeanor crimes
  involving a controlled substance in a period of five years.       In a companion
  report proposing updates to the existing mental health firearm disqualification
  policies under federal law, the Consortium for Risk-Based Firearm Policy again
  recommends expansion of existing categories to include evidence-based risk
  factors for violence. Consortium for Risk-Based Firearm Policy. (2013.) Guns,
  Public Health, and Mental Illness: An Evidence-Based Approach for Federal
  Policy.          Available   at:    http://www.jhsph.edu/research/centers-and-
  institutes/johns-hopkins-center-for-gun-policy-and-research/publications/
  GPHMI-Federal.pdf. The Commission agrees that these criteria offer a sound
  basis on which to restrict access to firearms, although the fourth category may


  29 Available at: http://www.jhsph.edu/research/centers-and-institutes/johns-

  hopkins-center-for-gun-policy-and-research/publications/GPHMI-State.pdf

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  require additional thought in light of the evolving legal status of substances
  such as marijuana.
           The Commission also supports a reexamination of the language with
  which existing laws and policies invoke mental health to disqualify individuals
  from gun ownership.               At present, federal law includes a ―mental health
  prohibitor‖ barring sales of firearms to anyone ―adjudicated a mental defective‖
  or ―committed to any mental institution.‖ 18 U.S.C. § 922(d)(4) (2012). States
  report information that might disqualify a person from possessing firearms to a
  national database called the National Instant Criminal Background Check
  System, or NICS. Part of the Brady Handgun Violence Prevention Act of 1993,
  NICS requires federally licensed gun dealers to perform an instant background
  check on any prospective purchaser.              The system began operating in 1998
  through databases managed by the FBI. A 1997 Supreme Court decision,
  however, ruled under the Tenth Amendment to the United States Constitution
  that participation in NICS on the part of states must be voluntary rather than
  mandatory.            Printz v. United States, 521 U.S. 898 (1997).         Following the
  shootings        at    Virginia   Tech,   Congress   enacted   the   NICS   Improvement
  Amendments Act of 2007 to augment reporting requirements and increased the
  number of records maintained in the NICS, but state compliance remains
  inconsistent and the NICS system remains of limited effectiveness.                  NICS
  Improvement Amendments Act of 2007, Pub. L. No. 110-180, 121 Stat. 2559.
  Within the NICS index, a disqualifying mental health history appears in ―the
  Mental Defective File.‖ Such language reflects and compounds the deep and
  damaging stigma associated with psychiatric illness.
                    9.       What interventions to take when individuals are at risk for
                             violence

           Programs such as Mental Health First Aid and CIT (Crisis Intervention
  Team training) that train law enforcement and laypersons to intervene
  sensitively and effectively when someone is experiencing a mental health crisis
  may help to avert harmful behaviors. In addition, Connecticut law currently

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  authorizes law enforcement officers, upon securing a warrant, to seize firearms
  from anyone who poses a risk of imminent personal injury to self or others. A
  court must find that probable cause exists and that there is no reasonable
  alternative to prevent such imminent harm.             Rather than single out a
  psychiatric history as grounds for seizure, the statute includes past
  involuntary commitment as one among many factors that a court may consider
  in determining whether a person‘s recent threats or acts of violence toward self
  or others suffice to find probable cause for seizure. Other factors include a
  history of force or threats of force toward others, illegal use of drugs or abuse of
  alcohol, and the reckless use or brandishing of a gun. Conn. Gen. Stat. § 29-
  38c (2015).            This law represents a sensible approach to gun-violence
  prevention.
           In cases where a mental health professional believes that a client
  actually poses a risk of imminent harm, state laws across the country permit or
  even mandate that those professionals take some protective measure, even if
  doing so breaches confidentiality.       Known as Tarasoff duties after the 1976
  case by that name, such reporting requirements are spelled out in statutes,
  case law, or both.         While Connecticut statutes merely permit mental health
  professionals to take action when they believe a patient poses an imminent risk
  of harm to self or others, our court decisions may recognize an actual duty to
  protect identifiable victims. Any additional reporting requirements for mental
  health professionals are likely to be counterproductive, discouraging providers
  from taking on potentially dangerous patients, deterring people in need from
  accessing help, and impairing the therapeutic alliance necessary for effective
  treatment. Such requirements also contribute to the problem of stigma.
           A subset of severely mentally ill individuals persistently refuse treatment.
  There are many reasons for such noncompliance, including unpleasant and
  even dangerous medication side effects and treatment programs that may be
  poorly tailored to an individual‘s needs. For some, however, noncompliance is
  based on denial of illness. Agnosonosia represents a particularly severe form of

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  denial of illness in which the person cannot recognize that he or she is ill.
  Agnosonosia results from a deficit in brain function exactly analogous to the
  stroke victim‘s inability to recognize a paralyzed limb. It is not uncommon in
  severe and persistent psychotic illness and the prognosis is always poor. Such
  individuals often become ―revolving door‖ patients, hospitalized when most ill,
  then discharged to the community where they soon stop taking medication
  again, only to deteriorate rapidly and be rehospitalized. The course of illness is
  often a worsening one, leading to homelessness and incarceration.
           Options for the treatment of such individuals are limited.            In
  Connecticut, as in most states, when a person is assessed as dangerous to self
  or others or gravely disabled, the person may be involuntarily committed
  through a number of procedures. Once admission to an inpatient unit occurs,
  procedures are in place through which medication may be administered
  involuntarily if necessary.    But again, once discharged, the patient may
  discontinue medication and embark on a cycle of rehospitalization because
  there is currently no way to require compliance with medication as an
  outpatient.
           In contrast, forty-four states have involuntary outpatient commitment
  statutes (also known as assisted outpatient treatment) that establish programs
  through which patients can be treated involuntarily as outpatients.         Many
  consider such programs controversial.        They clearly challenge the balance
  between the liberty interests of individuals and their need for treatment.
  Critics argue that the effectiveness of such programs is unproven, that they are
  an unjustified intrusion on autonomous decision making, and that they erode
  trust in caregivers. Recent research suggests that the burden of involuntary
  treatment may fall disproportionately on minorities.      Although the outcome
  data are complex and ambiguous, they do confirm that these programs only
  work in conjunction with robust treatment services in the community.
           Proponents, on the other hand, argue that outpatient commitment is in
  fact less intrusive than recurrent involuntary inpatient commitments and that

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  it might end the cycle of ―revolving door‖ hospitalizations for some.         Most
  importantly, they contend that for a subset of the most persistently
  noncompliant patients, involuntary outpatient commitment may offer the only
  alternative to a life of chronic persistent illness, with all the dysfunction, early
  mortality and risk to self and others that condition so often portends.
           The Commission was unable to reach agreement on a recommendation
  pertaining to outpatient commitment. In a recent editorial appearing in the
  Journal of the American Academy of Psychiatry and the Law, Dr. Michael Rowe
  of the Department of Psychiatry at Yale Medical School cautioned that
  ―[c]oercive treatment should be undertaken with reluctance, with protections
  against abuse, and only when there is clear evidence of benefit to the
  individual, to society, or to both.‖ Rowe, M. (2013). Alternatives to Outpatient
  Commitment. Journal of the American Academy of Psychiatry and the Law, 41,
  332-336, 334.
           10.      Concluding thoughts
           Dr. Paul Appelbaum of Columbia University‘s Department of Psychiatry,
  past president of the American Psychiatric Association, has urged caution in
  endorsing proposals for increased mental health funding that are predicated on
  the proposition that violence is largely a problem of mental illness. He writes
  that ―tying the need for increased funding to public safety will lead to further
  demonization of people with mental disorders, as well as an inevitable backlash
  when it becomes clear that more mental health or inpatient beds have not had
  a major effect on the prevalence of violence. [...] An adequately funded mental
  health system should be a national priority—but for the right reasons.‖
  Appelbaum, P.S. (2013). Public Safety, Mental Disorders, and Guns. JAMA
  Psychiatry, 70, 565-566.         The Commission finds the connection between
  psychiatric illness and violent behavior, particularly gun violence, to be far less
  salient than much recent public discussion would suggest.           Mental illness
  accounts for no more than 3-5% of the violence our society confronts on a
  regular basis. The harms traceable to mental illness are far more likely to be

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  self-directed than other-directed, and overall the risk of homicidal violence
  toward strangers by persons suffering from psychiatric illness remains
  extremely remote.          While a narrow subset of the many individuals wrestling
  with mental health challenges may be at an increased risk for violent behavior,
  much of this increased risk derives from additional factors such as alcohol or
  drug abuse, a history of violent victimization, and low socio-economic status. If
  they are to be effective, any attempts to address the contribution of psychiatric
  illness to societal violence must take on these other factors rather than deal
  with mental illness in a vacuum.
           In general, clinical predictions of violence have little relevance to public
  safety and need not form a central component of a broad harm-reduction
  strategy. One group of individuals with a major psychiatric illness, specifically
  young men facing a first psychotic episode, may indeed have significantly
  increased rates of violence as compared to the general population.           Yet the
  evidence strongly suggests that comprehensive early intervention involving
  effective psycho-education, vocational support, and other elements, in addition
  to more traditional mental health treatment, helps adolescents and young
  adults in the early stages of a psychotic disorder weather the dangers of
  psychosis and achieve real recovery.
           Although the Commission emphatically supports additional funding for
  mental health treatment in Connecticut and beyond, our support does not rest
  on the claim that better treatment will prevent future acts of mass violence, or
  indeed will reduce violence generally across our society to a significant degree.
  Widespread promotion of wellness that prioritizes psychological and emotional
  health may indeed diminish many of the risk factors for violence. But such
  efforts must address anger, alienation, and an underdeveloped capacity for
  empathy – all far more predictive of serious violence than mental illness is.
           B.       Key Findings And Recommendations
           35.      The Commission has found that while untreated psychiatric illness
  in a narrow subset of the population does increase the risk of violence, a

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  diagnosable mental illness alone is a very weak predictor of interpersonal
  violence – particularly compared to other factors such as substance abuse, a
  history of violence, socio-economic disadvantage, youth, and male gender. All of
  these factors have far stronger correlations with a risk of violence than does a
  psychiatric diagnosis. For gun violence in particular, mental illness contributes
  greatly to rates of suicide but marginally to homicide rates.
           36.      Accessible community treatment programs can reduce the relatively
  low risk of violence among most people living with mental illness.                 The
  Commission recommends expansion              and   increased    availability of   early
  intervention programs for those young adults early in the course of developing
  and/or established mental illness to reduce the likelihood that a person facing a
  psychotic illness might resort to violence or self-harm. Also, this would offer the
  best prognosis for a less chronic course of                illness, fewer emergency
  hospitalizations, and greater opportunities for recovery.
           37.      The testimony before the Commission from forensic psychiatrists
  and other experts makes clear that despite the ability to identify the condition of
  dangerousness, no one has yet devised a reliable method for predicting future
  violence.       Trait-based profiling appears to represent an ineffective and even
  counterproductive means of identifying individuals likely to commit acts of
  targeted violence and instead more likely creates stigma. Instead, behavioral
  threat assessment could be useful; it focuses on identifying and intervening with
  individuals whose behavior and/or communications clearly indicate an intention
  to commit violence.         This model has been adapted for use in educational
  institutions, workplace settings, and the U.S. military.
           38.      The Commission recommends the formation of multidisciplinary
  teams to conduct risk assessments in schools.               Each school district in
  Connecticut should have policies in place that are related to threat assessment
  and violence management. School [district]s should form multidisciplinary teams
  that include an Administrator, a school Police Department Officer, and a school
  mental health professional (e.g., Psychiatric Social Worker, School Psychologist,

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  Pupil Services and Attendance Counselor), as well as a community mental health
  provider, to assess threats made in schools. Such teams may also include
  representatives of faith communities and members of the youth services bureau.
   These teams should receive training in threat assessment that will enable them
  to review specific threats and help manage or support any person who issues a
  threat as well as warning the potential victims. They should also be available
  when a child or family has been identified with complex stressors that might
  indicate a need for additional resources to stabilize the family. In this way, risk
  assessment teams will become “go to” community resources that will support
  and strengthen families in the community.
           39.      People with mental health challenges are far more likely to be
  victims of violence than perpetrators. As a general matter, mass fatalities
  comprise less than one-tenth of 1% of gun homicides committed in the United
  States. Guns play a major role in suicide; over half of completed suicides involve
  firearms; 90-95% of completed suicides are attributable to depression, bipolar
  disorder, and other psychiatric illnesses, often in combination with substance
  abuse.
           40.      As noted in the Law Enforcement section of this report, the
  Commission supports adoption of the Consortium for Risk-Based Firearm Policy’s
  December 2013 recommendations.           The Consortium’s recommendations take
  evidence-based risk categories as a basis for limiting gun eligibility. These are
  based principally on a history of violent behavior, a reckless use of alcohol or
  illegal drugs, and a clinical finding of dangerousness.       Conversely, recently
  enacted legislation regarding gun eligibility may go too far in excluding
  individuals recently admitted to psychiatric institutions as voluntary inpatients,
  and the Commission urges reconsideration of this provision.
           41.      The Commission was unable to arrive at a recommendation
  concerning adopting involuntary outpatient commitment as an option short of
  involuntary hospitalization in Connecticut.



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  VII. RESPONSE, RECOVERY AND RESILIENCE
           A.       Analysis: Promoting          Resilience     Through     Response      And
                    Recovery Efforts

           The Commission has advanced recommendations for improving our
  systems of mental health care and expanding access to care.                         We have
  identified a vision for Connecticut‘s behavioral health system that embraces the
  total    wellness          of children,   adults   and   families   and fosters    empathy,
  connectedness and resilience throughout our communities. Caring, resilient
  communities are best positioned to help members recover from individual
  challenges as well as from disasters affecting larger groups. Recovery should
  focus on the centrality of individuals, families and communities; promote
  autonomous functioning throughout life; and champion social connectedness
  and engagement for all children and adults.
           The term ―recovery‖ has various meanings. We may speak of ―recovery‖
  when describing a person‘s rehabilitation from a physical illness or injury. We
  also use ―recovery‖ to describe the restoration of lost money or objects. Both
  senses of recovery suggest a return to a prior state of wellness or wholeness.
  But when we say someone is ―in recovery‖ from a substance use or mental
  disorder, we generally mean that the person is managing his or her symptoms
  in ways that permit a productive and satisfying life. We are not necessarily
  suggesting that the person has achieved a cure or returned to an earlier state
  of wholeness, nor that the person has reversed a loss.                 The recovery model
  posits that every individual with mental health challenges, including those with
  serious psychiatric illnesses, can live a meaningful life, participate fully in his
  or her community, and strive to reach his or her full potential. While recovery
  from individual mental illness is an important consideration, the Commission,
  given its charge, has chosen to focus our discussion of recovery on
  considerations unique to the context of a school or community crisis event.
  For recommendations on national disaster preparedness focusing on mental
  health concerns and issues relevant to children, see National Commission on

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  Children and Disasters. 2010 Report to the President and Congress (AHRQ
  Publication                No.        10-M037).             (http://archive.ahrq.gov/
  prep/nccdreport/nccdreport.pdf).           See    also   Disaster    Mental   Health
  Subcommittee of the National Biodefense Science Board. (2008.) Disaster
  Mental           Health     Recommendations       Report.      (http://www.phe.gov/
  Preparedness/legal/boards/nprsb/Documents/nsbs-dmhreport-final.pdf.)
           When a community experiences a horrific crisis event such as the
  shootings at Sandy Hook Elementary School, recovery in the sense of a cure or
  reversal is likely unattainable: there is no returning to the state of affairs before
  twenty-six of Newtown‘s children and educators were murdered. The lives lost
  that day are irrecoverable. The community is forever changed. For the victims‘
  families, as well as for those who survived the shootings, the impact is
  especially profound and indelible.        Testifying before the Commission, some
  victims‘ families emphasized that the although it is common to speak of a ―new
  normal,‖ this idea does not accord with their reality; when you have lost a
  young child and so many of the child‘s classmates, teachers and others in a
  school massacre, nothing feels normal again.         It makes more sense to view
  recovery as a process, one that will differ for every individual and family
  affected and will take still different paths for the schools and the community as
  a whole.         Nonetheless, the state can take concrete steps to facilitate this
  process.
           In public sessions the Commission considered extensive testimony
  related to response and recovery that encompassed both what has been
  learned from prior disaster events and what has worked and not worked thus
  far in the aftermath of the Sandy Hook shootings. The Commission heard from
  the families of victims, local and state officials involved in the recovery efforts,
  as well as national experts on trauma, disaster recovery and school crisis
  events. Some Commission members also met in small, private sessions with
  teachers and parents of children who survived the shootings.             Four broad
  themes emerged out of these sessions: planning; training and professional

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  development; coordination; and involvement of victims‘ families. Each of these
  is critical in assisting a school and broader community and its members
  through the recovery process.              These themes have helped to organize our
  recommendations.
           A horrific event such as the Sandy Hook shootings is nearly
  unimaginable before it occurs. With so many young children – six and seven
  years old – murdered at their elementary school along with the adults who
  cared for them, this tragedy in particular was without precedent in our nation‘s
  history. Sadly, though, this was far from the only school shooting in recent
  memory, and it was one of many mass killings to take place in the past decade.
  A recent FBI report confirmed that mass shootings have become far more
  frequent over the past several years, from an annual average of 6.4 such
  shootings per year between 2000 and 2006 to 16.4 per year between 2007 and
  2013.30 Although no community wants to contemplate another such tragedy
  on the horizon, Connecticut and the nation must proceed in the knowledge
  that crisis events, whatever form they take, may befall our communities at any
  time.
                    1.        Disaster response planning
           Crisis events are traumatic for everyone involved, particularly those
  affected directly. Effective response to and recovery from trauma and loss are
  best served by advance planning and careful thought. It is essential to have
  disaster response protocols in place that can quickly bring order to chaos and
  begin the long process of recovery. While certain commonalities exist among
  different types of crisis events, whether precipitated by natural or human
  causes, schools have distinctive needs and resources that call for a context-
  specific      approach.           We   must    consider    schools‘   special   populations,
  developmental              and   educational   missions,   and   central   roles     in   their
  communities when devising response and recovery efforts relevant to school
  crisis events.

  30 Available at http://www.nytimes.com/2014/09/25/us/25shooters.html.

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           Although such crisis events are rare, crisis, trauma and loss affect many
  individual children and families every day and negatively impact their
  adjustment, development, capacity to learn and function, and ability to reach
  their full potential. When we better prepare to meet these needs on a daily
  basis in each of our schools and throughout our communities, we take a major
  step forward in preparing to recover from the rare, large-scale crisis events. In
  turn, what we invest in preparing to recover from a major crisis will pay major
  dividends every day, even in communities fortunate enough to escape a major
  school or community crisis event.
           When planning for recovery in the aftermath of a school or community
  crisis, we should begin from the principle that reliance on individual treatment
  services alone cannot adequately address the broad range of needs for
  supportive and therapeutic services such events engender.                    A school
  community response is not the same as providing individual evaluation and
  treatment to everyone in the school community.              Other models, including
  psychoeducation            and   school-based    group   treatment,   are    important
  considerations in this context. An additional principle that should guide this
  work is that response and recovery efforts should promote and empower the
  capacity of local schools and communities to facilitate their own recovery.
  While short-term support by mental health professionals from outside the
  community may be required or helpful in the immediate aftermath of a crisis
  event, the goal should be to transition direct services provided during the
  recovery process to those who are part of the impacted community or
  adjoining/nearby communities. Although ongoing consultation, support, and
  training may be delivered by outside consultants, these outside supports
  should ultimately facilitate the training and empowerment of providers within
  the school and community to enable the recovery to become self-sustaining to
  the extent possible.
           Thus far, schools and school districts throughout the state have had to
  respond to crisis events on an ad hoc basis. Earlier in this report we outlined

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  specific recommendations for coordinating the law enforcement response to
  disaster events.           In addition, we recommend that Connecticut develop a
  comprehensive statewide plan for responding to large-scale school crisis events
  that includes educational and behavioral health agencies. The plan should
  specify short- and longer-term interventions and acknowledge that responses
  may require the recruitment of additional behavioral health professionals
  outside the school district and community so that agency functions are not
  compromised during a sustained response.                 A crisis event of significant
  magnitude tends to draw well-meaning volunteers who want to help in
  whatever ways they can.               As soon as news of the Sandy Hook shootings
  reached the world beyond Newtown, behavioral health professionals, clergy
  members and others appeared in the town offering their services. Although the
  mental health and pastoral needs of the community were considerable, no
  process existed for screening the credentials of individuals who arrived offering
  professional services. Going forward, any crisis response plan must include
  protocols for reviewing and approving credentialed professionals who do not
  belong to existing networks.
           The plan should clarify a range of roles and responsibilities, including
  the management of the school behavioral health response, provision of
  security, and operation of a family assistance center and a community
  assistance center.         Lead agencies should be designated for each function as
  indicated.         Relationships with local, regional, state and national experts,
  agencies and organizations should be in place prior to the event to assist with
  potential recovery efforts.           Competition among mental health providers for
  access to children has been noted nationally after several high-profile crisis
  events      and      can be    very    disruptive to   recovery   efforts.   Pre-existing
  memorandums of understanding that anticipate and plan for surge capacity for
  behavioral health needs in the aftermath of a disaster, while also establishing
  relationships for service delivery prior to any crisis event, can facilitate more
  seamless, and less contentious, service delivery when ultimately needed.

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           The state should also provide a short-term support team to school
  districts overwhelmed by tragedies to assist in planning and decision-making,
  such as communications, provision of security, and management of the mental
  health response, personnel and labor issues, and donations. After the shooting
  at Sandy Hook Elementary School, business groups that volunteered their
  support and services, such as those related to management of donated goods,
  were essential to the community‘s recovery; the Commission therefore
  recommends including the business community and other groups within the
  state in such a group. This would be an optional service offered to schools and
  developed prior to an event. Since school tragedies impact students, parents,
  school staff, and the larger community, the plan must identify possible
  interventions for each of these groups.
           In addition to the state-level advance plans and protocols, schools and
  districts should establish standing School Crisis Intervention Teams composed
  of members from inside and outside of the school systems that can play a
  critical role in coordinating recovery efforts. These teams should develop plans
  and policies that can be adapted to each situation.         Connecticut‘s local
  governance of schools makes it especially critical that a school system‘s
  response and recovery efforts are integrated with those of the town in which a
  crisis event takes place.
           An effective recovery plan must recognize that those exposed to mass
  violence and loss comprise a special community with unique needs.         In the
  context of a school, this community includes students, teachers, families, first
  responders and other helping professionals such as school and community-
  based behavioral health and health care providers. Children process traumatic
  events differently than adults do, and for young children in particular, the full
  effects of trauma may not emerge for years.      Dr. Marleen Wong of the USC
  School of Social Work, a national expert in school crisis and recovery,
  cautioned in her testimony to the Commission that existing knowledge about
  responses to trauma and processes of healing may prove insufficient to

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  account for the developmental trajectories of the very young children at Sandy
  Hook Elementary School who experienced the sudden rupture of deadly
  violence in their school and classrooms. But we do know that it is essential for
  children‘s recovery to provide school-based services as well as those in the
  community.
           Pre-existing or concurrent stressors or challenges in the lives of students
  and school staff may be exacerbated or become the primary focus for a child or
  adult in the aftermath of a school crisis, even if these stressors or challenges
  have no direct connection with the crisis event. For example, a student whose
  parents are experiencing marital conflict or illness may become more
  concerned about their well-being after a school shooting and seek support for
  these family issues.       As a result, the needs for supportive services can be
  significantly underestimated if based only on an assessment of the needs of
  students or staff who were most directly impacted by the crisis itself; the
  potential impact on all students and staff within the school or school district
  must also be considered. Hence it is critical to assess and address the needs of
  the entire school community (and broader community) and to develop a
  systematic response beyond screening and referral for individual treatment
  services.
           In addition to focusing on the distinctive needs of children, we must
  strengthen our knowledge base about how to meet the needs of the adult
  personnel who are part of the crisis response in the schools and ensure that we
  have a plan to address those needs promptly. Early intervention is crucial for
  educators as well as students. While teachers affected by trauma or loss may
  want to be with their students in the immediate recovery period, as victims
  themselves as well as caregivers they need significant support to meet the
  needs of highly traumatized children.           Teachers play a critical role in
  reestablishing a calm, emotionally stable learning environment in which
  parents and children alike feel secure, but in order to accomplish this the
  teachers‘ own emotional and psychological needs must be adequately

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  addressed. Beyond those who are directly impacted by a crisis event, including
  first responders, professionals who work with affected children and families,
  law enforcement personnel, educators and others may be vulnerable to what is
  known as vicarious or secondary trauma. Researchers have determined that
  exposure to the profound suffering and trauma narratives of others may induce
  symptoms of trauma, so an effective response and recovery plan should
  anticipate this possibility and identify mechanisms to help prevent, identify
  and mitigate secondary traumatic stress.
           The process of recovering from traumatic events and adjusting to the
  deaths of friends or family members must be measured not in weeks or even
  months, but in years and perhaps decades. Therefore any recovery plan must
  anticipate long-term as well as short-term needs. While funding for immediate
  recovery efforts must be readily available, it is equally important to harmonize
  funding mechanisms with the true length of time that services are required and
  to minimize the discontinuity of services that results from transitory funding
  mechanisms such as short-term grants.              The plan should also include
  provisions          addressing   bereavement    and    meaning-making      through
  memorialization and commemoration activities so that communities can
  approach these proactively. Without such forethought, critical decisions about
  elements of the recovery process are often made under great stress and less
  than optimal approaches taken. A response and recovery plan addressed to
  large-scale crisis events must also include an articulated policy for dealing with
  gifts, donations and other resources that can otherwise become a source of
  conflict and unnecessary suffering for a traumatized and grieving community.
           2.       Training and professional development.
           In addition to developing written plans and protocols for dealing with
  major crisis events, our communities should cultivate skills and relationships
  that will serve their members well if a crisis event occurs.       In particular,
  schools can and must prepare teachers, staff and students to take care of
  themselves and each other in the wake of a crisis. As discussed above in the

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  context of models of care, trauma, loss and toxic stress are common enough
  events in the lives of American children that schools should have ongoing
  mechanisms in place to recognize and assist children in managing the effects of
  such adversity.            We have recommended that school personnel receive
  behavioral health training across the board; we now urge that some of this
  training focus on providing teachers, administrators and other staff with tools
  they would need to handle crisis events and support students in the recovery
  process.
           School staff should be prepared to be supportive of children and able to
  initiate a process that may lead to referral to appropriate additional services
  (within the school and/or within the community) for support and treatment,
  when indicated. This is not the same as training school teachers and other
  school professionals that are not mental health providers to provide mental
  health treatment or therapy. Teachers can, for example, appreciate the impact
  of bereavement on children‘s learning and development (even outside the
  context of a school or community crisis event), learn strategies to support
  learning and adjustment for grieving students within the classroom and school
  setting, and demonstrate empathy and support – all without being expected to
  provide grief counseling. They will then be more capable of identifying children
  who may benefit from additional support and knowledgeable about referral
  sources. The school leadership must support this role by promoting ongoing
  professional development in these areas and the ability to obtain consultation
  from those more knowledgeable in these areas when they have concerns about
  their students, and avenues for referral.
           A 2012 survey of over 1,000 American educators, conducted by the New
  York Life Foundation in conjunction with the American Federation of Teachers
  (AFT), revealed that a majority of teachers observed declining academic
  performance and classroom behavior after the death of a student‘s parent or
  guardian; 92 percent of educators believe childhood grief is a serious problem
  that deserves more attention from schools. Teachers reported that they wanted

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  to provide support and assistance to their students who are grieving, but
  identified insufficient training and/or professional development as the single
  most important barrier preventing them from providing this support. Indeed,
  93% of classroom teachers reported they had never received bereavement
  training and only 3% said that their school or district offers this training. The
  Coalition to Support Grieving Students came together in 2013 to remedy this
  gap in the educational professions and to develop a set of resources broadly
  approved by leading professional organizations to guide educators and other
  school personnel in supporting and caring for their grieving students, available
  at no charge at www.grievingstudents.org (a site launched in January 2015).
  The materials can form the foundation for more structured presentations or
  facilitate self-directed professional development, and were developed and
  endorsed by the Coalition‘s Founding Members: American Federation of
  Teachers (AFT) and National Education Association (NEA); American Federation
  of School Administrators (AFSA), National Association of Elementary School
  Principals (NAESP), National Association for Secondary School Principals
  (NASSP), and School Superintendents Association (AASA); the American School
  Counselor Association (ASCA), National Association of School Nurses (NASN),
  National Association of School Psychologists (NASP), and School Social Work
  Association of America (SSWAA); and the National Center for School Crisis and
  Bereavement and the New York Life Foundation. We need similar approaches
  to advancing the comfort level and skills of all school professionals in other
  areas that relate to the behavioral needs of children and school staff in the
  aftermath of a crisis.
           Teachers, school administrators, and other school personnel should be
  trained to understand the impact of trauma and loss on learning and provide
  basic supportive services to help students adjust to a disaster and its
  aftermath and promote academic achievement.        Several studies have shown
  that after disasters, many children experience post-traumatic stress disorder
  (PTSD), bereavement, and other behavioral problems, such as increased

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  aggression or delinquency.                 Common effects of crises on students include
  school absenteeism; school behavior problems, such as aggressive or risk-
  taking behavior; academic failure; and exacerbation of pre-existing educational
  problems.          Without sufficient training, educators may not be aware that a
  student is having difficulty adjusting or coping, and as a result, the student‘s
  behaviors, learning patterns, or social interactions may be misinterpreted or
  mislabeled.
           Connecticut should establish statewide training requirements tied to
  professional certification and recertification, since the most effective way to
  ensure that teachers and other school personnel receive the basic training
  necessary to teach and support children effectively in the setting of trauma or
  loss is to include such training at the pre-service level as a condition of
  certification/licensure,            and   at   the      in-service    level   as   a   condition      of
  recertification/license renewal. Training for teachers and school personnel on
  how to support children following a disaster should impart basic skills and
  knowledge in the following areas: the impact of trauma and bereavement on
  children       and         their   learning;   likely    reactions;    strategies      for    providing
  psychological first aid, brief supportive services, and bereavement support; and
  indications for referral for additional mental health services.
           Advance preparation in disaster response is particularly critical in light
  of the fact that the immediate aftermath of a disaster frequently includes
  dramatic disruptions to normal routines, increased demands on adults, and
  other adverse conditions that limit the time and resources available to provide
  urgently needed training as well as the capacity of professional staff, who are
  often personally impacted by the crisis themselves, to effectively learn. Just-in-
  time training delivered in the immediate aftermath of a crisis event, though
  certainly better than no training at all, is often not really ―in time.‖
  Connecticut should therefore create mechanisms to implement ongoing
  training and professional development programs for teachers and school
  personnel that impart basic skills outside of crisis circumstances to enable

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  these adults to provide services to affected students and to establish statewide
  training requirements tied to professional certification and recertification.
           In addition to school personnel, other professionals who work with
  children should receive basic training in disaster-related behavioral health
  issues, including Psychological First Aid, cognitive-behavioral interventions (for
  school mental health providers), social support interventions, and bereavement
  counseling and support. Mental health professionals who work in schools and
  other child congregate care settings must also receive adequate training related
  to disaster mental health care for children.      Again, this training should be
  provided prior to an event, since supportive services should begin during the
  disaster or in the immediate aftermath and are needed on an ongoing basis at
  an individual level outside the context of a school or community crisis event.
           Connecticut has already begun this process by establishing the DBHIRN
  network (Disaster Behavioral Health Intervention Response Team),31 a mobile
  corps of public and private behavioral health professionals and clergy members
  who have been trained to respond to crisis events by providing psychological
  first aid and grief counseling to disaster victims and their families. Members of
  the DBHIRN network were deployed to Newtown in the immediate aftermath of
  the shootings. Although the network is envisioned as a short-term resource
  until additional resources can be brought in to address longer term needs, the
  DBHIRN clinicians formed the nucleus of a three-month mental health
  response in Sandy Hook.       Clinicians were assigned to each of Newtown‘s
  schools as of December 18, and they became available to support family
  members, students, teachers and other school personnel in the relocated
  Sandy Hook Elementary School as of its reopening on January 3, 2013. While
  the DBHIRN network affords access to an extensive corps of disaster-qualified
  behavioral health professionals, its function is time-bound, especially given
  that it is staffed by volunteer clinicians who have pre-existing service
  responsibilities to other critical government or community agencies. Therefore

  31 See http://www.ct.gov/dmhas/lib/dmhas/publications/dbhfactsheetr5.pdf.

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  schools and school districts should form preexisting relationships with child
  behavioral health providers to facilitate more seamless service delivery in the
  aftermath of a crisis event.
           Response and recovery efforts must begin as soon as possible during a
  crisis event. In a school environment, priority should be placed on stabilizing
  the situation and establishing an environment in which students and staff feel
  secure.        Recovery must include restoration of the learning environment,
  reestablishment of emotional safety, and return to a calm routine.          Schools
  should be prepared to support the emotional stabilization of teachers and
  parents as well as students. These efforts must adapt to an evolving situation
  and must afford continuing supports and services over time. School districts
  should develop a monitoring process that will follow affected children
  throughout their school careers to protect against future vulnerability,
  victimization and mental health difficulties.        School can be a sanctuary, an
  ideal place to help children learn the skills necessary to manage stress, cope
  with loss and develop resilience.         Although a school crisis event temporarily
  disrupts this function, specific preparation in disaster recovery will help to
  restore it.       Schools characterized by a well-established culture of empathy,
  understanding, support and common purpose are particularly likely to remain
  places of refuge. All schools should promote positive ways to move forward in
  the face of crisis or adversity.
                    3.       Coordination
           Effective response and recovery efforts after crisis events require
  extensive coordination across local and state entities. For school crisis events,
  Connecticut should better integrate the behavioral health and education
  responses by creating a mechanism that facilitates the immediate coordination
  of supportive services. Although there may be one lead agency overseeing the
  recovery efforts, the response and recovery will require integrated and
  complementary services from multiple state agencies and departments
  (including the State Department of Education (SDE), DMHAS and DCF).

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  Following the Sandy Hook shootings, activation of a unified command system
  at DMHAS called Incident Command Structure helped to facilitate coordinated
  decision-making.            State Commissioners intimately involved in response and
  recovery efforts that began hours after the shootings testified before the
  Commission that the events of December 14 and their aftermath revealed the
  deep interdependence of various agencies, state and local systems and
  communities that too often occupy separate silos.
           An overwhelming need for behavioral health supports and services
  emerged in the days, weeks and months that followed the shootings. Mental
  health professionals assisted with death notification, provided short-term
  psychological first aid and bereavement counseling, offered trauma treatment
  to children, school personnel, families, first responders and others, and
  furnished supports in classrooms and throughout Newtown schools and the
  relocated Sandy Hook Elementary School.              The depth and breadth of this need
  calls for stronger integration of schools and behavioral health agencies to
  facilitate the prompt and consistent provision of services for as long as the
  need exists.           It is also important to create linkages to community programs
  offering bereavement support, faith-based groups that can provide supportive
  services, and agencies providing victim services. Department of Public Health
  Commissioner Jewel Mullen highlighted the importance of strengthening the
  integration of our educational and behavioral health agencies into the unified
  command system.
                    4.       Involvement of victims‘ families
           Victims‘ families spoke eloquently to the Commission of their particular
  recovery journeys.           Despite the extensive resources state and local agencies
  have devoted to the response and recovery efforts, some families unfortunately
  have experienced confusion about where to turn for help and whether their
  input is valued. Family members who testified uniformly praised the state‘s
  decision to assign state troopers to each family and indicated that the chaos,
  bewilderment and desperation of December 14, 2012 began to improve as soon

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  as these connections were forged, even while awareness that their children had
  died in the shootings began to take hold.        They commended the troopers
  themselves for conducting their roles with the utmost professionalism,
  compassion and responsiveness.
           Other connections have been less successful. It became clear through
  their testimony that channels of communication between the families and town
  government, as well as between the families, the schools and the school board,
  were less than ideal in the weeks and months after the shootings.             One
  explanation these families identified was that everyone involved in the response
  and recovery effort was understandably concerned about exacerbating the
  traumatic shock and loss these families were experiencing.        This solicitude,
  combined with what may have been an incomplete understanding of trauma
  and bereavement, appears to have led school and community officials to
  exclude victims‘ families from crucial decision-making processes and to
  withhold information in an effort to preserve families‘ privacy.      A couple of
  parents aptly characterized this as being ―kid gloved,‖ or treated with a degree
  of a caution that felt to some like avoidance.
           Each of these family members acknowledged that recovery from trauma
  and loss involves highly individualized processes; one person may need access
  to information regarding commemorative activities, school yearbooks and other
  aspects of the recovery process, while another may need to be insulated from
  such reminders of their trauma and loss to the maximum extent possible.
  Since one of the effects of trauma is to shatter a person‘s sense of control, it is
  essential to the recovery process that survivors begin regaining control where
  possible. Hence communication and engagement with victims of crisis events
  should not follow a one-size-fits-all approach, but instead should be calculated
  to enhance each individual‘s capacity to control his or her own recovery
  process. Clear, open channels of information and persistent efforts to make
  information available to victims are compatible with the individualized
  experience of trauma and loss to the extent that they leave it to the victims

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  themselves to decide whether and how to engage. Exclusion and avoidance,
  even if motivated by compassion, take this decision away from those most
  directly affected by the crisis event. A central clearing house for information
  relevant to disaster response and recovery, with clearly identified channels of
  access, would help to mitigate the sorts of communication barriers that can
  impede recovery and risk re-traumatizing vulnerable members of the
  community.
                    5.       Concluding thoughts.
           Throughout this discussion of response and recovery efforts following
  large-scale crisis events, we have emphasized the need for advance planning;
  training and professional development around issues related to trauma, loss
  and bereavement; broad coordination across agencies, particularly those in the
  fields of behavioral health and education; and involvement of victims‘ families
  in critical decisions.          In addition to these specific recommendations, it is
  essential to remember that resilient individuals and communities generally fare
  best in the face of adversity. As a state and a nation, we must seek out and
  embrace measures that will foster such resilience.
           All of the Commission‘s recommendations in this section of our report
  should be understood to promote a broad and holistic approach to mental
  health across the lifespan.            Such an approach will require changes to the
  funding and delivery structures that provide care as outlined above, as well as
  multifaceted efforts to destigmatize mental health and prioritize social,
  emotional and psychological wellness across our culture. Ultimately, our best
  prospects for a healthy society, and one less likely to be ravaged by the effects
  of violence, lie in strong, caring communities where every child, adult and
  family has enough -- not merely enough to survive, but enough to flourish.
           B.       Key Findings And Recommendations
           42.      Connecticut should develop a comprehensive statewide plan for
  effectively      responding      to   large-scale   school   crisis   events   that   includes
  educational and behavioral health agencies. The plan should specify short- and

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  longer-term interventions for different populations,                 and    identify funding
  mechanisms that will minimize discontinuity of services. It should clarify a range
  of roles and responsibilities for state and local entities and designate lead
  agencies for key functions.
           43.      Connecticut and its municipalities should incorporate an enhanced
  focus on the mental health implications of disasters and other crisis events into
  all disaster preparedness and response protocols, and implement measures to
  address the behavioral health needs of children as well as adults.
           44.      Connecticut   should    better      integrate    behavioral    health   and
  educational         responses   to   disaster    events    by     thoughtfully   incorporating
  educational and behavioral health agencies into the state’s Unified Command
  System.
           45.      Investment in preparing to recover from a major crisis will pay major
  dividends every day, even in communities fortunate enough to escape a major
  school or community crisis event.                Meeting needs daily in schools and
  communities will be a major step in improving everyday functioning as well as
  recovery from large-scale crises.
           46.      While short-term support by mental health professionals from
  outside the community may be required or helpful in the immediate aftermath of
  a crisis event, the goal should be to transition direct services provided during the
  recovery process to those who are part of the impacted community or
  adjoining/nearby communities. With some outside support, the goal should be
  empowering and training providers within the school and community to ensure
  that the recovery is self-sustaining to the extent possible.
           47.      The state should also offer the option of engaging a short-term
  support team, developed prior to an event, to school districts overwhelmed by
  tragedies to assist in planning and decision-making, such as communications,
  management of mental health response, provision of security, managing
  personnel and labor issues, and donations.



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           48.      We must strengthen our knowledge base about how to meet the
  emotional and psychological needs of the adult personnel who are part of the
  crisis response in the schools and ensure that we have a plan to address those
  needs promptly.
           49.      Any recovery plan must anticipate long-term as well as short-term
  needs, because the process of recovering from traumatic events may take years.
  While funding for immediate recovery efforts must be readily available, it is
  equally important to harmonize funding mechanisms with the true length of time
  that services are required and to minimize the discontinuity of services that
  results from transitory funding mechanisms such as short-term grants. The plan
  should also include provisions addressing bereavement and meaning-making
  through memorialization and commemoration activities so that communities can
  approach these proactively.
           50.      Connecticut should create mechanisms to implement ongoing
  training and professional development programs outside of crisis circumstances
  for teachers and school personnel, and establish statewide training requirements
  tied to professional certification and recertification.   Training for teachers and
  school personnel on how to support children following a disaster should impart
  basic skills and knowledge in the following areas: the impact of trauma and
  bereavement on children and their learning; likely reactions; strategies for
  providing psychological first aid, brief supportive services, and bereavement
  support; and indications for referral for additional mental health services.
           51.      Connecticut should better integrate the behavioral health and
  education responses to school crisis events by creating a mechanism that
  facilitates the immediate coordination of supportive services. Although there may
  be one lead agency overseeing the recovery efforts, the response and recovery
  will require integrated and complementary services from multiple state agencies
  and departments (including SDE, DMHAS and DCF).              It is also important to
  create linkages to community programs offering bereavement support, faith-



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  based groups that can provide supportive services, and agencies providing victim
  services.
           52.      To help victims regain a sense of control, communication and
  engagement with victims of crisis events should not follow a one-size-fits-all
  approach but instead should be calculated to enhance each individual’s capacity
  to control his or her own recovery process.        A central clearing house for
  information relevant to disaster response and recovery, with clearly identified
  channels of access, would help to mitigate the sorts of communication barriers
  that can impede recovery and risk re-traumatizing vulnerable members of the
  community.




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                              CLOSING QUOTE




  “In my house, we believe every day is an opportunity to allow love to
  win.”
                                       –Nelba Márquez-Greene,
                                       mother of Ana Márquez-Greene




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                                      APPENDIX*

  A.       Consolidated Recommendations of the Sandy Hook Advisory Commission

  B.       List of Individuals Who Testified Before the Sandy Hook Advisory
           Commission

  C.       Sandy Hook Advisory Commission Agendas and Meeting Minutes*

  D.       Sandy Hook Advisory Commission Interim Report (dated March 18,
           2013)*

  E.       Sandy Hook Elementary School Floor Plan*

  F.       Photographs of weapons used in Sandy Hook Elementary School
           shootings

  G.       Legislation Passed During 2013 General Assembly Session Relating To
           Sandy Hook:

           Public Act 13-3 (―An Act Concerning Gun Violence Prevention And
           Children's Safety‖)*

           Public Act 13-220 (―An Act Concerning Revisions To The Gun Violence
           Prevention And Children's Safety Act‖)*

           Public Act 13-178 (―An Act Concerning The Mental, Emotional And
           Behavioral Health of Youths‖) and Report on Implementation of PA 13-
           178*

           Public Act 13-188 (―An Act Concerning School Safety‖)*

  H.       Report of the State‘s Attorney for the Judicial District of Danbury on the
           Shootings at Sandy Hook Elementary School and 36 Yogananda Street,
           Newton, Connecticut on December 14, 2012 (dated Nov. 25, 2013), with
           accompanying Appendix.*

  I.       Report of the Child Advocate, ―Shooting at Sandy Hook Elementary
           School,‖ released on November 21, 2014*



  * Appendix entries denoted by an asterisk (*) are not included in the main report, but
  are available for download from the Internet via hyperlink.
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  J.       State Police Investigative Files re: Shootings at Sandy Hook Elementary
           School and 36 Yogananda Street*

  K.       Report of the Safe School Infrastructure Council (revised and updated to
           June 27, 2014)

  L.       School Security and Safety Plan Standards (v 1.0) (dated Dec. 30, 2013)*

  M.       Capitol Region Chiefs of Police Association ―Blue Plan‖ (dated April 24,
           2013) (mutual aid response to incidents within Capitol Region)*




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                                       APPENDIX A

                  CONSOLIDATED RECOMMENDATIONS OF THE
                     SANDY HOOK ADVISORY COMMISSION
  I.       SAFE SCHOOL DESIGN AND OPERATION RECOMMENDATIONS
           1.       The Safe School Infrastructure Council Report (―SSIC Report‖)
  includes a standard requiring classroom and other safe-haven areas to have
  doors that can be locked from the inside. The Commission cannot emphasize
  enough the importance of this recommendation.              The testimony and other
  evidence presented to the Commission reveals that there has never been an
  event in which an active shooter breached a locked classroom door.
  Accordingly, the Commission reiterates its recommendation that all classrooms
  in K-12 schools should be equipped with locked doors that can be locked from
  the inside by the classroom teacher or substitute.
           2.       The Commission also reiterates its recommendation that all
  exterior doors in K-12 schools be equipped with hardware capable of
  implementing a full perimeter lockdown.
           3.       A feasibility study should be conducted to develop additional safety
  standards concerning the issuance of classroom keys to substitute teachers.
           4.       School custodians should be included as members of school
  security and safety committees. Custodians have a wealth of knowledge and
  experience to share with regard to the physical school building and grounds.
  Accordingly, the Commission requests that the Governor submit the following
  recommendendation for consideration by the General Assembly during the
  2015 legislative session:32
           Section 10-222m of the general statutes is repealed and the
           following is substituted in lieu thereof (Effective from passage):




  32 The format of the proposed legislation follows the format the General Assembly uses

  when proposing amendments to existing legislation. Proposed new text is underlined
  and proposed deletions from existing text appear in strike-through format.
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           (a) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           develop and implement a school security and safety plan for each
           school under the jurisdiction of such board. Such plans shall be
           based on the school security and safety plan standards developed
           by the Department of Emergency Services and Public Protection,
           pursuant to section 86 of this act. Each local and regional board of
           education shall annually review and update, if necessary, such
           plans.

           (b) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           establish a school security and safety committee at each school
           under the jurisdiction of such board. The school security and
           safety committee shall be responsible for assisting in the
           development of the school security and safety plan for the school
           and administering such plan. Such school security and safety
           committee shall consist of: (1) a local police officer;, (2) a local first
           responder;, (3) a teacher employed at the school, selected with
           the consent and approval of other school or district employees
           of that classification; and (4) an administrator employed at the
           school, selected with the consent and approval of other school
           or district employees of that classification; (5) a custodian
           employed at the school, selected with the consent and approval
           of other school or district employees of that classification; (6)
           the school facilities managers; (7) a mental health professional,
           as defined in section 10-76t of the general statutes,; (8) a parent or
           guardian of a student enrolled in the school; and any other person
           the board of education deems necessary. Any parent or guardian
           serving as a member of a school security and safety committee
           shall not have access to any information reported to such
           committee, pursuant to subparagraph (c) of subdivision (2) of
           subsection (c) of section 10-222k of the general statutes, as
           amended by this act.

           (c) Each local and regional board of education shall annually
           submit the school security and safety plan for each school under
           the jurisdiction of such board, developed pursuant to subsection
           (a) of this section, to the Department of Emergency Services and
           Public Protection.

  In furtherance of this recommendation, the Commission also recommends that
  the School Security and Safety Plan Standards and Template should be



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  changed so that school districts realize the importance of placing custodians on
  these vital committees.
            5.      Teachers, administrators and custodians should be appointed to
  school security and safety committees with the consent and approval of other
  employees of their same classification.              The Commission believes that
  committee members so appointed may be more empowered to voice their
  concerns. Accordingly, the Commission recommends the following:
           Section 10-222m of the general statutes is repealed and the
           following is substituted in lieu thereof (Effective from passage):

           (a) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           develop and implement a school security and safety plan for each
           school under the jurisdiction of such board. Such plans shall be
           based on the school security and safety plan standards developed
           by the Department of Emergency Services and Public Protection,
           pursuant to section 86 of this act. Each local and regional board of
           education shall annually review and update, if necessary, such
           plans.

           (b) For the school year commencing July 1, 2014, and each school
           year thereafter, each local and regional board of education shall
           establish a school security and safety committee at each school
           under the jurisdiction of such board. The school security and
           safety committee shall be responsible for assisting in the
           development of the school security and safety plan for the school
           and administering such plan. Such school security and safety
           committee shall consist of: (1) a local police officer;, (2) a local first
           responder;, (3) a teacher employed at the school, selected with
           the consent and approval of other school or district employees
           of that classification; and (4) an administrator employed at the
           school, selected with the consent and approval of other school
           or district employees of that classification; (5) a custodian
           employed at the school, selected with the consent and approval
           of other school or district employees of that classification; (6)
           the school facilities managers; (7) a mental health professional,
           as defined in section 10-76t of the general statutes,; (8) a parent or
           guardian of a student enrolled in the school; and any other person
           the board of education deems necessary. Any parent or guardian
           serving as a member of a school security and safety committee
           shall not have access to any information reported to such
           committee, pursuant to subparagraph (c) of subdivision (2) of
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           subsection (c) of section 10-222k of the general statutes, as
           amended by this act.

           (c) Each local and regional board of education shall annually
           submit the school security and safety plan for each school under
           the jurisdiction of such board, developed pursuant to subsection
           (a) of this section, to the Department of Emergency Services and
           Public Protection.

            6.    The Commission recommends that the State require each school
  district to create a permanent committee or commission, the purpose of which
  shall be to ensure SSDO standards and strategies are implemented in the
  district. The Commission suggests that the committee consist of the following
  persons: 1) one person selected by the Superintendant of Schools; 2) one
  person selected by the local chief of police; 3) one person selected by the local
  fire chief; 4) one person selected by local EMS; 5) one person selected to
  represent local public health and safety; and 6) one mental/behavioral health
  professional.
           Additionally, the State should designate an individual at the state
  Commissioner-level, such as the Commissioner of Education or Commission of
  the Department of Emergency Services and Public Protection, to whom the
  local committee shall be required to submit a written status report on or before
  December 31 of each year.
            7. The State should amend section 80 (a) of P.A. 13-3 to include an
  architect licensed in the State of Connecticut among the members of the School
  Safety Infrastructure Council.        Therefore, the Commission requests that the
  Governor submit this recommendation for consideration by the General
  Assembly during the 2015 legislative session.
           8.       The State should amend section 80(b) of P.A. 13-3 as follows:
           The School Safety Infrastructure Council shall develop school
           safety infrastructure standards for school building projects under
           chapter 173 of the general statutes and projects receiving
           reimbursement as part of the school security infrastructure
           competitive grant program, pursuant to section 84 of this act.
           Such school safety infrastructure standards shall conform to
           Connecticut and national industry best practice standards for
           school building safety infrastructure and shall include, but not be

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           limited to, standards regarding (1) entryways to school buildings
           and classrooms, such as, reinforcement of entryways, ballistic
           glass, solid core doors, double door access, computer-controlled
           electronic locks, remote locks on all entrance and exits and buzzer
           systems (1) entryways to school buildings, classrooms and other
           space that can become areas of safe haven, such as, reinforcement
           of entryways, forced entry and/or ballistic rated glazing, solid core
           (FE and/or BR) doors, double door access, computer-controlled
           electronic locks, remotely controlled locks on all entrance and exits
           and buzzer systems, (2) the use of cameras throughout the school
           building and at all entrances and exits, including the use of closed-
           circuit television monitoring, (3) penetration resistant vestibules,
           and (4) other security infrastructure improvements and devices as
           they become industry standards. The council shall meet at least
           annually to review and update, if necessary, the school safety
           infrastructure standards and make such standards available to
           local and regional boards of education.

  Therefore,        the      Commission   requests   that   the   Governor   submit   this
  recommendation for consideration by the General Assembly during the 2015
  legislative session.
            9.    Each school shall maintain an accurate list of faculty, staff and
  students, complete with emergency contact information, which shall include,
  but not be limited to, parents and guardians of students.             This information
  shall be kept at two locations within each school known by appropriate school
  staff and the emergency response teams for that school.
           10. Each school shall provide safety and security training for faculty,
  staff and students on how to respond to hazards and or events in order to
  provide competent compliance with the All Hazards School Security and Safety
  Plan Standards. This training shall include live exercises to test the efficacy of
  the training program and to provide a means to develop that program as
  informed by these exercises. These training programs and exercises shall also
  include the identification and use of rendezvous points, escape routes, location
  of safe havens, the means of emergency communication and the role of faculty,
  staff, emergency responders, etc. These training and exercise programs may
  benefit from the participation of parents as part of post-event response and
  recovery operations as determined by each school and school district in
  accordance with their incident response plans.



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           11.     The Commission recommends that each school identify specific
  individuals to serve as safety and security wardens, who shall be responsible
  for executing and managing the safety and security strategies set forth in
  Recommendation No. 10.
           12.      In the design of schools, the Commission recommends that
  classrooms and other spaces of denser population occupancy be located away
  from the points of building entry and that spaces of lesser occupancy be
  adjacent to school entry points, without giving up human visual surveillance
  and situational awareness of the entry points.
  II.      LAW ENFORCEMENT RECOMMENDATIONS
           A.       Interim Report Recommendations And Status
           1. Mandatory background checks on the sale or transfer of any firearm,
  including long guns, at private and gun show sales.
           Status: Recommendation accepted and adopted by P.A. 13-3, § 1.
           2. Require registration, including a certificate of registration, for every
  firearm.       This certificate of registration should be issued subsequent to the
  completion of a background check and is separate and distinct from a permit
  to carry.
           Status: Not adopted.     The Commission reaffirms its recommendation
  requiring the registration of all firearms and requests that the Governor
  resubmit this recommendation for reconsideration by the General Assembly
  during the 2015 legislative session.
           3.    Require firearms permits to be renewed on a regular basis.      This
  renewal process should include a test of firearms handling capacity as well as
  an understanding of applicable laws and regulations.
           Status: Not adopted. (Note: Under existing law, a firearm permit is good
  for five years and may be renewed without the recommended process.              See
  Conn. Gen. Stat. § 29-36h.)         The Commission requests that the Governor
  resubmit this recommendation for legislative action.
           4. Institute a ban on the sale, possession, or use of any magazine or
  ammunition feeding device in excess of 10 rounds except for military and police
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  use. In proposing this recommendation, the Commission recognized that
  certain sporting events at times involve the use of higher capacity magazines.
  However,        the        consensus    of   the   Commission   was     that   the    spirit   of
  sportsmanship can be maintained with lower capacity magazines.
           Status:             Accepted and adopted by P.A. 13-3, §§ 23-24.
           5. Institute a ban on the possession or sale of all armor-piercing and
  incendiary bullets, regardless of caliber.                 First-time offenses should be
  classified as a Class D Felony.
           Status: Accepted and adopted in part by P.A. 13-3, § 32 (banning armor-
  piercing bullets). The Commission reaffirms its position that the ban should
  also apply to incendiary bullets and urges the Governor to submit this
  recommendation to the General Assembly for reconsideration during the 2015
  legislative session.
           6.       Allow ammunition purchases only for registered firearms.
           Status: Not adopted in absence of firearm registration requirement. The
  Commission reaffirms its position that the law should only permit individuals
  to purchase ammunition for registered firearms and requests that the Governor
  submit this recommendation to the General Assembly for reconsideration
  during the 2015 legislative session.
           7.       Evaluate       best   practices   for   determining   the    regulation      or
  prohibition of the sale and purchase of ammunition via the Internet.
           Status: Not adopted. The Commission reaffirms its position that the
  state should study and evaluate best practices for determining the regulation
  or prohibition of the sale and purchase of ammunition via the Internet and
  requests that the Governor submit this recommendation to the General
  Assembly for reconsideration during the 2015 legislative session.
           8.       Evaluate the effectiveness of federal law in limiting the purchase of
  firearms via the Internet to only those individuals who have passed the
  appropriate background screening.
           Status:       Not adopted. The Commission reaffirms its position that the
  state should study and evaluate the effectiveness of federal law in limiting the
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  purchase of firearms via the Internet to only those individuals who have passed
  the appropriate background screening and urges the General Assembly to
  reconsider this recommendation during the 2015 legislative session.
           9. Limit the amount of ammunition that can be purchased at any given
  time.
           Status: Not adopted. The Commission reaffirms its position that the law
  should only permit individuals to purchase ammunition for registered firearms
  and requests that the Governor submit this request to the General Assembly
  for reconsideration during the 2015 legislative session.
           10.      Prohibit the possession, sale or transfer of any firearm capable of
  firing more than 10 rounds without reloading. This prohibition would extend to
  military-style firearms as well as handguns.          Law enforcement and military
  would be exempt from this ban.
           Status: Not adopted. Instead, the General Assembly created of a list of
  specific semiautomatic rifles, pistols and shotguns that are banned. See P.A.
  13-3, §§ 25-31. The Commission requests the Governor to submit this request
  to the General Assembly for reconsideration during the 2015 legislative
  session.
           11. Require that trigger locks must be provided at the time of sale or
  transfer of any firearm.
           Status: Not adopted. The Commission reaffirms its position that the law
  should require trigger locks to be provided at the time of sale or transfer of any
  firearm, and requests that the Governor resubmit this recommendation to the
  General Assembly for reconsideration during the 2015 legislative session.
           12.      Require that the state develop and update a ―best practices‖
  manual and require that all firearms in a home be stored in a locked container
  and adhere to these best practices; with current minimum standards featuring
  a tamper-resistant mechanical lock or other safety (including biometric) device
  when they are not under the owner's direct control or supervision. The owner
  should also be directly responsible for securing any key used to gain access to
  the locked container.
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           13.      Require   non-residents    seeking   to   purchase   a   firearm    or
  ammunition in the State of Connecticut to obtain a Certificate of Eligibility and
  conform to all other regulations applicable to Connecticut residents.
           Status: P.A. 13-3 requires that anyone who purchases ammunition in
  CT must have Connecticut state credentials. See P.A. 13-3, § 14(c).
           14. Require gun clubs to report any negligent or reckless behavior with a
  firearm, or illegal possession of any firearm or magazine, to the Connecticut
  Department of Emergency Services and Public Protection, Commissioner of
  Public Safety, and local law enforcement.
           Status: Not adopted. The Commission reaffirms this recommendation
  and requests that the Governor resubmit it to the General Assembly for
  reconsideration during the 2015 legislative session.
           15.      Requiring promoters of gun shows to receive a permit from the
  Chief of Police or Chief Elected Official as well as provide notice to the
  Commissioner of the Connecticut Department of Emergency Services and
  Public Protection.
           Status:       Not adopted. The Commission reaffirms this recommendation
  and requests that the Governor resubmit it to the General Assembly for
  reconsideration during the 2015 legislative session.
           B.       Final Report Additional Recommendations
           16.      Require that any shell casing for ammunition sold or possessed in
  Connecticut have a serial number laser etched on it for tracing purposes.
           17.      Any person seeking a license to sell, purchase or carry any type of
  firearm in the state should be required to pass a suitability screening process.
           18.      To allow, at a judge's discretion, the opportunity to temporarily
  remove any firearms, ammunition, and carry permits from a person who is the
  subject of an ex parte restraining order, civil protection order or family violence
  protective order, at the time of the issuance of that order. The Commission
  believes that the time period between the ex parte request and the issuance of a
  full restraining order, civil protection order or family violence protective order,
  constitutes a period of critical danger, one that must be
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           19.      Grant state-wide peace officer status to all sworn law enforcement
  officers in Connecticut to assure their ability to respond to any other
  jurisdiction within the state in the event of a major police emergency, but only
  at the express invitation of the requesting jurisdiction. Self-dispatch by public
  safety or EMS resources should be prohibited to prevent over-response.
           20.      Provide funding for the Department of Emergency Services and
  Public Protection, Division of Emergency Management and Homeland Security,
  to establish positions for regional School Safety Planners charged with
  assisting districts in the planning for all hazards emergencies and the effective
  exercising of those plans.
            21.       Develop regional multi-jurisdictional, multi-discipline, Unified
  Command concept of operations, integrating local and state police, for major
  events of great consequence. These plans should include administrative staff of
  local schools or other entities to assure best information is available.
           22.      Establish statewide and/or regional Incident Management Teams
  for public safety personnel.
           23.     Integrate Public Safety Dispatch centers, with minimum staffing
  levels, into all major event response plans.
           24. Require that lead agencies that respond to major events conduct a
  review and provide formal after-action reports, which should be maintained on
  file with the appropriate public agencies.        (In Connecticut, the Commission
  recommends that a copy of each after-action report should be provided to, and
  maintained on file by the Department of Emergency Services and Public
  Protection and the Connecticut Police Chiefs Association.)
           25.       Require the Department of Emergency Services and Public
  Protection, Division of State Police, in conjunction with the Connecticut Police
  Chiefs Association, to develop and conduct joint regional exercises of planned
  responses to major events. Those agencies should also review all existing
  policies concerning planned responses to active shooters. The review should
  focus on the best practices for disrupting active shooters as rapidly as possible.


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           26.       Expand incident training at Police and Fire Academies in
  Connecticut.
           27.      Create a statewide working group to address first responder mental
  health issues.
           28.      Create and publish a Statewide Donations Management Plan for
  incidents of statewide consequence. This could be done through Connecticut
  Care, which was established by P.A. 13-275.
           29.      Programs should be developed that focus on violence reduction
  through the educational process or other entities.
           30. Alcohol awareness programs should be included at appropriate
  points in the K-12 curriculum.
  III.     MENTAL AND BEHAVIORAL HEALTH RECOMMENDATIONS
           A.       Recommendations Re: Models of Care
           1.       Recognizing that mental health is more than the absence of mental
  illness, we must build systems of care that go beyond treating mental illness to
  foster healthy individuals, families and communities and embrace overall
  psychological, emotional and social well-being.
           2.       To promote true wellness, Connecticut must build a mental health
  system that targets detection and treatment while building stronger, resilient
  communities of care.
           3.       Addressing a fragmented and underfunded behavioral health
  system tainted by stigma requires building a comprehensive, integrated
  approach to care. The approach will stress family involvement and community
  resilience. Care will be holistic and involve pediatric and adult medical homes
  from birth to adulthood, with efforts to ensure continuity of care. Identifying
  risk factors, reinforcing protective factors, and promoting positive development
  throughout will be key goals, and peer as well as professional support will be
  involved. Treatment and prevention will be stressed.
           4.       To treat the whole person and cultivate wellness across the
  population, our health delivery systems and reimbursement paradigms should
  embrace a biopsychosocial model that understands the individual‘s physical
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  and mental health strengths and challenges in the context of that person‘s
  social environment and relationships.
           5.       Providers      should    be    incentivized    through     reimbursement
  mechanisms to integrate both physical and mental health services, whether
  through their own care delivery or through integration of services within a
  medical home model.
           6.       To       promote   healthy    child    development   and   foster   robust
  communities, our systems of care must attend to the factors affecting family
  welfare. Current funding structures must thus be revamped. The Commission
  recommends support for models of integrated care driven by family needs in
  which all providers focus on family strength, address their risk factors, and
  accept the family as a partner in treatment.
           7.       Schools must play a critical role in fostering healthy child
  development and healthy communities.                    Healthy social development can be
  conveyed by role models such as parents, teachers, community leaders, and
  other adults in children‘s lives, but it can also – and should – be actively taught
  in schools.
           8.       Social-emotional learning must form an integral part of the
  curriculum from preschool through high school. Social-emotional learning can
  help children identify and name feelings such as frustration, anger and
  loneliness that potentially contribute to disruptive and self-destructive
  behavior.        It can also teach children how to employ social problem-solving
  skills to manage difficult emotional and potentially conflictual situations.
           9.       A sequenced social development curriculum must include anti-
  bullying strategies.          As appropriate, it should also include alcohol and drug
  awareness as part of a broader substance-abuse prevention curriculum for
  school-aged children.
           10.      Many of our students and their families live under persistent and
  pervasive stress that interferes with learning and complicates the educational
  process.       There are many potential resources such as school based health
  centers that should provide a locus of preventive care, including screenings
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  and referrals for developmental and behavioral difficulties, exposure to toxic
  stress, and other risk factors, as well as treatment offerings that can address
  crisis, grief and other stressors. Alternatively, schools can employ the services
  of community-based mental health providers such as child guidance clinics.
           11.      Schools should form multidisciplinary risk-assessment teams that
  gather information on and respond supportively to children who may pose a
  risk to others or face a risk to themselves due to toxic stress, trauma, social
  isolation or other factors. (See recommendation 39 below regarding the role of
  mental illness in violent events.) Schools should look to factors such as social
  connectedness in identifying children at risk; all school staff should be trained
  in inquiry-based techniques to apply when disciplinary issues arise in order to
  deepen their understanding of how children‘s behavior can be linked to
  underlying stressors.
           12.      Schools should work with all providers to enhance community
  resources and augment services available in schools.            For many children
  schools offer the only real possibility of accessing services, so districts should
  increase the availability of school guidance counselors, social workers,
  psychologists, and other school health and behavioral health professionals
  during and after school as well as potentially on Saturdays.
           13.      The state and federal departments of education should establish
  lead sections or programs on school mental health to supplement (not replace)
  the work of CT DCF.          These sections would play a critical role in conducting
  and coordinating broad-based prevention and intervention efforts within the
  school system to help ensure a coordinated, seamless and comprehensive
  statewide system.
           14.      The Commission endorses the recommendations advanced in
  Connecticut Children‘s Behavioral Health Plan, a report and implementation
  plan compiled pursuant to Connecticut‘s Public Act 13-178, that call for a
  comprehensive, developmentally appropriate continuum of care that expands
  and equalizes culturally relevant resources available to children and their
  families across payment systems and geographic boundaries.
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           15.      Each board of education must ensure that children with
  disabilities be identified and evaluated in accordance with the Individuals with
  Disabilities Education Act, or IDEA.        Where parents elect to home-school
  children with an identified disability, the home-schooled child shall have an
  individual education program (IEP) approved by the special education director
  of the Area Education Agency, as well as access to special education services.
  Periodic reports regarding the progress of such home-schooled children should
  be filed with the local superintendent (at least annually) and be prepared by an
  individualized education program team selected by the parent.         The state
  should consider requiring that a parent‘s obligations under state law
  encompass approval of the individualized education plan and adequate
  progress as documented in these reports.
           16.      When the particular disabilities that necessitate ―homebound‖
  education include social, emotional and behavioral difficulties, the student‘s
  individualized education program and related services must address these
  difficulties expressly in addition to providing any necessary academic supports.
           B.       Recommendations Concerning Barriers To Access: Insurance
                    And Funding Issues.

            17.     A fully functional mental health system will require better
  coordination and access to a broad range of necessary services across payment
  systems.
           18.      Inadequate reimbursement rates combined with high utilization
  rates at many outpatient behavioral health clinics have made this model of care
  financially unsustainable.        In addition, overall Medicaid rates for adult
  inpatient care have not increased in at least eight years. Recent increases in
  rates for inpatient child and adolescent care have been coupled with decreases
  in other Medicaid reimbursement rates to the same hospitals. The Commission
  recommends that higher reimbursement rates in both outpatient and inpatient
  settings, which better reflect the costs of care, be a core component of a
  redesigned behavioral health care system.


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           19.      Inadequate reimbursement rates have also impacted the behavioral
  health workforce, which remains insufficient to meet the needs of many
  Connecticut residents.           The Commission recommends that, in addition to
  addressing reimbursement rates, Connecticut identify and take measures to
  increase the behavioral health workforce.            These might include educational
  incentives such as loan forgiveness programs.
           20.      Connecticut has significant problems with system fragmentation
  resulting from diverse payment systems and a lack of coordination or
  consistency among state agencies. A fragmented system yields unequal access
  to effective treatment, discontinuities of care for those receiving service, and
  unsustainable financial burdens for individuals, families and communities.
           21.      The definition of ―care‖ must be reviewed. Funding decisions about
  behavioral health ―care‖ must look beyond the model that has prevailed over
  the past several decades to embrace psychosocial interventions, services
  directed toward the achievement of functional skills and other efforts to engage
  the whole person, which frequently offer the best prognosis for recovery.           A
  behavioral health diagnosis accompanied by acute, rather than chronic,
  symptoms should be removed as a prerequisite for access to care.
           22.      Commercial insurance should cover the full panoply of services
  available through the public behavioral health system, e.g., programs that
  provide housing, vocational and occupational support, and drop-in services
  that can be essential components of an effective treatment strategy for
  individuals         struggling   with   severe   mental   illness.   The   Commission
  recommends continuing efforts to expand coverage to a broad range of
  evidence-supported services for individuals with private insurance.
           23.      Since the goal of optimal health care is to integrate behavioral
  health seamlessly into comprehensive care, continued use of behavioral health
  carve-outs, designed to control behavioral health costs rather than increase
  access, should be phased out as quickly as possible.                 The Connecticut
  Behavioral Health Partnership is noteworthy in designing incentives to
  coordinated care across physical and mental health as well as substance abuse
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  services for Medicaid-funded care despite the existence of a behavioral health
  carve-out, but full integration and comprehensive care is most likely achieved
  through eliminating mental health carve-outs altogether.
           24.      To guarantee that provider panel lists facilitate, rather than
  frustrate, access to care, health plans should be required to maintain up-to-
  date and accurate provider panel lists and to make these available to all
  members. The Commission recommends that Connecticut establish standards
  for accurate lists, as well as a mechanism for fining or otherwise holding
  insurers accountable for publishing inaccurate lists.
           25.      Despite recent changes in Connecticut law, behavioral health
  providers        continue,   virtually    unanimously,   to    report   repeated   and
  inappropriate denials of care.           The Commission therefore recommends that
  appeals of all denials of care be processed through an independent entity such
  as the Office of the Health Care Advocate. Independent clinicians selected by
  this entity should be available around the clock for such reviews. A second
  level of review should be available through the same entity. Insurers should be
  required to provide reimbursement during the denial and appeals period up to
  the point of ultimate denial by the neutral reviewing party. When a licensed
  provider determines that a particular course of treatment is medically
  necessary, the burden of proof should fall to the insurer to demonstrate
  otherwise. Any conclusion by a reviewer that care is not medically necessary
  should be based, to the extent possible, on findings in the medical literature.
  The results of scientific studies, and/or recommendations of recognized health
  care professional organizations and recognized authorities of evidence of
  efficacy especially in the absence of scientific studies, should not be discredited
  solely on the assertion of the insurer.
           26.      The Commission has recommended adoption of models of care that
  integrate behavioral and general health services.             In the current world of
  diverse funding and delivery mechanisms, it is impossible to talk about access
  to mental or behavioral health services in a unified way. In the Commission‘s
  view, Connecticut must find ways to fund integrated models of care for both
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  children and adults that ensure access to quality, affordable, culturally
  appropriate and timely care for residents throughout the state.
           C.       Recommendations Concerning Barriers To Access: Stigma And
                    Discrimination.

           27.      Notwithstanding widespread efforts over the past two decades to
  combat stigma, recent studies have found that many members of our society
  still regard people with mental illness as dangerous, incompetent and at fault
  for their condition. But a diagnosis of mental illness does not have to mean an
  end to achieving one‘s life goals.        Systems of care that promote wellness
  generally and recovery for those who struggle with behavioral health challenges
  and the effects of traumatic stress can help to diminish stigma and its effects.
  The media plays a pivotal role in perpetuating stigma but it can also serve as
  an agent of change, a key player in efforts to eradicate stigma.
           28.      Research suggests that anti-stigma campaigns should incorporate
  two types of messages to combat stigma effectively: ―see the person‖ messages
  that highlight the full humanity of individuals living with mental illness rather
  than focusing on labels; and recovery-oriented messages that refute gloomy,
  and potentially self-fulfilling, prognoses. But experts caution against a ―one
  size fits all‖ approach, stressing that particular combinations of messages,
  targeted toward particular audiences, are likely to be most effective.       The
  Commission strongly supports research that will identify the most effective
  measures to reduce stigma, as well as implementation of those measures.
           29.      Many of the Commission‘s recommendations regarding models of
  care and the organization and funding of systems of care, while not addressed
  directly toward stigma reduction, may have the effect of decreasing stigma. For
  example, school-based behavioral health services have the potential to enable
  children and families to address mental health challenges in an environment
  relatively free from the stigma that attaches to the mental health system. Even
  more significantly, they could over time diminish the stigma associated with
  mental illness by integrating mental health care with other forms of health
  screening and care available to children through schools.
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           30.      The Commission recommends the expansion of programs that
  engage people across the community in issues relevant to mental health.
  Programs such as CIT (Crisis Intervention Training) and CIT-Y (training
  directed toward youth issues) for the law enforcement community, as well as
  Mental Health First Aid for teachers, counselors, parents, neighbors, coaches,
  youth group leaders, police officers and others, increase mental health
  awareness among members of the community who can then offer support to
  children and adults facing mental health challenges and help them access the
  resources they need.
           31.      For adolescents and adults facing mental health diagnoses,
  effective psychoeducation of both individuals and families can promote
  acceptance and decrease stigma.             Psychoeducation involves structured
  programs in which individuals and families are educated about mental illness
  and its treatment, and strategies are given for handling typical challenges that
  might arise in association with a particular condition.         The goal of such
  programs is to recognize that someone whom they might consider ―different‖ or
  ―odd‖ may in fact need help.         Participants learn ways to connect with an
  individual in need and to empower that person to seek help. Above all, such
  programs need to incorporate a model of wellness rather than focus primarily
  on illness. People with lived experience serve as role models and can provide
  examples of a path to a successful recovery.
           D.       Recommendations Concerning Privacy And Confidentiality.
           32.      The Commission cautions against measures that would curtail the
  privacy rights of people living with mental illness in the absence of a clear
  understanding of what current laws and policies do and do not allow.
  Although recent guidance issuing from federal agencies attempts to clear up
  widespread confusion about how far existing laws go in limiting the sorts of
  disclosures that might arise in the context of concerns about safety,
  ambiguities and potential misunderstandings persist.         Additional efforts to
  clarify and educate providers and the public on these issues are sorely needed.


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           33.      Existing laws permit appropriate disclosure of otherwise private
  mental health information in situations where a threat to someone‘s safety
  appears imminent. Privacy laws still, however, restrict most communications
  about a person‘s mental health treatment absent that person‘s consent, even
  where barriers to disclosure frustrate effective care or subject the patient and
  others to less obvious dangers.        The Commission supports efforts to facilitate
  communication in the service of effective care while respecting individuals‘
  rights to privacy and autonomy.
           34.      With respect to children‘s behavioral health, it is essential that
  information-sharing take place to the full extent permitted by law so that
  children‘s needs can be adequately recognized and addressed across schools,
  health care settings, guidance clinics, and other institutions critical to their
  healthy development.           Educational privacy laws should be implemented in
  such a way that they do not compromise essential communication for children
  struggling with serious emotional, behavioral and developmental challenges.
  With parent permission, schools and treatment providers should in general be
  allowed to share important information that will facilitate the care and
  education of children.
           E.       Recommendations Concerning Mental Illness And Violence.
           35.      The Commission has found that while untreated psychiatric illness
  in a narrow subset of the population does increase the risk of violence, a
  diagnosable mental illness alone is a very weak predictor of interpersonal
  violence – particularly compared to other factors such as substance abuse, a
  history of violence, socio-economic disadvantage, youth, and male gender. All
  of these factors have far stronger correlations with a risk of violence than does
  a psychiatric diagnosis.          For gun violence in particular, mental illness
  contributes greatly to rates of suicide but marginally to homicide rates.
           36.      Accessible   community   treatment   programs   can   reduce   the
  relatively low risk of violence among most people living with mental illness.
  The Commission recommends expansion and increased availability of early
  intervention programs for those young adults early in the course of developing
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  and/or established mental illness to reduce the likelihood that a person facing
  a psychotic illness might resort to violence or self-harm. Also, this would offer
  the best prognosis for a less chronic course of illness, fewer emergency
  hospitalizations, and greater opportunities for recovery.
           37.      The testimony before the Commission from forensic psychiatrists
  and other experts makes clear that despite the ability to identify the condition
  of dangerousness no one has yet devised a reliable method for predicting future
  violence.       Trait-based profiling appears to represent an ineffective and even
  counterproductive means of identifying individuals likely to commit acts of
  targeted violence and instead more likely creates stigma. Instead, behavioral
  threat assessment could be useful; it focuses on identifying and intervening
  with individuals whose behavior and/or communications clearly indicate an
  intention to commit violence.         This model has been adapted for use in
  educational institutions, workplace settings, and the U.S. military.
           38.      The Commission recommends the formation of multidisciplinary
  teams to conduct risk assessments in schools.            Each school district in
  Connecticut should have policies in place that are related to threat assessment
  and violence management. School [district]s should form multidisciplinary
  teams that include an Administrator, a school Police Department Officer, and a
  school mental health professional (e.g., Psychiatric Social Worker, School
  Psychologist, Pupil Services and Attendance Counselor), as well as a
  community mental health provider, to assess threats made in schools. Such
  teams may also include representatives of faith communities and members of
  the youth services bureau. These teams should receive training in threat
  assessment that will enable them to review specific threats and help manage or
  support any person who issues a threat as well as warning the potential
  victims.       They should also be available when a child or family has been
  identified with complex stressors that might indicate a need for additional
  resources to stabilize the family. In this way, risk assessment teams will
  become ―go to‖ community resources that will support and strengthen families
  in the community.
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           39.      People with mental health challenges are far more likely to be
  victims of violence than perpetrators. As a general matter, mass fatalities
  comprise less than one-tenth of 1% of gun homicides committed in the United
  States.        Guns play a major role in suicide; over half of completed suicides
  involve firearms; 90-95% of completed suicides are attributable to depression,
  bipolar disorder, and other psychiatric illnesses, often in combination with
  substance abuse.
           40.      As noted in the Law Enforcement section of this report, the
  Commission supports adoption of the Consortium for Risk-Based Firearm
  Policy‘s        December        2013   recommendations.           The     Consortium‘s
  recommendations take evidence-based risk categories as a basis for limiting
  gun eligibility. These are based principally on a history of violent behavior, a
  reckless use of alcohol or illegal drugs, and a clinical finding of dangerousness.
  Conversely, recently enacted legislation regarding gun eligibility may go too far
  in excluding individuals recently admitted to psychiatric institutions as
  voluntary inpatients, and the Commission urges reconsideration of this
  provision.
           41.      The Commission was unable to arrive at a recommendation
  concerning adopting involuntary outpatient commitment as an option short of
  involuntary hospitalization in Connecticut.
           F.       Recommendations        Concerning     Response,       Recovery      And
                    Resilience.

           42.      Connecticut should develop a comprehensive statewide plan for
  effectively responding to large-scale school crisis events that includes
  educational and behavioral health agencies.           The plan should specify short-
  and longer-term interventions for different populations, and identify funding
  mechanisms that will minimize discontinuity of services.            It should clarify a
  range of roles and responsibilities for state and local entities and designate lead
  agencies for key functions.
           43.      Connecticut    and   its   municipalities   should    incorporate    an
  enhanced focus on the mental health implications of disasters and other crisis
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  events into all disaster preparedness and response protocols, and implement
  measures to address the behavioral health needs of children as well as adults.
           44.      Connecticut   should   better   integrate   behavioral   health   and
  educational responses to disaster events by thoughtfully incorporating
  educational and behavioral health agencies into the state‘s Unified Command
  System.
           45.      Investment in preparing to recover from a major crisis will pay
  major dividends every day, even in communities fortunate enough to escape a
  major school or community crisis event. Meeting needs daily in schools and
  communities will be a major step in improving everyday functioning as well as
  recovery from large-scale crises.
           46.      While short-term support by mental health professionals from
  outside the community may be required or helpful in the immediate aftermath
  of a crisis event, the goal should be to transition direct services provided during
  the recovery process to those who are part of the impacted community or
  adjoining/nearby communities. With some outside support, the goal should be
  empowering and training providers within the school and community to ensure
  that the recovery is self-sustaining to the extent possible.
           47.      The state should also offer the option of engaging a short-term
  support team, developed prior to an event, to school districts overwhelmed by
  tragedies to assist in planning and decision-making, such as communications,
  management of mental health response, provision of security, managing
  personnel and labor issues, and donations.
           48.      We must strengthen our knowledge base about how to meet the
  emotional and psychological needs of the adult personnel who are part of the
  crisis response in the schools and ensure that we have a plan to address those
  needs promptly.
           49.      Any recovery plan must anticipate long-term as well as short-term
  needs, because the process of recovering from traumatic events may take
  years. While funding for immediate recovery efforts must be readily available,
  it is equally important to harmonize funding mechanisms with the true length
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  of time that services are required and to minimize the discontinuity of services
  that results from transitory funding mechanisms such as short-term grants.
  The plan should also include provisions addressing bereavement and meaning-
  making through memorialization and commemoration activities so that
  communities can approach these proactively.
           50.      Connecticut should create mechanisms to implement ongoing
  training        and        professional   development    programs      outside       of   crisis
  circumstances for teachers and school personnel, and establish statewide
  training requirements tied to professional certification and recertification.
  Training for teachers and school personnel on how to support children
  following a disaster should impart basic skills and knowledge in the following
  areas: the impact of trauma and bereavement on children and their learning;
  likely reactions; strategies for providing psychological first aid, brief supportive
  services, and bereavement support; and indications for referral for additional
  mental health services.
           51.      Connecticut should better integrate the behavioral health and
  education responses to school crisis events by creating a mechanism that
  facilitates the immediate coordination of supportive services. Although there
  may be one lead agency overseeing the recovery efforts, the response and
  recovery will require integrated and complementary services from multiple state
  agencies and departments (including, SDE, DMHAS and DCF).                            It is also
  important to create linkages to community programs offering bereavement
  support, faith-based groups that can provide supportive services, and agencies
  providing victim services.
           52.      To help victims regain a sense of control, communication and
  engagement with victims of crisis events should not follow a one-size-fits-all
  approach but instead should be calculated to enhance each individual‘s
  capacity to control his or her own recovery process. A central clearing house
  for information relevant to disaster response and recovery, with clearly
  identified       channels       of   access,   would   help   to   mitigate   the     sorts   of


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  communication barriers that can impede recovery and risk re-traumatizing
  vulnerable members of the community.




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                                    APPENDIX B
                     List of Individuals Who Testified Before the
                          Sandy Hook Advisory Commission

  DATE     SPEAKER              TITLE                        TOPIC
  01/24/13 Dannel P.            Governor of the State of     Charge to the
           Malloy               Connecticut                  Committee
  01/24/13 Stephen              Danbury State‘s Attorney     Update on the Sandy
           Sedensky,                                         Hook investigation
           Esq.
  01/24/13 William              Former Governor of            Work of the
           Ritter               Colorado                      Columbine
                                                              Commission
  01/24/13 Richard J.           Director, Institute of Law –  Work of the Virginia
           Bonnie, LLB          Psychiatry and Public Policy, Commission on
                                University of Virginia School mental health law
                                of Law/Chair of Virginia      reform and the
                                Commission on Mental          Virginia Tech Review
                                Health Law                    Panel
                                Reform/Consultant to
                                Virginia Tech Review Panel
  02/15/13 Diane Harp           Chief Executive Officer,      Safe school design
           Jones                American Institute of
                                Architects – Conn. Chapter
  02/15/13 Randall S.           Tai Soo Kim Architects        Safe school design
           Luther
  02/15/13 Richard              Newman Architects            Safe school design
           Munday
  02/15/13 Richard T.           S/L/A/M Collaborative        Safe school design
           Connell
  02/15/13 Glenn                S/L/A/M Collaborative        Safe school design
           Gollenberg
  02/15/13 Jim Laposta          JCJ Architects               Safe school design
  02/15/13 Mila Kennett         Project Manager, Federal     FEMA resources
                                Emergency Management
                                Agency
  02/15/13 Robert               Executive Director,          Emergency
           Mahoney              Emergency Management         management
                                Group
  02/22/13 Patricia             Commissioner, Department     State agency trauma
           Rehmer,              of Mental Health and         response to Sandy
           MSN, HCSE            Addiction Services           Hook



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  02/22/13 Joette Katz,      Commissioner, Department        State agency trauma
           J.D.              of Children and Families        response to Sandy
                                                             Hook

  02/22/13 Stefan Pryor      Commissioner, Department        State agency trauma
                             of Education                    Response to Sandy
                                                             Hook
  02/22/13 Jewel             Commissioner, Department        State agency trauma
           Mullen,           of Public Health                response to Sandy
           M.D., MPH,                                        Hook
           MPA
  02/22/13 Marleen           Assistant Dean and Clinical     National Child
           Wong, LCSW        Professor at the University     Traumatic Stress
           Ph.D.             of Southern California          Network
                             School of Social Work
  02/22/13 Thomas            Long Island University,         Foundation of the
           Demaria,          Director of the Psychological   9/11 Family Center
           Ph.D.             Services Center and Trauma
                             Response Team of the
                             Doctoral Psychology
                             Program
  02/22/13 John Barry        Superintendent of Aurora        Role of school district
                             Public Schools                  in meeting needs of a
                                                             community
  02/22/13 Francis           Recovery Coordinator of         Role of school district
           Pumbar            Aurora Public Schools           in meeting needs of a
                                                             community
  03/01/13 Joe               Connecticut State Police,       Processes of
           Delehanty         Firearms Training Unit          purchasing,
                                                             transferring, or
                                                             possessing a firearm;
                                                             regulations on
                                                             storage and
                                                             safeguarding
                                                             weapons; training
                                                             and qualifications for
                                                             certain permits and
                                                             licenses; and
                                                             different types of
                                                             weapons,
                                                             ammunition and
                                                             magazines




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  03/01/13 Barbara           Connecticut State Police,     Processes of
           Mattson           Special Licensing and         purchasing,
                             Firearms Unit                 transferring, or
                                                           possessing a firearm;
                                                           regulations on
                                                           storage and
                                                           safeguarding
                                                           weapons; and
                                                           training and
                                                           qualifications for
                                                           certain permits and
                                                           licenses
  03/01/13 Christine     Connecticut State Police,         Overview of CT
           Plourde, Esq. Legal Affairs Unit, Labor         firearm statutes
                         Relations Attorney
  03/01/13 Marc          Chief of Police, Manchester       Emergency protocol
           Montminy      Police Department                 by state and local
                                                           police
  03/01/13 Michael           Chief of Police, Newtown      Emergency protocol
           Kehoe             Police Department             by state and local
                                                           police
  03/01/13 Brendan           Doctor, Connecticut           Use of Firearms in
           Campbell          Children‘s Medical Center     today‘s society
  03/01/13 Anthony           Chief of Police, Town of      Gun violence
           Salvatore         Cromwell, representing        prevention and child
                             Connecticut Police Chief      safety
                             Association
  03/01/13 Matthew           Chief of Police, Town of      Gun violence
           Reed              South Windsor, Legislative    prevention and child
                             co-chair of the Connecticut   safety
                             Police Chief Association
  03/08/13 Gregg             New Hampshire School          State systems for
           Champlin          Emergency Planning &          school emergency
                             Natural Hazards Program       planning
                             Specialist
  03/08/13 Col. (Ret.)       Deputy Commissioner,          Emergency
           William P.        Department of Emergency       management
           Shea              Services and Public           infrastructure in
                             Protection, Division of       Connecticut
                             Emergency Management
                             and Homeland Security
  03/08/13 Thomas            Region 5 Coordinator for      Emergency
           Vannini           The Emergency                 management
                             Management and Homeland       infrastructure in
                             Security (DEMHS)              Connecticut
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  03/08/13 William           State Emergency              Emergency
           Hackett           Management Director,         management
                             Division of Emergency        infrastructure in
                             Management and Homeland      Connecticut
                             Security (DEMHS),
                             Department of Emergency
                             Services and Public
                             Protection (DESPP)
  03/22/13 Kim               President of the Waterbury   Increasing public
           Pernerewski       Chapter of the National      awareness of mental
                             Alliance of Mental Illness   health issues and
                                                          decreasing
                                                          discrimination
                                                          through a personal
                                                          lens
  03/22/13 Louise Pyers      Executive Director of the    Mental health issues
                             Connecticut Alliance to      that law enforcement
                             Benefit Law Enforcement      officers face
  03/22/13 Chris McKee       Sergeant, Windsor Police     Mental health issues
                             Department                   that law enforcement
                                                          officers face
  03/22/13 Sue Bowman        Officer, Windsor Police      Mental health issues
                             Department                   that law enforcement
                                                          officers face
  03/22/13 Deron             Executive Director of        Personal experiences
           Drumm             Advocacy Unlimited           as a person with
                                                          mental health
                                                          disorder
  03/22/13 Bryan Gibb   Director of Public Education      Mental health first
                        at the Nat‘l Council for          aid
                        Community Behavioral
                        Healthcare
  03/22/13 Anne Melissa Deputy Commissioner, State        Role of mental health
           Dowling,     Department of Insurance           risk assessment and
           CFA                                            management in the
                                                          Connecticut
                                                          insurance and health
                                                          care sectors




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  03/22/13 Victoria          Connecticut Healthcare        Role of mental health
           Veltri, JD,       Advocate                      risk assessment and
           LLM                                             management in the
                                                           Connecticut
                                                           insurance and health
                                                           care sectors



  03/22/13 Marisa            Managing Partner, SIGMA       Violent case studies
           (Reddy)           Threat Management             where risk
           Randazzo,         Associates                    assessment and
           Ph.D.                                           management could
                                                           have averted tragedy
  04/12/13 Gary Steck        CEO, Wellmore Behavioral      Behavioral health
                             Health & Chairman of the      needs of children and
                             Board, Connecticut            youth
                             Community Providers
                             Association
  04/12/13 Robert Plant,     Chief Clinical Officer,       Behavioral health
           Ph.D.             Wellmore Behavioral Health    needs of children and
                                                           youth
  04/12/13 Sheila     Interim President/CEO,               Behavioral health
           Amdur, MSW Connecticut Community                needs of children and
                      Providers Association                youth
  04/12/13 Eric Arzubi,      Co-Chair, Keep the Promise    Behavioral health
           M.D.              Coalition Children‘s          needs of children and
                             Committee & Fellow, Yale      youth
                             Child Study Center
  04/12/13 Abby              Co-Chair, Keep the Promise    Behavioral health
           Anderson,         Coalition Children‘s          needs of children and
           M.A.              Committee & CT Juvenile       youth
                             Justice Alliance
  04/12/13 Michael           Director of Forensic          Assessment and
           Norko, M.D.       Services, DMHAS &             management of risk,
                             Associate Professor of        emphasizing the use
                             Psychiatry, Yale University   of a clinical risk
                             School of Medicine            assessment model

  04/12/13 Madelon           Associate Professor of        Assessment and
           Baranoski,        Psychiatry/ Vice-Chair of     management of risk,
           Ph.D.,            Human Investigation           emphasizing the use
           M.S.N.            Committee, Yale University    of a clinical risk
                                                           assessment model

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  04/19/13 Nadia Ward,       Yale University Department      Mental health system
           Ph.D.             of Psychiatry & Bridgeport      for adolescents and
                             School System Intervention      young adults
                             Project
  04/19/13 Cheryl L.         Director, Young Adult           Mental health system
           Jacques,          Services – CT Department of     for adolescents and
           M.S.N. &          Mental Health and Addiction     young adults
           A.P.R.N.          Services
  04/19/13 Sara Lourie       Client Interagency Planning,    Mental health system
                             CT Department of Children       for adolescents and
                             and Families                    young adults
  04/19/13 Tim               Director of Community           Mental health system
           Marshall,         Mental Health Services, CT      for adolescents and
           L.C.S.W.          Department of Children and      young adults
                             Families
  04/19/13 Mary              Executive Director,             Mental health system
           Guerrera,         Fellowship Place                for adults
           L.C.S.W.
  04/19/13 Vinod             Yale University, Department     Mental health system
           Srihari, M.D.     of Psychiatry                   for adults
  04/26/13 John              Professor of Law, University    Violence and mental
           Monahan,          of Virginia School of Law       health issues
           Ph.D.
  04/26/13 Richard J.        Director, Institute of Law –    Violence and mental
           Bonnie, LLB       Psychiatry and Public Policy,   health issues
                             University of Virginia School
                             of Law/Chair of Virginia
                             Commission on Mental
                             Health Law
                             Reform/Consultant to
                             Virginia Tech Review Panel
  04/26/13 Robert            Co-Director, National Child     Violence and mental
           Pynoos, M.D.      Traumatic Stress Network        health issues
           & M.P.H.                                          addressing trauma
  04/26/13 Julian Ford,      Professor of Psychiatry,        Violence and mental
           Ph.D.             University of Connecticut       health issues
                             Health Center                   addressing trauma
  04/26/13 Steve             Harris Professor of Child       Violence and mental
           Marans,           Psychiatry/ Professor of        health issues
           M.S.W. &          Psychiatry/Director,            addressing trauma
           Ph.D.             National Center for Child
                             Exposed to
                             Violence/Childhood Violent
                             Trauma Center – Yale
                             University
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  04/26/13 Robert            Vice President/Director of      Violence and mental
           Franks,           Connecticut Center for          health issues
           Ph.D.             Effective Practice, Child       addressing trauma
                             Health Development
                             Institute

  04/26/13 Paul              Columbia University –           Mandatory reporting
           Appelbaum,        Professor of Psychiatry &
           M.D.              Director, Division of
                             Psychiatry, Law, and Ethics
  04/26/13 R. Traci          Licensed Clinical               Mandatory reporting
           Cipriano,         Psychologist, Director of
           J.D., Ph.D.       Professional Affairs,
                             Connecticut Psychological
                             Association, Assistance
                             Clinical Professor – Yale
                             Department of Psychology
  04/26/13 Lisa              Attending psychiatrist,         Barriers to access to
           Namerow,          Institute of Living/Assistant   care
           M.D.              Professor of Psychiatry and
                             Pediatrics, UCONN School of
                             Medicine

  04/26/13 Stephen           Senior Vice President of        Barriers to access to
           Larcen,           Behavioral Health, Hartford     care
           Ph.D.             HealthCare
  04/26/13 Andrew            Connecticut Council of          Mental health access
           Lustbader,        Child & Adolescent
           M.D.              Psychiatry
  04/26/13 Sandra            Connecticut Chapter of          Mental health Access
           Carbonari,        American Academy of
           M.D.              Pediatrics
  07/12/13 Louis R.          McElroy, Deutsch, Mulvaney Summary of
           Pepe, Esq.        & Carpenter LLP            legislation passed in
                                                        2013 session that is
                                                        relevant and
                                                        meaningful to
                                                        Commission
  07/12/13 Daniel J.         McElroy, Deutsch, Mulvaney Summary of
           Klau, Esq.        & Carpenter LLP            legislation passed in
                                                        2013 session relevant
                                                        to Commission




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  07/12/13 Kenneth S.            President, National School     Conversation, focus,
           Trump                 Safety and Security Services   policy and funding on
                                                                school safety
  08/16/13 Donald                Commissioner, Department       Update on key topics
           DeFronzo              of Administrative Services,    discussed with SSIC
                                 Chair, School Security         and emerging issues
                                 Infrastructure Council
  08/16/13 David Rubin,          The TIX Group (The Israel      Presents perspective
           Assaf                 Experience in Homeland         method used in Israel
           Heffetz, Dov          Security)                      to safeguard schools
           Shiloah
  08/16/13 Daniel J.             McElroy, Deutsch, Mulvaney Current status of
           Klau, Esq.            & Carpenter LLP                task forces created
                                                                by recent legislation
  12/20/13 Matthew               Chief, Town of South           Newtown police
           Reed                  Windsor Police Department      response to the
                                                                Sandy Hook
                                                                Elementary School
                                                                shooting
  12/20/13 Marc                  Chief, Town of Manchester      Newtown police
           Montminy              Police Department              response to the
                                                                Sandy Hook
                                                                Elementary School
                                                                shooting
  1/10/14          Brenda        Legal Advisor, Department      All-hazards school
                   Bergeron,     of Emergency Services and      security and safety
                   Esq.          Public Protection, Division of plan
                                 Emergency Management
                                 and Homeland Security

  1/10/14          Col. (Ret.)   Deputy Commissioner,           All-hazards school
                   William P.    Department of Emergency        security and safety
                   Shea          Services and Public            plan
                                 Protection, Division of
                                 Emergency Management
                                 and Homeland Security
  1/17/14          Terrence W.   Commissioner, Department       State of Connecticut
                   Macy, Ph.D.   of Developmental Services      resources for
                                                                individuals with
                                                                autism
  1/17/14          Jennifer A.   Director, Division of Autism   State of Connecticut
                   Bogin         Services, Department of        resources for
                                 Developmental Services         individuals with
                                                                autism


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  1/17/14          Fred R.       Irving B. Harris Professor in   Autism spectrum
                   Volkmar,      the Child Study Center and      disorders and
                   M.D.          Professor of Pediatrics, of     violence
                                 Psychiatry and of
                                 Psychology, Yale School of
                                 Medicine
  1/17/14          Mathew D.     Assistant Professor of          Autism spectrum
                   Lerner, Ph.D. Psychology, Psychiatry and      disorders and
                                 Pediatrics, Psychology          violence
                                 Department, Stony Brook
                                 University; Director, Social
                                 Competence and Treatment
                                 Lab
  1/17/14          Irving B.     Professor in the Child Study    Autism spectrum
                   Harris        Center and Professor of         disorders and
                                 Pediatrics, Psychiatry and      violence
                                 Psychology; Chief, Child
                                 Psychiatry at Yale-New
                                 Haven Children‘s Hospital;
                                 Chair, Child Study Center
  1/17/14          Robert and    Parent Advocates                Experience of parents
                   Rose Shea                                     of child with autism

  1/17/14          Timothy K.     Director, Capitol Region       CREC program
                   Carroll,       Education Council (―CREC‖)     structure and
                   LCSW           Health Services; Director,     services
                                  CREC Polaris Center
  1/17/14          Carol Kerkin   Assistance Director, CREC      CREC program
                                  Student Services               structure and
                                                                 services

  1/17/14          Ann Cuvelier   CREC River Street School,      CREC program
                                  Social Worker                  structure and
                                                                 services
  1/17/14          Nancy          CREC Program Director          CREC program
                   Canata                                        structure and
                                                                 services
  1/17/14          Denis          Fire Chief and Emergency       Emergency plan for
                   McCarthy       Management Director, City      schools and
                                  of Norwalk                     municipal buildings
                                                                 for Norwalk public
                                                                 schools




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  1/24/14          Daniel         Director, Division for At Risk Federal resources
                   Dodgen,        Individuals, Behavioral
                   Ph.D.          Health, and Community
                                  Resilience; Office of the
                                  Assistant Secretary for
                                  Preparedness and Response;
                                  Office of the Secretary; U.S.
                                  Department of Health and
                                  Human Services

  1/24/14          Thomas         Director of the Psychological   Trauma response
                   Demaria,       Services Center & Trauma
                   Ph.D.          Response Team of the
                                  Doctoral Psychology
                                  Program at C.W. Post
                                  Campus of Long Island
                                  University
  1/24/14          Vincent B.     Partner with Denizen            Student support
                   Giordano,      Consulting                      services policy
                   MS                                             development

  1/24/14          Francis        Former Recovery                 Recommendations on
                   Pombar         Coordinator for Aurora          potential utility of the
                                  Public Schools                  role of a school
                                                                  system recovery
                                                                  coordinator to
                                                                  promote longer term
                                                                  recovery efforts and
                                                                  how to assess and
                                                                  address mental
                                                                  health needs
  1/24/14          Marleen        Associate Dean and Clinical
                   Wong,          Professor at the University
                   LCSW, Ph.D.    of Southern California
                                  School of Social Work
  2/28/14          Dora Schriro   Commissioner, Department        Incident command /
                                  of Emergency Services and       unified command
                                  Public Protection
  2/28/14          Col. (Ret.)    Deputy Commissioner,            Incident command /
                   William P.     Department of Emergency         unified command
                   Shea           Services and Public
                                  Protection, Division of
                                  Emergency Management
                                  and Homeland Security


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  2/28/14          Michael K.     Police Chief, Town of Newton Incident command /
                   Kehoe                                       unified command
  2/28/14          Robin          Police Chief, Town of        Incident command /
                   Montgomery     Brookfield                   unified command
  2/28/14          Marc           Police Chief, Town of        Incident command/
                   Montminy       Manchester                   unified command
  2/28/14          David          Ass‘t Fire Chief, town of    Incident command/
                   Billings       Manchester                   unified command
  2/28/14          Brian Gould    Police Captain, Town of      Blue Plan
                                  Bristol
  2/28/14          John Oates     Fire Chief, Town of East     Incident management
                                  Hartford                     teams
  2/28/14          Tami           Evergreen Consulting         EAP programs for
                   Hodges, MS,                                 first responders
                   CPC
  2/28/14          William        Commissioner, Department     Donations
                   Rubenstein     of Consumer Protection       management issues
  6/27/14          David &        Parents of Benjamin          Parent perspective
                   Francine       Wheeler
                   Wheeler
  6/27/14          Michelle Gay   Mother of Josephine Gay      Parent perspective

  8/15/14          Tom Kuroski    President of Newtown         Experiences of
                                  Federation of Teachers       Newtown teachers
                                                               following shooting at
                                                               Sandy Hook
                                                               Elementary School
  8/15/14          Vincent        Owner of Security Academy    Active shooter
                   Riccio         of Connecticut               prevention &
                                                               response efforts
  9/12/14          Joseph V.      Superintendent of Schools of Recovery from
                   Erardi, Jr.    Newtown                      tragedy; Update on
                                                               Newtown‘s school
                                                               system
  9/12/14          E. Patricia    First Selectman of Newtown Making our schools
                   Llodra                                      and communities
                                                               safer and the
                                                               reflections and
                                                               concerns of Newtown
                                                               municipal & school
                                                               leaders
  11/14/14 Jeremy                 Parents of Avielle Richman   Parent perspective
           Richman and
           Jennifer
           Hansel
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  11/14/14 Nelba             Parent of Ana Marquez-     Parent perspective
           Marquez-          Greene
           Greene




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                APPENDICES C THROUGH E
                  (available online only)
  C.       Sandy Hook Advisory Commission Agendas and Meeting Minutes

  D.       Sandy Hook Advisory Commission Interim Report (dated March 18,
           2013)*

  E.       Sandy Hook Elementary School Floor Plan




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                                APPENDIX F
                          WEAPONS USED IN
              SANDY HOOK ELEMENTARY SCHOOL SHOOTINGS

  Glock 20,10mm




  Sig Sauer P226 9mm




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  Bushmaster Rifle




  MagPul PMAG 30 cartridges




  Savage 22 Rifle




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               APPENDICES G THROUGH M
                  (available online only)
  G.       Legislation Passed During 2013 General Assembly Session Relating To
           Sandy Hook:

           Public Act 13-3 (―An Act Concerning Gun Violence Prevention And
           Children's Safety‖)*

           Public Act 13-220 (―An Act Concerning Revisions To The Gun Violence
           Prevention And Children's Safety Act‖)*

           Public Act 13-178 (―An Act Concerning The Mental, Emotional And
           Behavioral Health of Youths‖) and Report on Implementation of PA 13-
           178*

           Public Act 13-188 (―An Act Concerning School Safety‖)*

  H.       Report of the State‘s Attorney for the Judicial District of Danbury on the
           Shootings at Sandy Hook Elementary School and 36 Yogananda Street,
           Newton, Connecticut on December 14, 2012 (dated Nov. 25, 2013), with
           accompanying Appendix.*

  I.       Report of the Child Advocate, ―Shooting at Sandy Hook Elementary
           School,‖ released on November 21, 2014*

  J.       State Police Investigative Files re: Shootings at Sandy Hook Elementary
           School and 36 Yogananda Street*

  K.       Report of the Safe School Infrastructure Council (revised and updated to
           June 27, 2014)

  L.       School Security and Safety Plan Standards (v 1.0) (dated Dec. 30, 2013)*

  M.       Capitol Region Chiefs of Police Association ―Blue Plan‖ (dated April 24,
           2013) (mutual aid response to incidents within Capitol Region)*




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